  Case
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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

       In re:
                                                               Chapter 11
                              1
       USA GYMNASTICS,
                                                               Case No. 18-09108-RLM-11
                              Debtor.

                                  NOTICE OF CANCELLED HEARING

                PLEASE TAKE NOTICE that the telephonic hearing (the “Hearing”) previously

   scheduled for October 19, 2020 at 1:30 p.m. (prevailing Eastern time) has been cancelled.

                PLEASE TAKE FURTHER NOTICE that all matters previously set to be heard at the

   Hearing have been continued and will be heard at the omnibus hearing scheduled for November

   30, 2020 at 1:30 p.m. (prevailing Eastern time) (the “November Omnibus Hearing”).

                PLEASE TAKE FURTHER NOTICE that the November Omnibus Hearing will be a

   telephonic hearing unless and until the Court orders otherwise.

                PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested parties

   to participate in the November Omnibus Hearing by conference call is 1-888-273-3658, passcode:

   9247462#. All callers shall keep their phones muted unless addressing the Court. All callers must

   identify themselves and the party(ies) they represent when addressing the Court. Callers shall not

   place their phones on hold during the November Omnibus Hearing.

                PLEASE TAKE FURTHER NOTICE that copies of all filings in the above-captioned case

   may be accessed at: https://omnimgt.com/usagymnastics, or by contacting the Debtor’s attorneys,

   on PACER, or from the Clerk of the Court.



   1
    The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
   principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.



                                                                                   Humphrey Appellant Appendix 001
  Case
Case   18-09108-RLM-11 DocDocument
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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

      In re USA GYMNASTICS,                        |      Case No. 18-09108-RLM-11
                                                   |
                            Debtor.                |

       DESIGNATION OF RECORD AND STATEMENT OF ISSUES ON APPEAL OF
                             CREDITOR TERIN HUMPHREY
      ________________________________________________________________________
            Terin Humphrey, creditor (“Appellant”), by counsel, in regard to the Notice of

      Appeal [Doc. No. 1295] filed by her in this case, respectfully submits the following:

                                      I.     Designation of Record

           Bankruptcy       Date Entered on        Description of the Document or Transcript
           Docket No.       Bankruptcy Docket
             1303           October 12, 2020   Creditors’ Notice of Transcript Regarding
                                               Hearings Held on August 26, 2020
              1295          September 30, 2020 Notice of Appeal and Statement of Election on
                                               Order/Minute Entry denying Terin
                                               Humphrey’s Motion to Allow Late Filed
                                               Claim to be Treated as Timely Filed [Docket
                                               No. 1252]
              1270          September 2, 2020 Order Granting Motion to Extend Time to
                                               Appeal Pursuant to Fed. R. Bankr. P. 8002(D)
              1265          September 2, 2020 Motion to Extend Time to File Appeal
                                               Pursuant to Fed. R. Bankr. P. 8002(d)
              1259          August 31, 2020    Notice of Filing of Transcript and Deadlines
                                               Related to Restriction and Redaction
              1252          August 26, 2020    Minute Entry/Order Denying Creditor’s
                                               Motion to Allow Late Filed Claim to be
                                               Treated as Timely Filed [Docket No. 1213]
              1235          August 24, 2020    Reply in Support of Motion to Allow Late
                                               Filed Claim to be Treated as Timely Filed
              1230          August 8, 2020     Joint Motion Requesting the Court to Conduct
                                               a Settlement Conference and for Other Relief
              1227          August 19, 2020    The Additional Tort Claimants Committee of
                                               Sexual Abuse Survivors’ Consolidated
                                               Objection to Motion to Allow Late Filed Claim
                                               to be Treated as Timely Filed [1213]
              1213          July 30, 2020      Motion to Allow Late Filed Claim to be
                                               Treated as Timely Filed filed by Creditor Terin
                                               Humphrey, including Exhibit “A”, Terin


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                                                                          Humphrey Appellant Appendix 002
  Case
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                                                              of 283 PageID      5




                                              Humphrey Affidavit [1213-1] and Exhibit “B”,
                                              Elig Declaration [1213-2].
       N/A, Contained on July 30, 2020        Sexual Abuse Proof of Claim filed by Terin
         Sealed Docket                        Humphrey via counsel Joseph L. Mulvey on
         Maintained by                        July 30, 2020, with Omni Agent Solutions,
         Claims Agent                         with confirmation email from Omni Agent
          Omni Agent                          Solutions on July 30, 2020 at 3:26 p.m.,
       Solutions, and also                    redacted to remove Claimant’s address.
       attached hereto as
          Exhibit “A”
              1161         June 24, 2020     Minute Entry/Order re Telephonic Status
                                             Conference on Motion to Dismiss Case filed
                                             by Tort Claimants Committee of Sexual Abuse
                                             Survivors
                                             [Docket No. 892]
             1145         June 19, 2020      Order on Pretrial Conference scheduling
                                             Disclosure Statement and Confirmation
                                             Hearing for hearing on October 19, 2020 at
                                             1:30 PM EDT in Room 329
             1060         May 19, 2020       Objection of the Additional Tort Claimants
                                             Committee of Sexual Abuse Survivors to
                                             Disclosure Statement for First Amended
                                             Chapter 11 Plan of Reorganization Proposed
                                             by USA Gymnastics
              931         February 21, 2020  USA Gymnastics Motion for Order Approving
                                             the Disclosure Statement and Plan
                                             Confirmation Procedures
              930         February 21, 2020  USA Gymnastics Disclosure Statement for
                                             First Amended Plan
              928         February 21, 2020  USA Gymnastics First Amended Chapter 11
                                             Plan
              892         January 21, 2020   Motion to Dismiss Case
              797                            Order Approving Joint Stipulation Deeming
                                             Sexual Abuse Claim 546 to be Timely Filed
                                             and Denying Late Claims Motion
              750         September 10, 2019 Joint Stipulation and Agreed Order Deeming
                                             Sexual Abuse Claim 546 to be Timely Filed
                                             and Withdrawing Late Claims Motion
              657         July 15, 2019      Amended Motion for Authority to File Claim
                                             After Bar Date
              301         February 25, 2019  Order Approving Debtor’s Motion for Order
                                             Establishing Deadlines for Filing Proofs of
                                             Claim and Approving Form and Manner of
                                             Notice Thereof




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                                                                   Humphrey Appellant Appendix 003
  Case
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                  97          December 19, 2018     Notice of Appointment of Additional Tort
                                                    Claimants Committee of Sexual Abuse
                                                    Survivors
                  1           December 5, 2018      Chapter 11 Voluntary Petition (Non-
                                                    Individual) with List of 20 Largest Unsecured
                                                    Creditors and Verification of Creditor List


                                II.    Statement of Issues on Appeal

             1.        Whether Claimant Terin Humphrey, who received 2 silver medals

      competing with USA Gymnastics in 2004 at the Olympic Games in Athens, Greece, and

      who suffered sexual abuse at the hands of Larry Nassar in July 2002 at the age of fifteen

      (15) years old at a USA Gymnastics meet in Virginia Beach, Virginia, can be barred by

      the Bankruptcy Court, via the Order Approving Debtor’s Motion for Orders Establishing

      Deadlines for Filing Proofs of Claim and Approving Form and Manner of Notice Thereof

      [Doc. 301] (the “Bar Date Order”), and Minute Entry/Order Denying Creditor’s Motion

      to Allow Late Filed Claim to be Treated as Timely Filed [Doc. No. 1213] (“Denial of

      Claimant’s Motion”) from pursuing a claim against USA Gymnastics for her sexual

      abuse, when she was not aware of the fact of her sexual abuse until after the Bar Date,

      and when her abuse was not communicated to her by a doctor until July, 2020, where the

      Bankruptcy Court, via the Bar Date Order and Denial of Claimant’s Motion, exceeded its

      statutory authority by abrogating Virginia law in respect to the statute of limitations for

      sexual abuse claims, where Virginia’s statute of limitations requires a cause of action for

      sexual abuse to be brought within 20 years of the cause of action accruing, and the cause

      of action does not accrue until “the injury and its causal connection to the sexual abuse is

      first communicated to the person by a licensed physician, psychologist, or clinical

      psychologist.” Va. Code Ann. §§ 8.01-243(D); 8.01-249 (6).




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                                                                            Humphrey Appellant Appendix 004
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               2.    Whether, notwithstanding the Bankruptcy Court’s abrogation of Virginia’s

      statute of limitations for sex abuse claims via the Bar Date Order and Denial of

      Claimant’s Motion, Creditor exhibited excusable neglect in filing a late proof of claim

      where: (1) the Debtor will suffer no prejudice, as evidenced by its choice to not oppose

      the Creditor’s motion; (2) the Creditor did not realize she may have a claim against the

      Debtor until June of 2020, which was not confirmed by a doctor until July, 2020, and her

      claim was filed on July 30, 2020; (3) the reason for the delay was that Creditor could not

      confirm that she had suffered sexual abuse by Larry Nassar until she was diagnosed by

      Dr. Elig in July of 2020; and (4) the Creditor, as movant, acted in good faith as a sexual

      assault survivor who sought to be treated equal to those who were aware of their sexual

      abuse claims, who were permitted to file those claims (despite some of those claims

      being barred by the applicable state [Michigan] statutes of limitations), and where

      Creditor’s right to recovery will be extinguished before she even realized she had been

      sexually abused---twenty years before applicable Virginia law would have barred her

      claim.


                             Dated:         October 14, 2020.

                             Signed:        /s/ Joseph L. Mulvey
                                            Joseph L. Mulvey, Atty No. 30052-49
                                            Attorney for Creditor / Appellant Terin Humphrey
                                            MULVEY LAW LLC
                                            133 W. Market St., #274
                                            Indianapolis, IN 46204
                                            (317) 721-1339
                                            joseph@mulveylawllc.com




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                                                                           Humphrey Appellant Appendix 005
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                                                            Humphrey Appellant Appendix 006
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     1:20-cv-02522-SEB-MPB 1305-1 Filed
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                                                            Humphrey Appellant Appendix 007
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                                                            Humphrey Appellant Appendix 008
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                                                            Humphrey Appellant Appendix 009
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                                                             Humphrey Appellant Appendix 010
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                                                             Humphrey Appellant Appendix 011
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                                                             Humphrey Appellant Appendix 012
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                                                             Humphrey Appellant Appendix 013
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                                                             Humphrey Appellant Appendix 014
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                                                           Humphrey Appellant Appendix 015
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                                                           Humphrey Appellant Appendix 016
  Case
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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION
      ________________________________________________________________________

      In re USA GYMNASTICS,                        |       Case No. 18-09108-RLM-11
                                                   |
                            Debtor.                |

                NOTICE OF APPEAL AND STATEMENT OF ELECTION
      ________________________________________________________________________

             Terin Humphrey, creditor (“Appellant”) appeals under 28 U.S.C. § 158(a)(1) from

      the final1 order of the bankruptcy judge denying her Motion to Treat Late-Filed Claim as

      Timely Filed (the “Motion”) entered in the above-captioned matter on the 26th day of

      August, 2020 (Doc. No. 1252), a copy of which is attached hereto as Exhibit “A”. The

      name and attorney information for Appellant, the subject of the appeal, and all parties to

      the order appealed from and the names and addresses of their respective attorneys are as

      follows:

          1. Appellant Information:

      Party:         Terin Humphrey
      Party Role:    Creditor
      Counsel:       Joseph L. Mulvey
                     MULVEY LAW LLC
                     133 W. Market St., #274
                     Indianapolis, IN 46204
                     joseph@mulveylawllc.com

          2. Subject of the Appeal:

      Order denying Claimant’s Motion to Treat Late-Filed Claim as Timely Filed (the
      “Motion”) entered in the above-captioned matter on the 26 day of August, 2020 (Doc.
                                                                 th




      1 See Ritzen Group, Inc. v. Jackson Masonry, LLC, 140 S.Ct. 582 (Jan. 14, 2020)
      (“Bankruptcy Court’s order conclusively denying . . . motion is “final.” The court’s order
      . . . left nothing more for the Bankruptcy Court to do in that proceeding. The Court of
      Appeals therefore correctly ranked the order as final and immediately appealable . . .”)



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      No. 1252), attached hereto as Exhibit “A”.

         3. Other Parties to this Appeal:

      USA Gymnastics                       Attorney:   Catherine I. Steege, Esq.
      (Debtor)                                         Dean Panos, Esq.
                                                       Melissa M. Root, Esq.
                                                       Jenner & Block LLP
                                                       353 N. Clark Street
                                                       Chicago, IL 60654

                                           Attorney:   Gregory Michael Gotwald, Esq.
                                                       George Plews, Esq.
                                                       Plews Shadley Racher Braun LLP
                                                       1346 N. Delaware Street
                                                       Indianapolis, IN 46202

                                           Attorney:   Mark. D. Stuaan, Esq.
                                                       Barnes & Thornburg
                                                       11 South Meridian Street
                                                       Indianapolis, IN 46204

                                           Attorney:   John Thomas Piggins, Esq.
                                                       Miller Johnson
                                                       45 Ottawa Ave., SW, Ste 1100
                                                       P.O. Box 306
                                                       Grand Rapids, MI 49501


      Tort Claimants Committee             Attorney:   James I. Stang, Esq.
      (Creditor Committee)                             Kenneth H. Brown, Esq.
                                                       Pachulski Stang Ziehl & Jones LLP
                                                       150 California St., 15th Floor
                                                       San Francisco, CA 94111

                                           Attorney:   Steven W. Golden, Esq.
                                                       Ilan D. Scharf, Esq.
                                                       Pachulski Stang Ziehl & Jones LLP
                                                       780 Third Ave., Ste 34th Floor
                                                       New York, NY 10017

                                           Attorney:   Deborah Caruso, Esq.
                                                       Meredith Theisen, Esq.
                                                       Rubin & Levin, P.C.
                                                       135 N. Pennsylvania St., Ste 1400
                                                       Indianapolis, IN 46204



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                                                                      Humphrey Appellant Appendix 018
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                            Dated:         September 30, 2020

                            Signed:        /s/ Joseph L. Mulvey
                                           Joseph L. Mulvey, Atty No. 30052-49
                                           Attorney for Creditor / Appellant Terin Humphrey
                                           MULVEY LAW LLC
                                           133 W. Market St., #274
                                           Indianapolis, IN 46204
                                           (317) 721-1339
                                           joseph@mulveylawllc.com

                                  CERTIFICATE OF SERVICE

              I hereby certify that on September 30, 2020, a copy of the foregoing was filed
      electronically. Notice of this filing will be sent to the following parties through the
      Court’s Electronic Case Filing System. Parties may access this filing through the Court’s
      system.

                     All ECF Parties of Record

              I further certify that on September 30, 2020, a copy of the foregoing was mailed
      by first-class U.S. Mail, postage prepaid, and properly addressed to the following:

             n/a

                                                          /s/ Joseph L. Mulvey
                                                          Joseph L. Mulvey (#30052-49)




                                                  3
                                                                          Humphrey Appellant Appendix 019
  Case
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  From:    courtmail@insb.uscourts.gov
Subject:   18-09108-RLM-11 Minute Entry/Order
   Date:   August 26, 2020 at 4:29 PM
     To:   courtmail@insb.uscourts.gov


       ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
       parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if receipt
       is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges, download a
       copy of each document during this first viewing. However, if the referenced document is a transcript, the free copy and 30-
       page limit do not apply.

                                                                 U.S. Bankruptcy Court

                                                            Southern District of Indiana

       Notice of Electronic Filing

       The following transaction was received from Dole, Michelle entered on 08/26/2020 at 4:27 PM EDT and filed on 08/26/2020
       Case Name:       USA Gymnastics
       Case Number:     18-09108-RLM-11
       Document Number: 1252
       Docket Text:
       Minute Entry/Order: re: elephonic Hearing on :Tort Claimants' Committee's objection to Motion to Allow Late Filed Claim to be Treated
       as Timely Filed re: Terin Humphrey and Humphrey's reply in support of motion and Motion to Strike in Part Objection, filed by Creditor
       Terin Humphrey (re: Doc # [1213]). Disposition: Hearing held. Parties appear telephonically. Creditor Exhibit A and B admitted without
       objection. Court denies motion. (mjd)

       The following document(s) are associated with this transaction:


       18-09108-RLM-11 Notice will be electronically mailed to:

       Nancy D Adams on behalf of Defendant Liberty Insurance Underwriters Inc.
       ndadams@mintz.com

       Robert Allard on behalf of Creditor Terin Humphrey
       rallard@cmalaw.net

       John Joseph Allman on behalf of Creditor Jane Doe JJ
       jallman@hbkfirm.com, dadams@hbkfirm.com

       Annemarie C Alonso on behalf of Creditor M. DOE, a minor child
       annie@sllawfirm.com

       Annemarie C Alonso on behalf of Creditor Erin Kaufman
       annie@sllawfirm.com

       Annemarie C Alonso on behalf of Creditor kelly cutright
       annie@sllawfirm.com

       Martin Beeler on behalf of Creditor United States Olympic Committee
       mbeeler@cov.com

       Thomas R. Behm on behalf of Creditor Sexual Abuse Survivors
       trbehm@gmnp.com

       Megan A Bonanni on behalf of Creditor Sexual Abuse Survivors
       mbonanni@pittlawpc.com

       Tonya J. Bond on behalf of Plaintiff USA Gymnastics
       tbond@psrb.com, jscobee@psrb.com

       Wendy D Brewer on behalf of Interested Party Endurance American Insurance Company
       wbrewer@fmdlegal.com, cbellner@fmdlegal.com

       Kenneth H. Brown on behalf of Creditor Committee Tort Claimants Committee
       kbrown@pszjlaw.com

       Charles D. Bullock on behalf of Defendant Gedderts' Twistars USA Gymnastics Club, Inc.
       cbullock@sbplclaw.com, lhaas@sbplclaw.com


                                                                                                     Humphrey Appellant Appendix 020
Case 1:20-cv-02522-SEB-MPB Document 8-2 Filed 11/30/20 Page 21 of 283 PageID #: 1599




                                                           Humphrey Appellant Appendix 021
Case 1:20-cv-02522-SEB-MPB Document 8-2 Filed 11/30/20 Page 22 of 283 PageID #: 1600




                                                           Humphrey Appellant Appendix 022
Case 1:20-cv-02522-SEB-MPB Document 8-2 Filed 11/30/20 Page 23 of 283 PageID #: 1601




                                                            Humphrey Appellant Appendix 023
Case 1:20-cv-02522-SEB-MPB Document 8-2 Filed 11/30/20 Page 24 of 283 PageID #: 1602




                                                            Humphrey Appellant Appendix 024
Case 1:20-cv-02522-SEB-MPB Document 8-2 Filed 11/30/20 Page 25 of 283 PageID #: 1603




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA


         IN RE:                   .         Case No. 18-09108-RLM-11
                                  .
         USA GYMNASTICS,          .         U.S. Courthouse
                                  .         46 East Ohio Street
                   Debtor.        .         Indianapolis, IN 46204
                                  .
         . . . . . . . . . . . . ..         August 26, 2020


                           TRANSCRIPT OF TELEPHONIC HEARING
                        ON MOTIONS TO ALLOW LATE FILED CLAIMS

                           BEFORE HONORABLE ROBYN L. MOBERLY
                      UNITED STATES BANKRUPTCY COURT CHIEF JUDGE


         TELEPHONIC APPEARANCES:


         For the Debtor:               Jenner & Block LLP
                                       BY: CATHERINE L. STEEGE, ESQ.
                                       353 N. Clark Street
                                       Chicago, IL 60654

                                       Plews Shadley Racher & Braun, LLP
                                       BY: GREGORY M. GOTWALD, ESQ.
                                            GEORGE M. PLEWS, ESQ.
                                            TONYA BOND, ESQ.
                                       1346 N. Delaware Street
                                       Indianapolis, IN 46202


         Audio Operator:               Michelle Dole


         Proceedings recorded by electronic sound recording, transcript
                        produced by transcription service.

         _______________________________________________________________

                              J&J COURT TRANSCRIBERS, INC.
                                  268 Evergreen Avenue
                               Hamilton, New Jersey 08619
                              E-mail: jjcourt@jjcourt.com

                      (609) 586-2311        Fax No. (609) 587-3599




                                                           Humphrey Appellant Appendix 025
Case 1:20-cv-02522-SEB-MPB Document 8-2 Filed 11/30/20 Page 26 of 283 PageID #: 1604


                                                                                             2

         APPEARANCES (Continued):

         For Terin Humphrey:           Mulvey Law
                                       BY: JOSEPH L. MULVEY, ESQ.
                                       133 W. Market Street, No. 274
                                       Indianapolis, IN 46204

         For Jane Doe:                 Hester Baker Krebs LLC
                                       By: JOHN JOSEPH ALLMAN, ESQ.
                                       One Indiana Square, Suite 1330
                                       211 N. Pennsylvania Street
                                       Indianapolis, IN 46204

         For the Sexual Abuse          Pachulski Stang Ziehl & Jones, LLP
         Survivors Committee:          BY: JAMES I. STANG, ESQ.
                                       10100 Santa Monica Blvd., 13th Floor
                                       Los Angeles, CA 90067

         For Liberty Insurance         Hangley Aronchick Segal Pudlin &
         Underwriters, Inc.:           Schiller
                                       BY: MATTHEW HAMERMESH, ESQ.
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      1              THE COURT:    Good afternoon.     This is Judge Moberly

      2 and I'm joining the call on 18-9108, In re USA Gymnastics.

      3 I've been asked to take the motions to allow late filed claims

      4 first and I believe that the one filed by Ms. Humphrey who is

      5 represented by Mr. Mulvey was the one that was to be teed up

      6 first because I believe Mr. Mulvey has another court

      7 appearance.

      8              Mr. Mulvey, are you on the phone?

      9              MR. MULVEY:    Yes, Your Honor.     Good afternoon.

     10              THE COURT:    Good afternoon.     And on behalf of USA

     11 Gymnastics, who's here?

     12              MS. STEEGE:    Good afternoon, Your Honor.            This is

     13 Catherine Steege on behalf of USA Gymnastics.

     14              THE COURT:    Okay.   And for the Survivors' Committee,

     15 who's going to speak on their behalf?

     16              MR. STANG:    Good morning, Your Honor.          James Stang,

     17 Pachulski, Stang, Ziehl and Jones.

     18              THE COURT:    Okay.   With respect to Ms. Humphrey's

     19 specific motion, is there anyone else who will be speaking to

     20 just this one motion or will -- meaning, you may be only

     21 interested in a different matter, but if you're going to speak

     22 as to this matter, please identify yourself.

     23                            (No audible response)

     24              THE COURT:    Okay.   I think we've got the universe of

     25 people who are interested in this particular motion.




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      1              Mr. Mulvey, you want to speak to it?

      2              MR. MULVEY:    Yes, Your Honor.     We're here today to

      3 decide whether my client, Terin Humphrey, is permitted to have

      4 her late filed claim for sexual abuse that occurred when she

      5 was 15 years old and whether it should be allowed.

      6              First, Your Honor, I filed recently a motion to

      7 strike Paragraph 14 of the objection that was filed by the

      8 Survivors' Committee.       That objection -- that paragraph of the

      9 objection refers to hyperlink to a newspaper article citing

     10 unsworn, unsubstantiated statements purportedly made by my

     11 client and I think it's improper for it to be considered in

     12 resolving the motion and the objection.          So preliminarily, I'd

     13 like to address that first if I may.          Frankly --

     14              THE COURT:    I've just got to tell you, I tried to

     15 click on it on two or three different computers and I could

     16 never get it to open.       So I haven't even got a clue what it

     17 says.    I don't know if other people are able or if the link is

     18 broken or if the federal court computer is picky about what

     19 it -- or pickier than usual about what it will let me open.

     20 I'm not sure, but it appeared to me the link was broken.

     21              MR. MULVEY:    Well, I was -- I'm hesitant to provide a

     22 way to get to the link, Your Honor, because we don't think that

     23 the information contained therein is a, relevant to the motion,

     24 or b, properly in evidence.        And that's all my motion seeks,

     25 Your Honor, is that paragraph of the objection simply speaks to




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      1 the proposition that my client was aware of the bar date.                       We

      2 don't dispute that.       That is -- it's admitted in the motion

      3 itself.     It's mentioned half a dozen times in the objection.                      I

      4 just -- my only request is that whatever -- to the extent you

      5 can't access it, so much the better, but it does contain a link

      6 to -- well, I'm not sure about the access issues, but it does

      7 describe an interview that happened with my client, and that's

      8 simply not proper to be considered at this time.               So I'd ask

      9 that that paragraph be struck and simply that those statements,

     10 unsworn, obtained out of context, and frankly, irrelevant, that

     11 those not be reviewed in adjudication of this, my client's

     12 motion because again, they're hearsay.          They're --

     13              THE COURT:    I'm not in position to consider it.

     14 Ms. Theisen or Ms. Caruso or Mr. Stang.          I think Ms. Theisen

     15 signed the pleading.       Does anybody find it or believe that it

     16 is particularly relevant to the decision-making here and that I

     17 need to read this?

     18              MR. STANG:    Your Honor, this is Mr. Stang.              If I may

     19 address it.

     20              The relevance is that the claimant was on the

     21 debtor's athletes' counsel from 2009 to approximately 2019.

     22 That is set forth in the article.         Her participation in that

     23 high level of USAG governance is important in the context of

     24 this claim objection.       Whether she -- so that is an important

     25 part of what is in that article, and --




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      1              THE COURT:    I understand that and I don't think

      2 there's any dispute as to what position and involvement she had

      3 with USAG during relevant times, relevant specifically to the

      4 abuse of the athletes by Nassar and others as well as the

      5 filing of the bankruptcy.        How about if we just take it at face

      6 value there and we move on?

      7              Mr. Mulvey?

      8              MR. STANG:    Your Honor --

      9              MR. MULVEY:    That's fine, Your Honor.          We concede as

     10 to the involvement with USA diving during that period and as to

     11 her being on the athletes' counsel.          We don't have any

     12 objection to that being a stipulated fact.           I just -- I have an

     13 issue with the article and all the other commentary in it

     14 that's inadmissible hearsay.

     15              MR. STANG:    Well, Your Honor, it's clear from her

     16 position on the athletes' counsel for that period of time that

     17 she must have been aware of the allegations against Mr. Nassar.

     18 And so whether she issued a meme or not and whether that

     19 demonstrated insensitivity perhaps is beside the point.                     But

     20 her position and what that -- knowledge that position would

     21 have -- what knowledge she would have had by virtue of that

     22 position we think is important.

     23              THE COURT:    Okay.   All right.    Proceed Mr. Mulvey.

     24 I'm not going to strike it, but I'm never going to read it.                          So

     25 go ahead.




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      1              MR. MULVEY:    Okay.   And then, secondly, from a

      2 procedural perspective, Your Honor, I've spoken or communicated

      3 with counsel for the Survivors' Committee and they've agreed to

      4 stipulate to the admissibility of Exhibits A and B to the

      5 motion which are the affidavit of Terin Humphrey and the

      6 declaration of Dr. Elig, respectively.          I would move to have

      7 those affidavits admitted into evidence for purposes of

      8 adjudicating the motion.

      9              THE COURT:    Okay.    Hearing no objection, we'll admit

     10 those two for the purpose of this hearing.

     11           (Humphrey Exhibits A and B admitted to evidence)

     12              MR. MULVEY:    Okay.   So finally, Your Honor, getting

     13 to the substance of the motion.         I think the parties are in

     14 agreement as to number one, the Court's authority to

     15 potentially deem this claim to be timely filed and also as to

     16 the standard that should be applied.          This is a question of

     17 whether there is excusable neglect.          And although the cases

     18 that we cite are different, I cite the Pioneer case, they cite

     19 the Kmart case, the standard is the same, and it's a question

     20 of four factors, whether there's prejudice to the debtor, the

     21 length of the delay and its impact on judicial proceedings, the

     22 reason for the delay, including whether it was in the

     23 claimant's control, and whether the movant acted in good faith.

     24              And with that standard in mind, Your Honor, speaking

     25 about the facts of this case, my client was 15 years old when




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      1 this happened to her.       When she was in a gymnastics

      2 competition, she was told to see Dr. Nassar, and she underwent

      3 what she thought was a routine medical procedure and didn't

      4 understand it, and with her 15-year-old mind, that what he was

      5 doing was wrong and what he was doing constituted abuse.                      She

      6 recalled that it happened but she didn't understand what

      7 that -- that it was abuse.        She just recalled an examination.

      8              And it wasn't until my client was lucky enough to be

      9 having her first child and she was being examined by doctors

     10 and those doctors' proximity to her genitalia and the area at

     11 issue here caused her to be -- the flood of memories that were

     12 triggered.     She experienced pain and anxiety, a flood of

     13 emotions that are described in detail in Dr. Elig's report.

     14 She couldn't sleep.       She couldn't eat.     She couldn't maintain

     15 relationships.      She felt helpless and overwhelmed because

     16 people were staring at her.        And she has destructing memory

     17 flashbacks and intense psychological distress.

     18              She has persistent negative beliefs about herself,

     19 irritable behavior, depression.         All of these behaviors, not

     20 only the behaviors themselves but the failure to acknowledge or

     21 to understand those symptoms until a triggering event, such as

     22 childbirth, is all very common.         It's accepted in medical

     23 literature.     Dr. Elig's analysis documents that.            It documents

     24 the fact that her testimony to him bears all the indications of

     25 truthfulness, that she's showing symptoms of child sexual abuse




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      1 and post traumatic stress disorder and that she wasn't aware of

      2 the fact of this abuse until she not only she experienced the

      3 symptoms and had them corroborated by her interview with him.

      4              And in fact, the statute of limitations that controls

      5 here under Virginia law specifically says that that statute

      6 doesn't even start until someone who's been -- sexual abuse and

      7 constitutes when someone's made aware of it by a doctor.                      It's

      8 when the facts or the injury and its cause or connection to

      9 sexual abuse is first communicated to the person by a licensed

     10 physician.     So the triggering event here is when she understood

     11 what happened to her and she didn't understand what happened to

     12 her until she met with that doctor in June of 2020.

     13              And so with those facts in mind, Your Honor, we move

     14 to -- the third and fourth factors of the Pioneer test of, you

     15 know, whether she acted in good faith and whether what she did

     16 was in her -- whether the delay was in her reasonable control.

     17 And frankly, Your Honor, these cases, the situation here is

     18 very similar to the cases cited in my brief in Sun Trust and

     19 the CFX case where there are injury -- there's an occurrence

     20 that happens.      She recalls the event, but the symptoms, the

     21 injury, the abuse they weren't triggered until the pregnancy.

     22 She did not have a claim when the claims bar date was filed.

     23 So the fact that she was aware of the claims bar date itself,

     24 whether through publication or through her working with the

     25 athletes' counsel, she didn't -- it's not her knowledge of the




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      1 claim that is late.       There's no dispute about knowledge of the

      2 claims bar date.      The dispute is about did she know about her

      3 claim, and she didn't.

      4              She had no idea what had occurred to her constituted

      5 abuse until she had been sitting in the room with her doctors

      6 and started to trigger those memories and that flood of pain

      7 and emotion that the doctors documented.           So it was not in her

      8 control.     This is something that happened.        Obviously, it

      9 wasn't in her control to be abused at 15 years old.                  It wasn't

     10 in her control for her memories about that to be set aside and

     11 repressed and unrealized.        And it wasn't in her control that

     12 recollection of those memories were triggered by her pregnancy

     13 or by doctors touching her and examining her in her pelvic

     14 area.

     15              Now that these memories have returned, she has to

     16 live with this for rest of her life, and it's something that

     17 she -- that we're all here and this bankruptcy is here to

     18 address these very same injuries.         And so given that her -- and

     19 there's no dispute about this in the objection.               No one

     20 contends that these are made-up symptoms, that there's any

     21 delay in the reporting once she became aware of the symptoms.

     22 The full thrust of the objection is that she knew of the date

     23 so therefore her claims are bad.         And the cases that were cited

     24 just don't speak to that.

     25              And if we think about the analysis of this inelastic




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      1 concept of excusable neglect, it requires a balancing of the

      2 equities, and so the first two factors speak to the state of

      3 the bankruptcy.      And I think it's abundantly clear to everyone

      4 on the line that this bankruptcy is in no way finalized,

      5 confirmed, or in the state where there's going to be plan

      6 payments made.      All of the cases that talk about prejudice

      7 barring payout are situations where there was already a

      8 confirmed plan and payments were already being made or there

      9 was some act or confirmation that had occurred that barred

     10 subsequent revisiting so that people who had already received

     11 some funds were going to be prejudiced.

     12              And here, there is no even, I think, a concept of

     13 what amount of money the insurance carriers are going to end up

     14 paying to this plan, if any, if it's going to come close to

     15 what the plan contemplates, and the number of claims involved

     16 are going -- obviously, all these numbers are going to impact

     17 that calculus, but without knowing the front end number the

     18 back end, you know, how it's going to be divided is almost

     19 irrelevant.     The objection talks about how it would be

     20 prejudicial to add claimants at this stage, but I can't

     21 understand mathematically or practically how that's the case.

     22              There's simply not enough information about what the

     23 ultimate recoveries are going to look like for one or two

     24 additional claimants being added to have any real impact.                       And

     25 as I mentioned in the brief, to the extent that the amended




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      1 plan is confirmed, which appears unlikely, but that's the only

      2 numbers that we have to go on, the other Subclass 6(a) elite

      3 gymnast claimants, there are 66 of them that have been, were

      4 filed after the bar date.        If my client -- if Ms. Humphrey's

      5 claim is allowed, that goes from 66 to 67, and that's a 1.5

      6 percent decrease in what those claimants would recover, which

      7 is about $18,000 on a $1.26 million claim -- 1.5 percent

      8 reduction.

      9              And whereas, the impact to my client if this isn't

     10 allowed, it's unclear what would happen if she was deemed a

     11 future claimant (indiscernible) action was opted for.                   But if

     12 the litigation election is opted for, the plan specifically

     13 states that she would get nothing.         And so it seems to me in

     14 the balance of the equities that on the one hand, my client

     15 didn't know -- didn't understand the abuse that had happened to

     16 her.    She filed the proof of claim and the motion -- as soon as

     17 she was diagnosed and had retained counsel to represent her,

     18 she filed the claim and she filed the motion.             And the impact

     19 to the creditors and to the bankruptcy estate is just a change

     20 in the variables on the front end.         There's -- 66 becomes 67.

     21 That's not a huge (indiscernible) -- 66 claimants, and it's not

     22 something that requires you to -- there's a hearing later today

     23 about requiring a settlement conference and forcing some

     24 participation on the settlement front.          The proceedings are

     25 confidential so I have no idea what numbers are being thrown




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      1 around or what the possible settlement looks like.                 But it's

      2 certainly, based on the filings that have been made and even

      3 the objection itself, we're not at a point where changes in

      4 circumstances can't be addressed and worked through in terms of

      5 coming up with a plan.

      6              And so for all these reasons, I think the balance of

      7 the equities that is required to be undertaken in evaluating a

      8 motion for a claim to be deemed timely filed under the Pioneer

      9 standard, it requires that Ms. Humphrey's claim be allowed as

     10 timely filed.      And I think, more broadly speaking, it's

     11 important to think about what's going on here.              This is

     12 survivors of sexual abuse telling another survivor of sexual

     13 abuse that, oh, I'm sorry, you didn't get your claim in in

     14 time, you didn't remember what happened to you fast enough, so

     15 you don't get anything, or potentially won't get anything.                           And

     16 that's simply -- the posture of this is problematic.

     17              There's a huge process going on here to see these

     18 victims recover what's possible for having endured suffering to

     19 an extreme level for hundreds of people and it seems

     20 inequitable that my client's claims should be barred or limited

     21 because her claim wasn't filed specifically on time because she

     22 wasn't aware of it and there's precedent to support that in the

     23 cases that we cited.       For all these reasons, I request that

     24 Ms. Humphrey's claim be deemed as timely filed.

     25              THE COURT:    Okay.   All right.    Ms. Steege, the debtor




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      1 didn't file an objection.        Is there any comment you want to

      2 make on the debtor's behalf?

      3              MS. STEEGE:    No, Your Honor.     We're not taking a

      4 position with respect to this particular motion.

      5              THE COURT:    Okay.   Mr. Stang?

      6              MR. STANG:    Thank you, very much, Your Honor.

      7              Your Honor, the Committee spent enormous amounts of

      8 time and energy.      The individual Committee members did on

      9 crafting a bar date motion and protections for the abused

     10 athletes a long time ago in this case.          They considered their

     11 own experiences, which included being abused as minors and

     12 their own (indiscernible) that the abuse they suffered, be it

     13 at the hands of Mr. Nassar or other coaches and representatives

     14 and agents (indiscernible) of USA Gymnastics and the Olympic

     15 Committee, and putting together how to protect people in the

     16 context of coming forward with claims.          And in fact, well over

     17 500 people who were abused as minors -- I don't think there's a

     18 single person whose abuse did not start at least when they were

     19 a minor, or if there are, there are truly a handful -- have

     20 come forward pursuant to that carefully crafted order.

     21              The debtor spent enormous sums of money getting the

     22 word out and providing for abuse survivors having a chance to

     23 tell their story.       Part of that carefully crafted process was

     24 the creation of the future claims representative who is

     25 involved in the case, represented by counsel, has participated




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      1 in the mediations and the negotiations.

      2              As we point out in our response, Ms. Humphrey is the

      3 classic future claimant.        She is not being ignored by this

      4 process.     She should file a future claim if such a opportunity

      5 arises through the confirmation of a plan, and if it doesn't

      6 and if she has the right under Virginia law -- Your Honor, I

      7 would -- unless that's you, Your Honor, I would ask if people

      8 could be please be on mute because of the paper rustling.

      9              As she has pointed out, (indiscernible) viable claims

     10 under Virginia law.       So she is not being left out.            And the

     11 notion that this is survivor hurting survivor really is unfair

     12 and raises, frankly, rises to the level of being offensive to

     13 the women who have devoted now almost two years to try and

     14 protect survivors.       We know there is no question that

     15 Ms. Humphrey knew about the bankruptcy and the bar date.                      But

     16 even more so, she had a unique position in USA Gymnastics to

     17 understand the history of what Mr. Nassar had done and the

     18 impact that other survivors said his so-called treatments gave

     19 rise to.

     20              The USA Gymnastics Athletes' Council's website says

     21 that their function, Ms. Humphrey's function, was to "share the

     22 concerns of athletes with representatives from USA Gymnastics

     23 and advocate on behalf of the athletes they serve."

     24 (Indiscernible) can be no realistic question that Ms. Humphrey

     25 knew about the allegations made against Mr. Nassar, knew what




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      1 athletes were saying about what these treatments actually were,

      2 which was abuse, and that it had a impact on their lives.

      3              Nowhere in any of the pleadings submitted by

      4 Ms. Humphrey, other than the advocacy part by Counsel, is there

      5 the term "repressed memory."        I word searched the doctor's

      6 affidavit.     Those words, that phrase, does not appear in the

      7 word search.      And so she knew what Mr. Nassar had done and she

      8 had the opportunity to file a claim.          And she has an

      9 opportunity to receive compensation if a plan is confirmed as a

     10 future claimant.      And nowhere does Ms. Humphrey contest that

     11 she falls into that classification.          This is not the time to

     12 disrupt something that has been in place for almost two years.

     13              The plan, in terms of whether it, you know, what

     14 percentage change Ms. Humphrey's claim might represent is

     15 irrelevant in that sense.        It would effectively be a plan and

     16 the future claimant status is not irrelevant.             There is a

     17 future claims rep.       That future claim rep has to be a part of

     18 the plan.     And the people falling under his purview, if you

     19 will, will get treated.        (Indiscernible) plan provisions are

     20 irrelevant, and they're irrelevant to the Committee in part

     21 because that matrix was not negotiated by the Committee.                      The

     22 Committee had no input on that matrix.          The treatment of late

     23 claims and what the plan says will happen to those late claims

     24 had no input from the Committee.

     25              And so referring to the plan and suggesting that




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      1 Ms. Humphrey's claim would be de minimis or contrary to the

      2 provisions of the plan itself simply should not be the subject

      3 of conversation because that plan, at least from our

      4 perspective, is, as you know, something that we do not accept.

      5 But clearly, even putting aside whether we accept it or not was

      6 not the subject of any input from the Committee, at least on

      7 those issues.

      8              Taking a step back, Your Honor, the Committee is not

      9 giving up on the possibility of having a negotiated settlement

     10 of this case.      We joined in the motion that is going to be

     11 heard by you later on calendar.         So when the Committee has been

     12 negotiating regarding the amounts to be paid into a settlement,

     13 it is doing it from the perspective of claims that are timely

     14 filed.     And I guess one could say as counsel has, hey, it's

     15 just one claim.      It's one or two claims, what's the big deal?

     16 But if this motion is granted, especially given these facts, we

     17 expect that there will be an avalanche of claims that

     18 (indiscernible) our efforts to try to bring some finality to

     19 this case.

     20              And the debtor was very careful when it previously

     21 stipulated to a late claim being timely allowed that this did

     22 not apply to any other claims because it understood, and the

     23 Committee understood, that this could be the tip of the iceberg

     24 and we did not want to be in a position of opening Pandora's

     25 box.    And that is what we fear will happen with the Court




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      1 allowing this claim and the next claim to come in.

      2              So that's where we are, Your Honor.          You had a very

      3 highly negotiated crafted bar date motion.           There were

      4 objections to it.       You heard them.    You resolved them.

      5 Provision was made for a future claims rep.           That is where

      6 Ms. Humphrey -- she is in that claim rep's constituency.                      She

      7 has not shown that she was not aware of what Mr. Nassar had

      8 done to her.      She must have been aware of what people were

      9 saying, was the effects of his so-called treatments, and she

     10 did not do anything.       She even put in a placeholder claim to

     11 ensure that it would be timely filed.

     12              Thank you, Your Honor.

     13              THE COURT:    Okay.   Mr. Mulvey, do you want to make

     14 any very brief response?

     15              MR. MULVEY:    Yes.   As to the claim that -- the

     16 repeated claim that there was a very crafted process for

     17 creating this claim's bar date, it sounds as if the survivors

     18 participated in those discussions, but they're not medical

     19 experts.     They're not doctors.      They can't speak to whether or

     20 not there are other claimants whose symptoms would be delayed

     21 or unrepresented later on down the line.           This is a very

     22 delicate sort of conduct that we're talking about here.

     23              My client didn't understand what had occurred.                   She

     24 recalled the examination, but she did not understand the nature

     25 that it was abuse and the pain, and the suffering, and the




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      1 psychological impact of that until she was examined in terms of

      2 her pregnancy.      And the affidavit of Dr. Elig is very clear on

      3 that.    He's correct.     It's not -- repression of memory is my

      4 lawyer's term for what I understood to have happened, but

      5 that's not what the doctor says.         The doctor says she did not

      6 understand these symptoms.        She did not understand that she

      7 suffered abuse until she had a flood of emotions upon the child

      8 birth.

      9              The doctor's opinion speaks for itself.             She didn't

     10 realize -- it's just as in those other cases.             She didn't

     11 realize she had a claim.        She didn't realize she had been

     12 abused until she had symptoms occur as a result of the exam

     13 from her pregnancy.

     14              And so in terms of this carefully crafted bar date,

     15 it's essentially an argument that, well, everyone got together

     16 and set up the bar date and want to shut the door as quickly as

     17 possible to these survivors.        And yet, there's 500 survivors.

     18 First, we have no evidence that there is a flood or an

     19 avalanche of other claimants.         And what's the equity for

     20 limiting these -- my client and Ms. Doe who's represented by

     21 Mr. Allman that the equities are in favor of letting these

     22 people share in the recovery.         They all suffered abuse.              The

     23 deadline is an imposition.        It speaks to -- it was in some ways

     24 somewhat arbitrary the way that line was drawn.               And my

     25 client -- yes, there's a future claims representative who under




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      1 the plan is going to get 5 percent of the total payout, but

      2 that's going to be, you know, (indiscernible) that the future

      3 plan encompasses claimants who come after the plan is

      4 confirmed, claimants who come after -- that are further along

      5 down the line in this process where there would be prejudice

      6 because things are set in place and payments have been made and

      7 recoveries are being calculated.

      8              She's not -- my client is not in the future in

      9 respect to this bankruptcy.        She's right now.       We're right in

     10 the middle of it.       We're trying to figure it out.           It's being

     11 negotiated and if the parties are at an impasse, changing a

     12 small variable isn't going to -- isn't going to impact those

     13 negotiations substantively.        And so I think all the equities

     14 point to letting my client pursue her claims as a claimant with

     15 a timely proof of claim.

     16              THE COURT:    Okay.   With respect to the comment that

     17 some parties to they short the door quickly to claimants, I

     18 just want to comment that the bar date was many months after

     19 this bankruptcy was filed, and the bar date was April 29, 2019.

     20 If this was May 2019, you could argue that somehow the door

     21 should just stay open a little bit, you know.             But, you know,

     22 15 months --

     23              MR. MULVEY:    I understand.

     24              THE COURT:    -- that's not a sound argument.              This is

     25 really about -- not about, as Mr. Mulvey acknowledged.                    It's




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      1 not a repression of memory.        This is a claimant who knew

      2 exactly what happened to herself, she just didn't experience

      3 the suffering and the damages from it until it was sparked

      4 by -- apparently by a childbirth occurrence.            I mean, women

      5 have gynecological exams all the time, but somehow having

      6 childbirth was the one that triggered it.           I don't have any

      7 question about her veracity.        She's been very truthful about

      8 it.    She knew she had a claim, she just didn't know how big her

      9 damages were.      That's exactly what the argument is.

     10              When you say there's no danger of prejudice, we

     11 haven't really left this door open because I can't make these

     12 decisions on a whim or on sympathy.          There has to be bright

     13 lines so that everybody knows.         And if I let anybody in who now

     14 claims that they were abused by Nassar years ago, they knew it

     15 the whole time, they knew there was a bankruptcy, they knew

     16 there was a claims bar date, they were very involved, but they

     17 just didn't know what the (indiscernible) emotionally would be,

     18 that's no reason to open the door and potentially let anyone in

     19 who has -- who can make a likewise argument.

     20              So I just think my bright line rule has to exist.                       We

     21 have a bar date of April 29, 2019.         I'm very glad that with

     22 this one particular claimant, if a plan is ultimately

     23 confirmed, there will be some money for her.            And not that her

     24 primary interest (indiscernible) isn't, or at least, at this

     25 point, it's not being discussed, the significant benefits to




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      1 future athletes in the reorganization of USAG and the safe

      2 sport rules and all the other cautionary policies that have

      3 been put into place, that's enormous.

      4              And I know that doesn't directly benefit your client,

      5 and I understand that this discussion is just about money.                           But

      6 she's been involved in all of this and been around talk.                      I

      7 just have trouble opening that door for her and potentially

      8 letting anybody in who could come up with a similar reason for

      9 requesting that their late filed claim be allowed.

     10              So I kind of rambled her at the end.           I apologize for

     11 that.    So I am glad that she will get some monetary

     12 compensation if a plan is confirmed for the future claimant's

     13 fund.    So the motion is denied.

     14              And Mr. Mulvey, I understand you have another

     15 hearing.     I hope we didn't keep you from that.

     16              MR. MULVEY:    No, Your Honor.     Thank you.

     17              THE COURT:    Okay.   Thank you very much.

     18              Okay.   So we are going to move on to the second

     19 motion to allow a late filed claim by J.J. Doe and representing

     20 Ms. Doe is, help me.

     21              MR. ALLMAN:    John Allman, Your Honor.          Good

     22 afternoon.

     23              THE COURT:    Oh, that's, John.     And I'm sorry.             I knew

     24 it was somebody I knew, I just couldn't remember.                I apologize.

     25 How are you doing, John?




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      1              MR. ALLMAN:    I'm okay.    Thank you.     How are you?

      2              THE COURT:    I'm well.    Thanks, very much.

      3              Okay.   Would you like to -- I know after the last

      4 one, you're trying to regroup a little bit.           Do you want to

      5 make some comments on behalf of your client?

      6              MR. ALLMAN:    Absolutely, Judge.

      7              My client wishes to remain anonymous to protect her

      8 privacy and she is not on this call.          However, I'm prepared to

      9 move forward with the motion.

     10              THE COURT:    Okay.   Thank you.

     11              MR. ALLMAN:    Judge, just to summarize the facts

     12 surrounding my client's situation.         She was a member of USAG

     13 for about 10 years from age 7 to age 17.           During that time, she

     14 was sexually abused by Larry Nassar.          She never disclosed that

     15 abuse to anyone until August of 2019, which was after the bar

     16 date when she told her mother.         The family immediately began

     17 searching for counsel to protect her interests.               They then

     18 became aware for the first time of this bankruptcy and the bar

     19 date order.     She shortly thereafter filed her Claim Number 550

     20 that was filed on or about October 3, 2019.           She never received

     21 actual notice of the bankruptcy or the bar date.

     22              As just discussed in the last matter, this Court does

     23 have the discretion to extend the bar date if cause is shown

     24 under Federal Bankruptcy Procedure 3003(c)(3).              Mr. Mulvey laid

     25 out the facts -- the relevant standard, excusable neglect in




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      1 the Pioneer case.       Judge, we submit that those factors weigh in

      2 our client's favor and that you should find that the bar

      3 date -- excuse me, that her failure to file by the bar date was

      4 the result of excusable neglect.

      5              The reason for the delay was outside her control.

      6 The sort of trauma that was suppressed or repressed her

      7 understanding and until she finally disclosed it to her mother,

      8 she didn't realize that she had been abused in the way that she

      9 now does.     We submit that there's little to no prejudice to the

     10 debtor and the affected parties, but there is extreme prejudice

     11 if this motion is denied, Judge.

     12              I understand from the last hearing that you believe

     13 the future claimant is here to help, and while I believe that

     14 is the intent, my understanding is that future claims -- I

     15 think it's a trustee -- has discretion.          And so we're asking

     16 for this Court to exercise its discretion under Rule 3003(c) so

     17 that we don't have to later hope that the trustee or

     18 administrator of the future claimants rules against us.

     19              Going forward, Judge, again, it was not until she

     20 became aware of -- it was not until, excuse me, she disclosed

     21 the trauma to her mother that she became of this bankruptcy and

     22 the bar deadline.       We submit there's no delay in these

     23 proceedings.      The debtor and the Committee have been aware of

     24 her claim since last October.         Unfortunately, it sounds like

     25 the recent mediation was unsuccessful.          That should lead to




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      1 further discussions and negotiations, which kind of underscores

      2 there's little to no prejudice.         My client has acted in good

      3 faith, Judge.

      4              In regards to notice, the Committee in its objection

      5 stated that my client was not a known creditor and therefore

      6 was entitled to constructive notice only.           In the reply, I

      7 respectfully disagree with that position and I cite to the

      8 Fifth Circuit case of In re Placid Oil.          In that case, the

      9 court states that known creditors get actual notice and known

     10 creditors include claimants known to the debtor whose

     11 identities are reasonably ascertainable.           And a claimant is

     12 reasonably ascertainable if he can be discovered through

     13 reasonably diligent efforts.

     14              Judge, my claimant grew up in Michigan where Larry

     15 Nassar lived and worked outside of USAG.           The debtor should

     16 have served all of its gymnasts who lived in Michigan who

     17 probably had proximity to Larry Nassar.          This case was filed as

     18 a result of a known predator.         Unlike the asbestos case where

     19 the court denied a late claim on the basis that they were not

     20 known because anyone in the vicinity could have been damaged by

     21 asbestos and at the time of the filing, the debtor did not know

     22 of actual injuries, it only knew of potential risk.                  That's not

     23 the case here.      The debtor in this case knew of actual injuries

     24 and that's why they went into bankruptcy.

     25              So for all those reasons, Judge, we submit that her




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      1 failure to file by the bar date was the result of excusable

      2 neglect and that cause exists to extend it as it relates to

      3 her.    Judge, at this time, I would like to introduce into

      4 evidence the affidavit that I filed along with the motion and

      5 yesterday I submitted to chambers and counsel and marked as

      6 Exhibit A.

      7              THE COURT:    It's the affidavit, obviously, of your

      8 client.     Is there any objection, Mr. Stang?

      9              MR. STANG:    No objection, Your Honor.

     10              THE COURT:    Okay.   Then, we'll admit the affidavit as

     11 Exhibit A.

     12              (Claimant's Exhibit A admitted to evidence)

     13              MR. ALLMAN:    Thank you, Judge.

     14              In conclusion, we obviously ask that the Court

     15 overrule the objection and grant our motion and we have -- we'd

     16 be happy to upload a revised order.          We had previously

     17 submitted an order with our motion as an exhibit that reflected

     18 no objection, and so we have a revised order that reflects the

     19 pleadings filed and that there was a hearing today.                  And we ask

     20 the Court to make a finding that cause exists to extend the

     21 deadline as it relates to my client's claim.            Thank you.

     22              THE COURT:    Okay.   Mr. Stang?

     23              MR. STANG:    Thank you, Your Honor.

     24              Your Honor, this motion, perhaps more so than the

     25 prior one, really raises a collateral attack on the bar date




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      1 order.     Because in effect what is being said today is that

      2 anyone, regardless of whether they were known to have come into

      3 contact with Mr. Nassar, should have received direct notice.

      4 Now, that argument might have been convincing to you at the

      5 time that the bar date motion was being litigated.                 And you

      6 might have said, you know, that's not a bad idea, or you would

      7 have said that's just too broad notice given the publication

      8 notice that the debtor was proposing and then, in fact,

      9 effectuated at a cost as I understand of several million

     10 dollars.

     11              So we're looking at this, not from the courtroom

     12 hearing when you were considering the bar date motion, but well

     13 after all the efforts were made to give notice.               The motion for

     14 relief at Paragraph 39 says excusable neglect -- that

     15 they're -- I'm sorry, Ms. Doe, can demonstrate excusable

     16 neglect "because she did not receive notice of the bankruptcy."

     17 Well, when I read that, I hear the publication notice is

     18 meaningless because she didn't receive direct notice.                   And so

     19 what does publication notice mean if it doesn't have any

     20 effect?

     21              She says in her affidavit that she did not disclose

     22 the abuse she suffered from Mr. Nassar -- I'm sorry.                   At

     23 Paragraph 10 of her affidavit, she says for years she kept the

     24 abuse to herself because she was not comfortable discussing it

     25 or her relationship with the debtor to anyone, including her




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      1 parents.     Now, I don't know if that takes her in or out of the

      2 future claims constituency.        The Committee is not trying to

      3 keep people from receiving compensation as a matter of

      4 principal.     They're trying to maintain order to this

      5 proceeding.     And if Ms. Doe falls within the future claims

      6 constituency, she will be treated however the plan ultimately

      7 treats them.

      8              But the idea that now we're going back and saying, oh

      9 you should have given notice to every gymnast in the State of

     10 Michigan, regardless of whether they were in touch with Nassar

     11 or not, is (indiscernible) a true collateral attack on the

     12 prior order.      Your Honor, I'm not going to repeat the prejudice

     13 issues that we discussed on the last matter.            Counsel was on

     14 the phone and I just don't see the point in repeating myself.

     15              So that is our position on Ms. Doe's motion, Your

     16 Honor.

     17              THE COURT:    Mr. Allman, do you want to make any

     18 response?

     19              MR. ALLMAN:    Yes, Judge.

     20              Your Honor, I find it hard to believe that my client

     21 should be punished for not receiving notice of the bar date and

     22 having her opportunity to argue.         (Indiscernible) maybe she's

     23 the type of person that received -- should have received actual

     24 notice.     I'm sorry.    That just falls on deaf ears and it

     25 doesn't seem like a credible argument.          And in regards




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      1 to -- Congress set up Rule 3003 to allow courts such as

      2 yourself to, in certain circumstances, extend the bar date.

      3 This is one of those extenuating circumstances, Judge, where

      4 you have discretion to allow the claim.

      5              My client immediately upon realizing she had a claim

      6 filed it and we're here today, Judge, asking you to let it be

      7 in as an allowed claim.        Nothing further.

      8              THE COURT:    Okay.   Thank you.

      9              These are unpleasant rulings to make because the

     10 claimants are so sympathetic to me, but if -- I thought that

     11 the -- and still think that the publication notice that was

     12 given was extraordinary.        Setting aside -- and it's only about

     13 the actual constructive notice by law, but I do want to mention

     14 that the bankruptcy had to have been -- I mean, if you were in

     15 this country and didn't know there was a bankruptcy filed, you

     16 were unreachable unless someone tapped you on the shoulders.

     17 It was in the Wall Street Journal, Reuters, USA Today, NPR, LA

     18 Times, CNN, Washington Post, it goes on and on and on, and of

     19 course, the actual publication notice was in USA Today.                     I

     20 don't think that she -- I don't -- I know she was not entitled

     21 to actual notice.

     22              They may have somewhere in some file somewhere have

     23 had her name as having been a gymnast, but that doesn't make

     24 her known to claimant.       They have to have known that she was

     25 abused by Nassar to have her been a known claimant.                  She could




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      1 have written a letter to USA Gymnastics at some point and she

      2 probably would have been swept up in that group that got actual

      3 notice.     They would have known she (indiscernible).

      4              There has to be some responsibility to

      5 (indiscernible) national discussion and, you know, just picking

      6 up the phone, looking at a newspaper, there are, you know,

      7 innumerable ways she could have made her self aware and there

      8 is some responsibility on a human being to be aware.                   And

      9 she -- as I said, she wasn't entitled to constructive notice --

     10 I'm sorry, to actual notice.        She was only entitled to

     11 constructive notice.       And again, (indiscernible) my concern

     12 about opening a floodgate.        Everyone that knows they were

     13 abused, if they haven't filed a claim, the only thing that

     14 would stop them at this point would be the bar date.

     15 Otherwise, if I said anybody who didn't file a claim can tell

     16 me that they didn't get actual notice of the filing and the bar

     17 date, that could potentially be a pretty wide net.

     18              So I think there is danger of prejudice to debtor.                      I

     19 think, as I said, the length of the delay is somewhat notable.

     20 As I said, she was well aware that she had a claim, she just

     21 didn't act to bring the claim presumably because she, as she

     22 said, she only got constructive and not actual notice.                    I'm not

     23 going to open the door to any more.          It's not my intention to

     24 open the door to any more late claims and the very, very few

     25 that we have, so I'm going to deny the motion, Mr. Allman.




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      1              Okay.   Thank you.

      2                        (End of requested portion)

      3

                                C E R T I F I C A T I O N

                     We, KAREN WATSON, court approved transcribers,

          certify that the foregoing is a correct transcript from the

          official electronic sound recording of the proceedings in the

          above-entitled matter, and to the best of our ability.



          /s/ Karen Watson

          KAREN WATSON

          J&J COURT TRANSCRIBERS, INC.            DATE:    September 1, 2020




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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

   IN RE:                                       )
                                                )         Chapter 11
                          1
   USA GYMNASTICS,                              )
                                                )         CASE NO. 18-09108-RLM-11
                          DEBTOR.               )

                 REPLY IN SUPPORT OF MOTION TO ALLOW LATE FILED CLAIM
                             TO BE TREATED AS TIMELY FILED

            Comes now creditor, Terin Humphrey (“Claimant”), by counsel, and files her Reply2 in

   support of her Motion to Allow Late Claim to be Treated as Timely Filed (the “Motion”) [Doc. No.

   1213], filed on July 30, 2020, seeking authority for the claim filed by Claimant at 3:26 p.m. EDT in the

   above-referenced Bankruptcy Case under Claimant’s name and signed by Claimant (the “Claim”) to be

   deemed timely filed, which Reply is in response to The Additional Tort Claimants Committee of Sexual

   Abuse Survivors’ (“Survivors Committee”) Consolidated Objection to Motions to File Claim After Bar

   Date [Doc. No. 1227] (the “Objection”) filed on August 19, 2020, all in advance of the hearing set

   with respect to the Motion and Objection currently scheduled for August 26, 2020 at 1:30 p.m. (the

   “Hearing”).

            1.     The primary thrust of the threadbare Objection is that, because Claimant was aware of

   the Bar Date, the Motion must be denied. The Objection, however, fails to cite any case law in support



   1
   The last four digits of the Debtor’s federal tax identification number are 7871. The location of the
   Debtor’s principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
   2
   Pursuant to previous Case Management Orders, Claimant is required any reply in support of the
   Motion to be filed by 4 p.m., three (3) days prior to the Hearing, which date was yesterday, Sunday,
   August 23, 2020. Pursuant to Bankruptcy Rule 9006(a)(C), that deadline is shifted to 4:00 p.m., today,
   Monday, August 24, 2020.

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   of this contention3, and fails to address, or even acknowledge, Claimant’s very real, medically

   accepted, and diagnosed condition of memory repression, which has prevented her recollection of the

   horrific circumstances of abuse that give rise to the Claims until after the Bar Date.

          2.      Although the Objection cites the same 4-factor4 standard as the Motion for determining

   whether a claimant has established such that a late-filed claim should be timely allowed, the Objection

   fails to provide any legal or evidentiary support as to why Claimant’s Claim does not meet this

   standard.

          3.      More specifically, the Objection fails to [1] describe any specific prejudice to the

   Debtor, or to the Survivor’s Committee, or [2] to specify any impact on the judicial proceedings.

   By contrast, the facts set forth in the Objection confirm the lack of prejudice to either the Debtor or the

   Survivors Committee if the Motion is granted, and the lack of impact on the proceedings. The

   Survivors Committee concede in the Objection that “mediation is at an impasse” [Objection, p. 3], “the




   3
     The Objection erroneously state that Claimant’s awareness of the Bar Date is “fatal” to Claimant’s
   Motion [Objection, p. 13]—the Objection completely fails to address those cases, cited in the Motion,
   whereby claimants that knew of the bar date, but, similarly to Claimant, were not aware of injuries
   providing a basis for filing a claim, were permitted to have their late-filed claims deemed timely filed.
   In re SunCruz Casinos, LLC, 377 B.R. 741 (Bankr. S.D. Fla. 2007) (allowing late-filed claim when
   claimant was aware of bar date, but was not aware of his claim because his injuries had healed but
   regressed) Needy v. CSX Transp., Inc., 2000 WL 34249112, 2000 U.S. Dist. LEXIS 22603 (W.D. Ky.
   Mar 21, 2000) (exposure to chemicals caused latent symptoms triggering basis for claim after bar date
   of which claimant was aware).
   4
     “[1] the danger of prejudice to the debtor;
   [2] the length of the delay and its potential impact on judicial proceedings;
   [3] the reason for the delay, including whether it was within the reasonable control of the
   movant; and
   [4] whether the movant acted in good faith.” [Objection, p. 4] (quoting In re Kmart Corp., 381 F.3d
   709, 713 (7th Cir. 2004)).


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   Survivors’ Committee opposes the Plan” [Objection, p. 5], and that hearings on the Disclosure

   Statement, the Survivors Committee’s objection to the Plan remain pending [Objection, p. 3].

          4.      Simply put, the Objection fails to describe any prejudice to the Survivors’ Committee or

   the Debtor, or impact on the proceedings, arising from the granting of the Motion because, at this stage

   of the bankruptcy, there is no prejudice. The landscape of this case is still shifting. It is unclear whether

   the Plan, or any plan, will be funded to by insurance carriers of the Debtor and the United States

   Olympic & Paralympic Committee—or if those carriers will participate in meaningful mediation. See

   Joint Motion Requesting the Court to Conduct a Settlement Conference and for Other Relief [Doc. No.

   1230] (filed by Debtor and the Survivors’ Committee on August 20, 2020, and further confirming that

   mediation is at an impasse, and alleging that the applicable insurance carriers are not participating in

   good faith by refusing to participate in meaningful settlement discussions).

          5.      With respect to “[3] the reason for the delay, including whether it was within the

   reasonable control of the movant; and [4] whether the movant acted in good faith”, the Objection is

   again silent. Claimant has stated under oath, which testimony has been corroborated by Dr. Elig’s

   diagnosis, that she was not aware of the Claim until her memories were triggered by the birth of her

   first child and her subsequent treatment of the emotional trauma stemming from those memories. This

   is why the Claim was filed after the Bar Date—Claimant was not aware of the memories providing the

   basis for the Claim until after the Bar Date. The Objection fails to refute, address, or even acknowledge

   this fact or the medical literature supporting it. Thus, the Objection has not rebutted Claimant’s

   justifiable reasoning for filing the late Claim, the lack of her control in so doing, or Claimant’s good

   faith with respect thereto, all as established in the Motion.




                                                         3




                                                                              Humphrey Appellant Appendix 060
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          6.      The prejudice to Claimant, however, if the Motion is denied, is significant. Based on the

   current Plan, to the extent it is confirmed and the litigation election is taken, Claimant would receive

   nothing. [Plan, p. 40].

          7.      The two (2) cases that are cited in the Objection are completely dissimilar to the

   circumstances of Claimant’s claim and thus do not rebut the excusable neglect established in the

   Motion. In In re Kmart Corp., 381 F.3d 709, 713 (7th Cir. 2004) the claimant and her counsel knew of

   the claim, knew of the bar date, and yet, due to the alleged mistake of a clerk, the claim was filed one

   day after the bar date. In the face of such knowledge, and claimant’s knowing delay by waiting until

   the last minute to file the claim, the bankruptcy court denied the motion to deem the claim timely

   filed—refusing to shift the burden of claimant and claimant’s counsel’s knowing delay to the debtor.

   Id. Also of significance in Kmart was the fact that the motion to have the late claim deemed timely

   filed was not filed until 53 days after the late claim was filed—Claimant filed her Motion on the same

   day that her Claim was filed.

          8.      In In Re Nat’ls Steel Corp., 316 B.R. 510, 515 (Bankr. N.D. Ill. 2004) a sophisticated

   corporate entity, which owned majority of Chapter 11 debtors' stock, was fully aware of the claims bar

   date, and was heavily involved in Chapter 11 case from its inception, was not permitted to file

   untimely proof of claim on excusable neglect theory. It is difficult to imagine how a corporate entity in

   the posture of Steel Corp. bears any similarity to Claimant’s memory of sexual abuse being repressed.

          9.      Additionally, the Objection fails to address the relevancy of the expected nature of the

   Claim, and that claims such as the Claim would seek to be timely filed, all as set forth in the Plan.5 In



   5
      Plan, p. 82, “4.2.5. Late-Filed Abuse Claims. There are seven (7) Abuse Claims that were filed
   after the deadline for submitting Abuse Claims in the Case. The Trustee, in his sole discretion, may
   treat such late-filed Abuse Claims as timely or disallowed. If the Trustee treats late-filed Abuse Claims
                                                        4




                                                                             Humphrey Appellant Appendix 061
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   re Eagle Bus Mfg., Inc., 62 F.3d 730, 737-738 (5th Cir. 1995) (finding relevant that “[q]uite the

   contrary, these late filed claims were clearly expected by the debtor.” (quoting In re Alexander's Inc.,

   176 B.R. at 722 (expectation of claim is one factor to consider in determining if the debtor is

   prejudiced))).

                                                Conclusion

           The Objection serves only to repeat Claimant’s admission that she was aware of the Bar

   Date. The Objection does more to support the Motion than to oppose it, because it fails to

   describe any actual, cognizable or describable prejudice to the Survivors Committee or the

   Debtor to the extent the Motion is granted. Neither Claimant’s reason for the Claim being filed

   after the Bar Date, Claimant’s supporting case law cited in the Motion, nor Claimant’s

   discussion of the lack of prejudice to the Debtor or other creditors are even addressed in the

   Objection. The lack of substantive resistance to the Motion contained in the Objection make

   clear that Claimant, via the Motion, has met her burden to show excusable neglect for failing to

   file the Claim prior to the Bar Date, and thus Claimant reiterates her request that her Claim be

   determined to be timely filed.

           WHEREFORE, Claimant respectfully petitions the Court for an order: (1) approving the

   Motion; (2) overruling the Objection; (3) authorizing Claimant’s Claim filed on July 30, 2020 to be

   treated as timely filed; and (4) for all other just and proper relief.

                                                              Respectfully submitted,

                                                              MULVEY LAW LLC

                                                              By:    /s/ Joseph L. Mulvey
                                                                     Joseph L. Mulvey (#30052-49)

   as timely filed, each late-filed Abuse Claim shall be classified in Subclass 6A, 6B, 6C, or 6D, as
   appropriate.”
                                                          5




                                                                                Humphrey Appellant Appendix 062
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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


       In re:                                                  Chapter 11
                               1
       USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                              Debtor.


                      JOINT MOTION REQUESTING THE COURT TO CONDUCT
                      A SETTLEMENT CONFERENCE AND FOR OTHER RELIEF

                USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11

   case (the “Debtor” or “USAG”), and the Additional Tort Claimants Committee of Sexual Abuse

   Survivors (the “Survivors’ Committee”) jointly move this Court (the “Motion”) for the entry of

   an order, substantially in the form attached hereto as Exhibit A, pursuant to sections 105(a) and (d)

   of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) and Local

   Rule B-9019-2, ordering certain parties to participate in a settlement conference conducted by this

   Court. In support of this Motion, the Debtor and the Survivors’ Committee respectfully state as

   follows:

                                               JURISDICTION

                1.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(a). This is

   a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O), and the Court may enter a final

   order consistent with Article III of the United States Constitution. Venue is proper pursuant to 28

   U.S.C. § 1408.




   1
    The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
   principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.



                                                                                   Humphrey Appellant Appendix 063
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                                           BACKGROUND

          2.      From its start, the focus of USAG’s chapter 11 case has been to reach a mediated

   resolution of the claims of the Survivors. To accomplish that goal, on May 17, 2019, the Court

   entered an Order appointing the Honorable Gregg W. Zive as the mediator in this case. [Dkt. 514.]

   Judge Zive conducted multiple mediation sessions in 2019 and 2020. When discussions among

   USAG and USOPC’s insurance carriers bogged down, the Court authorized the participation in

   the mediation of a second mediator, Paul Van Osselaer, to mediate the intra-carrier insurance

   disputes.

          3.      On June 19, 2020, the Court entered a further Order in aid of the mediation directing

   that: (i) additional mediation sessions occur no later than August 14, 2020; (ii) the Survivors’

   Committee, the United States Olympic and Paralympic Committee (“USOPC”), and the USAG

   and USOPC insurers submit “meaningful” settlement offers before such mediation, and (iii) the

   Debtor may file an amended plan and disclosure statement at any time up until August 27, 2020.

   [Dkt. 1145 at ¶¶ 2, 4.]

          4.      Judge Zive conducted mediations on August 11 and 12, 2020 with the participation

   of Mr. Van Osselaer. No settlement was reached. The members of the Survivors’ Committee

   attended the mediation sessions as did USAG’s Chief Executive Officer, Li Li Leung, and its

   Board Chair, Kathryn Carson. The insurers for USAG and USOPC did not bring their CEOs to the

   mediation session. Moreover, not all of the carriers brought persons with ultimate, unrestricted

   settlement authority.

          5.      The insurance carriers for USAG and USOPC did not comply with this Court’s

   June 19 Order to make meaningful settlement offers. USAG and the Survivors’ Committee

   consider the insurance carriers’ positions to be in violation of this Court’s June 19, 2020 Order and




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   believe that the carriers have acted in bad faith with the goal of delaying this case for their own

   economic benefit.

                                         RELIEF REQUESTED

          6.      By this Motion, USAG and the Survivors’ Committee seek entry of an order

   directing the Committee, USAG, USOPC, and the insurance carriers for USAG and USOPC to

   attend a settlement conference to be conducted by this Court via teleconference. The Debtor and

   the Survivors’ Committee further request that the Court direct each of the insurance carriers to

   bring their chief executive officers and all other persons necessary for final, unrestricted settlement

   authority to attend the settlement conference. USAG and USOPC should be directed to bring their

   leadership teams, including their chief executive officers and board chairs. The Debtor and the

   Survivors’ Committee also request that the Court extend the deadline for filing an amended plan

   and disclosure statement to a date following such settlement conference.

                                            BASIS FOR RELIEF

          7.      This Court has broad authority to issue orders and manage the conduct of the cases

   before it. See 11 U.S.C. § 105; In re Volpert, 110 F.3d 494, 500 (7th Cir. 1997) (“Section 105

   grants broad powers to bankruptcy courts to implement the provisions of Title 11 and to prevent

   an abuse of the bankruptcy process”); Citizens Gas & Coke Utility v. Matthews, No. 03-2064, 2004

   WL 2137637, at *8 (S.D. Ind. Aug. 13, 2004) (same).

          8.      USAG filed its chapter 11 case to resolve the Survivors’ claims equitably. Failure

   to reach a settlement benefits no one.

          9.      To date, no settlement has been reached. As a result of the mediations that occurred

   on August 11 and 12, 2020, USAG and the Survivors’ Committee contend that the insurance

   carriers who participated did not do so in good faith and acted in violation of this Court’s June 19,




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   2020 Order. Before launching another round of litigation on these and other issues, USAG and the

   Survivors’ Committee believe that it is in everyone’s best interests for this Court to conduct a

   settlement conference to determine if costly and protracted litigation can be avoided. This Court

   is uniquely positioned to conduct a settlement conference because it will never be called upon to

   try the Survivors’ claims given that the district court will be required to withdraw the reference of

   any objection to the personal injury claims. See 28 U.S.C. § 157(b)(5).

          10.     The Survivors’ Committee and the Debtor believe that this Court’s participation in

   a settlement conference will ensure that all parties come to the table with meaningful offers as

   previously directed and may help to avoid the delay tactics that have plagued the prior mediations.

          11.     To ensure that all parties participate fully, the Survivors’ Committee and the Debtor

   further request that the insurance carriers be ordered to bring their chief executive officers and all

   persons necessary for final, unrestricted settlement authority to the settlement conference. USAG

   and USOPC should be directed to bring their leadership teams, including their chief executive

   officers and board chairs. The Seventh Circuit has held that courts have the authority to issue such

   orders and doing so would be appropriate here given the gravity of the claims that the Survivors

   have made. See, e.g., G. Heileman Brewing Co. v. Joseph Oat Corp., 871 F.2d 648, 652-53, 656

   (7th Cir. 1989); accord ARAC Roof It Forward v. Nationwide Mut. Ins. Co. of Am., No. 17-CV-

   4468, 2019 U.S. Dist. LEXIS 94077 (S.D. Ind. June 5, 2019) (ordered CEO of Nationwide

   Insurance to attend settlement conference). As a district court in this Circuit explained,

   “[n]umerous courts have found authority under Federal Rule 16 to order a party's insurance carrier

   to attend court-ordered settlement conferences.” Neal v. Target Corp., No. 13 C 5907, 2016 WL

   3365432, at *3 (N.D. Ill. June 15, 2016) (collecting cases). Indeed, the “authority of a federal court




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   to order attendance of attorneys, parties, and insurers at settlement conferences and to impose

   sanction for disregard of the court's orders is so well established as to be beyond doubt.” Id.

          12.     If the Court is willing to hold the settlement conference, the Debtor and the

   Survivors’ Committee also suggest that the Court hold a pre-conference to address how the

   settlement conference should be conducted.

          13.     The Debtor also asks that the deadline for filing an amended plan and disclosure

   statement be moved to a date after the settlement conference.

          WHEREFORE, the Debtor and the Survivors’ Committee respectfully request that the

   Court enter the proposed order substantially in the form annexed hereto as Exhibit A granting the

   relief requested herein and such further relief as is just and proper.




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                                                                             Humphrey Appellant Appendix 067
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   Dated: August 20, 2020

    JENNER & BLOCK LLP                                PACHULSKI STANG ZIEHL & JONES
                                                      LLP

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                                                      -and-

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                                                      Deborah J. Caruso, Esq.
                                                      135 N. Pennsylvania Street, Suite 1400
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                                                      Counsel for the Survivors’ Committee




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                                                                           Humphrey Appellant Appendix 068
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                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION


       In re:                                                        Chapter 11
                                1
       USA GYMNASTICS,                                               Case No. 18-09108-RLM-11

                               Debtor.


                            THE ADDITIONAL TORT CLAIMANTS
                  COMMITTEE OF SEXUAL ABUSE SURVIVORS’ CONSOLIDATED
                   OBJECTION TO MOTIONS TO FILE CLAIM AFTER BAR DATE

                The Additional Tort Claimants Committee of Sexual Abuse Survivors (the “Survivors’

   Committee”), respectfully objects to (a) Creditor’s Motion to Allow Late Filed Claim to be

   Treated as Timely (the “DOE JJ Motion”) [Doc 1218] filed by Jane Doe JJ (“Doe JJ”) and (b)

   Motion to Allow Late Filed Claim to be Treated as Timely Filed (the “Humphrey Motion” and,

   collectively, with the Doe JJ Motion, the “Motions”) [Doc 1213] filed by Katherine Humphrey

   (“Humphrey” and, collectively, with Doe JJ, the “Movants”).


                                                   INTRODUCTION

                       1.      At this stage of this chapter 11 case, it would be irresponsible to allow

   additional claims to be asserted against the USA Gymnastics (the “Debtor”). This case has been

   widely reported in the general media, as well as sports and gymnastics focused media. The bar

   date was widely noticed and publicized. As such, there is no basis for a finding of excusable

   neglect to allow claims to be filed sixteen months after the bar date.




   1
    The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s principal
   office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.


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                                           BACKGROUND


                  2.      On January 31, 2019, the Debtor filed its Motion For Order Establishing

   Deadlines For Filing Proofs Of Claim And Approving Form And Manner Of Notice Thereof

   (“Bar Date Motion”) [Doc 203]. The Bar Date Motion explained in detail the notice procedures

   that the Debtor intended to follow if the Bar Date Motion was granted. Although three

   objections were filed to the Bar Date Motion, none of the objectors argued that the Debtor should

   be required to locate addresses and provide direct mail notice of the bar date to every current or

   former member of the Debtor going back to the organization’s beginning. [See Docs 257, 260,

   and 261.]

                  3.      On February 25, 2019, the Court entered its order (the “Bar Date Order”)

   [Doc 301] fixing April 29, 2019 (the “Bar Date”) as the bar date for individuals to file claims

   arising from sexual abuse. The Bar Date Order included notice provisions (including publication

   requirements) requested by the Survivors’ Committee which were designed to provide broad

   publication notice of the Bar Date. No party appealed the Bar Date Order and the Bar Date

   Order is now a final order. The Debtor fulfilled its notice obligations under the Bar Date Order.

                  4.      Since the Bar Date Order, the Survivors’ Committee, counsel for hundreds

   of Sexual Abuse Claimants, the Debtor, the Debtor’s insurers, the Future Claims Representative,

   the United States Olympic and Paralympic Committee and its insurers engaged in mediation to

   resolve the sexual abuse claims against the Debtor. That mediation was predicated on the claims

   filed against the Debtor. As such, inclusion of additional claims at this late stage would not

   reasonably allow for additional funding based on the additional claims.



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                    5.       Mediation was last conducted on August 11, 2020. After that session, the

   mediators informed the parties that the mediation is at an impasse.

                    6.       On January 21, 2020, the Survivors’ Committee filed its Motion of the

   Additional Tort Claimants Committee of Sexual Abuse Survivors for Entry of an Order Pursuant

   to 11 U.S.C. §§ 105(a), 349 and 1112(b) Dismissing the Bankruptcy Case and Granting Related

   Relief [Doc 892], seeking dismissal of this case. A status hearing on that motion is currently

   scheduled for October 19, 2020.

                    7.       On February 21, 2020, the Debtor filed its First Amended Chapter 11 Plan

   of Reorganization Proposed by USA Gymnastics (the “Plan”) [Doc 928] and its Disclosure

   Statement for First Amended Chapter 11 Plan of Reorganization Proposed by USA Gymnastics

   (the “Disclosure Statement”) [Doc 930]. A hearing to consider approval of the Disclosure

   Statement is scheduled for October 19, 2020.

                    8.       On May 19, 2020, the Survivors’ Committee filed its objection to the

   Disclosure Statement (the “DS Objection”) [Doc 1060]. The DS Objection was joined by

   hundreds of sexual abuse survivors who asserted timely claims against the Debtor. [See Doc

   Nos. 1064, 1066, 1067, 1076, 1090, 1091.] The Survivors’ Committee believes that the Plan is

   patently unconfirmable for the reasons stated in the DS Objection, and may supplement such

   objection in advance of any hearing to consider approval of the Disclosure Statement. 2



   2 Pursuant to the Order on Pretrial Conference (“Pretrial Conference Order”) [Doc 1145] entered on June 19,
   2020, the Debtor may file an amended plan and disclosure statement any time up until August 27, 2020. In addition,
   the Pretrial Conference Order provides that any objections to the Debtor’s anticipated amended disclosure statement
   are due 28 days after the filing of the Debtor’s amended disclosure statement. Accordingly, the Survivors’
   Committee reserves its right to file an objection to any amended disclosure statement filed by the Debtor and/or
   supplement its current DS Objection.


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                  9.       The Debtor’s Plan is premised on the timely filed claims. If the Court

   allows untimely claims to be filed at this juncture, the assumptions underlying the Debtor’s Plan

   will not be reliable and the Plan may require even further amendment. While the Survivors’

   Committee opposes the Plan, creditors are entitled to know the number of timely claims and how

   those claims could impact distributions to creditors.

                                              OBJECTION

                  10.      The Court should deny the Motions on the bases that (a) the Movants have

   not established excusable neglect and (b) allowing additional claims to be filed is futile given the

   impasse of this case.

   A.     The Movants Have Not Shown Excusable Neglect.

                  11.      Because the Debtor’s creditors all received the notice required by due

   process, the Bar Date Order should not be vacated. Instead, to the extent that additional creditors

   come forward seeking to have their late claims allowed as timely, those creditors should only be

   granted such relief if they can establish excusable neglect. See Fed. R. Bankr. P. 9006(b)(1).

                  12.      To determine whether excusable neglect exists, the Court must evaluate

   “‘(1) the danger of prejudice to the debtor, (2) the length of the delay and its potential impact on

   judicial proceedings, (3) the reason for the delay, including whether it was in the reasonable

   control of the movant, and (4) whether the movant acted in good faith.’” In re Kmart Corp., 381

   F.3d 709, 713 (7th Cir. 2004). The burden is on the Movants to prove that these factors and they

   must do so by a “preponderance of the evidence.” Kmart, 381 F.3d at 714; In re Nat’l Steel




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   Corp., 316 B.R. 510, 515 (Bankr. N.D. Ill. 2004) (refusing to deem claim timely filed because of

   excusable neglect).

   B.     Ms. Humphrey’s Motion Must Be Denied.

                  13.     Ms. Humphrey admits that she “received notice of the Bankruptcy and or

   the opportunity to file a claim in the Bankruptcy prior to the Bar Date….” [Humphrey Motion at

   ¶ 13.] She further states that she did not file a claim because she did not recall the details of her

   abuse at the time of the notice. [Id.] This admission is fatal to Ms. Humphrey’s Motion. After

   receiving notice of the Bar Date, the burden shifted to Ms. Humphrey to file a timely claim. She

   did not do so, and should not be permitted to do so at this time. Such delay was in Ms.

   Humphrey’s reasonable control.

                  14.     Ms. Humphrey was also a member of the Debtor’s Athlete’s Council prior

   to and subsequent to the Bar Date. She was removed from the position due to a posting on

   Facebook that was insensitive and hurtful to gymnasts and other athletes, especially in light of

   the abuse suffered by survivors of abuse by coaches and others that led to the Debtor’s chapter

   11 filing. See CNN Wire, Controversial meme costs Olympian her role with USA Gymnastics,

   June 12, 2019 (https://wgno.com/news/nationalworld-news/controversial-meme-costs-olympian-

   her-role-with-usa-gymnastics/) (last visited August 18, 2020). Clearly, Ms. Humphrey was well

   aware of the Bar Date and the chapter 11 process due to her active participation as an athlete

   representative to the Debtor. Ms. Humphrey had a responsibility to come forward prior to the

   Bar Date, but failed to do so.




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                    15.      Ms. Humphrey argues that there is no danger of prejudice to the Debtor

   and the length of delay has no impact on judicial proceedings. [Humphrey Motion at ¶¶ 31-40.]

   She relies in large part on the provisions of the Debtor’s proposed Plan, which includes a

   settlement option that allows untimely abuse claims to be treated the same as timely filed claims.

   [Humphrey Motion at ¶ 35.] However, allowing late claims would be highly prejudicial to the

   Debtor and other creditors. First, as noted, the Survivors’ Committee asserts that the Plan is not

   confirmable. Second, any assertion that the Plan’s settlement option will be implemented is

   highly speculative. Third, the Survivors’ Committee and other survivors engaged in negotiations

   with the Debtor, its insurers and other parties based on the claims filed prior to the Sexual Abuse

   Claims Bar Date. While one late claim filed shortly before mediation commences might not

   affect negotiations, claims filed sixteen months after the Bar Date – and after mediation has

   concluded – would be highly prejudicial. There is also a risk of opening the floodgates to

   additional claims if any late claims are treated as timely at this late stage of the case, there is risk

   that additional survivors may come forward at this time. Based on negotiations, the Survivors’

   Committee believes that allowing additional claims will reduce amounts available to pay

   survivors who filed timely claims prior to the start of mediation. 3




   3 The Survivors’ Committee notes that Ms. Humphrey appears to fall squarely within the definition of a Future
   Claimant pursuant to the Order Authorizing Appointment of Future Claimants’ Representative and Appointing Fred
   C. Caruso as Future Claimants’ Representative [Doc 516], which provides that a Future Claimant “is a Person who
   (a) held a Sexual Abuse Claim against the Debtor as of the Sexual Abuse Claims Bar Date and (b) meets one of the
   following criteria:…(ii) as of March 1, 2019, the statute of limitations for such Person was tolled under applicable
   state law…” Id. at ¶ 2. Given Ms. Humphrey’s assertion that she has viable claims under Virginia law, she should
   be able to avail herself of relief provided for Future Claimants. [Humphrey Motion at ¶¶ 24-26.]


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                                                                                        Humphrey Appellant Appendix 074
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   C.     Doe JJ’s Motion Must Be Denied.

                  16.     Doe JJ asserts that she lived in Michigan and was unaware of the Bar Date

   because she did not receive direct notice of the Bar Date. However, Doe JJ does not assert any

   facts to support an assertion that she was a known creditor of the Debtor entitled to direct notice.

   Rather, as an unknown creditor, she is entitled to constructive notice. The Debtor provided

   ample constructive notice through both general and specialized media pursuant to the Bar Date

   Order. Such notice is sufficient, and thus Doe JJ should have filed a timely claim.


                                            CONCLUSION

                  17.     The Sexual Abuse Survivors’ Committee respectfully requests that the

   Court deny the Motions.




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                                                Respectfully submitted,

                                                PACHULSKI STANG ZIEHL & JONES LLP

   Dated: August 19, 2020                       /s/James I. Stang
                                                James I. Stang, Esq. (admitted pro hac vice)
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                                                               -and-

                                                RUBIN & LEVIN, P.C.

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                                                mtheisen@rubin-levin.net

                                                Counsel for the Survivors’ Committee

                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 19, 2020, a copy of the foregoing The Additional Tort
   Claimants Committee of Sexual Abuse Survivors’ Consolidated Objection to Motions to File
   Claim After Bar Date was filed electronically. Notice of this filing will be sent to the following
   parties through the Court’s Electronic Case Filing System. Parties may access this filing through
   the Court’s system.

   Nancy D Adams ndadams@mintz.com
   Robert Allard rallard@cmalaw.net
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   Annemarie C Alonso annie@sllawfirm.com
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   U.S. Trustee ustpregion10.in.ecf@usdoj.gov
   Susan Walker susan.walker@dentons.com
   Joshua D Weinberg jweinberg@goodwin.com
   Gabriella B. Zahn-Bielski gzahnbielski@cov.com
         I further certify that on August 19, 2020, a copy of the foregoing The Additional Tort
   Claimants Committee of Sexual Abuse Survivors’ Consolidated Objection to Motions to File
   Claim After Bar Date was served via electronic mail to the following:
   United States Olympic Committee: Chris McCleary at Chris.McCleary@usoc.org
   The Alexander, a Dolce Hotel and Wyndham Hotel Group, LLC: Daniel M. Eliades at
   daniel.eliades@klgates.com and David S. Catuogno at david.catuogno@klgates.com
                                                       /s/ Meredith R. Theisen
                                                       Meredith R. Theisen




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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

   IN RE:                                        )
                                                 )             Chapter 11
                          1
   USA GYMNASTICS,                               )
                                                 )             CASE NO. 18-09108-RLM-11
                          DEBTOR.                )

       MOTION TO ALLOW LATE FILED CLAIM TO BE TREATED AS TIMELY FILED

            Comes now creditor, Terin Humphrey (“Claimant”), by counsel, and files her Motion to Allow

   Late Claim to be Treated as Timely Filed (the “Motion”), pursuant to 11 U.S.C. § 502(b)(9) and Fed R.

   Bankr. P. 9006(b)(1) and hereby petitions the Court for the Court to allow the proof of claim, filed

   confidentially today, confirmation of which filing was received via electronic correspondence to

   undersigned counsel at 3:26 p.m. EDT in the above-referenced Bankruptcy Case under Claimant’s

   name and signed by Claimant (the “Claim”), to be treated as timely filed, and in support thereof states

   as follows:

                                    JURISDICTION AND VENUE

            1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b). This is a

   core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A)and (O), and the Court may enter a final order

   consistent with Article III of the U.S. Constitution.

            2.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and legal

   predicates for the relief requested herein are sections 3003 and 9006 of the Bankruptcy Code.




   1
    The last four digits of the Debtor’s federal tax identification number are 7871. The location of the
   Debtor’s principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.

                                                           1




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                             RELEVANT PROCEDURAL BACKGROUND

          3.      Debtor filed a Voluntary Petition for Relief under Chapter 11 of Title 11 of the United

   States Code (the “Bankruptcy Code”) on December 5, 2018 (the “Petition Date”), in the United States

   Bankruptcy Court for the Southern District of Indiana as Case No. 18-09108-RLM-11 (the

   “Bankruptcy”).

          4.      On December 19, 2018, the United States Trustee appointed the Additional Tort

   Claimants Committee of Sexual Abuse Survivors (the “Committee”).

          5.      On February 25, 2019, the Court entered an order (the “Bar Date Order”) fixing April

   29, 2019 as the bar date for general claims and claims asserting sexual abuse (the “Bar Date”). [Doc.

   No. 301].

          6.      On May 17, 2019, the Court approved a Future Claims Representative as proposed by

   the Debtor [Doc. No. 516].

          7.      On February 21, 2020, Debtor filed its First Amended Chapter 11 Plan of

   Reorganization Proposed by USA Gymnastics [Doc. No. 928] (the “Amended Plan”), as well as its

   Disclosure Statement for First Amended Plan [Doc. No. 930] (the “Disclosure Statement”), and

   Debtor’s Motion for Order Approving the Disclosure Statement and Plan Confirmation Procedures

   [Doc. No. 931] (the “Plan Confirmation Procedure Motion”), to which numerous objections have been

   filed by the Additional Tort Claimants Committee of Sexual Abuse Survivors (the “Survivors

   Committee”) [Doc. No. 1060], and others, which Plan Confirmation Procedure Motion and objections

   thereto are currently set for hearing October 19, 2020 at 1:30 p.m. (the “Hearing”).




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       ADDITIONAL FACTS RELATING TO CLAIMANT’S DELAY IN FILING THE CLAIM

          8.      Claimant was born on August 14, 1986, and has been a member of USA Gymnastics

   (“USAG”) from 1989 through the present. [Affidavit of Terin Humphrey, attached hereto as Exhibit

   “A” (“Humphrey Aff.”), ¶1].

          9.      In 2002, likely at the July 2002 U.S. Classic gymnastics meet in Virginia Beach, VA,

   hosted by Excalibur Gymnastics, while she was fifteen (15) years of age, Claimant was sent by her

   coaches to be examined by Dr. Larry Nassar (“Nassar”) for a hip injury, during which examination

   Claimant was sexually abused by Nassar for approximately fifteen (15) minutes. During the same

   tournament, Claimant was re-directed by her coaches to Nassar for treatment at the same competition,

   at which point she was abused by Nassar again in the same fashion. [Humphrey Aff. ¶2].

          10.     At the time she suffered the abuse from Nassar, Claimant was a member of USAG and

   Nassar was working in his capacity as a physician for USAG. [Humphrey Aff. ¶3].

          11.     Claimant has not filed a claim against Michigan State University relating to her claims

   against Nassar. [Humphrey Aff. ¶4].

          12.     In 2004, at the age of 18, Claimant earned two silver medals in gymnastics at the

   Olympic Games in Athens, Greece. [Humphrey Aff. ¶5].2

          13.     Although Claimant received notice of the Bankruptcy and of the opportunity to file a

   claim in the Bankruptcy prior to the Bar Date, she did not do so because it was only within the past


   2
     Thus, to the extent the Amended Plan is confirmed and Claimant’s claim is allowed, she would
   become a member of Class 6, subclass 6A (Elite Gymnasts). The Class 6A Elite Gymnasts are to
   receive a total of $82,550,000.00 under the currently proposed Amended Plan, which, based on the 66
   members of this subclass identified in the Disclosure Statement, would receive $1,250,757.58 per
   subclass member [Disclosure Statement, p. 13]. If the Motion is granted, and Claimant’s claim is
   allowed as a deemed-timely filed Class 6A Elite Gymnast claim, it would increase the number of
   claimants of this subclass from 66 to 67, thus decreasing each of the other 66 Elite Gymnasts claims to
   $1,232,089.52—a per subclass member reduction by 1.49% percent or $18,668.03 per Elite Gymnast.
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   month that Claimant came to recall and realize that she had been abused by Nassar. [Humphrey Aff.

   ¶6].

          14.     More specifically, Claimant became pregnant with her first child in May of 2019, which

   was born in January, 2020. [Humphrey Aff. ¶7].

          15.     During the course of her pregnancy, Claimant became acutely anxious when anyone

   touched her stomach without permission and she experienced severe anxiety when she

   required pelvic examinations during this time, and her distress rose even further at the time of

   childbirth when she “felt helpless and overwhelmed because people were staring at me (my

   genitals) and examining me, especially when the male doctor, not my usual doctor, did it.” [Humphrey

   Aff. ¶¶8-9].

          16.     During and after her childbirth, Claimant suffered numerous other negative

   psychological outcomes, including distressing memories and flashbacks to the repressed sexual abuse

   she suffered from Nassar. [Humphrey Aff. ¶10].

          17.     As the recurrence of these memories intensified and clarified in June of 2020, Claimant

   first began to realize that she may have suffered abuse by Nassar. [Humphrey Aff. ¶11].

          18.     Claimant was psychologically examined by Dr. Steven A. Elig, M.D. (“Dr. Elig”) on

   July 18, 2020, and Dr. Elig made the following observations:

          Following the powerful external cue of being genitally examined and manipulated prior
          to and after childbirth, which resembled and symbolized a developmentally
          inappropriate sexual experience, Ms. Humphrey reports the following resulting
          symptoms:

                 a. Intrusion/reexperiencing - Intrusive distressing memories, flashbacks, and
          intense psychological distess with marked physiological reactions upon exposure to
          cues that symbolize or resemble an aspect of the traumatic events.

                 b. Avoidance - Efforts to avoid distressing memories, thoughts, feelings, and
          external reminders of the traumatic events.
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                  c. Negative cognitions - Persistent negative beliefs and expectations about
          herself and the world, distorted cognitions about the consequences of the traumatic
          events, persistent negative emotional state, markedly diminished interest and
          participation in significant activities, feelings of detachment or estrangement from
          others, and persistent inability to experience positive emotions.

                 d. Hyperarousal - Irritable behavior and angry outbursts, hypervigilance,
          exaggerated startle response, problems with concentration, and sleep disturbance.

                  e. Depression - Depressed mood, markedly diminished interest and pleasure in
          activities, insomnia, psychomotor agitation, fatigue, feelings of excessive guilt, and
          diminished ability to concentrate.

          These disturbances have caused clinically significant distress and impairment in social,
          occupational, and other important areas of functioning. Ms. Humphrey reports negative
          impact on her general sense of life contentment and emotional outlook, intimate
          relationships, family relationships, friendships, work motivation, and interests and
          activities.

   [Declaration of Licensed Mental Health Practitioner, Steven A. Elig, M.D. (dated July 28,

   2020), attached hereto as Exhibit “B” (the “Elig Dec.”), ¶¶8-9].

          19.     As a result of the foregoing symptoms and Dr. Elig’s analysis, Dr. Elig

   concluded that Claimant satisfied diagnosis criteria for Child Sexual Abuse, Post-Traumatic

   Stress Disorder, and Major Depressive Disorder.    [Elig Dec, ¶¶13-17].

          20.     As to Claimant’s Posttraumatic Stress Disorder diagnosis, Dr. Elig states:

          The psychiatric diagnosis of Posttraumatic Stress Disorder is based on a pattern
          of intrusion symptoms, avoidance of stimuli, negative alterations in cognitions and
          mood, and alterations in arousal and reactivity following exposure to actual or
          threatened death, serious injury, or sexual violence. For children, sexually violent
          events may include developmentally inappropriate sexual experiences without physical
          violence or injury. 1 Ms. Humphrey reports a multitude of these specific symptoms in a
          clinically valid manner. These symptoms were not present prior to the visceral
          reminder of sexual abuse occasioned by genital examination during pregnancy and
          childbirth, and they are thematically closely related to the incidents of sexual abuse.
          Therefore, it is my opinion to a reasonable degree of medical certainty that Ms.
          Humphrey meets psychiatric criteria for Posttraumatic Stress Disorder with delayed
          expression, as a direct result of her experience of child sexual abuse by Dr. Larry
          Nassar.
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   [Elig Dec, ¶16 (emphasis added)].

          21.    As to Claimant’s Major Depressive Disorder diagnosis, Dr. Elig states:

                  17.     The psychiatric diagnosis of Major Depressive Disorder is based on a
          pattern of depressed mood and/or loss of interest or pleasure in almost all activities,
          accompanied by symptoms such as weight loss, insomnia, psychomotor retardation,
          fatigue, feelings of worthlessness or excessive guilt, diminished ability to concentrate,
          and recurrent thoughts of death, suicidal ideation, or suicide attempt. (See American
          Psychiatric Association: Diagnostic and Statistical Manual of Mental Disorders, 5th
          edition, 2013). Ms. Humphrey convincingly describes the initial onset of severe
          symptoms beginning in January 2020. She had never before experienced similar
          symptoms. Therefore, it is my opinion to a reasonable degree of medical certainty that
          Ms. Humphrey meets psychiatric criteria for Major Depressive Disorder, single episode,
          with anxious distress and peripartum onset, as a direct result of child sexual abuse by
          Dr. Larry Nassar.

                  18.     Due to the severity of her condition and the resulting functional
          interferences, Ms. Humphrey's prognosis is guarded. Although not expressed formally
          in the DSM-V diagnostic format, the most clinically worrisome aspect of her
          presentation is the potential impact on her ability to care for and to promote the healthy
          development of her baby. The maternal tasks of providing protection and promoting
          attachment and basic trust without undue worry and anxiety have been directly and
          substantially affected by her experience of child sexual abuse.

   [Elig Dec, ¶¶17-18 (emphasis added].

          22.    With respect to Claimant’s inability to recognize or disclose her prior abuse by Nassar,

   Dr. Elig concluded:

          Delayed symptoms and disclosure of sexual abuse are not uncommon, and must
          be understood individually with respect to content, context, and developmental stage.
          Ms. Humphrey clearly recalled the incident of child sexual abuse during adolescence
          and early adulthood, but she did not experience significant psychological symptoms
          until genital examination during pregnancy and childbirth served as a powerful
          reminder and precipitated a feeling of recurrence of sexual abuse. She was then
          flooded with feelings of vulnerability, helplessness, guilt, defectiveness, and lack of
          trust. Prior to that time, she had also been in the child sexual abuse, creating a potent
          loyalty bind. These factors credibly explain Ms. Humphrey's pattern of delayed
          symptoms and disclosure from a psychiatric viewpoint.



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   [Elig Dec, ¶19 (emphasis added].3

                                         RELIEF REQUESTED

          23.     By this Motion, Claimant seeks the Court’s authority to treat the Claim as timely filed.

                      LEGAL AUTHORITY SUPPORTING REQUESTED RELIEF

          24.     Claimant’s sexual abuse by Nassar occurred in Virginia, thus, Virginia law applies with

   respect thereto.   Pursuant to Va. Code Ann. § 8.01-243(D) “Every action for injury to the person,

   whatever the theory of recovery, resulting from sexual abuse occurring during the infancy or

   incapacity of the person as set forth in subdivision 6 of § 8.01-249 shall be brought within 20 years

   after the cause of action accrues.”

          25.     Va. Code § 8.01-249 (6) provides: “In actions for injury to the person, whatever the

   theory of recovery, resulting from sexual abuse occurring during the infancy or incapacity of the

   person, upon the later of the removal of the disability of infancy or incapacity as provided in §

   8.01-229 or when the fact of the injury and its causal connection to the sexual abuse is first

   communicated to the person by a licensed physician, psychologist, or clinical psychologist. As used in

   this subdivision, “sexual abuse” means sexual abuse as defined in subdivision 6 of § 18.2-67.10 and

   acts constituting rape, sodomy, object sexual penetration or sexual battery as defined in Article 7 (§

   18.2-61 et seq.) of Chapter 4 of Title 18.2.”

          26.     Thus, Claimant’s claims for sexual abuse by Nassar in July of 2002 are timely filed

   under Virginia law, because they are not time-barred until, at the earliest, 20 years after her 18th

   birthday-August of 2024.
   3
     Fragmented and incomplete memories in rape and trauma survivors is a well-documented
   phenomenon. See James Hopper, Ph.D. and David Lisak, Ph.D., Why Rape and Trauma Survivors
   Have Fragmented and Incomplete Memories, TIME MAGAZINE, December 9, 2014 (viewable at:
   https://time.com/3625414/rape-trauma-brain-memory/).

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          27.     11 U.S.C.§502(b)(9) permits allowance and payment of tardily-filed claims “ . . . as

   permitted under paragraph (1), (2), or (3) of section 726(a) of this title or under the Federal Rules of

   Bankruptcy Procedure.”

          28.     Fed. R. Bankr. P. 9006(b)(1) provides, in pertinent part:

          (b) Enlargement (1) In general. Except as provided in paragraphs (2) and (3) of this
          subdivision, when an act is required or allowed to be done at or within a specified
          period by these rules or by a notice given thereunder or by order of court, the court for
          cause shown may at any time in its discretion (1) with or without motion or notice order
          the period enlarged if the request therefor is made before the expiration of the period
          originally prescribed or as extended by a previous order or (2) on motion made after the
          expiration of the specified period permit the act to be done where the failure to act was
          the result of excusable neglect.

          29.     Pioneer Investment Srvcs. v. Brunswick Assoc. Ltd. P’ship, 507 U.S. 380, 392-395, 113

   S.Ct. 1489, 123 L.Ed.2d 74 (1993), provides the cornerstone for determining excusable neglect under

   Fed. R. Banrk. P. 9006(b)(1), providing generally that excusable neglect is an “elastic concept”, which

   requires analysis of “all relevant circumstances surrounding the party's omission”, with specific focus

   on:

          [1] the danger of prejudice to the debtor;

          [2] the length of the delay and its potential impact on judicial proceedings;

          [3] the reason for the delay, including whether it was within the reasonable control of the

   movant; and

          [4] whether the movant acted in good faith.

          30.     More generally, the Supreme Court in Pioneer explained that “by empowering

   the courts to accept late filings where the failure to act was the result of excusable neglect, Congress

   plainly contemplated that the courts would be permitted, where appropriate, to accept late filings



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                                                                              Humphrey Appellant Appendix 085
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   caused by inadvertence, mistake, or carelessness, as well as by intervening circumstances beyond the

   party’s control.” Id. at 388.




      Pioneer Factors 1 and 2: There is no danger of prejudice to the Debtor and the length of the
                           delay has no impact on the judicial proceedings.

           31.     “The first Pioneer factor, prejudice, does not refer to an imagined or hypothetical harm;

   a finding of prejudice should be a conclusion based on the facts in evidence.” In re New Century TRS

   Holdings, Inc. 2014 WL 2198247 (Bankr. D. Del. May 23, 2014) (citing Manus Corp. v. NRG Energy,

   Inc. (In re O'Brien Envtl Energy, Inc.), 188 F.3d 116, 127 (3d Cir.1999)).

           32.     “When addressing the issue of prejudice under the Pioneer test, the O'Brien Court

   discussed several relevant considerations, including: (i) whether the debtor was surprised or caught

   unaware by the assertion of a claim that it had not anticipated; (ii) whether payment of the claim would

   force the return of amounts already paid out under the confirmed plan or affect the distribution to

   creditors; (iii) whether payment of the claim would jeopardize the success of the debtor's

   reorganization; (iv) whether allowance of the claim would adversely impact the debtor; and (v)

   whether allowance of the claim would open the floodgates to other late claims.” Id.

           33.     At this stage of the Bankruptcy, although the Amended Plan has been proposed, it has

   not been voted upon, nor has the Plan Confirmation Procedure Motion been ruled upon as it is

   currently set for Hearing on October 19, 2020.

           34.     As of the filing of the Amended Plan, there were 553 Abuse Claims filed, 33 of which

   were duplicative, one of which has been disallowed, one of which is subject to a pending objection and



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    one of which has been withdrawn. Of the remaining 517 claims, seven were filed after the Bar Date.

    [Disclosure Statement, p.4, n.2]

           35.     Further, the Disclosure Statement provides “Special Considerations If Your Claim Was

    Filed After the Bar Date. For those seven Claimants who filed their Abuse Claims after the Bar date,

    the Settlement Election is the only option that allows you to recover. . . Under the Settlement

    Election, untimely Abuse Claims will be treated the same as timely Abuse Claims without any

    requirement that the Claimant seek Bankruptcy Court approval for such treatment.” [Disclosure

    Statement, p. 9 (emphasis added)]. Thus, it is unclear from the proposed Disclosure Statement if

    Bankruptcy Court approval of this Motion is even necessary—with the possibility that Claimant’s

    Claim will be allowed notwithstanding this Motion.

           36.     Also, as previously noted (p. 3, note 2, supra) to the extent that the Motion is granted

    and Claimant’s Claim treated as timely filed, under the current Amended Plan, the only parties

    impacted would be the 66 claimants of the current Class 6A Elite Gymnasts subclass, via a 1.49%

    reduction of each of their $1,250,757.58 claims to $1,232,089.52—a per subclass member reduction of

    $18,668.03.

           37.     Thus, although the Claim was filed on July 30, 2020, 458 days after the Bar Date, in

    light of the foregoing unresolved status of the Amended Plan, the ambiguity of same as it relates to

    untimely Abuse Claims, and (assuming that the Amended Plan is ultimately approved) the overall

    limited impact on the 66 existing Class 6A Elite Gymnasts in their recovery if the Claim is allowed,

    each of the first two Pioneer factors mitigate in favor of the Motion being granted and the Claim being

    deemed timely filed.

           38.     Further, of the five O’Brien subfactors deemed relevant under the first Pioneer factor,

    the facts of Claimant’s claim support the granting of the relief sought via the Motion, because: (i)
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                                                                             Humphrey Appellant Appendix 087
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    USAG is not surprised or caught unaware by the assertion of the Claim—it understands the existence

    of, and the Disclosure Statement specifically contemplates treatment of, untimely Abuse Claims,

    which are potentially treated the same as timely filed Abuse Claims ; (ii) there have been no payments

    made to creditors of Claimant’s class under the Amended Plan, so nothing would need to be

    returned—although there would be an impact to the payment made to the existing Class 6A Elite

    Divers, that impact, distributed amongst each of those 66 claimants is less than a 1.5% reduction; (iii)

    payment of the Claim would not jeopardize the success of USAG’s reorganization, because there are

    sufficient funds being contemplated for distribution under the Amended Plan for Claimant’s claim to

    be paid as a Class 6A Elite Diver claim; (iv) allowance of the Claim would not adversely impact

    USAG because it already has allocated funds for claims in the class of Claimant’s Claim; and (v) there

    are no facts to suggest that allowance of this claim would open the floodgates to other late claims—the

    universe of potential Class 6A Elite Divers generally is very small, 66 of them have already filed

    claims, and it appears extraordinarily unlikely that there are numerous other potential Class 6A Elite

    Diver future claimants with psychological symptoms similar to Claimant’s that have not yet filed

    claims.

              39.    It must be emphasized that impact to the Debtor on the treatment of Claimant’s Claim

    as timely filed is the central inquiry, not impact to other parties. In a similar situation, where, as of the

    date of Debtor’s receipt of notice of the late claim the reorganization plan was unconfirmed, being

    negotiated, and was expected, the Fifth Circuit Court of Appeals has stated:

              Under Pioneer, the central inquiry is whether the debtor will be prejudiced. We note
              that Greyhound's reorganization plan was negotiated and approved after Greyhound had
              notice of these claims. This is not a situation where the debtor's plan was
              formulated, negotiated, and confirmed before notice was given of a
              substantial late claim See, e.g., In re Drexel Burnham Lambert Group, Inc., 148 B.R.
              1002, 1007 (S.D.N.Y.1993) (“acceptance of a substantial late claim after consummation
              of a vigorously negotiated claims settlement and Plan of Reorganization thereon and a
                                                          11




                                                                                Humphrey Appellant Appendix 088
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           distribution of a major part of the assets thereunder, would disrupt the economic model
           on which the creditors, the debtor and the stockholders reached their agreements”); In re
           Alexander's Inc., 176 B.R. 715, 722 (Bankr.S.D.N.Y.1995) (“Debtors and other
           creditors will be prejudiced because the Proof of Claim was filed after the Debtors' Plan
           was formulated, negotiated and confirmed. Debtors had proposed the Plan based upon
           a claims analysis ... which did not include [claimant's] substantial claim.... Creditors
           who had timely filed their claims voted on a Plan based on this estimate.... Thus,
           allowance of [claimant's] claim would disrupt the ‘economic model’ on which all
           parties reached their agreements.”) (emphasis added). Quite the contrary,
           these late filed claims were clearly expected by the debtor. In re Alexander's
           Inc., 176 B.R. at 722 (expectation of claim is one factor to consider in determining if the
           debtor is prejudiced).

    In re Eagle Bus Mfg., Inc., 62 F.3d 730, 737-738 (5th Cir. 1995) (italicized emphasis in original, bold

    emphasis added).

           40.     Thus, there is essentially no impact on Debtor due to the delay in Claimant’s filing of

    the Claim, and thus no prejudice to Debtor relating to same.

    Pioneer Factors 3 and 4: Claimant’s delay was the result of a medically-recognized phenomenon
    of repressed memory, not in her reasonable control, and she acted in good faith upon discovering
                                        the basis for the Claim.

           41.     Claimant did not begin to realize that she may potentially have a claim in the

    Bankruptcy until the nature of her medical examinations in the late stages of her pregnancy during the

    end of 2019 and early 2020 triggered memories of the abuse she suffered at the hands of Nassar.

    Claimant’s realizations did not fully crystallize until June of 2020, and Elig’s Declaration confirming

    Claimant’s abuse, Post-Traumatic Stress Disorder, Major Depressive Disorder and delayed expression

    thereof, was not completed until June 28, 2020—two days prior to the Claim being filed.

           42.     As Dr. Elig notes in his Declaration, Claimant’s expression of her Post-Traumatic Stress

    Disorder and Major Depressive Disorder did not occur until the birth of her child in 2020, and

    Claimant’s presentation and symptoms match a diagnosis for delayed expression—this delayed

    expression is the reason for Claimant’s delay in filing the Claim.

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                                                                             Humphrey Appellant Appendix 089
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           43.     Claimant’s circumstances are somewhat similar to that of the movant in In re SunCruz

    Casinos, LLC, 377 B.R. 741 (Bankr. S.D. Fla. 2007). The SunTrust court, holding in favor of the

    late-filed claim asserted by a claimant for an injury attributable to the debtor, determined that

           [Claimant testified that] he did not file a claim before the bar date because he was not
           aware that he had a claim under the Bankruptcy Code. He realized of course that he
           was injured during the 2002 incident, but the pain had subsided and he no longer
           thought he had any reason to file a claim. [Claimant] points to the Florida Department
           of Labor Maximum Medical Improvement form prepared by Dr. Warren (Sheridan's Ex.
           4), a physician engaged by SunCruz, which states that [claimant] achieved maximum
           medical improvement on October 8, 2003 and that the percentage of permanent
           impairment to his body as a whole was zero percent. . . .

           I find that the facts in this case more closely resemble those in Needy v. CSX Transp.,
           Inc., 2000 WL 34249112, 2000 U.S. Dist. LEXIS 22603 (W.D. Ky. Mar 21, 2000). The
           claimant Needy was put on notice that he had suffered an injury after consulting with
           several of physicians but the information he received from them was insufficient to
           suggest to him to file a claim against his employer for causing him injury, in light of the
           fact that he was not having any pain that he could connect to the performance of his job.
           . . . The court noted that at the time, he was not necessarily suffering from any illness
           causally related to his exposure to chemicals. It was only when he progressed from
           headaches and eye problems to total blindness that the court found that he should have
           been aware of his injury and its relation to his employment. Id. at *3, 2000 U.S. Dist.
           LEXIS 22603, * 8. . . . [claimant] credibly testified that he was pain-free after the 2002
           accident and that the doctor to whom his employer SunCruz had referred him told him
           that he had reached his maximum recovery. It is understandable that [claimant]would
           not be able to draw a connection between his post–2005 accident pain and the accident
           in 2002.
                   SunCruz/Foothill correctly argues that the claims bar date is established to
           create finality in the process and further argues that it is prejudiced by Sheridan's
           attempt to pursue the claim after the bar date. I am required to balance the important
           finality that bar dates and other statutory limitations provide with fairness and
           justice for those who seek recovery. Certainly the Debtor (or at least Wells Fargo
           Foothill) would be prejudiced by allowing a late filed claim which it would otherwise
           not have to defend against, but the Court finds that the prejudice is not so great as to
           outweigh the rights of [claimant] to pursue a claim which I find he honestly did not
           believe he had until well after the applicable bar date of September 15, 2004. . . .
           After observing [the claimant’s] testimony, and after carefully considering the
           third Pioneer factor, I find that [claimant]'s delay in filing the claim was not
           unreasonable and that Sheridan has acted in good faith in all matters relating to the
           filing of the claim. I am convinced that [claimant] did not knowingly delay in filing a
           claim and that he promptly filed one once he believed he had a claim. I find [claimant]'s
           explanation that he did not think he had a claim because the Debtor's doctors told him
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                                                                              Humphrey Appellant Appendix 090
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           he was not permanently injured and because he felt minimal pain from the incident to
           be entirely credible. . . . I accordingly find that [claimant]'s actions have been taken in
           good faith. In sum, I find that in applying the factors set forth in Pioneer to the facts
           in this case, those factors weigh in favor of a finding that [claimant]'s failure to file a
           claim before the applicable bar date was the result of excusable neglect, and that
           [claimant] should be allowed to pursue his late filed claim.

    Id. at 746-748.

           44.        As to good faith, “an honest oversight that is not part of a sinister,

    well-conceived plan to frustrate” the opponent will not bar a finding of excusable neglect.

    Kimberg v. Univ. of Scranton, 411 Fed.Appx. 473, 478 (3d Cir. 2010).

           45.        Claimant’s actions are in good faith because her failure to file the Claim prior to

    the Bar Date was not part of any plan or deliberate action—she simply did not realize that she

    had a claim until her pregnancy and birth of her first child triggered traumatic memories of

    Nassar’s abuse, and the nature of her prior abuse and memory representation were only

    elucidated after psychological examination this month.

                                                 Conclusion

           Claimant is an Olympic-medal winning gymnast that was twice sexually abused by

    Nassar as a minor. Claimant has been diagnosed by a licensed mental health physician with the

    medically-recognized conditions of Post-Traumatic Stress Disorder and Major Depressive

    Disorder as a result of this abuse. Claimant’s recollection and memory of her abuse were not

    triggered until her pregnancy, grew stronger with her child’s birth in January of 2020, and did

    not fully form until June 2020, after which she was evaluated and diagnosed, and after which

    diagnosis her Claim was immediately filed. This repression of memory and piecemeal recall is

    a known medical fact to be a common side effect of sexual abuse. Claimant’s situation, viewed

    in its entirety within the context of the Bankruptcy, the state of plan reorganization, the Plan

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                                                                                Humphrey Appellant Appendix 091
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    itself, and the relative impact to other Class 6A claimants establishes that Claimant’s failure to

    file the Claim prior to the Bar Date constitutes excusable neglect, such that Claimant’s Claim

    should be treated as timely filed.

            WHEREFORE, Claimant respectfully petitions the Court for an order: (1) approving this

    Motion; (2) determining Claimant’s Claim filed on July 30, 2020 to be treated as timely filed; and (3)

    for all other just and proper relief.

                                                              Respectfully submitted,

                                                              MULVEY LAW LLC

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                                            CERTIFICATE OF SERVICE

            I hereby certify that on July 30, 2020, a copy of the foregoing Motion was filed
    electronically. Notice of this filing will be sent to the following parties of record through the Court’s
    Electronic Case Filing System.
                                                                    /s/ Joseph L. Mulvey
                                                                    Joseph L. Mulvey
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                                                                                    Humphrey Appellant Appendix 092
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                                                            Humphrey Appellant Appendix 094
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     10   Attorneys for Plaintiff
     11
     12                          IN THE UNITED STATES BANKRUPTCY COURT
     13                              FOR THE SOUTHERN DISTRICT OF INDIANA
     14                                      INDIANAPOLIS DIVISION
     15
     16   In re                                              Chapter 11

     17           USA GYMNASTICS,                            Case No. 18-09108-RLM-11

     18                   Debtor.
                                                             DECLARATION OF LICENSED
     19                                                      MENTAL HEALTH PRACTITIONER

     20
     21
     22           I, STEVEN A. ELIG, M.D., do hereby declare and certify:
     23           1.      I am a California licensed mental health care practitioner. I currently practice in
     24   the state of California.
     25           2.      I have prepared this report in response to your request for a psychiatric
     26   evaluation by an independent medical expert of Terin Humphrey (DOB 8/14/1986). It is
     27   intended to present a summary of my evaluation and recommendations for your use in legal
     28   proceedings. Because this information is presented in abridged fashion, additional information


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                                                                            Humphrey Appellant Appendix 096
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      1   and opinions may be offered upon further request. My opinions are based on the information
      2   that is currently available to me, and they may be modified or expanded in the future if
      3   supplementary information becomes available.
      4          Diagnostic Interview
      5          3.     I interviewed Terin Humphrey for 4 hours and 15 minutes on July 18, 2020. Due
      6   to travel and interpersonal contact limitations imposed by the COVID-19 pandemic, Ms.
      7   Humphrey participated in this interview via Zoom video conferencing from her home in Blue
      8   Springs, Missouri
      9          Brief Developmental History:
     10          4.     She began full-time training for the Olympics immediately after finishing high
     11   school, and she earned two silver medals just after turning 18 years old in 2004. She then
     12   attended the University of Alabama, where she continued competing in gymnastics. She earned
     13   a degree in Criminal Justice with a minor in Psychology in 2008, with a GPA of about 3.4.
     14          5.     She was married in October 2019, and her daughter was born after a healthy
     15   pregnancy in January 2020. She now works as a homemaker, and her future career direction is

     16   uncertain.

     17          History of Relevant Events:
     18          6.     Ms. Humphrey reports that she was sent by her coaches to be examined by Dr.

     19   Larry Nassar when she injured her hips in 2002 at age 15. The sexual abuse lasted

     20   approximately 15 minutes. Nassar positioned his body so the coach couldn't see what he was

     21   doing. “He didn't even stretch my hips or do any other kind of exam.... I was so embarrassed

     22   and uncomfortable. I didn't know what he was doing or how it could help, but he was so

     23   knowledgeable so I thought it must be okay."

     24          7.     During her pregnancy in 2019, Ms. Humphrey became acutely anxious when

     25   anyone touched her belly without permission. She experienced severe anxiety when she

     26   required pelvic examinations during this time, and her distress rose even further at the time of

     27   childbirth when "I felt helpless and overwhelmed because people were staring at me (my

     28   genitals) and examining me, especially when the male doctor, not my usual doctor, did it."
          These events reminded her directly of her confusion and embarrassment when being examined
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                              DECLARATION OF LICENSED MENTAL HEALTH PRACTITIONER
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      1   by Dr. Larry Nassar. Further reminders immediately followed when she needed physical
      2   therapy for pelvic/back pain caused by childbirth with a previous spinal injury. She ended
      3   treatment prematurely because she could not endure it any longer, prolonging her physical pain.
      4          Resulting Psychological Symptoms and Psychosocial Impact:
      5          8.       Following the powerful external cue of being genitally examined and
      6   manipulated prior to and after childbirth, which resembled and symbolized a developmentally
      7   inappropriate sexual experience, Ms. Humphrey reports the following resulting symptoms:
      8          a. Intrusion/reexperiencing - Intrusive distressing memories, flashbacks, and intense
      9                psychological distress with marked physiological reactions upon exposure to cues
     10                that symbolize or resemble an aspect of the traumatic events.
     11          b. Avoidance - Efforts to avoid distressing memories, thoughts, feelings, and external
     12                reminders of the traumatic events.
     13          c. Negative cognitions - Persistent negative beliefs and expectations about herself and
     14                the world, distorted cognitions about the consequences of the traumatic events,
     15                persistent negative emotional state, markedly diminished interest and participation in

     16                significant activities, feelings of detachment or estrangement from others, and

     17                persistent inability to experience positive emotions.
     18          d. Hyperarousal - Irritable behavior and angry outbursts, hypervigilance, exaggerated

     19                startle response, problems with concentration, and sleep disturbance.

     20          e. Depression - Depressed mood, markedly diminished interest and pleasure in

     21                activities, insomnia, psychomotor agitation, fatigue, feelings of excessive guilt, and

     22                diminished ability to concentrate.

     23          9.       These disturbances have caused clinically significant distress and impairment in

     24   social, occupational, and other important areas of functioning. Ms. Humphrey reports negative

     25   impact on her general sense of life contentment and emotional outlook, intimate relationships,

     26   family relationships, friendships, work motivation, and interests and activities.

     27          DSM-V Diagnoses

     28          10.      Child Sexual Abuse (T76.22XD)
                 11.      Posttraumatic Stress Disorder, with delayed expression (F43. l 0)
                                                          3
                                 DECLARATION OF LICENSED MENTAL HEALTH PRACTITIONER
                                                                               Humphrey Appellant Appendix 098
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      1          12.      Major Depressive Disorder, single episode, severe, with anxious distress, with
      2   peripartum onset (F32.2)
      3          Opinions and Discussion
      4          13.      Causes and consequences of events in a court setting are conclusory issues
      5   properly left for a judge or a jury to determine. Therefore, I offer these opinions only as they
      6   pertain to psychiatric evaluation and treatment planning. In arriving at these opinions, I have
      7   integrated aspects of my training and experience with the information available to me. I have
      8   considered symptom, content, and contextual validity, as well as the pattern of symptoms and
      9   impact with respect to the subject's developmental history.
     10          14.      The psychiatric diagnosis of Child Sexual Abuse encompasses any sexual act
     11   involving a child that is intended to provide sexual gratification to a parent, caregiver, or other
     12   individual who has responsibility for the child.1 Because this occurred during Ms. Humphrey's
     13   interaction with Dr. Larry Nassar at age 15, it is my opinion to a reasonable degree of medical
     14   certainty that Ms. Humphrey meets psychiatric criteria for Child Sexual Abuse.
     15          15.      Child sexual abuse is psychologically damaging because the child's immature

     16   mind cannot healthily integrate the powerful overstimulation of complex thoughts and sexual

     17   feelings in a situation involving a serious violation of trust from an adult in a position of
     18   authority. This can result in observable symptoms and interference with developmental

     19   progress. However, there is of course a range of responses to various childhood sexual

     20   experiences in terms of onset, type, severity, and duration of symptoms and developmental

     21   interference.

     22          16.      The psychiatric diagnosis of Posttraumatic Stress Disorder is based on a pattern

     23   of intrusion symptoms, avoidance of stimuli, negative alterations in cognitions and mood, and

     24   alterations in arousal and reactivity following exposure to actual or threatened death, serious

     25   injury, or sexual violence. For children, sexually violent events may include developmentally

     26   inappropriate sexual experiences without physical violence or injury. 1 Ms. Humphrey reports a

     27   multitude of these specific symptoms in a clinically valid manner. These symptoms were not

     28   present prior to the visceral reminder of sexual abuse occasioned by genital examination during
          pregnancy and childbirth, and they are thematically closely related to the incidents of sexual
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     1   abuse. Therefore, it is my opinion to a reasonable degree of medical certainty that Ms.
     2   Humphrey meets psychiatric criteria for Posttraumatic Stress Disorder with delayed expression,
     3   as a direct result of her experience of child sexual abuse by Dr. Larry Nassar.
     4          17.      The psychiatric diagnosis of Major Depressive Disorder is based on a pattern of
     5   depressed mood and/or loss of interest or pleasure in almost all activities, accompanied by
     6   symptoms such as weight loss, insomnia, psychomotor retardation, fatigue, feelings of
     7   worthlessness or excessive guilt, diminished ability to concentrate, and recurrent thoughts of
     8   death, suicidal ideation, or suicide attempt. (See American Psychiatric Association: Diagnostic
     9   and Statistical Manual of Mental Disorders, 5th edition, 2013). Ms. Humphrey convincingly
   10    describes the initial onset of severe symptoms beginning in January 2020. She had never before
   11    experienced similar symptoms. Therefore, it is my opinion to a reasonable degree of medical
   12    certainty that Ms. Humphrey meets psychiatric criteria for Major Depressive Disorder, single
   13    episode, with anxious distress and peripartum onset, as a direct result of child sexual abuse by
   14    Dr. Larry Nassar.
   15           18.      Due to the severity of her condition and the resulting functional interferences,

   16    Ms. Humphrey's prognosis is guarded. Although not expressed formally in the DSM-V

   17    diagnostic format, the most clinically worrisome aspect of her presentation is the potential
   18    impact on her ability to care for and to promote the healthy development of her baby. The

   19    maternal tasks of providing protection and promoting attachment and basic trust without undue

   20    worry and anxiety have been directly and substantially affected by her experience of child

   21    sexual abuse.

   22           Pattern of Disclosure

   23           19.      Delayed symptoms and disclosure of sexual abuse are not uncommon, and must

   24    be understood individually with respect to content, context, and developmental stage. Ms.

   25    Humphrey clearly recalled the incident of child sexual abuse during adolescence and early

   26    adulthood, but she did not experience significant psychological symptoms until genital

   27    examination during pregnancy and childbirth served as a powerful reminder and precipitated a

   28    feeling of recurrence of sexual abuse. She was then flooded with feelings of vulnerability,
         helplessness, guilt, defectiveness, and lack of trust. Prior to that time, she had also been in the
                                                       5
                              DECLARATION OF LICENSED MENTAL HEALTH PRACTITIONER
                                                                          Humphrey Appellant Appendix 100
Case 18-09108-RLM-11   Doc 1213-2
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     1   child sexual abuse, creating a potent loyalty bind. These factors credibly explain Ms.

     2   Humphrey's pattern of delayed symptoms and disclosure from a psychiatric viewpoint.

     3          I declare under penalty of perjury, and pursuant to the laws of the state of California,
     4   that the foregoing is true and correct and that the certificate was executed on July~, 2020, at
     5     La.Jo/fa                  ,
         - - ~ ~ ~ - - - - - California.
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                             DECLARATION OF LICENSED MENTAL HEALTH PRACTITIONER
                                                                  Humphrey Appellant Appendix 101
                                     LLP as Debtor's Attorne (Fee: $4,121,129.22, E pense: $109,986.97)
         Case 1:20-cv-02522-SEB-MPB Document
                                     (re: Doc #8-2  Filed
                                                1044).    11/30/20
                                                       Attorne       Page 102
                                                                for Special      of 283
                                                                            Counsel     PageID
                                                                                     Jenner     #: LLP
                                                                                             & Block
                                               1680
                                     must distribute this order. (bt ) (Entered: 06/29/2020)

                        1167               Order Granting First Interim Application for Compensation and/or
                        (3 pgs)            Reimbursement of E penses Pursuant to Sec. 330 for Barnes &
                                           Thornburg, LLP as Debtor's Attorne (Fee: $208,572.69, E pense:
                                           $1,681.39) (re: Doc # 1040). Attorne for the debtor must distribute
06/29/2020                                 this order. (bt ) (Entered: 06/29/2020)

                        1166               Order Granting First Interim Application for Compensation and/or
                        (5 pgs; 2 docs)    Reimbursement of E penses Pursuant to Sec. 330 for Rubin & Levin,
                                           P.C. as Special Counsel (Fee: $291,597.39, E pense: $5,114.16) (re: Doc
                                           # 1026). The Clerk's Of ce will distribute this order. (bt ) (Entered:
06/29/2020                                 06/29/2020)

                        1165               Order Granting First Interim Application Compensation and/or
                        (2 pgs)            Reimbursement of E penses Pursuant to Sec. 330 for John Thomas
                                           Piggins as Special Counsel (Fee: $1,071,177.50, E pense: $31,407.57)
                                           (re: Doc # 1050). Attorne for the debtor must distribute this order.
06/29/2020                                 (bt ) (Entered: 06/29/2020)

                        1164               Notice of Dra on Retainer/Pa ment of Fees or E penses Pursuant to
                        (35 pgs; 2 docs)   Local Rule S.D.Ind. B-2014-1 RE: JENNER & BLOCK, led b
                                           Catherine L. Steege on behalf of Debtor USA G mnastics (re: Doc #
                                           187). (Attachments: (1) E hibit A) (Steege, Catherine) CORRECTION:
                                           Missing docket te t added in all capital letters. Modi ed on 6/26/2020.
06/25/2020                                 (bt ) (Entered: 06/25/2020)

                        1163               Certi cate of Service re: Order Setting Hearing, led b Noticing Agent
                        (6 pgs)            on behalf of Debtor USA G mnastics (re: Doc # 1145). (E ing, Scott)
06/25/2020                                 (Entered: 06/25/2020)

                        1162               Minute Entr /Order: re: Telephonic Hearing on Motion for Authorit /
                                           Debtor's Motion for Order Approving the Disclosure Statement and Plan
                                           Con rmation Procedures (re: Doc # 931). Disposition: Hearing held.
                                           Matter continued. Hea        be e d    10/19/2020 a 01:30 PM EDT
                                           Te ec fe e ce a 888-273-3658; acce c de 9247462 (RLM). (mjd)
06/24/2020                                 (Entered: 06/24/2020)

                        1161               Minute Entr /Order: re: Telephonic Status Conference on Motion to
                                           Dismiss Case led b Creditor Committee Tort Claimants Committee (re:
                                           Doc # 892). Disposition: Hearing held. Matter continued. Hea      be
                                            ed    10/19/2020 a 01:30 PM EDT Te ec fe e ce a 888-273-
06/24/2020                                 3658; acce c de 9247462 (RLM). (mjd) (Entered: 06/24/2020)

                        1160               Minute Entr /Order: re: Telephonic Hearing on Notice of Submission of
                                           Supplement to First Interim Fee Application of FrankGecker LLP,
                                           Counsel To Fred C. Caruso, Future Claimants Representative (For The
                                           Period Ma 28, 2019-March 31, 2020) (re: Doc # 1052). Disposition:
                                           Hearing held. Applications approved over objections made b National
                                           Casualt Compan and other insurers as to certain fees of the
06/24/2020                                 applications. Orders to be submitted. (mjd) (Entered: 06/24/2020)

06/24/2020              1159               Minute Entr /Order: re: TelephonicHumphrey
                                                                              HearingAppellant Appendix 102for Interim
                                                                                      on Application
                                           Compensation and/or Reimbursement of E penses Pursuant to Sec. 330
Case 1:20-cv-02522-SEB-MPB Document 8-2 Filed 11/30/20 Page 103 of 283 PageID #:
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                                                         Humphrey Appellant Appendix 103
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                                                         Humphrey Appellant Appendix 104
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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


      In re:                                                            Chapter 11

      USA GYMNASTICS, 1                                                 Case No. 18-09108-RLM-11

                        Debtor.


                      OBJECTION OF THE ADDITIONAL TORT
                    CLAIMANTS COMMITTEE OF SEXUAL ABUSE
           SURVIVORS TO DISCLOSURE STATEMENT FOR FIRST AMENDED
       CHAPTER 11 PLAN OF REORGANIZATION PROPOSED BY USA GYMNASTICS

               The Additional Tort Claimants Committee of Sexual Abuse Survivors (the “Survivors’

  Committee”), appointed in this case under chapter 11 of title 11 of the United States Code (the

  “Bankruptcy Code”), hereby objects (the “Objection”) to the Disclosure Statement for First

  Amended Chapter 11 Plan of Reorganization Proposed by USA Gymnastics (the “Disclosure

  Statement”) [Doc 930]. 2 In support of its Objection, the Survivors’ Committee respectfully

  states as follows:

                                      I. PRELIMINARY STATEMENT

               The proposed Plan and Disclosure Statement are premised on the Settling Insurers

  funding the Settlement Election under the terms and conditions set forth in the Plan. On April 9,

  2020, the Settling Insurers revealed that they have no agreement with the Debtor to fund the

  settlement. 3 This is the first and only disclosure to the Survivors’ Committee and the Abuse


  1
   The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
  principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
  2
   All capitalized terms not defined herein have the meaning ascribed to such term in the First Amended Chapter 11
  Plan of Reorganization Proposed by USA Gymnastics (the “Plan”) [Doc 928].
  3
   See Motion to Further Extend Time to Object to Motion for Entry of an Order Approving the Disclosure Statement
  and Plan Confirmation Procedures (“Insurers Motion”) [Doc 1009].



                                                                                         Humphrey Appellant Appendix 105
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  Claimants (as defined below) that the Settlement Election in the Plan is illusory. 4 The Debtor’s

  ongoing refusal to be transparent and candid with the Survivors’ Committee and the Abuse

  Survivors has caused them to believe that the Debtor is using the bankruptcy process to avoid

  accountability for the agony inflicted on the Abuse Claimants.

           The lynchpin of the proposed Plan is a settlement option, to be funded by the Settling

  Insurers that the Settling Insurers have not agreed to. Moreover, the Plan cannot be confirmed as

  a matter of law and the Disclosure Statement lacks the most basic information necessary for the

  creditors to assess the Plan in an informed fashion. In some instances, the Disclosure Statement

  conflicts with the Plan.

           The Disclosure Statement is inadequate and misleading in multiple ways as discussed in

  detail below. The most glaring inadequacies are the following:

           First, the Disclosure statement provides no information on the contributions, if any, to be

  made to the settlement embodied in the Settlement Election (the “Settlement”) by individual

  Settling Insurers. In order to provide adequate information to enable members of Class 6 (the

  “Abuse Claimants”) to vote on the Plan and make one of the elections, the Disclosure Statement

  must contain a table that shows the following information with respect to each Settling Insurer:

  (1) which Settling Insurers are not contributing to the Settlement; (2) which Settling Insurers are

  contributing on behalf of USAG only; (3) which Settling Insurers are contributing on behalf of

  USAG and USOPC; and (4) which Settling Insurers are contributing on behalf of USOPC only.

  The table should also disclose the amount each Settling Insurer is contributing and the years of

  coverage being released.


  4
    See Insurers Motion at ¶ 6 (“[T]he Proposed Plan does not reflect necessary material terms, injects different terms
  than proposed when offers were made, and further, is deficient as to other fundamental terms, including scope of
  injunctive protection, scope of buy back of insurance, releases (including from USOPC and other Protected Parties)
  and other affirmative obligations.”).


                                                            2
                                                                                         Humphrey Appellant Appendix 106
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         Second, the Disclosure Statement fails to disclose that USOPC is not an additional

  insured on all of the Debtor’s Insurance Policies and misstates that USOPC’s consent is required

  for the proceeds of those Insurance Policies to be contributed to the Settlement.

         Third, the Disclosure Statement does not provide adequate information on who is

  receiving the benefits of the releases and channeling injunctions and why, including describing

  what contribution, if any, they are making to the Plan and the nature of their relationship to the

  Debtor and why they are receiving the benefits of the release and channeling injunction.

         Fourth, the Liquidation Analysis is misleading and inadequate because it overstates the

  value of USOPC’s indemnity claims against the Debtor and does not include in its analysis of

  assets the Debtor’s potential avoidance actions, Insurance Reimbursement Claims and bad faith

  claims against its Insurers, and the Debtor’s intellectual property (including trademarks and

  logos) and ignores the insurance proceeds that would be available to the Abuse Claimants if the

  Debtor were liquidated.

         Fifth, the Disclosure Statement contains a misleading and one-sided characterization of

  the merits and value of the Abuse Claims. The Disclosure Statement should contain a

  consolidated statement by counsel for each of the members of the Survivors’ Committee

  presenting their view, after they have had an opportunity to conduct discovery.

         Sixth, the Disclosure Statement fails to discuss the benefits to the Abuse Claimants of

  rejecting the Plan or voting for the Litigation Election and misrepresents the “race to the

  courthouse” and “race to judgment” issues which do not exist for Insurance Policies without

  aggregate limits.

         Seventh, the Disclosure Statement fails to adequately explain that a significant portion of

  the insurance proceeds contributed to the Trust will be used for purposes other than to pay the




                                                   3
                                                                            Humphrey Appellant Appendix 107
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  Abuse Claimants and in fact falsely states that all of the insurance proceeds will be used to pay

  Abuse Claimants. Compare, e.g., Section 2.7 and Article IV of the Trust Agreement

  accompanying the Plan as Exhibit D, with the description of the Settlement Election in the

  Disclosure Statement at pages 3-4. It is impossible to even estimate from the information

  contained in the Disclosure Statement what portion of the insurance proceeds will actually be

  used to pay the Abuse Claimants, although it clearly will not be all of the insurance proceeds.

          Eighth, the Disclosure Statement gives the misleading impression that each Class 6

  claimant will be able to elect to settle or litigate if they accept the Plan, and make the

  corresponding election, when in reality all claimants within Class 6 will be required to settle or

  litigate if the Plan is accepted by Class 6.

          Ninth, the Disclosure Statement contradicts the Plan in its description of acceptance of

  the Plan by Class 6 claimants. Article 8.2 of the Plan states that holders of claims in an impaired

  class shall have accepted the Plan if it is accepted by at least two-thirds (2/3) in dollar amount

  and more than one-half (1/2) in number have voted to accept the Plan. However, Section III.C.3

  of the Disclosure Statement states on page 22 that if individuals holding more than half of the

  Class 6 Abuse Claims vote in favor of the Plan, it will have been accepted by the Class, with no

  mention of the two-thirds (2/3) requirement.

          With respect to its inability to be confirmed, the Plan fails in at least eight respects:

          First, the Plan contains impermissibly broad non-consensual releases and a channeling

  injunction for the benefit of non-debtors that are not making any contribution of their own funds

  to the Plan. The releases and channeling injunctions extinguish the claims of the Abuse

  Claimants against USOPC and others for prepetition conduct, unrelated to and not arising out of

  the reorganization, including prepetition claims based on willful misconduct and fraud. USOPC




                                                     4
                                                                              Humphrey Appellant Appendix 108
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  and other non-debtors receive this expansive relief under the Plan without contributing a dime of

  their own funds. The Settling Insurers receive essentially the same relief under the Plan even

  though the Disclosure Statement contains no information about what amounts, if any, the

  Settling Insurers are contributing to the Settlement. These Plan provisions make the Plan

  patently unconfirmable.

         Second, the Settlement Election under the Plan requires the proceeds of the Debtor’s

  insurance be used for purposes other than paying the allowed claims of the Abuse Claimants.

  Under the Plan, insurance proceeds will be used to pay the fees and costs of the Survivors’

  Committee’s professionals, the Debtor’s costs of publication and notice and the costs to

  indemnify the Trust and hold harmless the non-debtors that are to receive the benefits of the

  channeling injunction. This is impermissible because the proceeds of the Debtor’s general

  liability policies are not property of the estate and can only be used to pay the classes of claims

  that are covered by the policies.

         Third, the Plan does not meet the best interests test for at least two reasons. First, the

  Debtor’s liquidation analysis, upon which it purports to show the test is met, gives no

  consideration of the recoveries the Abuse Claimants would receive from USOPC and the other

  non-debtor parties that would be released under the Settlement Election but would not receive

  releases in a hypothetical chapter 7 liquidation of the Debtor. Second, the test is not met because

  as set forth in the second point above, under the Plan Settlement Election, insurance proceeds

  will be used to pay the Debtor’s administrative expenses and to indemnify non-debtors that

  receive releases. However, in hypothetical chapter 7 liquidation, the insurance proceeds could

  only be used to pay the Abuse Claimants.




                                                    5
                                                                             Humphrey Appellant Appendix 109
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         Fourth, the Debtor filed the Plan in bad faith. Under the Plan, the Debtor receives a

  discharge without contributing any of its own assets (other than insurance). The Plan is a

  transparent attempt by the Debtor to effect a dismissal of the case and receive a discharge.

         Fifth, the Plan unfairly discriminates against the Abuse Claimants by classifying them

  separately from other unsecured creditors in Class 5 and by giving Class 5 a higher recovery

  from the Debtor’s assets than the Abuse Claimants will receive.

         Sixth, the Plan unfairly discriminates among Abuse Claimants within Class 6, by

  arbitrarily providing different treatment for similarly-situated Class 6 claimants, by dividing

  them into various sub-classes and providing substantially different treatment for claims within

  such sub-classes.

         Seventh, to the extent the Plan proposes that Class 6 will be deemed to have accepted the

  Plan if a simple majority of Class 6 claimants accept the Plan as stated in Section III.C.3 of the

  Disclosure Statement, the Plan would directly contravene section 1126(c) of the Bankruptcy

  Code, which requires that a plan be accepted by holders of claims at least two-thirds (2/3) in

  amount of the total claims in the class.

         Eighth, the Plan contradictorily states that all insurance proceeds paid to the Trust will be

  used to satisfy claims of Abuse Claimants under the Settlement Election, while also stating that

  numerous other claims and expenses will first be deducted from such insurance proceeds before

  payment is made to Abuse Claimants. Compare, e.g., Section 2.7 and Article IV of the Trust

  Agreement accompanying the Plan as Exhibit D, with sections 3.1 and 3.1.1 of the Plan.




                                                   6
                                                                            Humphrey Appellant Appendix 110
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                                            II. ARGUMENT

  A.       The Disclosure Statement Cannot be Approved Because It Does
           Not Contain Adequate or Accurate Information as Required by 11 U.S.C. § 1125.

           1.    The proposed Disclosure Statement lacks sufficient information for creditors,

  including Abuse Claimants, to make an informed decision whether to accept or reject the Plan,

  and in some instances contains false or misleading information. In order for the Disclosure

  Statement to be approved, if it can even be approved (see argument below regarding the inability

  to confirm the Plan), it must be amended to address the objections and issues raised below.

                 1.      Applicable Legal Standard.

           2.    Section 1125(b) of the Bankruptcy Code requires that a disclosure statement

  contain “adequate information.” “Adequate information” is defined as “information of a kind,

  and in sufficient detail . . . [to enable] a hypothetical investor of the relevant class to make an

  informed judgment about the plan.” 11 U.S.C. § 1125(a); see also In re Unichem Corp., 72 B.R.

  95, 97 (Bankr. N.D. Ill. 1987); In re Malek, 35 B.R. 443, 443 (Bankr. E.D. Mich. 1983) (citing

  numerous factors to determine whether adequate information has been provided). This standard

  is purposefully malleable “so as to permit a case-by-case determination based on the prevailing

  facts and circumstances.” In re Cardinal Congregate I, 121 B.R. 760, 765 (Bankr. S.D. Ohio

  1990).

           3.    The supporting information in a disclosure statement must be factually based, and

  not based merely upon the debtor’s beliefs and opinions; the sources and methodology utilized

  by the debtor must therefore be disclosed. In re Egan, 33 B.R. 672 (Bankr. N.D. Ill. 1983); In re

  Pappas, 17 B.R. 662 (Bankr. N. Mass. 1982).




                                                     7
                                                                              Humphrey Appellant Appendix 111
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                   2.       Disclosure Statement Objections.

          4.       The Disclosure Statement is replete with inaccurate, incomplete, one-sided or

  misleading statements on material issues and has other critical deficiencies, which must be

  addressed by the Debtor, including the following infirmities:

                            a.       Insurance Issues.

                                     i.       The Disclosure Statement does not Provide
                                              Adequate Information on Insurer Contributions.

          5.       The Disclosure Statement does not provide sufficient information for the Abuse

  Claimants to determine which of the CGL Settling Insurers are making a contribution to the

  settlement. 5

          6.       The Disclosure Statement identifies the Settling Insurers but does not disclose

  which carriers are contributing, the amounts, if any, being contributed by each of them and

  whether the insurers insure both USAG and USOPC or only one of them. In order to provide

  adequate information to enable the Abuse Claimants to vote on the Plan and make one of the

  elections, the Disclosure Statement must contain a table that shows the following information

  with respect to each Settling Insurer: (1) which Settling Insurers are not contributing to the

  Settlement; (2) which Settling Insurers are contributing on behalf of USAG only; (3) which

  Settling Insurers are contributing on behalf of USAG and USOPC; and (4) which Settling

  Insurers are contributing on behalf of USOPC only. The table should also disclose the amount

  each Settling Insurer is contributing and the years of coverage being released.




  5
   “The Settling Insurers will pay the cumulative amount of Two Hundred Nineteen Million Seven Hundred Fifty
  Thousand ($219,750,000.00) (the “Insurance Settlement Amount”). [Disclosure Statement at 44.] Not all of this
  amount will be paid to the Abuse Claimants. The Survivors’ Committee reserves its right to object to the Plan on all
  grounds, including that individual Settling Insurers and other parties are not making a substantial contribution
  sufficient to support third party releases and a channeling injunction.


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                                                                                       Humphrey Appellant Appendix 112
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          7.       The Disclosure Statement also contains a statement regarding insurance coverage

  that is inconsistent with pleadings that USOPC has recently filed with the Court: The Disclosure

  Statement represents that the Settlement amount includes contributions from Insurers that insure

  only USOPC “which constitutes additional consideration from USOPC.” [Disclosure Statement

  at 10, 19.] In apparent contrast, USOPC has informed the Court that “[t]he source of [the] Plan

  Payment is the proceeds of certain USAG Policies that insure both USAG and USOPC.”

  [USOPC Statement 6 at ¶ 7.] The Disclosure Statement must reconcile these inconstant positions

  and provide accurate information to the Abuse Claimants.

                                    ii.     The Disclosure Statement fails to Disclose USOPC Is
                                            Not an Additional Insured on All USAG’s Policies and
                                            Its Consent Is Not Required for the Proceeds of those
                                            Policies to be Contributed to a Settlement.

          8.       The Debtor maintains that the funding of the Settlement by the Settling Insurers

  pursuant to the Settlement Election would not be possible without a release of the USOPC. The

  Debtor contends:

                   This treatment is required because the USOPC is an additional or
                   named insured under the CGL Insurance Policies. The USOPC
                   has rights to payment under those policies that are independent of
                   any of the Debtor’s rights. The CGL Settling Insurers have
                   conditioned the payment of their settlement contributions upon the
                   USOPC giving up its rights under the policies. The only way the
                   USOPC will agree to that result is if it is protected by the releases
                   and injunctions described above.

  [Disclosure Statement at 19.]




  6
   “USOPC Statement” shall mean the Statement and Reservation of Rights of the United States Olympic and
  Paralympic Committee in Response to the Application to Employ Gibbins Advisors, LLC as Financial Advisor to the
  Additional Tort Claimants Committee of Sexual Abuse Survivors [Doc 943] filed on March 6, 2020.


                                                        9
                                                                                   Humphrey Appellant Appendix 113
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          9.       The Disclosure Statement is incomplete and misleading because it fails to disclose

  that USOPC is not an additional insured during key years of abuse. 7 For these years, USOPC

  was not an “additional insured” and its consent to the use of insurance funds during such years is

  not required. Thus, contrary to the Debtor’s contentions in the Disclosure Statement, it is not

  “likely that the Bankruptcy Court would hold that the USOPC has equal and independent rights”

  in these policies. Similarly, USOPC cannot be given “credit” for contributing anything to the

  Settlement by permitting USAG’s insurers to fund the Settlement for those policy years, since its

  consent is not necessary or required. The lack of value of USOPC’s release of the Insurers from

  exposure to USOPC’s liability as an additional insured on policies where USOPC was not an

  additional insured is never discussed. Complete and accurate information regarding years in

  which USOPC was and was not an additional insured must be supplied and addressed in the

  Disclosure Statement in order to provide adequate information to enable the Abuse Claimants to

  make an informed decision on the Plan.

                                     iii.    The Disclosure Statement Does Not Provide Adequate
                                             Information On Who Is Being Released and Why.

          10.      The Disclosure Statement lists non-debtor organizations and individuals who will

  receive non-consensual third party releases and the benefits of a channeling injunction

  extinguishing the claims of Abuse Claimants against them relating to sexual abuse, 8 but provides

  no information as to what, if anything, they are contributing to the Settlement. [Disclosure

  Statement at 5.] If the Non-Debtor CGL Settling Insurer Covered Persons and Participating

  Parties are “contributing” solely by virtue of their status as additional insureds on a Settling CGL


  7
   National Casualty Company CGL Policy for August 2011 to August 2016 (per year primary insurance $1 million
  per occurrence and no aggregate limit and excess insurance no occurrence limit and $25 million aggregate limit).
  8
   Referred to as “Non-Debtor CGL Settling Insurer Covered Persons” and “Participating Parties” on page 5 of the
  Disclosure Statement.


                                                         10
                                                                                      Humphrey Appellant Appendix 114
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  Insurer’s policy, this fact should be explained, and the relevant policies should be identified by

  Insurer, policy number and coverage year. Similarly, no information is provided on the

  relationship of these persons and entities to the Debtor and why they need and are entitled to

  have the Abuse Claimants’ claims against them extinguished. The Abuse Claimants need this

  information to make an informed decision on whether to vote for or against the Plan and make

  either the Settlement Election or the Litigation Election.

           11.       For example, National Gymnastic Foundation will be released and receive the

  benefits of a channeling injunction, yet there are no disclosures of its relationship to the Debtor,

  why it needs or is entitled to a release or what, if anything, it is contributing. 9 If these non-

  debtor individuals and organizations are not making any contribution to the Settlement and are to

  receive non-consensual releases from the Abuse Claimants under the Settlement Election, the

  Disclosure Statement must disclose the reasons they are receiving non-consensual releases and

  the benefits of a channeling injunction.

           12.       Finally, some of the Non-Debtor CGL Settling Insurer Covered Persons that are

  receiving releases under the Plan are under criminal investigation or have been charged with

  crimes related to sex abuse against the Abuse Claimants. The Disclosure Statement should

  identify these individuals (e.g., Steve Penny, former President and CEO of the Debtor) and

  summarize the criminal proceedings or investigations against them.




  9
   The release for National Gymnastics Foundation appears inappropriate without further explanation. In resisting
  discovery by the Survivors’ Committee into its financial condition and transfers it received from the Debtor,
  National Gymnastics Foundation informed the Court that (i) it is not a defendant in any lawsuit filed against the
  Debtor; (ii) it was not a debtor and not in bankruptcy; and (iii) it is a separate legal entity with a separate board of
  directors. See Objection of the National Gymnastics Foundation to the Additional Tort Claimants Committee of
  Sexual Abuse Survivors’ Motion Pursuant to Rule 2004 Directing Production of Documents and Materials [Doc
  482] filed on May 13, 2019.


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                           b.       Language Concerning Settlement Negotiations to be Corrected
                                    or Clarified.

          13.      Certain statements in the Disclosure Statement are required to be revised in order

  to accurately and adequately represent the pre-Plan settlement negotiations. For example, the

  Debtor states (emphasis added):

                   Following its bankruptcy filing, the Debtor has engaged its
                   insurance carriers, the Survivors’ Committee, athletes, creditors,
                   and other parties in interest in good faith and lengthy negotiations
                   over the terms of a plan of reorganization that will compensate all
                   persons holding Allowed Claims against the Debtor, with the
                   Debtor’s paramount focus on reaching an equitable resolution of
                   the Abuse Claims. As a result of these efforts, the Debtor submits
                   the Plan, which the Debtor believes is in the best interests of, and
                   provides the highest and most expeditious recoveries to, all parties
                   who hold Claims against the Debtor, including Holders of Abuse
                   Claims. The Debtor recommends that all Classes of Claims
                   entitled to vote accept the Plan, and further recommends that all
                   Holders of Abuse Claims make the Settlement Election (described
                   below).

  [Disclosure Statement at 1.] An Abuse Claimant reading the foregoing language—especially the

  “[a]s a result of these efforts” clause—could easily be misled into believing that a global

  settlement among the key parties was actually reached supported by the Survivors’ Committee

  and that the Plan embodies that settlement in the “Settlement Election.” This is untrue because

  the Survivors’ Committee does not support the Settlement embodied in the Settlement Election.

  Rather, the Plan represents the Debtor’s unilateral settlement proposal after the mediation hit an

  impasse. The Disclosure Statement should make the facts clear.

          14.      For the same reasons, on page 35 of the Disclosure Statement, the Debtor’s

  discussion of the Survivors’ Committee’s Dismissal Motion 10 should be expanded to set forth the



  10
    “Dismissal Motion” shall mean the Motion of the Additional Tort Claimants Committee of Sexual Abuse Survivors
  for Entry of an Order Pursuant to 11 U.S.C. §§ 105(a), 349 and 1112(b) Dismissing the Bankruptcy Case and
  Granting Related Relief [Doc 892] filed on January 21, 2020.


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  Survivors’ Committee’s allegations of the Debtor’s, the USOPC’s, and Insurers’ lack of good

  faith during this case and other material contentions, which have a bearing on, inter alia, the

  Debtor’s purported good faith in proposing the Plan.

                         c.      The Discussion of the Merits and Value of the Abuse Claims is
                                 One-Sided and Misleading.

         15.     Similarly, the Disclosure Statement on pages 7 through 8 sets forth a one sided

  and misleading characterization of the merits of the Abuse Claims and the purported likelihood

  that the Abuse Claimants will receive nothing if they do not vote for the Plan and the Settlement

  Election. The Abuse Claimants are entitled to a more balanced and accurate description of the

  litigation issues. Therefore, the Disclosure Statement should include a joint statement by counsel

  for each of the members of the Survivors’ Committee representing their views on the merits and

  value of the Abuse Claims. Counsel for the members of the Survivors’ Committee will need to

  conduct discovery to obtain the information necessary to prepare this statement.

                         d.      The Disclosure Statement Fails to Discuss the Upside of the
                                 Litigation Election.

         16.     The Disclosure Statement is inadequate because it fails to include any discussion

  of the potential upside of (i) either voting for the Plan and making the Litigation Election, or (ii)

  rejecting the Plan. The Abuse Claimants need information on both to evaluate the choices the

  Debtor is requiring them to make under the Plan. For many, if not most, of the Abuse Claimants

  one of these options may be preferable to accepting the Plan and making the Settlement Election

  because they may obtain judgments enforceable against the USOPC and other parties covered by

  the Settling Insurers, far in excess of what they would receive under the Plan. Moreover, the

  purported “race to the court house” or “race to judgment” the Debtor warns of is a non-issue for

  claims covered by Insurance Policies with no aggregate policy limit, and judgments on these




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  claims would be paid in full regardless of when the judgments were obtained. The Disclosure

  Statement should include a discussion of the circumstances under which it may be in the best

  interest of those Abuse Claimants to vote for the Litigation Election or simply vote to reject the

  Plan.

                         e.      The Cash Flow Projections are Inadequate.

          17.    The Debtor’s cash flow projections (on a year-only basis, for 2020, 2021 and

  2022), attached as Exhibit 2 to the Disclosure Statement, do not include any information on

  potential avoidance action recoveries, and while a $1.5 million cash disbursement regarding

  “Olympics” is reflected in the projections for 2020, there appear to be no cash receipts resulting

  from or relating to the 2020 Olympics in 2020, 2021 or 2022.

                         f.      The Debtor’s Liquidation Analysis Overstates the Potential
                                 Liability to USOPC and Omits the Value of Other Assets.

          18.    The Liquidation Analysis, attached as Exhibit 3 to Disclosure Statement, contains

  the following serious flaws:

                         The analysis values Indemnification Claims at $41,400,000.00 based on
                         the filed amount of those claims. However, as discussed below in
                         paragraph 41, the contractual indemnity purportedly owed by the Debtor is
                         not covered by insurance and therefore will not impact the amount the
                         Abuse Claimants receive from the Insurance Policies. The impact of these
                         claims is thus vastly overstated.

                         The analysis does not address the value of bad faith claims litigation
                         against the insurers, which will be extinguished under the Settlement
                         Election.

                         The analysis omits contribution/indemnification payments to the estate by
                         third parties in relation to Abuse Claims, potential avoidance action
                         recoveries, potential recoveries on Insurance Reimbursement Claims and
                         intellectual property and related rights owned by the Debtor, including
                         trademarks and logos.




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                         g.      The Tallying Procedures are Unclear and Contradict the Plan.

         19.     Section III.C.3 of the Disclosure Statement directly contradicts Article 8.2 of the

  Plan. Article 8.2 of the Plan states that holders of claims in an impaired class shall have accepted

  the Plan if it is accepted by at least two-third (2/3) in dollar amount and more than one-half (1/2)

  in number have voted to accept the Plan. However, Section III.C.3 of the Disclosure Statement

  states on page 22 that if individuals holding more than half of the Class 6 Abuse Claims vote in

  favor of the Plan, it will have been accepted by the Class, with no mention of the two-thirds (2/3)

  requirement. The Disclosure Statement and Class 6 Ballot are also vague and misleading on how

  votes will be counted. They incorrectly imply that each Abuse Claimant can effect a Litigation

  or Settlement Election for herself if the Plan is accepted. What happens, for example, if an

  Abuse Claimant wants to accept the Plan but only on the condition that the Settlement Election is

  chosen by the class? What happens if more than one-half of Class 6 accepts the Plan, but neither

  the Settlement Election, nor the Litigation Election, receives more than half of the Class 6 votes?

  The Debtor must explain its proposed tallying procedure. The Disclosure Statement and the

  Class 6 ballot must address and clarify all of these issues.

                         h.      Notice and Technical Issues.

         20.     The Plan separates Class 6 into four subclasses, with each subclass receiving

  different amounts under the Settlement Election. This raises multiple issues which the

  Disclosure Statement fails to address or inaccurately addresses, including:

                (a)     The Disclosure Statement should inform each Abuse Claimant which
         subclass she has been “assigned” to and provide an explanation of the basis for the
         assignment. The Disclosure Statement provides no information on if, or how, an Abuse
         Claimant can object to the Debtor’s sub-classification;

               (b)      The Disclosure Statement must explain what happens if an Abuse
         Claimant falls into more than one subclass; and




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                 (c)      The Disclosure Statement falsely states that all of the contributed
          insurance proceeds will be used to pay the Abuse Claimants and provides no information
          on how the recovery estimates at page 6 of the Disclosure Statement were calculated or
          whether all of the potential expenditures out of the Trust Assets (including Trust related
          fees and costs) were taken into account, and if not, why not.

          21.      Survivors who settled with the Debtor pre-petition are not creditors of the Debtor.

  Accordingly, they will not receive notice of the Disclosure Statement and Plan and will receive

  nothing under the Plan. However, it appears they will be adversely affected by the Plan because

  under the Settlement Election, their claims against USOPC and other non-debtors will be

  released and channeled to the Trust. At the very least, the Disclosure Statement should identify

  these survivors to the Survivors’ Committee and provide notice of the impact the Plan will have

  upon their claims against non-debtors and an opportunity to object.

                            i.      Disclosure Issues Related to the Trust Agreement.

          22.      Trust Assets. Neither the Disclosure Statement nor the Trust Agreement (Exhibit

  D to the Plan) adequately explain that not all of the Trust Assets will be used to pay the claims of

  the Abuse Claimants. 11 See Sections 1.3 (Purpose), 2.1 (Trust Corpus), and 4.1 (Trust Assets

  Available for Abuse Claims) of the Trust Agreement. In fact, the false impression is given that

  the Trust Assets will only be used to pay Abuse Claims, when the Trust Assets will actually be

  depleted (by unknown and uncapped amounts) by the Debtor’s costs of publication/notice, the

  allowed unpaid fees and expenses of the Survivors’ Committee’s professionals incurred during

  this case, and the fees, costs and other claims to defend, indemnify and hold harmless the

  Protected Parties. [See Trust Agreement at § 2.7 (stating “[t]hese payments shall be deducted

  from Available Trust Assets . . . .”).] The Trust Agreement and Disclosure Statement must be


  11
    As discussed below, this aspect of the Plan also makes it patently unconfirmable because while the Debtor’s
  Insurance Policies are property of the estate, the proceeds are not and may not be used to pay the Debtor’s
  administrative claims or the claims of non-Abuse Claimants. The proceeds of the Debtor’s Insurance Policies may
  only be used to pay the class of claimants that have claims covered by such policies.


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  corrected to clearly state that the amounts contributed by the Settling Insurers are gross amounts,

  that the entirety of the contributions will not be used to pay Abuse Claimants, but rather will be

  used to pay other amounts and should provide a principled estimation of the actual amount that

  will be available to pay Abuse Claimants, rather than the inaccurate amounts set forth in Article

  IV of the Trust Agreement and at page 4 of the Disclosure Statement.

            23.   Survivors’ Committee. The Plan provides that the Trust will pay the unpaid

  allowed fees and costs of the Survivors’ Committee’s professionals. The Disclosure Statement

  should explain the justification for this provision and for not requiring the allowed administrative

  fees to be paid upon confirmation of the Plan and in compliance with the interim compensation

  order in this case. The Disclosure Statement should also explain the basis for requiring the

  Abuse Claimants to pay the estates’ professionals rather than paying those claims out of the

  estate.

            24.   Indemnification Claims. The Disclosure Statement should provide an estimate of

  potential indemnification claims referenced in Section 2.7 of the Trust Agreement that will be

  paid from the Trust Assets, and that will reduce the recoveries for Abuse Claimants.

            25.   Future Claimant Reserve. The Disclosure Statement should explain the basis

  upon which the Debtor determined the $10.75 million amount for the Future Claim Reserve.

            26.   Duplicative Claims. The Trust Agreement provides there are 33 duplicative

  Claims that will not receive a distribution from the Trust Assets. The Disclosure Statement

  should include a schedule that identifies the Abuse Claimants at issue (by claim number) and set

  forth the procedures for disputing the Debtor’s characterization of the claim.

            27.   The Trust Agreement and the Disclosure Statement are Inconsistent in the

  Treatment of Late Filed Abuse Claims. The Disclosure Statement states that the Trust




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  Agreement gives the Trustee discretion to treat late filed Abuse Claims as timely filed or as

  disallowed. [Disclosure Statement at 4, n. 2.] The Plan and Trust Agreement are consistent with

  this. However, the Disclosure Statement also later states that “[u]nder the Settlement Election,

  untimely Abuse Claims will be treated the same as timely Abuse Claims without any

  requirement that the Claimant seek Bankruptcy Court approval for such treatment.” [Disclosure

  Statement at 9.] This statement conflicts with the prior statement in the Disclosure Statement,

  the Plan and the Trust Agreement.

         28.     The Trustee’s Authority to Donate Trust Funds to Charity is Inconsistent or

  Inappropriate. The provisions for termination of the Trust are unclear and/or inconsistent. The

  Trust Agreement provides that the Trust shall terminate when the amount remaining in the Trust

  is less than $50,000. The Trust Agreement further provides that upon termination, the Trustee

  shall deliver all funds remaining in the Trust to a charity agreed upon by the Trustee and the

  Debtor. [Trust Agreement at § 6.2.] However, the Trust Agreement and the Disclosure

  Statement indicate that after five years elapse, the Future Claimant Reserve shall be released to

  the Disbursing Trustee and may, at the Disbursing Trustee’s discretion, be distributed to the

  Abuse Claimants or to a charity. [Disclosure Statement at 49; Trust Agreement at § 2.2.1.]

         29.     Under the Settlement Election, the Future Claimant Reserve will be funded with

  $10,750,000. If few, or no, future claims are filed and paid, the Trustee appears to have the

  discretion to distribute to charity, not just $50,000 provided for in the termination provisions of

  the Trust Agreement, but the entire amount of the $10,750,000, plus interest. The Debtor should

  clarify its intentions on this issue. In any event, the Trustee should not have discretion to

  distribute any more than $50,000 to charity and any proceeds from the Future Claimant Reserve

  not used to pay Future Claims should be used to pay Abuse Claimants.




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                         h.      Miscellaneous Disclosure Statement Issues.

         30.     The Debtor states in the Disclosure Statement that after the Settling Insurers

  conditioned their Plan contributions on blanket releases and injunctions, the Debtor “evaluated

  potential reasonably available alternatives and determined that none exists.” [Disclosure

  Statement at 9.] The Disclosure Statement should discuss the potential alternatives that the

  Debtor considered and on what basis it determined these alternatives were not viable.

         31.     In sum, the proposed Disclosure Statement does not contain sufficient information

  for Abuse Claimants and other creditors to make an informed decision whether to accept or

  reject the Plan, and thus, in the event the Court is inclined to approve the Disclosure Statement, it

  should not be approved absent the Survivors’ Committee’s changes as discussed herein.

  B.     The Disclosure Statement Should Not Be
         Approved Because the Plan is Facially Unconfirmable.

                 1.      Applicable Legal Standard.

         32.     A disclosure statement for a facially defective plan cannot be approved as

  containing “adequate information” within the confines of section 1125 of the Bankruptcy Code.

  See In re Am. Capital Equip., LLC, 688 F.3d 145, 148 (3d Cir. 2012) (bankruptcy court can

  determine at the disclosure statement stage that a chapter 11 plan is unconfirmable); In re Main

  Street AC, Inc., 234 B.R. 771, 775 (Bnakr. N.D. Cal. 1999) (“It is now well accepted that a court

  may disapprove of a disclosure statement . . . if the plan could not possibly be confirmed”); In re

  O’Leary, 183 B.R. 338, 338-39 (Bankr. D. Mass. 1995) (“Court may refuse to approve

  disclosure statements that describe plans that cannot be confirmed”). “If the disclosure statement

  describes a plan that is so ‘fatally flawed’ that confirmation is ‘impossible,’ the court should

  exercise its discretion to refuse to consider the adequacy of disclosures.” Eastern Maine Elec.

  Coop., 125 B.R. 329, 333 (Bankr. D. Me. 1991); In re Beyond.com Corp., 289 B.R. 138, 140



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  (Bankr. N.D. Cal. 2003); In re Allied Gaming Mgmt., Inc., 209 B.R. 201, 202 (Bankr. W.D. La.

  1997) (“notwithstanding adequate disclosure of information required by section 1125(b), a

  disclosure statement should not be approved if the proposed plan, as a matter of law, cannot be

  confirmed.”) (citations omitted); In re 266 Washington Assocs., 141 B.R. 275, 288 (Bankr.

  E.D.N.Y.), aff’d, (E.D.N.Y. 1992) (“A disclosure statement will not be approved where, as here,

  it describes a plan which is fatally flawed and thus incapable of confirmation.”); In re Felicity

  Assocs., Inc., 197 B.R. 12, 14 (Bankr. D.R.I. 1996) (analysis of such issues at this stage of the

  confirmation process has become a “standard Chapter 11 practice”).




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                    2.        The Plan Cannot Be Confirmed.

           The Plan is patently unconfirmable for at least the following reasons: 12

                              a.       The Plan Contains an Impermissible Nonconsensual Release
                                       and Overbroad Channeling Injunction.

           33.      The non-Debtor non-consensual releases 13 and channeling injunction set forth in

  the Plan do not pass muster in the Seventh Circuit. 14 Not only do the releases vastly exceed the

  scope of releases that have been approved within this Circuit, they are also being granted to non-


  12
    The Survivors’ Committee reserves its right to assert additional objections to confirmation of the Plan if the
  Disclosure Statement is approved and solicitation of votes is authorized by the Court.
  13
    The Plan releases are non-consensual because if the Plan is accepted by Class 6 and a majority of the Class 6
  votes for the Settlement Election, all of the Abuse Claimants who voted to reject the Plan or to accept the Plan but
  voted for the Litigation Election, would still have their Abuse Claims extinguished against USOPC and other non-
  debtors and channeled to the Trust.
  14
     Outside of the Seventh Circuit, courts that have allowed non-consensual non-debtor do so only in very limited
  circumstances if certain factors are satisfied. In In re Master Mortgage Inv. Fund, Inc., 168 B.R. 930, 934 (W.D.
  Mo. 1994) the court identified the factors: (1) identity of interest between the debtor and the third-party, usually an
  indemnity relationship, such that a suit against the non-debtor is, in essence, a suit against the debtor or will deplete
  assets of the estate; (2) the non-debtor has made a substantial contribution of assets to reorganization; (3) the release
  is necessary to the reorganization and without it there is little likelihood of reorganization; (4) a substantial majority
  of the creditors agree to the injunction, specifically, the impacted class, or classes, has “overwhelmingly” (over
  90%) voted to accept the proposed plan treatment; and (5) the plan provides a mechanism for the payment of all, or
  substantially all, of the claims of the class or classes affected by the injunction. Courts in the First and Eighth
  Circuits have allowed third-party non-debtor releases based on the Master Mortgage. factors. See In re Mahoney
  Hawkes, LLP, 289 B.R. 285, 299-303 (Bankr. D. Mass. 2002); In re U.S. Fidelis, Inc., 481 B.R. 503, 519 (Bankr.
  E.D. Mo. 2012). While the Third Circuit has not adopted a specific test for when such releases are appropriate,
  bankruptcy court for the District of Delaware use the Master Mortgage factors as the foundation for such an
  analysis, with additional consideration of other relevant factors. Opt-Out Lenders v. Millennium Lab Holdings II,
  LLC (In re Millennium Lab Holdings II, LLC), 591 B.R. 559, 584 (D. Del. 2018); In re Washington Mutual, Inc.,
  442 B.R. 314, 346-47 (Bankr. D. Del. 2011) (“Determining the fairness of a plan which includes the release of
  nondebtors requires the consideration of numerous factors and the conclusion is often dictated by the specific facts
  of the case.”) (citing In re Continental Airlines, 203 F.3d at 212-14); see also In re Zenith Elecs. Corp., 241 B.R. 92,
  110 (Bankr. D. Del. 1999) (in considering debtor’s release of third parties, court applied Master Mortgage five
  factor test). The Sixth Circuit permits non-consensual non-debtor releases only in “unusual circumstances” and
  where the five Master Mortgage factors are present and (i) the plan provides an opportunity for those claimants who
  choose not to settle to recover in full; and (ii) the bankruptcy court has made a record of specific factual findings
  that support its conclusions. Class Five Nevada Claimants v. Dow Corning Corp. (In re Dow Corning Corp.), 280
  F.3d 648, 658 (6th Cir. 2002). Courts in the Fifth and Ninth Circuits have held a bankruptcy court does not have
  authority to issue and enforce third-party non-debtor releases in a Chapter 11 plan. In re Pac. Lumber Co., 584 F.3d
  229, 252-53 (5th Cir. 2009); Resorts Int'l, Inc., v. Lowenschuss, 67 F.3d 1394, 1401 (9th Cir.1995) ("this court has
  repeatedly held, without exception, that § 524(e) precludes bankruptcy courts from discharging the liabilities of non-
  debtors.").




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  debtors that are not contributing their own assets to fund the Settlement. See, e.g., Airadigm

  Commc’ns v. FCC (In re Airadigm Commc’ns), 519 F.3d 640, 655-58 (7th Cir. 2008) (any

  nonconsensual third party release and related injunction must meet the following requirements:

  (i) the release must be narrow in that it applies only to claims “arising out of or in connection

  with” the reorganization and may not include “willful misconduct,” (ii) it must be necessary for

  the reorganization, (iii) it may not provide for “blanket immunity,” (iv) the immunity afforded by

  the release must not affect matters beyond the jurisdiction of the court or unrelated to the

  reorganization, and (v) there must be “adequate evidence” that the beneficiaries of the releases

  required them before making a monetary contribution “which was itself essential to the

  reorganization”).

         34.     In In re Ingersoll, Inc., 562 F.3d 856 (7th Cir. 2009), the Seventh Circuit

  “preached caution” in approving non-debtor releases, and announced that “[i]n most instances,

  [non-debtor] releases . . . will not pass muster under [the Airadigm] rule. Bankruptcy litigants

  should keep that in mind when they sit down at the negotiating table.” Id. at 865. After plan

  confirmation, the Seventh Circuit enforced a plan releasing the former owners of the corporate

  debtor from liability arising out of or relating to two cases involving a fee dispute with an

  overreaching attorney. The Seventh Circuit was the sixth forum “to take a stab” at putting “a

  stake through the heart” of the fee dispute caused by overreaching lawyers appears to be a key

  aspect of the Court’s approval of the release. Id. at 858. The release involved only two lawsuits

  and the Seventh Circuit noted that it was going “no further than to apply the rule we adopted in

  Airadigm.” Id. at 865. “A nondebtor release should only be approved in ‘rare cases’ . . . because




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  it is ‘a device that lends itself to abuse.’” Id. (quoting In re Metromedia Fiber Network, Inc., 416

  F.3d 136, 141, 142 (2d Cir. 2005)). 15

           35.      Other than Ingersoll, the Survivors’ Committee has found no reported decision

  within the Seventh Circuit that has approved a non-consensual third party release that covers pre-

  petition claims. Courts within the Seventh Circuit have consistently rejected plans containing

  third party releases where they are more expansive than the very narrowly tailored release of

  post-petition claims relating to the bankruptcy approved by the Court in Aradigm.

           36.      In In re Berwick Black Cattle Co., 394 B.R. 448, 457 (Bankr. C.D. Ill. M. 2008),

  the bankruptcy court denied confirmation of a plan that included blanket third party release

  provisions that included prepetition claims and claims unrelated to the bankruptcy case. The

  court held that the releases went well beyond what the Seventh Circuit approved in Airadigm, as

  they purported to release from liability third parties in a nonbankruptcy suit over which the court

  had no jurisdiction. Id. at 462 (“The release at issue in Airadigm was nothing more than the kind

  of narrowly tailored release that is customary in Chapter 11 plans . . . [N]evertheless, it was not

  simply rubber stamped by the Seventh Circuit, which applied a three-part analysis.”). The court

  observed that the reasoning used by the Seventh Circuit in Airadigm was essential to the

  outcome. “The Seventh Circuit’s comparative references to blanket immunity and matters

  outside of the bankruptcy court’s jurisdiction are properly taken as instructive guidance as to

  what the Seventh Circuit would find to be inappropriate.” Id. at 460.

           37.      Other examples of courts within the Seventh Circuit refusing to approve releases

  under the narrow Aradigm standard are OPS3 LLC v. Am. Chtd. Bank, No. 13-cv-04398, 2017


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    The Ingersoll court was enforcing releases already approved in a plan that was the subject of notice and
  opportunity to object without an objection being filed. Ingersoll, 562 F.3d at 865 (“the Gaylords are nondebtors, but
  Miller is not a creditor of Ingersoll. But we don’t think that is dispositive when the party whose claim was
  extinguished received fair notice and an opportunity to object.”).


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  U.S. Dist. LEXIS 120442, at *7 (N.D. Ill. Aug. 1, 2017) (rejecting non-consensual third party

  release of “all guaranties by or on behalf of any of the Debtors” as beyond the scope permitted

  by Aradigm); In re GAC Storage Lansing, LLC, 489 B.R. 747, 768-69 (Bankr. N.D. Ill. 2013)

  (rejecting plan provisions that would release guarantors of the debtor’s pre-petition debt as

  beyond the permissible scope of Aradigm); In re Draiman, 450 B.R. 777, 799 (Bankr. N.D. Ill.

  2011) (rejecting releases of “the Liquidation Trustee, the Debtor, and their respective officers,

  directors, shareholders, employees, consultants, agents, advisors, attorneys, accountants,

  financial advisors, and other representatives and Professionals” as overly extensive); Kelleher v.

  Nat’l Asset Loan Mgmt., Ltd. (In re Shelbourne N. Water St. L.P.), 556 B.R. 874, 884 (Bankr.

  N.D. Ill. 2016) (plan provision releasing non-debtor from claims by non-creditor not

  enforceable). On the other hand, Hotel 71 Mezz Lender LLC v. Nat’l Ret. Fund, No. 13 C 03306,

  2015 U.S. Dist. LEXIS 180376, at *42 (N.D. Ill. Aug. 21, 2015) is an example of the type of

  narrow release of claims arising out of the bankruptcy case that will pass muster (approving

  third-party release expressly limited to claims arising in connection with the bankruptcy case).

             38.      Here, the Plan release and channeling injunction include all claims “of any kind or

  nature” 16 relating to sex abuse, including claims for willful misconduct or fraud, as well as

  claims that do not arise out of or in connection with the reorganization, contrary to the

  controlling law in this Circuit. [See Plan at § 12.2.]

             39.      USOPC has recently argued to the Court that the contribution by the Settling

  Insurers is sufficient to justify a release and channeling injunction for its benefit notwithstanding

  that it is not contributing any of its own funds to the Settlement. [USOPC Statement at ¶ 8.]




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       The only exclusion is for a person that has personally committed an act of abuse. [Plan at § 12.2.1.]


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         40.     However, USOPC’s argument relies solely on unpublished plan confirmation

  orders—that were consensual joint plans submitted by the debtor and the Committee, reflecting

  global settlements that were supported and agreed to by the committees and the vast majority of

  tort claimants. See In re Crosier Fathers and Brothers Province, Inc., Case No. 17-41681, Dkt.

  No. 175 at *2 (Bankr. D. Minn. Mar. 26, 2018) (Order Confirming Joint Plan of Reorganization);

  In re Christian Brothers’ Institute, Case No. 11-22820, Dkt. No. 652 at * 18 (Bankr. S.D.N.Y.

  Jan. 13, 2014) (Order Confirming First Amended Joint Plan of Reorganization); In re Roman

  Catholic Bishop of Helena, Montana, a Montana Religious Corporation Sole, Case No. 14-

  60074, Dkt. No. 475 at *9-10 (Bankr. D. Mont. Mar. 5, 2015) (Order Confirming Second

  Amended Joint Plan of Reorganization). These plans had the support of the individual abuse

  survivors as stated in the confirmation order of Crosier Fathers and Brothers Province, Inc.,

  supra, Dkt. No. 175 at *2 (“The creditors most affected by the releases and injunctions—the tort

  claimants—have indicated by an overwhelming majority that they accept such provisions; indeed

  the committee is a proponent of the plan.”). USOPC has not, and cannot, cite to reported

  decisions holding that a non-debtor can receive a nonconsensual release without contributing any

  of its own funds, where that issue was contested and litigated.

         41.     USOPC’s release of its indemnity claims against the Debtor has no value to the

  Debtor and cannot be viewed as a substantial contribution to the Plan or the Settlement. [See

  Plan at § 7.4.2 (requiring USOPC to release its rights to receive reimbursement, indemnification

  or a defense under any of the Debtor’s insurance policies in consideration for the third-party

  releases and channeling injunction).] Although the Disclosure Statement contains no

  information regarding the basis for or actual value of those purported claims, it is evident they

  have no value. USOPC’s contractual indemnity claims are primarily based upon its annual




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  participation contracts with the Debtor. [See USOPC’s Proof of Claim No. 299 filed on April

  26, 2019.] The Debtor’s CGL Insurance Policies expressly exclude contractual obligations. The

  remainder of USOPC’s claim is for equitable indemnity and contribution, but they are contingent

  and are therefore not allowable under section 502(e) of the Bankruptcy Code. 17

           42.      Even if USOPC’s indemnity claims were allowed, the Debtor claims to have no

  assets to pay these claims and will receive a discharge under the Plan. Therefore, no value flows

  to the Debtor for giving USOPC’s insurers a release or channeling injunction on account of

  indemnity obligations.

           43.      At the very least, the value of the release being given to USOPC and its insurers is

  grossly disproportionate relative to its alleged contribution. Under the Settlement Election,

  USOPC will be released from all its potential liability for both exemplary and punitive damages

  which are not insured, but which USOPC could pay if they are awarded.

           44.      In addition, while all of the Settling Insurers will receive the benefits of the

  channeling injunction and release, the Disclosure Statement does not reveal which of them are

  contributing to the Settlement and in what amounts, if any. Without knowing the amounts of

  their payment, it is impossible to evaluate whether their contribution justifies the expansive relief

  they would receive. See, In re Mahoney Hawkes, LLP, 289 B.R. 285, 300-01 (Bankr. D. Mass.

  2002) (suggesting that payment of policy proceeds limits is a contractual obligation and should

  not be considered a substantial contribution worthy of a non-debtor release in favor of an

  insurer).



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     Disallowance of a claim pursuant to section 502(e)(1)(B) requires three elements to be established: (i) the claim
  must be for reimbursement or contribution; (ii) the claim must be contingent; and (iii) the debtor and the claimant
  must be co-liable on the claim. In re Pinnacle Brands, 259 B.R. 46, 55 (Bankr. D. Del. 2001) (disallowing
  contingent contractual claim for indemnification against the debtor). Once these three elements are established,
  disallowance under section 502(e)(1)(B) is mandatory. See 11 U.S.C. § 502(e)(1)(B) (“[T]he court shall disallow
  any claim . . . .”).


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         45.     Sections 11.5 and 11.6 of the Plan provide for an unreasonable, unclear

  mechanism to add more Participating Parties and Settling Insurers as Released Parties after the

  Effective Date, after “notice and hearing.” The Plan does not provide to whom the notice must

  go to. The Plan must require that notice must be given to all those who may have claims

  extinguished and give them a reasonable opportunity to object to the additional releases.

                         b.     The Plan’s Use of the Proceeds of the Settling Insurer Policies
                                to Pay Administrative Claims and to Indemnify and Hold
                                Harmless Claims of the Participating Parties Is Impermissible.

         46.     Under the Settlement Election, the proceeds of the Debtor’s Settling Insurer

  Policies will be used to pay the Debtor’s costs of publication/notice, the allowed unpaid fees and

  expenses of the Survivors’ Committee’s professionals incurred during this case, and the fees,

  costs and other claims to defend, indemnify and hold harmless the Protected Parties. See

  discussion at paragraph 22 above.

         47.     In the Seventh Circuit, the Plan’s proposed use of general liability insurance

  proceeds for this purpose is impermissible. The Seventh Circuit has adopted the approach of the

  Fifth Circuit set forth in Houston v. Edgeworth (In re Edgeworth), 993 F.2d 51, 55-56 (5th Cir.

  1993) (discussed below) for determining if the proceeds of an insurance policy are property of

  the estate. Stinnett v. LaPlante (In re Stinnett), 465 F.3d 309, 312-13 (7th Cir. 2006); Edward E.

  Gillen Co. v. Ins. Co., 825 F.3d 816, 818 (7th Cir. 2016). As here, where the proceeds can only

  be paid for the benefit of those harmed by the Debtor under the terms of the policies, the

  proceeds are not property of the estate.

         48.     The proceeds of the Settling Insurer Policies cannot be used to pay anyone other

  than the Abuse Claimants because while the Settling Insurer Policies are property of the estate,

  the proceeds of these policies are not. Houston v. Edgeworth (In re Edgeworth), 993 F.2d 51,




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  55-56 (5th Cir. 1993) (if the debtor does not have the right to receive and keep insurance

  proceeds when the insurer pays on claim, the proceeds “cannot inure to the debtor’s pecuniary

  benefit” and the proceeds “should neither enhance nor decrease the bankruptcy estate. In other

  words, when the debtor has no legally cognizable claim to the insurance proceeds, those

  proceeds are not property of the estate.”). 18 The Fifth Circuit instructed that under liability

  policies (like the Settling Insurer Policies at issue here) “the debtor will not have a cognizable

  interest in the proceeds of the policy. Those proceeds will normally be payable only for the

  benefit of those harmed by the debtor under the terms of the insurance contract.” 19

           49.       In a thoughtful and scholarly opinion, the bankruptcy court in Landry v. Exxon

  Pipeline Co. Mendoza Marine, Inc., 260 B.R. 769 (M.D. La. 2001) explained the rational of

  Edgwood:

                     In the liability insurance context the debtor has no cognizable
                     claim to the proceeds paid by an insurer on account of a covered
                     claim. The proceeds are paid to the victim of the insured’s
                     wrongful act. The insured debtor cannot ask the insurance
                     company to pay him, or determine on its own how the proceeds of
                     the policy should be distributed, nor can any creditor of the insured
                     seize the proceeds in satisfaction of a claim not falling within the
                     terms of the insurance contract.

                     As pointed out in Edgeworth, the proceeds could not be made
                     available for distribution to the creditors other than those who have
                     claims under the policies. In effect, the proceeds of liability
                     insurance policies do not become, for example, assets on a balance
                     sheet. In fact, prior to the existence of a covered claim, it is
                     nonsensical to talk about “proceeds of a policy,” because the

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     Where the claims against the debtor’s insurers might exhaust policy limits and thus threaten the debtor’s estate
  over and above limits of liability insurance policies, courts have held the proceeds of liability insurance policies are
  property of the bankruptcy estate. Martinez v. OGA Charters, L.L.C. (In re Charters, L.L.C.), 901 F.3d 599, 604
  (5th Cir. 2018); MacArthur Co. v. Johns-Manville Corp., 837 F.2d 89, 92 (2d Cir. 1988). However, even when this
  exception applies, insurance policy proceeds are not available to all creditors, but only to the class of creditors that
  are covered by the policies and in that sense are different than other estate property. In re Charters, 901 F.3d at 604,
  citing and quoting 3 Collier on Bankruptcy ¶ 362.03 (16th ed.).
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    In contrast, the proceeds of casualty, collision, life, and fire insurance policies, in which the debtor is a
  beneficiary, can be property of the estate. 993 F.2d at 56.


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                    “proceeds” are merely a component of the asset structure of the
                    insurance company… .

                    The liability insurance proceeds protect the estate; another entity’s
                    property (the proceeds) is used to pay the estate claim. This keeps
                    the estate’s property from being used. This proposition is one of
                    the very few conceptual propositions that, to this Court, seems self-
                    evident and easy to grasp.

                    Property, however, does not become property of the estate merely
                    because such property has the effect of reducing the estate’s
                    liability, or because of some other beneficial effect such property
                    has on the estate. The estate must have a legal or equitable interest
                    in the property which benefits the estate.


  Id. at 786-90.

           50.      The Court characterized as “untenable” subjecting the proceeds of a general

  liability insurance policy to the distributive priorities of the Bankruptcy Code by the

  happenstance of viable claims of certain creditors to proceeds from the insurance policies,

  because this would allow creditors with claims not covered under the insurance policies to

  recover indirectly through a distribution of property of the estate. Id. at 786 n.62.

           51.      This is precisely what the Plan seeks to accomplish by using the proceeds of the

  Debtor’s general liability policies to pay the Debtor’s administrative claims and the

  indemnification and hold harmless claims of the Participating Parties. This is not permissible in

  the Seventh Circuit. Stinnett, 465 F.3d at 312-13 20 (only where debtor has a right to receive and

  keep insurance payments, are proceeds estate property, citing and quoting Edgeworth); Gillen,


  20
    The Seventh Circuit, quoted with approval, the entire operative analysis from Edgewood: “As explained by the
  Fifth Circuit: The overriding question when determining whether insurance proceeds are property of the estate is
  whether the debtor would have a right to receive and keep those proceeds when the insurer paid on a claim. When a
  payment by the insurer cannot inure to the debtor’s pecuniary benefit, then that payment should neither enhance nor
  decrease the bankruptcy estate. In other words, when the debtor has no legally cognizable claim to the insurance
  proceeds, those proceeds are not property of the estate. . . . Proceeds of such insurance policies, if made payable to
  the debtor rather than a third party such as a creditor, are property of the estate and may inure to all bankruptcy
  creditors.” Id. at 313 (italics added).



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  825 F.3d at 818 (“under the Bankruptcy Code insurance proceeds pass to the beneficiaries free of

  other creditors’ interest,” citing Edgeworth).

                              c.      The Plan is not in the Best Interests of Creditors.

             52.     Pursuant to section 1129(a)(7) of the Bankruptcy Code, the Plan must enable each

  non-consenting creditor to receive as much as the creditor would receive if the Debtor was

  liquidated under chapter 7 of the Bankruptcy Code. The Plan cannot be confirmed if a non-

  consenting creditor does not “receive or retain under the plan on account of such claim . . .

  property of a value, as of the effective date of the plan, that is not less than the amount that such

  [creditor] would so receive or retain if the debtor were liquidated under chapter 7 of the

  [Bankruptcy Code] on such date . . . .” 21 This is referred to as the “best interests of creditors

  test.” Failure to meet the test can be asserted by a creditor even if that creditor’s class votes to

  accept the plan. Therefore, it is one of the “strongest protections individual creditors have in a

  Chapter 11.” 22 Since the Plan contemplates that the Settlement Election can be imposed on the

  entire class of Abuse Survivors by a majority vote, the Plan Settlement Election must meet the

  best interests test with respect to the Abuse Survivors that do not vote for the Settlement Election

  but will nevertheless by bound by it and have their claims against USOPC and other non-debtors

  extinguished by the Plan releases and channeling injunction.

             53.     The best interest test requires a comparison between the value of the property

  which unsecured creditors are to receive under the Plan and the hypothetical value that creditors

  could realize if the debtor is liquidated under chapter 7 of the Bankruptcy Code.



  21
       Bankruptcy Code Section 1129(a) (7).
  22
    ACC Bondholder Group. v. Adelphia Communs. Corp. (In re Adelphia Communs Corp.), 361 B.R. 337 (D.
  S.D.N.Y. 2007). In re Sierra-Cal, 210 B.R. 168 (Bankr. E.D. Cal. 1997) (By virtue of the best interests of creditors
  test, each creditor has a “pocket veto”).



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           54.       In a chapter 7 liquidation, the USOPC and other non-debtors would not get

  releases. Courts have held that when a plan proposes the release of non-debtor third parties, the

  Best Interests of Creditors Test requires the inclusion of asset values of the non-debtor third

  parties in the hypothetical, alternative liquidation recovery comparison: “[T]he best interests

  equation also properly mandates consideration of creditors' comparative recoveries on non-

  debtor claims, to the extent the plan is treating those non-debtor claims by release.” 23 Thus, the

  Plan value distributed to any non-consenting creditor (e.g., that votes to reject the plan or votes

  to accept the plan, but makes the Litigation Election) must exceed the aggregate of the

  hypothetical chapter 7 distribution to that creditor from the Debtor’s estate, plus the value of that

  creditor’s claims against the USOPC and the other non-debtors receiving a release under the

  Plan.

           55.      The discussion of the best interests test (Disclosure Statement at 13 and 64) is

  fatally flawed because it compares the projected creditor recoveries that would result from the

  liquidation of the Debtor in a hypothetical case under chapter 7 without any consideration of the

  recoveries the Abuse Claimants would receive from USOPC and the other non-debtor parties

  that would be released under the Settlement Election.

           56.      The best interests test is not met for another reason. The Debtor claims that

  “[b]ecause the Debtor has committed to make the value of the Insurance Policies available to



  23
    Mercury Capital Corp. v. Milford Conn. Assocs., L.P., 354 B.R. 1, 9 (D.Conn.2006); see also (In re Ditech
  Holding Corp., 606 B.R. 544, 614 (Bankr. S.D.N.Y. 2019)(same); In re Washington Mutual, Inc., 442 B.R. 314
  (Bankr. D. Del. 2011) (“in a case where claims are being released under the chapter 11 plan but would be available
  for recovery in a chapter 7 case, the released claims must be considered as part of the analysis in deciding whether
  creditors fare at lease as well under chapter 11 plan as they would in a chapter 7 liquidation”); In re Quigley, 437
  B.R. 102 (Bankr. S.D.N.Y. 2010) (“The confirmation of the Fourth Plan and discharge of Pfizer will affect the
  dissenting Non-Settling Claimants because they would “retain” their right to sue Pfizer if Quigley were liquidated
  under chapter 7. As the parties recognize, the critical question is whether I should consider the value of these
  derivative claims in deciding whether the Fourth Plan is in the “best interest” of the dissenting Non-Settling
  Claimants. I conclude that I must.”).


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  Abuse Claimants, Abuse Claimants are receiving at least what they would receive in a chapter 7

  liquidation form the Insurance Policies.” [Disclosure Statement at 13.] The Debtor claims that

  Abuse Claimants will receive distributions under the Plan no more than and no less than what

  they would receive in chapter 7 liquidation. This is not true.

         57.     First, in a chapter 7, the proceeds of the Debtor’s CGL Insurance Policies would

  not be used to pay for non-Abuse Claims. However, as noted, under the Settlement Election, the

  insurance proceeds will be used to pay the Debtor’s costs of publication/notice, the allowed

  unpaid fees and expenses of the Survivors’ Committee’s professionals incurred during this case,

  and the fees, costs and other claims to defend, indemnify and hold harmless the Protected Parties.

  See discussion at paragraphs 22 and 46-51 above.

         58.     Second, the Plan does not make the full potential value of the CGL Insurance

  Policies available to pay Abuse Claimants because the payments proposed to be made by the

  Settling Insurers under the Plan are substantially less than the maximum coverage limits under

  the CGL Insurance Policies. In a chapter 7 proceeding, settlements could be reached or

  judgment obtained providing for higher payouts by some or all of the Insurers for some or all of

  the Abuse Claimants. At a minimum, scenarios of higher insurance payouts (on an individual or

  aggregate basis, or both) outside of the Plan must be disclosed by the Debtor. Because the

  Debtor’s Liquidation Analysis contains no such disclosure or comparison, it cannot be said that

  that the treatment of Abuse Claimants by the Debtor’s Plan is comparable or superior to what

  they would receive in a chapter 7 liquidation.

                         d.     The Plan is not Proposed in Good Faith.

         59.     The Plan is also unconfirmable because the Settlement is not fair, equitable, or

  reasonable, and is not consistent with the objectives of the Bankruptcy Code (including the




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  objective of the equitable distribution of the debtor’s assets to creditors). A plan must be

  proposed in good faith to be confirmable. 11 U.S.C. § 1129(a)(3). This means the plan must

  achieve a result consistent with the objectives and purposes of the Bankruptcy Code. In re

  Madison Hotel Assoc., 749 F.2d 410, 424-425 (7th Cir. 1984). The court assesses good faith in

  proposing a plan of reorganization by looking at the totality of the circumstances surrounding the

  plan. Id.

         60.     As explained in the Survivors’ Committee’s Dismissal Motion, the Debtor (along

  with the USOPC and their respective Settling Insurers) have stalled the mediation by failing to

  make a fair and comprehensive offer to the Survivors’ Committee and its constituents. Since the

  last mediation session in November 2019, USAG has not initiated a single substantive plan-

  related communication with the Survivors’ Committee. Rather than engaging in good faith

  discussions, the Debtor has instead proposed a settlement that the Survivors’ Committee believes

  offers insufficient compensation to the Abuse Claimants relative to the value of their claims and

  grants non-consensual releases and the benefits of a channeling injunction to the USOPC,

  Settling Insurers and the other Non-Debtor CGL Settling Insured Covered Persons. The releases

  and channeling injunction would extinguish all claims relating to sex abuse against USOPC and

  other non-debtors, without regard to whether the claims are related to the bankruptcy case, or

  based on willful misconduct or fraud, in the absence of any monetary contribution to the

  Settlement by the non-debtor parties (other than insurers) that are to receive this expansive relief.

         61.     The Settlement offers the Abuse Claimants insurance policy proceeds, but the

  Plan misstates the amount of these proceeds that would actually be paid to the Abuse Claimants

  under the Settlement Election (which is unknown because uncapped amounts can be used to pay

  indemnity claims, professionals and Trust related expenses) and the Disclosure Statement makes




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  no attempt to quantify the amount of proceeds that will actually be available to the Abuse

  Claimants if the Plan is rejected. Most critically, the Debtor does not offer a single dime of its

  own funds in consideration for the discharge it seeks under the Plan and inexplicably relieves the

  Debtor from any obligation to prosecute avoidance actions, without disclosing their value.

         62.     The Debtor’s Plan, on its face, does not reflect a fair, shared sacrifice by the

  Debtor, or the USOPC which will benefit from the blanket releases and channeling injunction

  under the Plan even though, neither the Debtor or USOPC are contributing their own funds or

  assets to fund the Settlement. Although the Debtor and the USOPC (which is a substantially

  solvent entity) could take reasonable steps to ensure more value is put into the Trust for the

  Abuse Claimants’ benefit, the Debtor and the USOPC are making no effort whatsoever in that

  regard. This is not good faith. In re NII Holdings, Inc., 288 B.R. 356, 362 (Bankr. D. Del. 2002)

  (plan proposed in good faith if it has “the legitimate purpose of reorganizing the business affairs

  of each of the Debtors and maximizing the returns available to creditors of the Debtors”

  (emphasis added)); Crestar Bank v. Walker (In re Walker), 165 B.R. 994,1002 (E.D. Va. 1994)

  (proposed plan was not proposed in good faith and “presents a fundamental abuse of the

  provisions of Chapter 11 because . . . it does not adequately commit the full range of the debtors

  resources to repayment of Crestar’s debt”); Kane v. Johns-Manville Corp., 843 F.2d 636 (2d Cir.

  1988) (plan must be proposed with “honesty and good intentions”); Stolrow v. Stolrow’s, Inc. (In

  re Stolrow’s Inc.), 84 B.R. 167, 172 (B.A.P. 9th Cir. 1988) (plan proponent must have exhibited

  “a fundamental fairness in dealing with one’s creditors”).

         63.      To meet the “good faith” requirement and be “fair and equitable,” the Debtor

  must contribute its own assets. As discussed below at paragraph 63, Abuse Claims in Class 6 are

  being unfairly and disparately treated, in comparison to General Unsecured Claims in Class 5,




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  which claims will receive an 80% recovery including from the Debtor’s future revenue. Under

  the Litigation Election, the Abuse Claimants will not be entitled to any portion of the Debtor’s

  future revenue.

          64.      The Debtor’s bad faith is further demonstrated by the Plan requirement that under

  the Litigation Election, the Abuse Claimants receive nothing under the Plan from the Debtor, but

  the Debtor nonetheless receives a discharge. The Abuse Claimants are limited to recovering

  against the Debtor’s insurance coverage but are barred from any recovery against the Debtor’s or

  Reorganized Debtor’s assets or revenue. The Litigation Election is nothing more than a

  dismissal of the case with a discharge for the Debtor. 24

                            e.       The Plan Is Not Fair and Equitable.

          65.      As the Debtor seeks to cram down a rejecting class, the Debtor’s failure to

  allocate any of its own assets or going concern value to the Abuse Claimants runs afoul of the

  “fair and equitable” requirement of section 1129(b) of the Bankruptcy Code. FSLIC v. D& F

  Const., Inc. (In re D& F Constr.), 865 F.2d 673, 675 (5th Cir. 1989) (“Section 1129(b)(2) sets

  minimal standards [that] plans must meet. However, it is not to be interpreted as requiring that

  every plan not prohibited be approved. A court must consider the entire plan in the context of

  the rights of the creditors under state law and the particular facts and circumstances when

  determining whether a plan is ‘fair and equitable.’” (emphasis added)). See also In re Pullman

  Constr. Indus., 107 B.R. 909, 939 (Bankr. N.D. Ill. 1989) (“Section 1129(b)(2) sets forth the

  minimum standards which must be met for confirmation”; citing and quoting D & F

  Construction); In re Grandfather Mt. Ltd. Pshp., 207 B.R. 475, 487 (Bankr. M.D. N.C. 1996)



  24
    The Plan at Section 19.1 grants the Debtor a discharge even if Class 6 (Abuse Claims) votes for the Litigation
  Election. Also, if the Abuse Claimants vote to reject the Plan, the Debtor intends to cram-down the Plan, impose the
  Litigation Election upon them, and receive a discharge.



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  (“the plan must literally be fair and equitable”; factors that may be considered include “whether,

  for an unsecured class, the percentage or formula for proposed payment demonstrates a good

  faith effort to repay those obligations” and “whether other particular inequities are inherent in the

  plan, including special prejudice to a dissenting class arising from its particular circumstances”);

  In re 20 Bayard Views, LLC, 445 B.R. 83, 104 Bankr. E.D. N.Y. 2011) (express portions of

  section 1129(b) “establish a floor, and satisfaction of these statutory requirements does not

  guarantee that the plan will meet the fair and equitable standard”).

         66.     In the non-profit setting, where the absolute priority rule is not easily applied

  because of the absence of shareholders, the Seventh Circuit views the allocation of a significant

  portion of the going concern value of the debtor as a critical element of the fair and equitable

  test. In re Wabash Valley Power Ass’n, 72 F.3d 1305, 1312-13, 1320 (7th Cir. 1995) (“The

  value of the [non-profit debtor] to its Members exceeds its value to any third-party buyer because

  the [non-profit debtor] is tailored exactly to the Members’ requirements . . . . The bankruptcy

  court found that [the non-profit debtor’s] Plan provided the maximum amount that [creditors]

  could possibly obtain. It met the requirements of 11 U.S.C. § 1129(b) and was confirmable”).

  The Debtor’s Plan falls far short of providing creditors the maximum amount that could possibly

  be obtained, and accordingly, should not be confirmed.

                         f.      Inter-Class Unfair Discrimination/Disparate Treatment.

         67.     As previously discussed, the Plan also unfairly separately classifies General

  Unsecured Claims excluding Abuse Claims into Class 5. Class 5 is projected to receive an 80%

  recovery—substantially higher than the likely recovery for most of the Abuse Claimants under

  the Plan (from the Debtor’s assets) under the Litigation Election. Further, holders of General

  Unsecured Claims will be paid in large part over three years after the Effective Date from the




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  Debtor’s post-confirmation revenues and other cash receipts. [See Ex. 2 of Disclosure Statement

  (Cash Flow Projections).] As discussed above, USAG should be required to contribute its own

  funds and other assets, not only insurance proceeds, in order to receive a discharge under the

  Litigation Election. The Disclosure Statement does not explain why Abuse Claimants are

  excluded from receiving distributions funded in part by the Debtor’s post-confirmation revenues

  and receipts, including, for example, any avoidance action recoveries (which are not even

  considered as an asset in the Liquidation Analysis).

                         g.     De Facto Separate Classes/Unfair Discrimination.

         68.     With respect to the treatment of Abuse Claims in Class 6, the Plan actually

  provides for different treatment of Abuse Claims depending on whether the claim falls within

  one of four subsets (Elite Gymnasts, Non-Elite Gymnasts, Other Claimants, and Derivative

  Claimants). Each subset is provided a different pool of cash (although the amounts are not

  accurately stated), ranging from approximately $2 million to $82.55 million, out of which the

  applicable claimants will share on a pro rata basis. Even if there were a legitimate basis for such

  disparate treatment—which the Debtor has not attempted to explain or demonstrate—each

  subset, or subclass, should be considered a separate class, because each subset is being provided

  funds in different amounts. See 11 U.S.C. § 1123(a)(4) (plan must provide the same treatment

  for each claim of a particular class). In all events, the Debtor must disclose a reasonable basis

  for the different fund allocations and how such allocations were determined. This is both a

  disclosure issue, and a confirmation issue, because the Plan on its face unfairly discriminates

  among the Abuse Claimants without articulating a reasonable basis. Even assuming arguendo,

  the Debtor’s subclass criteria and fund allocations are not ad hoc or unreasonably discriminatory,

  the Court should be wary of the Debtor’s possible use of the subclass allocations as a pretext to




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  improperly incentivize certain subclasses to squeeze out other subclasses in respect to Class 6

  voting.

            69.    The UST’s Objection 25 contains a thoughtful and comprehensive discussion of the

  reasons the Plan violates the requirements of section 1123(a)(4) of the Bankruptcy Code by not

  providing the same treatment to the members of Class 6. [See UST Objection at 14-19.] The

  Survivors’ Committee joins in that portion of the UST Objection and incorporates it by reference

  herein.

                            h.      The Exculpation Provisions are Improper.

            70.    The exculpation provision in Section 19.4 of the Plan improperly excludes the

  Survivors’ Committee and its professionals if Class 6 votes to accept the Litigation Election.

  Specifically, the Plan provides that “[i]n the event Class 6 makes the Settlement Election,

  ‘Exculpated Parties’ will also include the Survivors’ Committee, the Survivors’ Committee’s

  Professionals, the Settling Insurers, the Participating Parties, and their respective Related

  Persons.” [See Plan § 1.1.39.] There is no legitimate basis for excluding the Survivors’

  Committee from the exculpation under the Litigation Election. The Survivors’ Committee and

  its professionals have served in good faith in this case and are entitled to exculpation, even if

  Abuse Claimants vote for the Litigation Election. The conditional exculpation appears to be an

  effort to pressure the Survivors’ Committee to urge Abuse Claimants to accept the Plan and vote

  for the Settlement Election.

            71.    Additionally, Section 1.1.39 of the Plan exculpates the Settling Insurers and the

  Participating Parties under the Settlement Election. Courts have properly recognized that plan

  exculpation provisions should only encompass estate fiduciaries like the Survivors’ Committee


  25
   “UST’s Objection” shall refer to the United States Trustee’s Objection to Disclosure Statement for First Amended
  Chapter 11 Plan of Reorganization Proposed by USA Gymnastics [Doc 984] filed on March 24, 2020.


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  and not non-fiduciary third parties. See, e.g., In re Wash. Mut., Inc., 442 B.R. 314, 350-51

  (Bankr. D. Del. 2011) (“The exculpation clause must be limited to the fiduciaries who have

  served during the chapter 11 proceeding: estate professionals, the Committees and their

  members, and the Debtors’ directors and officers.”); In re Midway Gold US, Inc., 575 B.R. 475,

  512-13 (Bankr. D. Colo. 2017) (similar).

                        i.      Abuse Claim Objection Issues.

         72.     The Plan states the objection procedures in relation to Abuse Claims will be set

  forth in the Trust Agreement, but that document is silent on this issue. The Debtor should

  consult with the Survivors’ Committee to delineate reasonable claims objection and related trust

  distribution procedures (the “TDPs”) in the event Class 6 chooses the Settlement Election. The

  TDPs are frequently used in mass tort proceedings to implement a fair process for cost-effective,

  non-adversarial evaluation of claims.

                        j.      Miscellaneous Plan Issues.

         71.     The Plan contains various other provisions that are objectionable and that must be

  addressed by the Debtor, including the following:

                  (i)     Pursuant to Section 14.1 of the Plan, the Debtor imposes an arbitrary 30-
         day deadline (from after the Effective Date) for Abuse Claimants to take various critical
         actions, including (a) filing a state court lawsuit against the Debtor if the claimant did not
         file a Pre-Petition Lawsuit against the Debtor, and (b) in the event the claimant had filed
         a Pre-Petition Lawsuit, filing in the Pre-Petition Lawsuit a notice to recommence
         litigation. If the Abuse Claimant does not meet the 30-day deadline, he or she “shall be
         forever barred from asserting the Holder’s Claim.” These deadlines under the Plan are
         unreasonably short and should be lengthened to provide a fair opportunity for the Abuse
         Claimants.

                 (ii)    The Plan, at Section 16.3, provides for service of claim objections on
         certain parties. With respect to Abuse Claims, for privacy and confidentiality reasons, an
         objection to an Abuse Claim should be served only on counsel for the applicable Abuse
         Claimant (unless requested otherwise by the Abuse Claimant).




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                (iii) The Plan, at Section 16.5.2, requires a claimant to claim an Undeliverable
         Distribution within 30 days after the Distribution was deemed to be an Undeliverable
         Distribution. This deadline is unfairly short, and reasonable procedures should be
         implemented to try to apprise claimants that their Distribution is an Undeliverable
         Distribution.

         WHEREFORE, the Survivors’ Committee requests that the Court enter an order (i)

  sustaining this Objection, (ii) denying approval of the Disclosure Statement, and (iii) setting such

  further and other relief as may be just and appropriate.

                                                Respectfully submitted,

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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


      In re:                                                            Chapter 11

      USA GYMNASTICS, 1                                                 Case No. 18-09108-RLM-11

                        Debtor.


                         OBJECTION OF THE ADDITIONAL
                  TORT CLAIMANTS COMMITTEE OF SEXUAL ABUSE
            SURVIVORS TO DEBTOR’S MOTION FOR ORDER APPROVING THE
           DISCLOSURE STATEMENT AND PLAN CONFIRMATION PROCEDURES

               The Additional Tort Claimants Committee of Sexual Abuse Survivors (the “Survivors’

  Committee”), appointed in this case under chapter 11 of title 11 of the United States Code (the

  “Bankruptcy Code”), hereby objects (the “Objection”) to the Debtor’s Motion for Order

  Approving the Disclosure Statement and Plan Confirmation Procedures (the “Procedures

  Motion”) [Doc 931]. 2 In support of its Objection, the Survivors’ Committee respectfully states

  as follows:

                                      I. PRELIMINARY STATEMENT

               The Procedures Motion seeks approval of confirmation and balloting/solicitation

  procedures that are unclear, unfair and deficient. The most glaring issues are the following:

               First, the proposed ballot for members of Class 6 (the “Abuse Claimants”) (i) should

  explain that if the Plan is rejected, neither the Settlement Election or the Litigation Election will




  1
   The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
  principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
  2
   All capitalized terms not defined herein have the meaning ascribed to such term in the Procedures Motion or the
  First Amended Chapter 11 Plan of Reorganization Proposed by USA Gymnastics (the “Plan”) [Doc 928], as
  applicable.




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  apply and that if an Abuse Claimant votes to reject the Plan, no vote on the Settlement Election

  or the Litigation Election should be cast; and (ii) should provide an explanation, immediately

  next to the “box” to vote for the Settlement Election, that all claims against USOPC and other

  non-debtor parties will be extinguished and channeled to the Trust with a specific reference to

  the pages in the Plan and Disclosure Statement that describe the scope of the releases and the

  impact of the channeling injunction.

          Second, the proposed balloting procedures are inappropriate.

          Third, the tallying procedures in connection with Class 6 Ballots are unclear and

  contradict the Plan. Moreover, the Class 6 Ballot gives the misleading impression that each

  Abuse Claimant will be able to elect to settle or litigate if they accept the Plan, and make the

  corresponding election, when in reality all Abuse Claimants within Class 6 will be required to

  settle or litigate if the Plan is accepted by Class 6.

          Fourth, where the Abuse Claimant’s proof of claim indicates they are represented by

  counsel the Solicitation Packages should be sent to such counsel and counsel should be permitted

  to submit ballots if authorized to do so.

          Fifth, if solicitation of the Plan is authorized, the Survivors’ Committee should be

  permitted to include in the solicitation package a letter expressing its view and recommendations.

          Sixth, the proposed deadlines in the Procedures Motion are unreasonable.

                                              II. ARGUMENT

          The Survivors’ Committee agrees with the assessment of the United States Trustee (the

  “UST”) that the procedures proposed by the Debtor unfairly disadvantage the Abuse Claimants

  and are inappropriate. See United States Trustee’s Objection to Debtor’s Motion for Order

  Approving the Disclosure Statement and Plan Confirmation Procedures (the “UST Objection”)




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  [Doc 985] filed on March 24, 2020. Specifically, the Survivors’ Committee takes issue with the

  following proposed balloting/solicitation procedures:

  A.      Class 6 Ballot Should Contain Additional Information
          and the Survivors’ Committee’s Recommendation to Reject the Plan.

          1.       In order for Abuse Claimants to make a fully informed decision, the Class 6

  Ballot at a minimum (i) should explain that if the Plan is rejected, neither the Settlement Election

  or the Litigation Election will apply and that if an Abuse Claimant votes to reject the Plan, no

  vote on the Settlement Election or the Litigation Election should be cast, and (ii) should provide

  an explanation, immediately next to the “box” to vote for the Settlement Election, that all claims

  against USOPC and other non-debtor parties will be extinguished and channeled to a trust with a

  specific reference to the pages in the Plan and Disclosure Statement that describe the scope of the

  releases and the impact of the channeling injunction.

          2.       The Plan also separates Class 6 into four subclasses, with each subclass receiving

  different amounts under the Settlement Election. The Class 6 Ballot should identify which

  subclass the Debtor intends to classify the Abuse Claimant receiving the ballot and the estimated

  amount that will be paid to that Abuse Claimant if the Settlement Election is made.

  Alternatively, the Debtor could create different versions of the Class 6 Ballot for each sub-class

  and mail the different versions of the ballots to each abuse Claimant or their counsel (see

  argument below) based on which subclass the Debtor is proposing for them.

          3.       In addition, the Solicitation Package sent to Abuse Claimants should include the

  form of release 3 Abuse Claimants will be required to execute to receive payment under the

  Settlement Election.


  3
   The Disclosure Statement informs Abuse Claimants that to receive payment from the Trust, each of them must
  execute a “full and complete release of the Debtor, the Estate, the Reorganized Debtor, the Settling Insurers, all
  Participating Parties… and the Non-Debtor CGL Covered Persons” in a form acceptable to the persons and entities


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  B.       The Proposed Balloting Procedures are Inappropriate.

           4.       Treatment of Ambiguous and Inconsistent Ballots. The Debtor’s proposal that

  ambiguous and/or inconsistent ballots should be counted as acceptances is improper.

  [Procedures Motion at ¶ 26(a)(ix)-(xi).] There is no reason an ambiguous and/or inconsistent

  ballot should be considered more likely an acceptance rather than a rejection. Ambiguous ballots

  that fail to clearly indicate acceptance or rejection of the Plan should not be counted. However,

  in the event an Abuse Claimant votes to reject the Plan and votes for either the Settlement

  Election or the Litigation Election, such a ballot should be counted as a rejection rather than as

  an ambiguous or inconsistent ballot. Moreover, if the same claimant submits inconsistent ballots

  and the timing of the ballots submission cannot be ascertained, such ballots should not be

  counted. 4

           5.       Treatment of Improperly Submitted Ballots. The Debtor proposes that ballots

  received by the Court, the Debtor, the Debtor’s agents or representatives (other than the

  Balloting Agent) shall not be counted or considered. [Procedures Motion at ¶ 26(c)(ii).] Instead,

  the Court, the Debtor, and its agents or representatives should be required to forward any ballots

  erroneously received to the Balloting Agent and the date of receipt shall be the date the ballots

  were originally received. The Debtor also proposes that any Ballot that does not contain an

  original signature shall not be counted or considered. [Procedures Motion at ¶ 26(c)(iv).] As

  more fully discussed below, the Class 6 Ballot should be modified to allow for the original

  signature by the Abuse Claimant’s counsel.




  to be released. [Disclosure Statement at 47.] The language of the proposed release is not set forth in the Disclosure
  Statement, Plan, Trust Agreement or the Class 6 Ballot.
  4
   The Survivors’ Committee does not take issue with the proposed procedures for multiple ballots as outlined in
  paragraph 26(e) of the Procedures Motion.


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         6.      Rejected Ballots. The Debtor expressly reserves the right “to reject any and all

  Ballots that are not in proper form, the acceptance of which, in the opinion of the Debtor, would

  not be in accordance with the provisions of the Bankruptcy code, the Bankruptcy Rules, the

  Local Rules, or the proposed Disclosure Statement Order.” [Procedures Motion at ¶ 26(d).] Any

  rejected and/or defective Class 6 Ballot should be promptly shared with the Survivors’

  Committee and the Survivors’ Committee should have the right to review all Class 6 Ballots and

  confirm the Debtor’s vote tabulations for Class 6.

         7.      Returned Solicitation Packages and Notices. The Debtor proposes that it should

  not be required to re-send any Solicitation Packages or other related notices returned as

  undeliverable. [Procedures Motion at ¶ 26(h).] Any Solicitation Packages in connection with

  Abuse Claimants that are returned as undeliverable should be promptly shared with the

  Survivors’ Committee.

  C.     The Tallying Procedures for Class 6 Ballots are Unclear and Contradict the Plan.

         8.      The statements in the Disclosure Statement regarding tallying procedures for

  Class 6 Ballots contradict statements in the Plan regarding the same, and therefore, it is unclear

  how the Debtor intends to tabulate the Class 6 Ballots. Article 8.2 of the Plan states that holders

  of claims in an impaired class shall have accepted the Plan if it is accepted by at least two-third

  (2/3) in dollar amount and more than one-half (1/2) in number have voted to accept the Plan.

  However, Section III.C.3 of the Disclosure Statement states that if individuals holding more than

  half of the Class 6 Abuse Claims vote in favor of the Plan, it will have been accepted by the

  Class, with no mention of the two-thirds (2/3) requirement.

         9.      The Disclosure Statement and Class 6 Ballot are also vague and misleading on

  how votes will be counted. They incorrectly imply that each Abuse Claimant can effect a




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  Litigation or Settlement Election for herself if the Plan is accepted. What happens, for example,

  if an Abuse Claimant wants to accept the Plan but only on the condition that the Settlement

  Election is chosen by the class? What happens if more than one-half of Class 6 accepts the Plan,

  but neither the Settlement Election, nor the Litigation Election, receives more than half of the

  Class 6 votes? The Debtor must explain its proposed tallying procedure. The Disclosure

  Statement and the Class 6 Ballot must address and clarify all of these issues.

  D.     Solicitation Packages Should be Delivered to
         Counsel where the Abuse Claimants are Represented and
         Such Counsel Should be Permitted to Submit Ballots on Behalf of their Clients.

         10.     In mass tort bankruptcies, it is a common practice to send master ballots directly

  to all lawyers known to be representing persons with tort claims against the debtor and to allow

  such counsel to vote to accept or reject the plan on behalf of each client who has authorized them

  to do so. See, e.g., In re Combustion Eng’g. Inc., 391 F.3d 190, 245 n. 66 (3rd Cir. 2004) (noting

  that “the entire solicitation and voting process was conducted through a small group of law firms

  who collectively represented hundreds of thousands of individual claimants”). This process

  facilitates voting by large number of claimants and is authorized by Bankruptcy Rule 3018(c).

  Fed. R. Bankr. P. 3018(c) (permitting voting by “an authorized agent” for a creditor or equity

  security holder).

         11.     This process should be adhered to in this case. Abuse Claimants who have

  indicated on their proofs of claim that they are represented by counsel should have their

  solicitation packages sent to their counsel rather than to their homes, and such counsel should be

  permitted to submit ballots on behalf of their clients if authorized to do so. The Class 6 Ballot

  should be modified to allow for the signature by the Abuse Claimant’s counsel.




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  E.     The Survivors’ Committee Should Be
         Permitted to Include a Letter in the Solicitation Package.

         12.     The Debtor should be required to include a letter from the Survivors’ Committee

  (the “Survivors’ Committee Letter”) as part of the Solicitation Packages.

         13.     Bankruptcy Rule 3017(d) specifies the materials to be distributed to holders of

  allowed claims and equity interests upon approval of a disclosure statement, including the court-

  approved plan and disclosure statement and notice of the time within which acceptances and

  rejections of the plan may be filed. Fed. R. Bankr. P. 3017(d) (1)-(3). Bankruptcy Rule

  3017(d)(4) further provides that “any other information as the court may direct” may be included

  in the materials distributed to creditors and equity holders. Fed. R. Bankr. P. 3017(d) (4); see

  also In re Tenn-FLA Partners, 1993 Bankr. LEXIS 789, at *2 (Bankr. W.D. Tenn. Apr. 29,

  1993) (“[Rule] 3017(d)(4) . . . provides for much discretion as to what other information the

  court may deem appropriate to send out with the disclosure statement.”).

         14.     This information may include a letter by an official committee recommending that

  creditors vote to reject (or accept) a plan. See, e.g., In re Tucker Freight Lines, Inc., 62 B.R. 213,

  215 n.1 (Bankr. W.D. Mich. 1986) (permitting a creditors’ committee objecting to a disclosure

  statement to include in the ballot package a letter recommending that creditors vote against

  acceptance of the plan); In re Federated Dep’t Stores, Inc., Consolidated Case No. 1-90-00130,

  1992 Bankr. LEXIS 392, at *21 (Bankr. S.D. Ohio Jan. 10, 1992) (solicitation packages included

  a letter from the appropriate creditors’ committee recommending a vote in favor of the plan); In

  re TK Holdings Inc., Case No. 17-11375 (BLS) (Bankr. D. Del. Jan. 5, 2018) [Dkt. No. 1639]

  (order authorizing debtors to send letters from committees to creditors in voting classes); In re

  JHT Holdings, Inc., et al., Case No. 08-11267 (BLS) (Bankr. D. Del. Aug. 29, 2008) [Dkt. No.




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  302] (disclosure statement included bold, all capital letters recommendation by creditors’

  committee summarizing concerns and urging creditors to reject the plan).

  F.     The Proposed Deadlines are Unreasonable.

         15.     The Debtor seeks to require objections to the Plan to be filed only two days after

  proposed Voting Report Deadline. [Procedures Motion at ¶ 10.] This is schedule is not fair or

  reasonable. Certain objecting parties intend to conduct extensive discovery relating to the Plan,

  and therefore the Survivors’ Committee request that no deadline on Plan objections be set by the

  Court prior to a status conference to consider the time needed to complete discovery.

         WHEREFORE, the Survivors’ Committee requests that the Court enter an order (i)

  sustaining this Objection, (ii) denying the Procedures Motion, and (iii) setting such further and

  other relief as may be just and appropriate.

                                                 Respectfully submitted,

                                                 PACHULSKI STANG ZIEHL & JONES LLP
  Dated: May 19, 2020                            /s/ James I. Stang
                                                 James I. Stang, Esq. (admitted pro hac vice)
                                                 Kenneth H. Brown, Esq. (admitted pro hac vice)
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                                                        -and-
                                                 RUBIN & LEVIN, P.C.
                                                 /s/ Meredith R. Theisen
                                                 Meredith R. Theisen, Esq.
                                                 Deborah J. Caruso, Esq.
                                                 135 N. Pennsylvania Street, Suite 1400



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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


     In re:                                                  Chapter 11
                              1
     USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                              Debtor.


                   DEBTOR’S MOTION FOR ORDER APPROVING THE DISCLOSURE
                      STATEMENT AND PLAN CONFIRMATION PROCEDURES

              USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11

 case (the “Debtor” or “USAG”), hereby submits this motion (the “Motion”) for the entry of an

 order (the “Disclosure Statement Order”), substantially in the form attached hereto as Exhibit A:

 (a) approving the Disclosure Statement (defined below); (b) establishing the voting deadline, and

 other related dates and deadlines in connection with voting on the Plan (defined below);

 (c) approving procedures for soliciting, receiving, and tabulating votes on the Plan and for filing

 objections to the Plan; (d) approving the manner and forms of notice and other related documents;

 and (e) granting other relief relating thereto as set forth herein. In support of this Motion, the

 Debtor respectfully states as follows:

                                              JURISDICTION

              1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

 core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (L), and the Court may enter a final

 order consistent with Article III of the United States Constitution. Venue is proper pursuant to 28

 U.S.C. §§ 1408 and 1409.



 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.



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         2.      The statutory and legal predicates for the relief requested herein are sections 105(a),

 502, 1123(a), 1124, 1125, 1126 and 1128 of title 11 of the United States Code, 11 U.S.C. §§ 101–

 1532 (the “Bankruptcy Code”), Rules 2002, 3003, 3016, 3017, 3018, and 3020 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 3018-1 of the Local Rules

 of the United States Bankruptcy Court for the Southern District of Indiana (the “Local Rules”).

                                           BACKGROUND

         3.      On December 5, 2018, USAG filed a voluntary petition for relief under chapter 11

 of the Bankruptcy Code.

         4.      The Debtor remains in possession of its property and continues to operate and

 maintain its organization as debtor in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No request has been made for the appointment of a trustee or examiner in this

 chapter 11 case.

         5.      On February 21, 2020, the Debtor filed the First Amended Chapter 11 Plan of

 Reorganization Proposed By USA Gymnastics [Dkt. 928] (the “Plan”) and corresponding

 Disclosure Statement For First Amended Chapter 11 Plan Of Reorganization Proposed By USA
                                                           2
 Gymnastics [Dkt. 930] (the “Disclosure Statement”).

         6.      Concurrently with the filing of this Motion, the Debtor will provide notice (the

 “Disclosure Statement Hearing Notice”), in substantially the form attached hereto as Exhibit B,

 of a hearing to seek approval of the Disclosure Statement, which is scheduled for March 31, 2020

 at 1:30 p.m. (prevailing Eastern time) (the “Disclosure Statement Hearing”).




 2
  Capitalized terms used herein and not defined shall have the meanings ascribed to such terms in the Plan
 or Disclosure Statement.

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           7.    In accordance with Section 1126 of the Bankruptcy Code, the Plan classifies all

  holders of Claims into certain Classes for all purposes, including with respect to voting to accept

  or reject the Plan, as follows:

        CLASS                   DESCRIPTION                     IMPAIRMENT           VOTING
       1         Other Priority Claims                          Unimpaired     Deemed to Accept
       2         PNC Bank Claim                                 Unimpaired     Deemed to Accept
       3         Sharp Claim                                    Unimpaired     Deemed to Accept
       4         General Unsecured Convenience Claims           Unimpaired     Deemed to Accept
       5         General Unsecured Claims                       Impaired       Yes
       6         Abuse Claims                                   Impaired       Yes
       7         Personal Injury Claim                          Impaired       Yes
       8         USOPC Claim                                    Impaired       Yes
       9         Indemnification Claims                         Impaired       Yes
                 FCR Claim (only if there is a Settlement
       10                                                       Impaired       Yes
                 Election)
                 Sexual Abuse Claims Filed After The Bar Date
       11                                                       Impaired       Deemed to Reject
                 (only if there is a Litigation Election)

           8.    Based on the foregoing, the Debtor will solicit votes to accept or reject the Plan

  from holders of Claims in Classes 5, 6, 7, 8, 9, and 10 (but Class 10’s vote will only be considered

  if there is a Settlement Election) (collectively, the “Voting Classes”). The Debtor will not solicit

  votes to accept or reject the Plan from Classes 1, 2, 3, 4, and 11 (collectively, the “Non-Voting

  Classes”).

                                          RELIEF REQUESTED

           9.    The Debtor respectfully requests that the Court enter the Disclosure Statement

  Order: (a) approving the Disclosure Statement; (b) establishing the voting deadline, and other

  related dates and deadlines in connection with voting on the Plan; (c) approving procedures for

  soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan;




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  (d) approving the manner and forms of notice and other related documents; and (e) granting other

  relief relating thereto as set forth herein.

          10.     The following chart provides a timeline of the key dates and deadlines for which

  the Debtor seeks approval:

                                     Event                          Proposed Date
                  Disclosure Statement Hearing              March 31, 2020
                  Solicitation Deadline                     April 6, 2020
                  Voting Deadline                           May 8, 2020
                  Voting Report Filing Deadline             May 13, 2020
                  Plan Objection Deadline                   May 15, 2020
                  Deadline to Respond to Plan Objections    May 29, 2020
                  Confirmation Hearing                      June 3-4, 2020

                                             BASIS FOR RELIEF

  I.      The Disclosure Statement Should Be Approved.

          11.     The Debtor requests that the Disclosure Statement be approved as providing

  “adequate information” within the meaning of Section 1125 of the Bankruptcy Code. Under

  Section 1125 of the Bankruptcy Code, a debtor must provide creditors with “adequate information”

  regarding any proposed chapter 11 plan:

          “[A]dequate information” means information of a kind, and in sufficient detail, as
          far as is reasonably practicable in light of the nature and history of the debtor and
          the condition of the debtor’s books and records, including a discussion of the
          potential material federal tax consequences of the plan to the debtor, any successor
          to the debtor, and a hypothetical investor typical of the holders of claims or interests
          in the case, that would enable such a hypothetical investor of the relevant class to
          make an informed judgment about the plan, but adequate information need not
          include such information about any other possible or proposed plan and in
          determining whether a disclosure statement provides adequate information, the
          court shall consider the complexity of the case, the benefit of additional information
          to creditors and other parties in interest, and the cost of providing additional
          information ….”

  11 U.S.C. § 1125(a)(1).


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          12.     Thus, a disclosure statement must, as a whole, provide information that is

  reasonably practicable to permit an informed judgment by creditors entitled to vote on the debtor’s

  plan of reorganization. See, e.g., In re Distance Learning Systems of Indiana, Inc., No. 10-14617,

  Dkt. 112 (Bankr. S.D. Ind. Apr. 19, 2012) (order approved disclosure statement as containing

  adequate information); In re Greenwood Point, LP, No. 10-569, Dkt. 116 (Bankr. S.D. Ind. Oct.

  15, 2010) (same); In re Critical Access Health Services Corp., 09-92085, Dkt. 399 (Bankr.

  S.D. Ind. Dec. 22, 2009); In re Kmart Corp., 310 B.R. 107, 120 (Bankr. N.D. Ill. 2004)

  (recognizing that disclosure statement was adequate). As one court has noted, “Congress purposely

  left vague the standard for judging what constitutes adequate information to allow the Court to

  make a case-by-case determination.” In re Ashley River Consulting, LLC, No. 14-13046, 2015 WL

  6848113, at *7 (Bankr. S.D.N.Y. Nov. 6, 2015) (unpub.). A debtor need not include all potentially

  relevant information in a disclosure statement, as burdening a disclosure statement with “overly

  technical and extremely numerous additions . . serve[s] only to diminish the understanding of a

  typical creditor.” Id.

          13.     Here, the Disclosure Statement contains ample information regarding the Plan. It

  describes the events leading to the bankruptcy case and the major events in the bankruptcy case,

  provides a narrative summarizing the Plan, identifies the Classes of Claims and estimated

  recoveries, describes the Debtor’s non-monetary commitments embodied in the Plan, and appends

  a liquidation analysis and cash flow projections. Accordingly, the Debtor respectfully submits that

  the Disclosure Statement more than satisfies the requirements of Section 1125 of the Bankruptcy

  Code and should be approved.




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  II.    The Solicitation And Voting Procedures Should Be Approved.

         A.      The Voting Deadline Should Be Approved.

         14.     Bankruptcy Rule 3017(c) provides that prior to approving the disclosure statement,

  the Court must fix a time within which the holders of claims may accept or reject the plan, and

  may also fix a date for the hearing on confirmation of the plan. Fed. R. Bankr. P. 3017(c). The

  Debtor requests the Court establish a date that is not less than twenty-eight (28) days from the

  deadline for the Debtor to distribute solicitation and other voting materials to holders of Claims in

  Voting Classes (the “Solicitation Deadline”) as the deadline (the “Voting Deadline”) by which

  Ballots (defined below) must be received by Omni Agent Solutions, Inc. (the “Balloting Agent”).

  The Debtor further requests that the Court require that all holders of Claims entitled to vote to

  accept or reject the Plan complete, execute, and return their Ballots so that they are actually

  received by the Balloting Agent on or before the Voting Deadline.

         B.      Approval Of Form Of Ballots.

         15.     In accordance with Bankruptcy Rule 3018(c) and Local Rule 3018-1(b), the Debtor

  seeks approval of customized ballots (the “Ballots”). Although based on Official Form No. 314,

  the Ballots have been modified to: (a) with respect to the holders of Class 6 Abuse Claims, request

  that Class 6 Claimants voting in favor of the Plan select the “Settlement Election” or the “Litigation

  Election”; (b) with respect to the holder of the FCR Claim, to clarify that Class 10’s vote will only

  be considered if there is a Settlement Election; and (c) include certain additional information that

  is relevant and appropriate for holders of Claims within the Voting Classes.

         16.     Local Rule 3018-1(b) allows the use of customized ballots so long as they are

  approved by the Court. The proposed form of Ballots should be approved because they are tailored

  to the specific needs and circumstances of this chapter 11 case. For example, the Ballots provide



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  helpful voting instructions for claimants, and the Debtor’s Balloting Agent will customize each

  Ballot to include the name and address of the Claimant entitled to vote each Ballot, as well as the

  amount of their Claim (although holders of Claims in Classes 6, 7, 8, 9, and 10 will be allocated

  $1.00 solely for voting purposes, as described below).

         17.     The Debtor therefore requests that the Court approve the proposed form of Ballots.

  The proposed Ballots are attached as Exhibits to the proposed Disclosure Statement Order as

  follows:

                 a. Class 5 Ballot: the ballot for the holders of Class 5 General Unsecured Claims
                    is appended as Exhibit 1 to the proposed Disclosure Statement Order;

                 b. Class 6 Ballot: the ballot for the holders of Class 6 Abuse Claims is appended
                    as Exhibit 2 to the proposed Disclosure Statement Order;

                 c. Class 7 Ballot: the Ballot for the holder of the Class 7 Personal Injury Claim is
                    appended as Exhibit 3 to the proposed Disclosure Statement Order;

                 d. Class 8 Ballot: the Ballot for the holder of the Class 8 USOPC Claim is
                    appended as Exhibit 4 to the proposed Disclosure Statement Order;

                 e. Class 9 Ballot: the Ballot for the holders of Class 9 Indemnification Claims is
                    appended as Exhibit 5 to the proposed Disclosure Statement Order; and

                 f. Class 10 Ballot: the Ballot for the holder of the Class 10 FCR Claim is appended
                    as Exhibit 6 to the proposed Disclosure Statement Order.

         C.      Approval Of Solicitation Packages.

         18.     Bankruptcy Rule 3017(d) sets forth the materials that must be provided to holders

  of claims entitled to vote to accept or reject a plan for the purposes of soliciting their votes to

  accept or reject such plan and providing adequate notice of the hearing to confirm such plan. These

  materials include: (a) the plan; (b) the approved disclosure statement; (c) a notice of time within

  which acceptances and rejections of such plan may be filed; and (d) any other information that the

  court may direct to certain holders of claims. Fed. R. Bankr. P. 3017(d).




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         19.     Consistent with Bankruptcy Rule 3017(d), on or prior to the Solicitation Deadline,

  the Debtor will cause to be distributed solicitation packages (each, a “Solicitation Package,” and

  collectively, the “Solicitation Packages”) by first-class U.S. mail to those holders of Claims in

  the Voting Classes, or by e-mail if the Debtor does not have a mailing address for the holder of a

  Claim, consisting of the following:

                 a. the form of letter (the “Cover Letter”) explaining the solicitation process and
                    urging holders of Claims to vote to accept the Plan, and holders of Abuse
                    Claims to select the Settlement Election, substantially in the form attached to
                    the proposed Disclosure Statement Order as Exhibit 7;

                 b. the proposed Disclosure Statement Order (excluding exhibits thereto);

                 c. the notice of the hearing to consider confirmation of the Plan (the
                    “Confirmation Hearing Notice”), substantially in the form attached to the
                    proposed Disclosure Statement Order as Exhibit 8;

                 d. an appropriate form of Ballot;

                 e. the Disclosure Statement (and exhibits thereto, including the Plan); and

                 f. such other materials as the Court may direct.

         20.     Additionally, the Debtor will provide: (a) Solicitation Packages (excluding the

  Ballots and the Cover Letter) to the U.S. Trustee, the Survivors’ Committee, the Indiana Attorney

  General, and all parties who have filed requests for notices under Bankruptcy 2002 as of the date

  the proposed Disclosure Statement Order is entered by the Court; and (b) the Confirmation Hearing

  Notice to all known holders of Claims.

         21.     The Debtor submits that the materials contained in the Solicitation Packages

  provide holders of Claims entitled to vote to accept or reject the Plan with the information they

  need to be able to make informed decisions with respect to how to vote. The requested procedures

  afford holders of Claims entitled to vote to accept or reject the Plan at least 28 days within which

  to review and analyze such materials and subsequently make an informed decision, prior to the



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  Voting Deadline, on whether to vote to accept or reject the Plan. These procedures are consistent

  with the requirements of the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,

  and the Local Rules.

         D.     Notices To Non-Voting Classes.

         22.    The holders of Claims in the Non-Voting Classes are not entitled to vote to accept

  or reject the plan because, in the case of Classes 1-4, they are not impaired, and in the case of

  Class 11, they will receive nothing under the plan. See 11 U.S.C. § 1126(f). Accordingly, the

  Debtor proposes to send holders of Claims in the Non-Voting Classes a notice of non-voting status

  (the “Notice Of Non-Voting Status”), in substantially the form attached to the proposed

  Disclosure Statement Order as Exhibit 9. The Notice of Non-Voting Status will include, among

  other things: (a) instructions as to how to view or obtain copies of the Disclosure Statement

  (including the Plan and other exhibits thereto) and the proposed Disclosure Statement Order;

  (b) notice of the Plan Objection Deadline (defined below); and (c) notice of the Confirmation

  Hearing (defined below), and information related to plan confirmation generally.

         23.    The Debtor submits that the mailing of the Notice Of Non-Voting Status in lieu of

  Solicitation Packages satisfies the requirements of Bankruptcy Rule 3017(d). Thus, unless the

  Court orders otherwise, the Debtor will distribute the Notice Of Non-Voting Status to holders of

  Claims in the Non-Voting Classes instead of Solicitation Packages.

         E.     The Solicitation And Voting Procedures Should Be Approved.

         24.    The Debtor respectfully requests that the Court approve the solicitation and voting

  procedures incorporated into the proposed Disclosure Statement Order (the “Solicitation and

  Voting Procedures”) and described herein, which are consistent with section 1126 of the

  Bankruptcy Code, Bankruptcy Rule 3018(a), and this Court’s Local Rules. The Debtor proposes



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  the Solicitation and Voting Procedures solely for the purposes of voting to accept or reject the Plan

  and not for the purpose of the allowance of, or distribution on account of, any Claims, and without

  prejudice to the rights of the Debtor in any other context.

         25.     The Debtor requests that this Court exercise its authority under Sections 105(a) and

  502(c) of the Bankruptcy Code to approve the Solicitation and Voting Procedures. A brief

  summary of the treatment of the Claims in each of the Voting Classes for voting purposes is

  provided below:

                 a. Class 5: General Unsecured Claim. Each holder of a Class 5 General Unsecured
                    Claim that is liquidated, and each Class 5 General Unsecured Claim that is
                    partially liquidated and partially unliquidated, and that has not been disallowed
                    or objected to, shall be entitled to vote on account of such Claim in the
                    liquidated amount. Each holder of a Class 6 General Unsecured Claim that is
                    scheduled as contingent or unliquidated or disputed, or for $0.00, for which no
                    proof of claim has been filed, shall not be entitled to vote on account of such
                    Claim.

                 b. Class 6: Abuse Claims. Each holder of a Class 6 Abuse Claim will be allowed
                    to vote and allocated a Claim in the amount of $1.00 for voting purposes only.
                    To be clear, this allocation is solely to facilitate the ability of holders of Class
                    6 Claims, which are unliquidated, to vote to accept or reject the Plan, and does
                    not reflect any assessment of the value of such Class 6 Claims.

                 c. Class 7: Personal Injury Claim. The holder of the Class 7 Personal Injury Claim
                    will be allowed to vote and allocated a Claim in the amount of $1.00 for voting
                    purposes only. To be clear, this allocation is solely to facilitate the ability of
                    holder of the Class 7 Claim, which is unliquidated, to vote to accept or reject
                    the Plan, and does not reflect any assessment of the value of the Class 7 Claim.

                 d. Class 8: USOPC Claim. The holder of the Class 8 USOPC Claim will be
                    allowed to vote and allocated a Claim in the amount of $1.00 for voting
                    purposes only. To be clear, this allocation is solely to facilitate the ability of
                    holder of the Class 8 Claim, which is unliquidated, to vote to accept or reject
                    the Plan, and does not reflect any assessment of the value of the Class 8 Claim.

                 e. Class 9: Indemnification Claims. Each holder of a Class 9 Indemnification
                    Claim will be allowed to vote and allocated a Claim in the amount of $1.00 for
                    voting purposes only. To be clear, this allocation is solely to facilitate the ability
                    of holders of Class 9 Claims, which are unliquidated, to vote to accept or reject
                    the Plan, and does not reflect any assessment of the value of such Class 9
                    Claims.

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              f. Class 10: FCR Claim. The holder of the Class 10 FCR Claim will be allowed
                 to vote and allocated a Claim in the amount of $1.00 for voting purposes only.
                 To be clear, this allocation is solely to facilitate the ability of holder of the Class
                 10 Claim, which is unliquidated, to vote to accept or reject the Plan, and does
                 not reflect any assessment of the value of the Class 10 Claim. The vote of the
                 Class 10 FCR Claim will only be counted if Class 6 votes to accept the Plan
                 and selects the Settlement Election.

        26.   Additional Solicitation and Voting Procedures are as follows:

              a. Allowance of Claims for Voting Purposes:
                     i.   If a Claim is deemed Allowed under the Plan, such Claim shall be
                          Allowed for voting purposes in the deemed Allowed amount set forth in
                          the Plan.
                   ii.    If a Claim is partially liquidated and partially unliquidated, such Claim
                          shall be allowed in the liquidated amount solely for purposes of voting
                          on the Plan.
                   iii.   The holders of Claims in Classes 6, 7, 8, 9, and 10 shall have their
                          Claims temporarily allowed to vote and allocated a Claim in the amount
                          of $1.00 for voting purposes only; provided, however, this allocation is
                          made solely to facilitate the ability of holders of Claims in Classes 6, 7,
                          8, 9, and 10 to vote to accept or reject the Plan, because the Claims in
                          such Classes are unliquidated, and does not reflect any assessment of
                          the value of such Claims.
                   iv.    Claims scheduled as contingent, unliquidated, or disputed, and for
                          which no proof of claim has been filed, are disallowed for voting
                          purposes.
                    v.    Claims scheduled by the Debtor for $0.00, and for which no proof of
                          claim has been filed, as well as proofs of claim filed for $0.00, are
                          disallowed for voting purposes.
                   vi.    If a Claim has been amended, the Claimant shall be entitled to vote on
                          account of the subsequently filed amending Claim, and the Claimant
                          shall not be entitled to vote on account of the previously filed amended
                          Claim, regardless of whether the Debtor has objected to such amended
                          Claim.
                  vii.    Any entity who has filed or purchased duplicate Claims within the same
                          Voting Class shall be provided with only one Solicitation Package and
                          one Ballot for voting a single Claim in such Voting Class, regardless of
                          whether the Debtor has objected to such duplicate Claims.
                 viii.    To the extent any entity holds or has filed more than one non-duplicative
                          Claim in a particular Voting Class, such entity must vote all of its non-
                          duplicative Claims in a particular Voting Class either to accept or reject
                          the Plan, and may not split its vote within a particular Voting Class. For

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                         the purposes of the numerosity requirement of Section 1126(c) of the
                         Bankruptcy Code, separate Claims held by a single entity in a particular
                         Class shall be aggregated as if such entity held one Claim against the
                         Debtor in such Class, and the vote on account of such Claims shall be
                         treated as a single vote to accept or reject the Plan.
                   ix.   If any Ballot is validly executed and submitted to the Balloting Agent
                         on or before the Voting Deadline but does not indicate either acceptance
                         or rejection of the Plan, such Ballot will be counted as an acceptance of
                         the Plan.
                   x.    Any validly executed and timely Ballot that indicates both acceptance
                         and rejection of the Plan shall be counted as an acceptance of the Plan.
                   xi.   If the Debtor’s Balloting Agent receives more than one Ballot on the
                         same day and on account of the same Claim, and each Ballot is voted
                         inconsistently, such Ballots will constitute an acceptance of the Plan.
              b. Challenges To Allowance Of Claims For Voting Purposes. If any entity seeks
                 to challenge the disallowance of their Claim for voting purposes, or the amount
                 in which their Claim is Allowed for voting purposes, such entity shall file with
                 the Court and serve upon the Debtor, the Survivors’ Committee, and the U.S.
                 Trustee a motion for an order pursuant to Bankruptcy Rule 3018(a) (a “Rule
                 3018(a) Motion”) temporarily allowing such Claim in a requested amount for
                 purposes of voting to accept or reject the Plan on or before the date that is at
                 least three (3) business days prior to the Voting Deadline. As to any entity filing
                 a Rule 3018(a) Motion, such entity’s Ballot shall not be counted unless
                 temporarily allowed by the Court for voting purposes, after notice and a
                 hearing, which hearing may be held contemporaneously with the Confirmation
                 Hearing.
              c. Ballots Not Counted. The following Ballots shall not be counted or considered
                 for any purpose in determining whether the Plan has been accepted or rejected:
                    i.   Any Ballot that is illegible or contains insufficient information to permit
                         the identification of the holder of the Claim.
                   ii.   Any Ballot sent to the Debtor, the Debtor’s agents or representatives
                         (other than the Balloting Agent), or the Bankruptcy Court.
                  iii.   Any Ballot transmitted to the Balloting Agent by facsimile or other
                         means not specifically approved herein.
                   iv.   Any Ballot that does not contain an original signature.
                   v.     Any Ballot cast by an entity that (1) does not hold a Claim in a Voting
                         Class or (2) is not otherwise entitled to vote pursuant to the procedures
                         described herein
              d. Rejected Ballots. Except as otherwise provided herein and subject to any
                 contrary order of the Court, the Debtor shall be entitled to reject as invalid, and
                 exclude from counting for voting purposes, any Ballot that is not timely
                 submitted on or prior to the Voting Deadline. Furthermore, expressly reserved

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                 are the Debtor’s rights to reject any and all Ballots that are not in proper form,
                 the acceptance of which, in the opinion of the Debtor, would not be in
                 accordance with the provisions of the Bankruptcy Code, the Bankruptcy Rules,
                 the Local Rules, or the proposed Disclosure Statement Order.
              e. Multiple Ballots. If multiple Ballots are received from the same holder of a
                 Claim with respect to the same Claim prior to the Voting Deadline, the last
                 validly executed Ballot timely received shall count for voting purposes, subject
                 to contrary order of the Court.
              f. No Vote-Splitting. Any Ballot that partially rejects and partially accepts the
                 Plan will not be counted.
              g. Defective Ballots: The Debtor, subject to contrary order of the Court, may
                 waive any defects or irregularities as to any particular Ballot at any time, either
                 before or after the Voting Deadline; provided, however, that (1) any such
                 waivers shall be documented in the voting report required by Local Rule 3018-
                 1(c) (the “Voting Report”); (2) neither the Debtor, nor any other entity, will be
                 under any duty to provide notification of such defects or irregularities other than
                 as provided in the Voting Report, nor will any such party incur any liability for
                 failure to provide such notification; and (3) unless waived by the Debtor, subject
                 to contrary order of the Court, any defects or irregularities associated with the
                 delivery of Ballots must be cured prior to the Voting Deadline or such Ballots
                 will not be counted.
              h. Returned Solicitation Packages And Notices. If any Solicitation Packages,
                 Disclosure Statement Hearing Notices, Confirmation Hearing Notices, or other
                 mailings contemplated by the proposed Disclosure Statement Order are
                 returned as undeliverable by the United States Postal Service or other carrier,
                 or by e-mail, the Debtor shall not be required to re-send such mailings to the
                 applicable entity, and the Debtor’s notice obligations under the Bankruptcy
                 Code, Bankruptcy Rules, Local Rules, and the proposed Disclosure Statement
                 Order with respect to each such mailing shall be deemed satisfied. The Debtor
                 shall only be required to re-send any Solicitation Package, notice, or other
                 mailing if the entity whose service was returned as undeliverable provides the
                 Debtor’s Balloting Agent with an accurate mailing address not less than ten (10)
                 calendar days prior to the Solicitation Deadline. For the avoidance of doubt, if
                 any entity has changed its mailing address during this chapter 11 case, the
                 burden rests exclusively upon such entity to advise the Balloting Agent of its
                 new address.
              i. Non-Substantive Or Immaterial Modification: The Debtor shall be permitted to
                 make non-substantive or immaterial changes to the Disclosure Statement, Plan,
                 Ballots, Disclosure Statement Hearing Notice, Confirmation Hearing Notice,
                 Cover Letter, Notice Of Non-Voting Status, and any other related documents
                 approved by the proposed Disclosure Statement Order without further order of
                 the Court, including, without limitation, changes to correct typographical and
                 grammatical errors and to make conforming changes among the Disclosure



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                     Statement, the Plan, and any other materials in the Solicitation Packages prior
                     to their distribution.

         27.     The Debtor believes that the Solicitation and Voting Procedures and other relief as

  requested herein are appropriate and in compliance with the Bankruptcy Code, Bankruptcy Rules,

  and Local Rules. Good cause exists for the approval of the Solicitation and Voting Procedures, as

  these Solicitation and Voting Procedures will maximize efficiencies in the solicitation and voting

  processes and minimize costs to the Debtor’s estate. The Debtor therefore requests that the Court

  approve the Solicitation and Voting Procedures.

         F.      Establishing Confirmation Hearing Date, Notice, And Objection Procedures.

         28.     In accordance with Bankruptcy Rule 3017(c) and Section 1128 of the Bankruptcy

  Code, the Debtor requests that the Court establish June 3-4, 2020, beginning at 10:00 a.m.

  (prevailing Eastern time) each day, as the dates for the hearing at which the Court will consider

  confirmation of the Plan (the “Confirmation Hearing”). The Debtor requests that any order

  setting the Confirmation Hearing provide that the hearing may be continued from time to time by

  the Debtor or by the Court without further notice to parties in interest other than by announcing

  such adjournment in open court and/or a notice of adjournment filed by the Debtor and posted on

  the Debtor’s restructuring website at https://omniagentsolutions.com/usagymnastics.

         29.     Bankruptcy Rules 2002(b), 2002(d), and 3018(a) require not less than twenty-

  eight (28) days’ notice to all creditors of the time fixed for filing objections and the hearing to

  consider confirmation of a chapter 11 plan. To satisfy this requirement, the Debtor will serve a

  notice of the Confirmation Hearing (the “Confirmation Hearing Notice”) on all known holders

  of Claims and the parties entitled to notice in the Debtor’s case (regardless of whether such parties

  are entitled to vote to accept or reject the Plan) by the Solicitation Deadline, which will provide all




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  parties in interest adequate notice of the Plan Objection Deadline (defined below) and of the

  Confirmation Hearing. The Debtor will also post the Confirmation Hearing Notice on its website.

         30.     The Confirmation Hearing Notice will include, without limitation: (a) instructions

  as to how to view or obtain copies of the Disclosure Statement (including the Plan and the other

  exhibits thereto), the proposed Disclosure Statement Order, and all other materials in the

  Solicitation Packages from the Debtor’s restructuring website, the Balloting Agent, and the

  Court’s website via PACER; (b) notice of the Voting Deadline; (c) notice of the date by which

  the Debtor will file the Plan Supplement, if any; (d) notice of the Plan Objection Deadline; and

  (e) notice of the Confirmation Hearing and information related thereto.

         31.     Pursuant to Bankruptcy Rule 3020(b)(1), objections to confirmation of a plan

  must be filed and served “within a time fixed by the court.” Fed. R. Bank. P. 3020(b)(1). The

  Debtor requests that the Court establish May 15, 2020 as the deadline by which objections to the

  Plan must be filed with the Court and served so as to be actually received by the Debtor (the

  “Plan Objection Deadline”). The Confirmation Hearing Notice provides, and the Debtor requests

  that the Court direct that, objections to confirmation of the Plan or proposed modifications to the

  Plan, if any, must (a) be in writing, (b) conform to the Bankruptcy Rules, the Local Rules, and any

  orders of the Court, (c) state the name and address of the objecting party and the amount and nature

  of the Claim of such party, (d) state with particularity the basis and nature of any objection to the

  Plan and, if practicable, provide a proposed modification or additional suggested language to

  amend the Plan in a manner that would resolve such objection, and (e) be filed, contemporaneously

  with a proof of service, with the Court on or before the Plan Objection Deadline. The Debtor

  further requests leave to file a consolidated response to any Plan objections.




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          32.     The proposed timing for filing and service of objections and proposed

  modifications, if any, will afford the Court, the Debtor, and other parties in interest sufficient time

  to consider the objections and proposed modifications prior to the Confirmation Hearing.

          33.     The Debtor submits that good cause exists to approve the various deadlines and

  procedures described above in connection with the Court’s consideration of the Debtor’s

  Disclosure Statement and confirmation of the Debtor’s Plan.3 Accordingly, the Debtor requests

  that the Court enter the proposed Disclosure Statement Order.

                                                  NOTICE

          34.     The Debtor will provide notice of this Motion in accordance with the Order

  Granting Debtor’s Motion For Order Establishing Certain Notice, Case Management, And

  Administrative Procedures [Dkt. 213].

          35.     In addition, upon filing this Motion, the Debtor will serve all known creditors and

  all other parties entitled to notice pursuant to Bankruptcy Rule 2002 with a copy of this

  Motion and the Disclosure Statement Hearing Notice, which as set forth above includes,

  without limitation: (a) the date, time, and place of the Disclosure Statement Hearing; (b) the

  manner in which a copy of the Disclosure Statement (and exhibits thereto, including the Plan) can

  be obtained; and (c) the deadline and procedures for filing objections to the approval of the

  Disclosure Statement. Further, in accordance with Bankruptcy Rule 3017(a), the Debtor shall

  provide copies of the Plan and the Disclosure Statement to the U.S. Trustee, the Survivors’

  Committee, the Indiana Attorney General, and any other party in interest who requests such

  copies in writing.


  3
   Although Bankruptcy Rule 3017(a) contemplates notice to the Securities and Exchange Commission as
  well, the Debtor submits that such notice is unnecessary under the particular facts and circumstances of this
  chapter 11 case. The Debtor is a non-profit organization with no reporting obligations to the Securities and
  Exchange Commission.

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          36.     In light of the nature of the relief requested herein, the Debtor submits that no other

  or further notice is necessary.

          WHEREFORE, the Debtor respectfully requests that the Court enter the order substantially

  in the form annexed hereto as Exhibit A, granting the relief requested herein and such further relief

  as is just and proper.

  Dated: February 21, 2020                               Respectfully submitted,


                                                         JENNER & BLOCK LLP

                                                         By: /s/ Catherine Steege
                                                         Catherine L. Steege (admitted pro hac vice)
                                                         Dean N. Panos (admitted pro hac vice)
                                                         Melissa M. Root (#24230-49)
                                                         353 N. Clark Street
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                                                         (312) 222-9350
                                                         csteege@jenner.com
                                                         dpanos@jenner.com
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                                                         Counsel for the Debtor




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        2.




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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


      In re:                                                  Chapter 11
                            1
      USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                            Debtor.



                FIRST AMENDED CHAPTER 11 PLAN OF REORGANIZATION
                          PROPOSED BY USA GYMNASTICS



  JENNER & BLOCK LLP
  Catherine L. Steege (admitted pro hac vice)
  Dean N. Panos (admitted pro hac vice)
  Melissa M. Root #24230-49
  353 N. Clark Street
  Chicago, Illinois 60654
  (312) 222-9350
  csteege@jenner.com
  dpanos@jenner.com
  mroot@jenner.com

  Counsel for the Debtor


  Dated: February 21, 2020




  1
   The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
  principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.



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       1.1.40. “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

       1.1.41. “Final Order” means an order, judgment, or other decree (including any
 modification or amendment thereof) of the Bankruptcy Court, the District Court, or any other court
 having jurisdiction that remains in effect and has not been reversed, withdrawn, vacated, or stayed,
 and as to which the time to appeal or seek review, rehearing, or writ of certiorari has expired or, if
 such appeal or review has been taken, it has been resolved and no longer remains pending.

       1.1.42. “Future Claim” means a Claim by a Future Claimant.

       1.1.43. “Future Claimant” means a Person who (a) held a Sexual Abuse Claim against the
 Debtor as of the Bar Date; and (b) meets one of the following criteria: (i) was under the age of
 majority under applicable state law as of March 1, 2019; (ii) as of March 1, 2019, the statute of
 limitations for such Person was tolled under applicable state law or had not begun to run under
 applicable state law; (iii) as of March 1, 2019, the Debtor was estopped under applicable state law
 from asserting the statute of limitations; or (iv) such Person’s Sexual Abuse Claim was barred by
 the applicable statute of limitations as of March 1, 2019, but is or becomes no longer barred by the
 applicable statute of limitations for any reason, including the enactment of legislation that revives
 such claims; provided, however, that the following persons are not Future Claimants: any Person
 who has, at any time before the Bar Date, asserted a claim against, asserted a cause of action
 against, provided notice to, or made a demand to or against the Debtor, arising out of or relating
 to Sexual Abuse or whose parent or guardian or other legal representative had done so on behalf
 of such Person.

      1.1.44. “FCR” means Fred Caruso, appointed pursuant to the Order Authorizing
 Appointment of Future Claimants’ Representative and Appointing Fred C. Caruso as Future
 Claimants’ Representative [Dkt. 516], entered by the Bankruptcy Court on May 17, 2019, and any
 successor or such other person appointed by the Bankruptcy Court or otherwise.

       1.1.45. “FCR Claim” means the Claim of the FCR on behalf of Future Claimants.

       1.1.46. “FCR’s Professionals” means Development Specialists, Inc., FrankGecker LLP,
 and all other professionals, if any, which the FCR has retained or may retain to provide professional
 services in accordance with the Bankruptcy Code and as approved by the Bankruptcy Court.

       1.1.47. “General Unsecured Claim” means any Claim against the Debtor that is not an
 Abuse Claim, Personal Injury Claim, USOPC Claim, the FCR Claim, Indemnification Claim,
 Administrative Claim, Priority Tax Claim, Other Priority Claim, or a Claim that is otherwise
 classified under the Plan.

       1.1.48. “General Unsecured Convenience Claim” means any General Unsecured Claim
 in an amount of $500.00 or less, or voluntarily reduced to $500.00 by the Holder of such Claim.
 To the extent a Creditor filed multiple General Unsecured Claims, if those Claims in the aggregate
 exceed $500.00, none of those Claims will be treated as General Unsecured Convenience Claims,
 unless the Holder of those Claims voluntarily reduces their aggregate value to $500.00.

       1.1.49. “Holder” means the legal or beneficial holder of any Claim or Interest.



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 2.11 No Admissions. The Plan makes no judgments about the validity of any Claims. Nothing
 contained in this Plan constitutes an admission or denial by any Person of liability for, or the
 validity, priority, amount, or extent of, any Claim, lien, or security interest asserted against the
 Debtor or against any third party.

 2.12 Computation of Time. In computing any period of time prescribed or allowed by the Plan,
 unless otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply. If any
 act under the Plan is required to be performed on a date that is not a Business Day, then the
 performance of such act may be completed on the next succeeding Business Day, but shall be
 deemed to have been completed as of the required date. Enlargement of any period of time
 prescribed or allowed by the Plan shall be governed by the provisions of Bankruptcy Rule 9006(b).

 2.13 Merger. The Plan supersedes all prior plans, drafts of the Plan, and all prior negotiations,
 agreements, and understandings with respect to the Plan, evidence of which shall not affect the
 interpretation of any provision of the Plan.

                       ARTICLE III. MEANS OF FUNDING THE PLAN

 3.1     Abuse Claims, Indemnification Claims, the USOPC Claim, and the FCR Claim. The
 Debtor’s Insurance Policies are the only Assets the Debtor has to provide a Distribution to Abuse
 Claimants and Future Claimants. Through this Plan, the Debtor is making its Insurance Policies
 and the proceeds thereof available to the Abuse Claimants and Future Claimants in one of two
 alternative ways. To date, certain of the Debtor’s CGL Insurers are willing to offer Two Hundred
 Fifteen Million Dollars ($215,000,000.00) (the “Plan Payment”) to resolve the Abuse Claims and
 Future Claims. The Debtor is offering the Holders of Abuse Claims and Future Claims the choice
 of accepting the Plan Payment and the Two Million One Hundred Twenty Five Thousand
 ($2,125,000.00) Twistars Contribution or continuing the prosecution of their Claims in a non-
 bankruptcy forum with recovery from the Debtor limited to the amounts available under the
 Debtor’s CGL Insurance Policies and Other Insurance Policies (if any) that provide coverage for
 Abuse Claims. The treatment for Indemnification Claims, the USOPC Claim, the FCR Claim, and
 Abuse Claims filed after the Bar Date will depend on whether the Abuse Claimants, who will be
 classified in Class 6, make the Settlement Election or Litigation Election. If the Litigation Election
 is selected the Twistars Contribution shall not be a part of the Plan.

       3.1.1. Settlement Election. If Class 6 makes the Settlement Election, the Plan provides
 for the creation of a Trust for the exclusive benefit of the Holders of Abuse Claims and the FCR
 Claim. The Trust will assume liability for all Channeled Claims, which shall include Abuse Claims,
 the USOPC Claim, Indemnification Claims, the FCR Claim, and any Claim against a Participating
 Party or Settling Insurer arising from, in connection with, or related in any way to a Channeled
 Claim. The Trust’s assets will consist of contributions by the CGL Settling Insurers and the
 Participating Parties. Trust assets will be used to fund the Trust’s costs and expenses and payments
 to the Holders of Abuse Claims and the FCR Claim. Distributions and reserves from the Trust to
 Holders of Abuse Claims and Future Claims will be determined by the Trust Documents. The
 creation of the Trust and payments into and out of the Trust to resolve Claims shall not be deemed
 an admission of liability by the Debtor. The Indemnification Claims and the USOPC Claim shall
 receive the benefit of the Channeling Injunction in complete satisfaction of their claims and will
 not receive any payment from the Trust or the Debtor or its Estate. For the avoidance of doubt, to


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 the extent of any conflict between the terms of this Plan and the Debtor’s bylaws or any agreements
 between the Debtor and the Holder of the USOPC Claim or an Indemnification Claim, this Plan
 controls. The Participating Parties, the Non-Debtor CGL Settling Insurer Persons, and the Settling
 Insurers will receive the benefit of injunctions provided under the Plan. Nothing in this Plan,
 including Article XII, is intended to replace and does not affect, diminish, or impair the liabilities
 of any Non-Participating Co-Defendant under applicable non-bankruptcy law. The Settlement
 Election requires the release of USOPC because USOPC is an insured under the Debtor’s CGL
 Insurance Policies and the CGL Settling Insurers have conditioned the payment of the Insurance
 Settlement Amount upon USOPC being part of any settlement.

       3.1.2. Litigation Election. If Class 6 makes the Litigation Election, the Plan permits the
 Holders of Abuse Claims filed or deemed to be filed before the Bar Date to prosecute their Claims
 against the Reorganized Debtor in name only in the courts where such Claims were pending before
 the Petition Date or the courts in which such Claims could have been brought, but for the automatic
 stay imposed by Section 362 of the Bankruptcy Code, and to recover any judgments or awards
 exclusively from the Reorganized Debtor’s CGL Insurance Policies (and Other Insurance Policies,
 if any, that provide coverage for Abuse Claims). For the avoidance of doubt, only the proceeds of
 the Reorganized Debtor’s CGL Insurance Policies (and Other Insurance Policies, if any, that
 provide coverage for Abuse Claims) will be available to satisfy Abuse Claims. The Debtor is not
 admitting liability for any such Claims. Subject to Section 22.1(vi) of this Plan, Abuse Claims that
 are not filed or deemed filed by the Bar Date are disallowed and will receive nothing under the
 Plan. The USOPC Claim and Indemnification Claims will not receive a Distribution; provided,
 however, that to the extent that the USOPC or the Holder of an Indemnification Claim has a right
 to recovery under any of the Debtor’s Insurance Policies, such rights are preserved and will not be
 impaired under the Plan. For the avoidance of doubt, to the extent of any conflict between the
 terms of this Plan and the Debtor’s bylaws or any agreements between the Debtor and the USOPC
 or the Holder of an Indemnification Claim, this Plan controls.

 3.2     Claims Other Than Abuse Claims, Indemnification Claims, and the USOPC Claim.
 General Unsecured Claims will be paid from existing and future revenues of the Reorganized
 Debtor over time in accordance with the Plan. The Plan permits the Personal Injury Claimant to
 settle her claim with the Personal Injury Insurer or prosecute a lawsuit against the Reorganized
 Debtor in name only in the court in which the Personal Injury Claim could have been brought, but
 for the automatic stay, and to recover any judgments or settlement awards exclusively from the
 Personal Injury Insurance Policy. For the avoidance of doubt, only the proceeds of the Personal
 Injury Insurance Policy are available to satisfy the Personal Injury Claim. The Debtor is not
 admitting liability for the Personal Injury Claim. The Allowed Other Priority Claims, the PNC
 Bank Claim, the Sharp Claim, and the General Unsecured Convenience Claims are unimpaired
 under the Plan.

 3.3    Discharge. The Debtor will receive the benefit of a Section 1141(d) discharge.

 3.4    Applicability Of Plan Provisions. Articles IX-XIII are only applicable if Class 6 makes
 the Settlement Election. Articles XIV-XV are only applicable if Class 6 makes the Litigation
 Election. All other Articles are applicable to both the Settlement Election and Litigation Election.




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                 ARTICLE IV. TREATMENT OF UNCLASSIFIED CLAIMS

 4.1     Administrative Claims. Requests for allowance and payment of Administrative Claims
 must be filed and served no later than thirty (30) days after a notice of the Effective Date is filed
 with the Bankruptcy Court. Each Holder of an Allowed Administrative Claim against the Debtor
 shall receive, in full satisfaction, settlement, release, and extinguishment of such Claim, Cash equal
 to the Allowed amount of such Allowed Administrative Claim, either (a) on or as soon as
 practicable following the Effective Date, or, if later, the Allowance Date; or (b) upon such terms
 as may be agreed to in writing by the Administrative Claimant. Provided, however, that any
 Administrative Claim incurred post-petition by the Debtor in the ordinary course of its operations
 or arising pursuant to one or more post-petition agreements or transactions entered into by the
 Debtor with Bankruptcy Court approval, shall be paid or performed in accordance with the terms
 and conditions of the particular transaction(s) and any agreement(s) relating thereto, or as
 otherwise agreed by the Debtor and the Estate (if before the Effective Date) or the Reorganized
 Debtor (on and after the Effective Date), on the one hand, and the Holder of such Administrative
 Claim, on the other.

 4.2    Professional Claims.

       4.2.1. Bar Dates for Professional Claims. All Professionals or other Persons requesting
 compensation or reimbursement of expenses pursuant to any of Sections 327, 328, 330, 331,
 503(b), and 1103 of the Bankruptcy Code for services rendered on or before the Effective Date
 (including, among other things, any compensation requested by any Professional or any other
 Person for making a substantial contribution in the Chapter 11 Case) shall file and serve in
 accordance with the Bankruptcy Court’s case management order an application for final allowance
 of compensation and reimbursement of expenses accruing from the Petition Date to the Effective
 Date, no later than the Professional Claims Bar Date.

        4.2.2. Objections to Professional Claims. Objections to Professional Claims or Claims
 of other Persons for compensation or reimbursement of expenses must be filed and served on the
 Reorganized Debtor and the Professionals or other Persons to whose application the objections are
 addressed on or before (a) twenty-one (21) days after the Professional Claims Bar Date; or (b) such
 later date as (i) the Bankruptcy Court shall order upon application made prior to the end of such
 21-day period or (ii) is agreed between the Debtor and the Estate (if before the Effective Date) or
 the Reorganized Debtor (on and after the Effective Date), as applicable, and the affected
 Professional or other Person.

 4.3     U.S. Trustee Fees. All fees due and payable pursuant to 28 U.S.C. § 1930 and not paid
 prior to the Effective Date shall be paid in Cash as soon as practicable after the Effective Date.
 After the Effective Date, the Reorganized Debtor shall pay quarterly fees to the U.S. Trustee, in
 Cash, until the Chapter 11 Case is closed and a Final Decree is entered. In addition, the
 Reorganized Debtor shall file post-Confirmation Date reports in conformance with the U.S.
 Trustee guidelines. The U.S. Trustee shall not be required to file a request for payment of its
 quarterly fees, which will be deemed Administrative Claims against the Debtor and the Estate.

 4.4     Priority Tax Claims. With respect to each Allowed Priority Tax Claim not paid prior to
 the Effective Date, the Reorganized Debtor shall (a) pay such Claim in Cash as soon as practicable


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 after the Effective Date; or (b) provide such other treatment agreed to by the Holder of such
 Allowed Priority Tax Claim and the Debtor and the Estate (if before the Effective Date) or the
 Reorganized Debtor (on and after the Effective Date).

                        ARTICLE V. CLASSIFICATION OF CLAIMS

 5.1     Classification of Claims. All Claims except Administrative Claims and Priority Tax
 Claims are placed in the following Classes for all purposes including voting, confirmation of the
 Plan, and Distributions pursuant to the Plan. A Claim is classified in a particular Class only to the
 extent the Claim qualifies within the description of that Class and is classified in a different Class
 to the extent the Claim qualifies within the description of that different Class. Except as otherwise
 provided under the Bankruptcy Code or applicable law, if a Claim (other than a Claim entitled to
 priority status under Section 507 of the Bankruptcy Code) is acquired or transferred, the Claim
 will be placed in the Class where it would have been placed if it were owned by the original Holder
 of such Claim. If a Claimant has more than one Claim in the same Class, such Claims will be
 aggregated and treated as a single Claim. If a Claimant has Claims in different Classes, such Claims
 will be aggregated only within the same Class and not between Classes.

   CLASS                   DESCRIPTION                        IMPAIRMENT                VOTING
   1         Other Priority Claims                            Unimpaired          Deemed to Accept
   2         PNC Bank Claim                                   Unimpaired          Deemed to Accept
   3         Sharp Claim                                      Unimpaired          Deemed to Accept
   4         General Unsecured Convenience Claims             Unimpaired          Deemed to Accept
   5         General Unsecured Claims                         Impaired            Yes
   6         Abuse Claims                                     Impaired            Yes
   7         Personal Injury Claim                            Impaired            Yes
   8         USOPC Claim                                      Impaired            Yes
   9         Indemnification Claims                           Impaired            Yes
   10        FCR Claim (only if there is a Settlement         Impaired            Yes
             Election)
   11        Sexual Abuse Claims filed after the Bar          Impaired            No
             Date (only if there is a Litigation Election)


 5.2     Treatment in Complete Satisfaction. The treatment in this Plan is in full and complete
 satisfaction of all of the legal, contractual, and equitable rights that each Holder of a Claim may
 have against the Debtor, the Estate, or its Assets. This treatment supersedes and replaces any
 agreements or rights those Holders have in or against the Debtor, the Estate, or its Assets. All
 Distributions under the Plan will be tendered to the Person holding the Claim.




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          ARTICLE VI. TREATMENT OF UNIMPAIRED CLASSES OF CLAIMS

 6.1    Class 1: Other Priority Claims.

       6.1.1. Impairment and Voting. Class 1 is unimpaired under the Plan. Holders of Class 1
 Claims are deemed to have accepted the Plan under Section 1126(f) of the Bankruptcy Code and
 are not entitled to vote on the Plan.

       6.1.2. Treatment. The Holders of Class 1 Claims will receive either (a) payment from the
 Reorganized Debtor of the full amount of their Allowed Claims in Cash, without interest on or as
 soon as practicable following the Effective Date or, if later, the Allowance Date; or (b) payment of
 their Allowed Claims upon such terms as may be agreed in writing by the Claimant and the Debtor
 and the Estate (if before the Effective Date) or the Reorganized Debtor (on and after the Effective
 Date).

 6.2    Class 2: PNC Bank Claim.

       6.2.1. Impairment and Voting. Class 2 is unimpaired under the Plan. PNC Bank is
 deemed to have accepted the Plan under Section 1126(f) of the Bankruptcy Code and is not entitled
 to vote on the Plan.

       6.2.2. Treatment. The VISA Commercial Card Agreement dated as of May 7, 2010, as
 amended from time to time, between PNC Bank and the Debtor shall be reinstated and become the
 obligation of the Reorganized Debtor. PNC Bank shall retain all of its rights and collateral pledged
 under the VISA Commercial Card Agreement.

 6.3    Class 3: Sharp Claim.

       6.3.1. Impairment and Voting. Class 3 is unimpaired under the Plan. Sharp is deemed to
 have accepted the Plan under Section 1126(f) of the Bankruptcy Code and is not entitled to vote
 on the Plan.

       6.3.2. Treatment. The Value Lease Agreement, Equipment Sales Agreement, and
 Customer Care Maintenance Agreement between Sharp Business Systems and the Debtor shall be
 deemed assumed and will become the obligation of the Reorganized Debtor. Sharp Business
 Systems shall retain all of its rights and collateral under the Value Lease Agreement, Equipment
 Sales Agreement, and Customer Care Maintenance Agreement.

 6.4    Class 4: General Unsecured Convenience Claims.

      6.4.1. Impairment and Voting. Class 4 is unimpaired under the Plan. The Holders of
 Class 4 Claims are deemed to have accepted the Plan under Section 1126(f) of the Bankruptcy
 Code and are not entitled to vote on the Plan.

      6.4.2. Treatment. The Holders of Class 4 Claims will receive either (a) payment from the
 Reorganized Debtor of the full amount of their Allowed General Unsecured Convenience Claims
 in Cash, on or as soon as reasonably practicable following the Effective Date or, if later, the
 Allowance Date; or (b) payment of their Allowed General Unsecured Convenience Claims upon


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 such terms as may be agreed in writing by the Claimant and the Debtor and the Estate (if before
 the Effective Date) or the Reorganized Debtor (on and after the Effective Date).

           ARTICLE VII. TREATMENT OF IMPAIRED CLASSES OF CLAIMS

 7.1    Class 5: General Unsecured Claims.

      7.1.1. Impaired and Voting. Class 5 is impaired under the Plan. The Holders of Allowed
 General Unsecured Claims are entitled to vote on the Plan.

       7.1.2. Treatment. The Holders of Allowed General Unsecured Claims will receive
 payment from the Reorganized Debtor of 80% of their Allowed General Unsecured Claims,
 payable in equal installments on September 1, 2020, September 1, 2021, and September 1, 2022;
 or, at the Reorganized Debtor’s discretion, in less than three installments so long as the
 Reorganized Debtor accelerates payment to all Holders of Allowed General Unsecured Claims.

 7.2    Class 6: Abuse Claims.

       7.2.1. Impaired and Voting. Class 6 is impaired under the Plan. The Holders of Allowed
 Abuse Claims are entitled to vote on the Plan. Only for purposes of voting, each Claim in Class 6
 is deemed to be $1.00.

       7.2.2. Election. The Ballot for Holders of Class 6 Claims will provide that Holders of
 Class 6 Claims voting in favor of the Plan may select the Settlement Election or the Litigation
 Election. If the required number and dollar amount of Class 6 Claims selects the Settlement
 Election, all Class 6 Claims will receive the treatment in Section 7.2.3. If the required number and
 dollar amount of Class 6 Claims select the Litigation Election, all Class 6 Claims will receive the
 treatment in Section 7.2.4. If Class 6 does not accept the Plan, and the requirements under Section
 1129(b) are met, the treatment for Holders of Class 6 Claims will be the Litigation Election.

        7.2.3. Class 6 Treatment Under Settlement Election. On the Effective Date, the Trust
 shall assume all liability for and the Trust will pay all Class 6 Claims pursuant to the provisions of
 the Plan and the Trust Documents. No Holder of a Class 6 Claim shall be entitled to recover from
 the Reorganized Debtor’s Revested Assets or property acquired by the Reorganized Debtor after
 the Effective Date. Other than the Settling Insurer Injunction and the exculpations and releases in
 this Plan, the Plan shall not affect the liability of any other Person on, or the property of any other
 Person for, the Class 6 Claims, including the liability of any Non-Participating Co-Defendant,
 which liability shall continue unaffected by the terms of this Plan or the discharge granted to the
 Debtor, the Estate, or the Reorganized Debtor under this Plan and Bankruptcy Code Section
 1141(d). Class 6 Claims under the Settlement Election will include Sexual Abuse Claims that are
 not filed by the Bar Date.

       7.2.4. Class 6 Treatment Under Litigation Election. On the Effective Date, and pursuant
 to Section 14.1 of the Plan, the automatic stay and the stay imposed by the 105 Order shall be lifted
 and each Holder of a Class 6 Claim shall have thirty (30) days to: (a) file a lawsuit against the
 Reorganized Debtor, subject to any applicable statute of limitations or repose, or the equitable
 doctrine of laches, in accordance with Section 108(c) of the Bankruptcy Code; or (b) to the extent
 a Holder of a Class 6 Claim was a plaintiff in a Pre-Petition Lawsuit, file a notice in such Pre-


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 Petition Lawsuit stating that the Holder of the Class 6 Claim is electing to resume its litigation
 against the Reorganized Debtor pursuant to the terms of the Plan. A Holder of a Class 6 Claim that
 does not commence suit or file a notice to resume the litigation of a Pre-Petition Lawsuit within
 such thirty (30) day period shall be forever barred from asserting the Holder’s Class 6 Claim. The
 allowance or disallowance of Class 6 Claims will be determined in the Post-Effective Date
 Litigation related to such Class 6 Claims. To the extent the Holder of a Class 6 Claim obtains a
 Post-Effective Date Award, the sole source of recovery for such Claimant shall be from Insurance
 Coverage, if any, under the Debtor’s Insurance Policies to pay for such types of claims. Any and
 all of the Debtor’s liability on account of Class 6 Claims shall be discharged pursuant to the
 provisions of Section 1141(d) of the Bankruptcy Code. No Holder of a Class 6 Claim shall be
 entitled to recover from the Reorganized Debtor’s Revested Assets or property acquired by the
 Reorganized Debtor after the Effective Date. Nothing contained herein shall enlarge the rights or
 claims of Holders of Class 6 Claims or limit any defenses to Class 6 Claims. Such discharge shall
 not affect the liability of any other Person on, or the property of any other Person for, the Class 6
 Claims, including the liability of any Insurer, which liability shall continue unaffected by the terms
 of this Plan or the discharge granted to the Debtor, the Estate, or the Reorganized Debtor under
 this Plan and Section 1141(d) of the Bankruptcy Code. Nothing in the Plan is intended to affect,
 diminish, or impair any Holder of a Class 6 Claim’s rights against a Co-Defendant, including that
 Co-Defendant’s joint and several liability for Sexual Abuse. Pursuant to Section 22.1(vi), the
 Bankruptcy Court may determine on a motion that an Abuse Claim is deemed to be filed before
 the Bar Date. In the event of the Litigation Election, Abuse Claims that were not filed by the Bar
 Date are not part of Class 6 and will receive nothing under the Plan.

 7.3    Class 7: Personal Injury Claim.

       7.3.1. Impaired and Voting. Class 7 is impaired under the Plan. The Holder of the Class 7
 Claim is entitled to vote on the Plan. Only for purposes of voting, the Claim in Class 7 is deemed
 to be $1.00.

        7.3.2. Treatment. On the Effective Date, the stay shall be lifted and the Holder of the
 Class 7 Claim shall have thirty (30) days to file a lawsuit against the Reorganized Debtor, subject
 to any applicable statute of limitations or repose, or the equitable doctrine of laches, in accordance
 with Section 108(c) of the Bankruptcy Code, or reach a settlement paid by the Personal Injury
 Insurer. The allowance or disallowance of the Class 7 Claim will be determined in the Post-
 Effective Date Litigation related to the Class 7 Claim. To the extent the Holder of the Class 7 Claim
 obtains a Post-Effective Date Award, the sole source of recovery for such Claimant shall be from
 the Personal Injury Insurance Policy. The Holder of the Class 7 Claim shall not be entitled to
 recover from the Reorganized Debtor’s Revested Assets or property acquired by the Reorganized
 Debtor after the Effective Date. Nothing contained herein shall enlarge the rights or claims of the
 Holder of the Class 7 Claim or limit any defenses to the Class 7 Claim. Unless otherwise provided
 in this Plan, the Plan shall not affect the liability of any other Person on, or the property of any
 other Person for, the Class 7 Claim including the liability of the Personal Injury Insurer, which
 liability shall continue unaffected by the terms of this Plan or the discharge granted to the Debtor,
 the Estate, or the Reorganized Debtor under this Plan and Section 1141(d) of the Bankruptcy Code.
 Nothing in the Plan is intended to affect, diminish, or impair the Holder of the Class 7 Claim’s
 right against a Non-Participating Co-Defendant, including that Non-Participating Co-Defendant’s
 joint and several liability.


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 7.4    Class 8: USOPC Claim.

     7.4.1. Impairment and Voting. Class 8 is impaired under the Plan. The Holder of the
 USOPC Claim is entitled to vote on the Plan. Only for purposes of voting, the Claim in Class 8 is
 deemed to be $1.00.

        7.4.2. Treatment Under Settlement Election. If Class 6 makes the Settlement Election,
 all rights that the USOPC has to receive indemnification or reimbursement from the Debtor,
 including any right to receive reimbursement, indemnification, or a defense under any of the
 Debtor’s Insurance Policies, shall be satisfied by granting the USOPC Claim the benefit of the
 Channeling Injunction and by deeming any Abuse Claim against the USOPC to be a Channeled
 Claim. The USOPC shall not be entitled to recover from the Reorganized Debtor’s Revested Assets
 or property acquired by the Reorganized Debtor after the Effective Date and shall release all
 Claims against the Debtor, the Estate, and the Reorganized Debtor.

        7.4.3. Treatment Under Litigation Election. If Class 6 makes the Litigation Election, in
 accordance with Section 502(e)(1) of the Bankruptcy Code, the sole source of recovery for the
 USOPC Claim shall be from Insurance Coverage, if any, under the Debtor’s Insurance Policies.
 The USOPC will receive no Distribution under the Plan. The Debtor’s discharge of the USOPC
 Claim shall not affect the liability of any Person other than the Debtor on, or the property of any
 Person other than the Debtor for, the USOPC Claim, including the liability of any Insurer, which
 liability shall continue unaffected by the terms of this Plan or the discharge granted to the Debtor,
 the Estate, or the Reorganized Debtor under this Plan and Section 1141(d) of the Bankruptcy Code.
 For the avoidance of doubt, to the extent of any conflict between the terms of this Plan and the
 Debtor’s bylaws or any agreements between the Debtor and the USOPC, this Plan controls.

 7.5    Class 9: Indemnification Claims.

       7.5.1. Impairment and Voting. Class 9 is impaired under the Plan. The Holders of
 Indemnification Claims are entitled to vote on the Plan. Only for purposes of voting, each Claim
 in Class 9 is deemed to be $1.00.

        7.5.2. Treatment Under Settlement Election. If Class 6 makes the Settlement Election,
 all rights that the Holder of a Class 9 Claim has to receive indemnification or reimbursement from
 the Debtor, including any right to receive reimbursement, indemnification, or a defense under any
 of the Debtor’s Insurance Policies, shall be satisfied by granting the Holder of a Class 9 Claim the
 benefit of the Channeling Injunction and by deeming any Abuse Claim against the Holder of a
 Class 9 Claim to be a Channeled Claim. The Holders of Class 9 Claims shall not be entitled to
 recover from the Reorganized Debtor’s Revested Assets or property acquired by the Reorganized
 Debtor after the Effective Date and shall release all Claims against the Debtor, the Estate, and the
 Reorganized Debtor.

       7.5.3. Treatment Under Litigation Election. If Class 6 makes the Litigation Election, in
 accordance with Section 502(e)(1) of the Bankruptcy Code, the Class 9 Claims will receive no
 Distribution; provided, however, that to the extent that the Holder of an Indemnification Claim has
 a right to recovery under any of the Debtor’s Insurance Policies, such rights are preserved and will
 not be impaired under the Plan. The Debtor’s discharge of the Indemnification Claims shall not



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 affect the liability of any Person other than the Debtor on, or the property of any Person other than
 the Debtor for, the Indemnification Claims, including the liability of any Insurer, which liability
 shall continue unaffected by the terms of this Plan or the discharge granted to the Debtor, the
 Estate, or the Reorganized Debtor under this Plan and Section 1141(d) of the Bankruptcy Code.
 For the avoidance of doubt, to the extent of any conflict between the terms of this Plan and the
 Debtor’s bylaws or any agreements between the Debtor and the Holder of a Class 9 Claim, this
 Plan controls.

 7.6    Class 10: Future Claimants Representative Claim (Only In The Event Of A
 Settlement Election).

        7.6.1. Impaired and Voting. Class 10 only exists under the Settlement Election. Class 10
 is impaired under the Plan. The FCR is deemed to be the Holder of the Class 10 Claim and is
 entitled to vote on the Plan on behalf of the Future Claimants. Only for purposes of voting, the
 Claim in Class 10 is deemed to be $1.00.

        7.6.2. Treatment Under Settlement Election. On the Effective Date, the Trust shall
 assume all liability for and the Trust will pay all Class 10 Claims pursuant to the provisions of the
 Plan and the Trust Documents; provided, however, that no Holder of a Class 10 Claim shall have
 an interest in the Trust Assets other than the Future Claimant Reserve. No Holder of a Class 10
 Claim shall be entitled to recover from the Reorganized Debtor’s Revested Assets or property
 acquired by the Reorganized Debtor after the Effective Date. The Plan shall not affect the liability
 of any other Person on, or the property of any other Person for, the Class 10 Claims, including the
 liability of any Non-Participating Co-Defendant, which liability shall continue unaffected by the
 terms of this Plan or the discharge granted to the Debtor, the Estate, or the Reorganized Debtor
 under this Plan and Section 1141(d) of the Bankruptcy Code.

 7.7    Class 11: Sexual Abuse Claims Filed After The Bar Date (Only In The Event Of A
 Litigation Election).

       7.7.1. Impaired and Voting. Class 11 only exists under the Litigation Election. Class 11
 is impaired under the Plan. The Holders of Class 11 Claims are deemed to have voted no on the
 Plan. In the event of a Settlement Election, the Sexual Abuse Claims which were not filed or
 deemed to be filed by the Bar Date will be classified within Class 6.

        7.7.2. Treatment Under the Litigation Election. The Class 11 Claims will receive no
 distributions under the Plan. No Holder of a Class 11 Claim shall be entitled to recover from the
 Reorganized Debtor’s Revested Assets or property acquired by the Reorganized Debtor after the
 Effective Date or from the Debtor’s Insurance Policies. The Plan shall not affect the liability of
 any other Person on, or the property of any other Person for, the Class 11 Claims, including the
 liability of any Non-Participating Co-Defendant, which liability shall continue unaffected by the
 terms of this Plan or the discharge granted to the Debtor, the Estate, or the Reorganized Debtor
 under this Plan and Section 1141(d) of the Bankruptcy Code.




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                ARTICLE VIII. ACCEPTANCE OR REJECTION OF PLAN

 8.1     Impaired Classes to Vote. Each Holder of a Claim in an impaired Class shall be entitled
 to vote separately to accept or reject the Plan unless such Holder is deemed to accept or reject the
 Plan.

 8.2      Acceptance by Class of Creditors. An impaired Class of Holders of Claims shall have
 accepted the Plan if the Plan is accepted by at least two-thirds (2/3) in dollar amount and more
 than one-half (1/2) in number of the Allowed Claims of such Class that have voted to accept or
 reject the Plan.

       ARTICLES APPLICABLE TO SETTLEMENT ELECTION ONLY
                    ARTICLE IX. TRUST FUNDING AND FORMATION

 9.1     Resolution of the Insurance Coverage Adversary Proceeding as to the CGL Settling
 Insurers. The Confirmation Order shall provide that, subject to the occurrence of the Effective
 Date, the Debtor shall dismiss with prejudice its claims against the CGL Settling Insurers in the
 Insurance Coverage Adversary Proceeding, provided, however, that such dismissal shall not affect
 the Personal Injury Insurance Coverage.

 9.2    The CGL Settling Insurers’ Payments.

        9.2.1. Insurance Settlement Amount. The CGL Settling Insurers will pay the cumulative
 amount of Two Hundred Nineteen Million Seven Hundred Fifty Thousand ($219,750,000.00) (the
 “Insurance Settlement Amount”). The Insurance Settlement Amount reflects the amount of
 money that the CGL Settling Insurers have been willing to pay to date: (a) to settle on behalf of
 the Debtor, the USOPC, and the Non-Debtor CGL Settling Insured Covered Persons, the Abuse
 Claims (for which $215,000,000.00 of the Insurance Settlement Amount is allocated); and (b) to
 settle the Debtor’s contractual rights to have its Insurance Reimbursement Claims paid (for which
 $4,750,000.00 of the Insurance Settlement Amount is allocated). The Debtor reserves its right to
 amend this Plan to, among other things, increase the Insurance Settlement Amount. The CGL
 Settling Insurers’ obligation to contribute the Insurance Settlement Amount is subject to the
 Bankruptcy Court issuing the Confirmation Order, pursuant to Sections 1129, 363(f), and 105(a)
 of the Bankruptcy Code, barring, estopping, and permanently enjoining all Persons from asserting
 any (a) Claims against the CGL Settling Insurer Policies; (b) Claims against the CGL Settling
 Insurers with regard to, by reason of, based on, arising out of, relating to, or in any way connected
 with, the CGL Settling Insurer Policies; and (c) Medicare Claims. The Insurance Settlement
 Amount will be paid to the Debtor on or before the Effective Date. Notwithstanding the foregoing,
 the Personal Injury Insurance Policy will remain in place solely for purposes of defending the
 Personal Injury Claim and indemnifying the Debtor, the Estate, and the Reorganized Debtor from
 the Personal Injury Claim. The CGL Settling Insurers will continue to reimburse the Debtor for
 ongoing Insurance Reimbursement Claims in the ordinary course through the Effective Date. To
 the extent any such amounts are outstanding on the Effective Date (the “Outstanding Amount”),
 the Outstanding Amount shall be paid by the applicable CGL Settling Insurer in addition to the
 CGL Settling Insurer’s portion of the Insurance Settlement Amount.



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       9.2.2. Plan Payment. The Plan Payment shall be made to the Trust in exchange for the
 entry of an Order by the Bankruptcy Court imposing a nonconsensual release, remise, and
 discharge of all Claims relating to the CGL Settling Insurer Policies (excepting the Personal Injury
 Claim), including all Channeled Claims, by all Persons who now hold or in the future may hold
 such Claims against the CGL Settling Insurers pursuant to Section 105 of the Bankruptcy Code.

 9.3    Trust Formation and Funding.

       9.3.1. Trust Purpose. The Trust shall be established for the benefit of the Abuse Claimants
 and Future Claimants and will assume all liability for the Channeled Claims. The Trust will
 receive, liquidate, and distribute Trust Assets in accordance with this Plan and the Trust
 Documents. The proposed Trust Agreement is attached hereto as Exhibit D.

      9.3.2. Funding of Trust. As set forth in Section 10.2, the Trust shall be funded, on or
 before the Effective Date, by: (a) the Plan Payment; and (b) the Participating Party Contributions.

       9.3.3. Payment of Professional Fees. The Trust shall pay all unpaid Allowed Professional
 Claims of the Survivors’ Committee’s Professionals within seven (7) days after the later of the
 Effective Date or the Bankruptcy Court’s order on such Claims and shall pay and reimburse the
 Debtor, the Estate, or the Reorganized Debtor, as the case may be, for the costs and expenses of
 publication of the notices of insurance settlement and plan confirmation within seven (7) days after
 the Effective Date.

 9.4     Approval of Settlement. Pursuant to Section 105(a) of the Bankruptcy Code and in
 consideration for the classification, distributions, and other benefits provided under the Plan,
 including, inter alia, (a) the Plan Payment; and (b) the Participating Party Contributions, the
 provisions of the Plan shall constitute a good faith compromise and settlement of all Abuse Claims
 against the Debtor. The entry of the Confirmation Order will constitute the order approving the
 compromises and settlements required under this Plan. The Bankruptcy Court’s findings in the
 Confirmation Order shall constitute its determination that such compromises and settlements are
 in the best interests of the Debtor, the Claimants holding Abuse Claims, the Holders of other
 Claims, the Settling Insurers, the Participating Parties, the Non-Debtor CGL Settling Insurer
 Persons, and other parties in interest, and are fair, equitable, and within the range of
 reasonableness, and an appropriate exercise of each such Person’s business judgment under the
 applicable laws of corporate governance.

 9.5     Future Claimant Reserve. The Trust shall establish a Future Claimant Reserve which
 shall be funded with five (5%) percent of the Plan Payment. Notwithstanding the entry of the
 Confirmation Order or the occurrence of the Effective Date, the FCR shall continue until he or his
 successor resigns or the funds in the Future Claimant Reserve are completely distributed as
 provided in Section 11.7 of the Plan.

 9.6     Closing. Closing will be conducted in the offices of Jenner & Block, 353 North Clark
 Street, Chicago, Illinois, 60654, or at such other location designated by the Reorganized Debtor,
 as soon as reasonably practicable following the Effective Date for the purpose of the Reorganized
 Debtor, and the Participating Parties executing and delivering the Plan Documents and completing
 those actions necessary for the Reorganized Debtor and the Participating Parties to establish and



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 fund the Trust and make other distributions required to be made upon, or promptly following, the
 Effective Date. As soon as practicable after the conditions set forth in Section 18.1 have been
 satisfied or waived in accordance with Section 18.2, the Reorganized Debtor shall file a notice of
 the Closing and the occurrence of the Effective Date.

 9.7    Obligations of the Reorganized Debtor. The Reorganized Debtor will:

        (a)     In the exercise of its business judgment, review all Claims filed against the Estate
                except for Channeled Claims, and, if advisable, object to such Claims;

        (b)     In the exercise of its business judgment, investigate, prosecute, settle, dismiss, or
                otherwise resolve Causes of Action that are not resolved under this Plan. Unless
                otherwise provided in this Plan, the Reorganized Debtor will be entitled to receive
                recoveries from Causes of Action;

        (c)     Honor all of the Debtor’s obligations under the Personal Injury Insurance Policy
                and the Other Insurance Policies; and

        (d)     Perform all of its obligations under this Plan and Plan Documents, in each case, as
                and when the same become due or are to be performed.

                                      ARTICLE X. TRUST

 10.1 Establishment of Trust. On the Effective Date, the Trust shall be established in
 accordance with the Trust Documents. The Trust is intended to qualify as a “Designated” or
 “Qualified Settlement Fund” pursuant to Section 468B of the Internal Revenue Code of 1986,
 26 U.S.C. §§ 1 et seq., as may be amended, and the regulations promulgated thereunder, 31 C.F.R.
 §§ 900 et seq. The Debtor is the “transferor” within the meaning of Treasury Regulation Section
 1.468B-1(d)(1). The Trustee shall be classified as the “administrator” within the meaning of
 Treasury Regulation Section 1.468B-2(k)(3). The Trust Documents, including the Trust
 Agreement, are incorporated herein by reference.

 10.2 Trust Funding. On or before the Effective Date, each CGL Settling Insurer shall make its
 portion of the Plan Payment to the Trust by wire transfer. Five (5%) percent of the Plan Payment
 shall be used to create a Future Claimant Reserve for the benefit of any Future Claimants. On or
 before the Effective Date, each Twistars Settling Insurer shall make its portion of the Twistars
 Contribution to the Trust by wire transfer. Each Participating Party shall be deemed to have
 released any and all Claims such Participating Party may have against the Debtor, the Estate, or
 the Reorganized Debtor and its Insurance Policies.

 10.3 Appointment of the Trustee. The initial Trustee shall be identified in a supplement to be
 filed by the Debtor within fourteen (14) days prior to the Confirmation Hearing. The Trustee shall
 commence serving as the Trustee on the Confirmation Date; provided, however, that the Trustee
 shall be permitted to act in accordance with the terms of the Trust Agreement from such earlier
 date, as authorized by the Debtor, and shall be entitled to seek compensation in accordance with
 the terms of the Trust Agreement and the Plan.




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 10.4 Tax Matters. The Trust shall not be deemed to be the same legal entity as the Debtor, but
 only the assignee of certain Assets of the Debtor and a representative of the Estate for delineated
 purposes within the meaning of Section 1123(b)(3) of the Bankruptcy Code. The Trust is expected
 to be tax exempt. The Trustee shall file such income tax and other returns and documents as are
 required to comply with the applicable provisions of the Internal Revenue Code, the regulations
 promulgated thereunder, and applicable state law, and shall pay from the Trust all taxes,
 assessments, and levies upon the Trust, if any.

 10.5 Cooperation by the Debtor and Reorganized Debtor. The Debtor, the Estate, the
 Reorganized Debtor, and their counsel shall reasonably cooperate with the Trustee as requested in
 connection with the Trustee’s administration of the Trust.

 10.6 Objections to Channeled Claims. No Person other than the Trustee has the right to object
 to the Channeled Claims, and any such objection will be prosecuted and resolved in accordance
 with the terms of the Trust Documents.

 10.7 Trust Indemnification Obligations. From and after the Effective Date, the Trust shall
 defend, indemnify, and hold harmless the Protected Parties with respect to any and all Channeled
 Claims, Medicare Claims, and Claims against the Debtor, the Estate, the Reorganized Debtor, a
 Participating Party, or a Settling Insurer Policy relating to an Abuse Claim, including: all Claims
 made by (a) any Person claiming to be insured (as a named insured, additional insured, or
 otherwise) under any Settling Insurer Policy; (b) any Person who has made, will make, or can
 make (but for this Plan) an Abuse Claim or a Claim against the Debtor, the Estate, the Reorganized
 Debtor, a Participating Party, or a Settling Insurer; (c) any Person who has actually or allegedly
 acquired or been assigned the right to make a Claim under any Settling Insurer Policy relating to
 Sexual Abuse or other abuse. The Protected Parties shall have the right to defend any Claims
 identified in this Section and shall do so in good faith. The Protected Parties may undertake the
 defense of any Claim on receipt of such Claim. The Protected Parties shall notify the Trust as soon
 as practicable of any Claims identified in this Section and of their choice of counsel. The Protected
 Parties’ defense of any Claims shall have no effect on the obligations of the Trust, as applicable,
 to indemnify any such party for such Claims, as set forth in this Section. The Trust shall reimburse
 all reasonable and necessary attorneys’ fees, expenses, costs, and amounts incurred by the
 Protected Parties in defending such Claims. In defense of any such Claims, the Protected Parties
 may settle or otherwise resolve a Claim consistent with the terms of this Plan and with the prior
 consent of the indemnifying party, which consent shall not be unreasonably withheld.

        ARTICLE XI. LIQUIDATION AND PAYMENT OF CHANNELED CLAIMS

 11.1   Liquidation and Resolution of Channeled Claims.

       11.1.1. Resolution and Payment of Channeled Claims. The Trust shall pay Abuse Claims
 in accordance with the Plan, the Confirmation Order, and the Trust Documents. The FCR Claim
 shall be paid from the Future Claimant Reserve and not from any other Trust Assets. The USOPC
 Claim and the Indemnification Claims shall be satisfied by granting the USOPC Claim and the
 Indemnification Claims the benefit of the Channeling Injunction and by deeming any Abuse Claim
 against the USOPC or a Holder of an Indemnification Claim to be a Channeled Claim.




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       11.1.2. Conditions to Payment of Abuse Claims and FCR Claims. As a pre-condition to
 receiving any payment from the Trust, each Abuse Claimant or Future Claimant shall execute and
 deliver to the Trust a full and complete release of the Debtor, the Estate, the Reorganized Debtor,
 the Settling Insurers, all Participating Parties, and all known or unknown parties who may claim
 coverage under any Insurance Policy issued to the Debtor, including the Non-Debtor CGL Settling
 Insurer Covered Persons, in form and substance acceptable to the Debtor, the Estate, the
 Reorganized Debtor, the Participating Parties, and the Settling Insurers, of any and all Claims
 arising from or relating to Abuse Claims or Future Claims. In addition, within ten (10) days after
 receiving any payment from the Trust, an Abuse Claimant or Future Claimant shall dismiss with
 prejudice any lawsuit that such Abuse Claimant or Future Claimant had brought against the Debtor,
 any Participating Party, and any Non-Debtor CGL Settling Insurer Covered Person.

       11.1.3. Trust Documents May Not Modify The Plan. Nothing in the Trust Documents
 shall (a) impose any costs, directly or indirectly, upon the Debtor, the Estate, the Reorganized
 Debtor, any Participating Party, or any Settling Insurer relating to the treatment of Channeled
 Claims, or (b) otherwise modify the rights or obligations of the Debtor, the Estate, the Reorganized
 Debtor, any Participating Party, or any Settling Insurer as otherwise set forth in the Plan.

 11.2 Effect of No Award on Channeled Claims. If a Channeled Claim, including an Abuse
 Claim filed after the Bar Date, is denied payment from the Trust, the Holder of such Channeled
 Claim will have no further rights against the Debtor, the Estate, the Reorganized Debtor, the Trust,
 the Trustee, any Participating Party, or any Settling Insurer, and any of their respective assets or
 property, including any Revested Assets, relating to such Channeled Claim.

 11.3 Treatment of Attorneys’ Fees and Costs of Channeled Claimants. The fees and
 expenses of attorneys representing Channeled Claimants who receive payment from the Trust will
 be borne by such Channeled Claimants based on applicable state law and individual arrangements
 made between such Channeled Claimants and their respective attorneys. The Debtor, the Estate,
 the Reorganized Debtor, the Released Parties, the Settling Insurers, the Non-Debtor CGL Settling
 Insurer Covered Persons, the Trust, and the Trustee will not have any liability for any fees and
 expenses of attorneys representing any of the Channeled Claimants, and all Claims for such fees
 and expenses, if any, will be disallowed.

 11.4 Withdrawal of Channeled Claims. A Channeled Claimant may withdraw a Channeled
 Claim at any time on written notice to the Trustee. If withdrawn, (a) the Channeled Claim will be
 withdrawn with prejudice and may not be reasserted, and (b) as a condition to withdrawal of the
 Channeled Claim, any funds paid to the Channeled Claimant by the Trust shall be returned to the
 Trust.

 11.5   Supplementing Exhibit B to Add Participating Parties.

       11.5.1. Participating Party Agreement. After the Effective Date and notwithstanding any
 present exclusionary language contained in this Plan, upon the consent of the Trustee, any Person
 may become a Participating Party if the Bankruptcy Court, after notice and hearing, approves an
 agreement between such Person and the Trustee (a “Participating Party Agreement”). After the
 Effective Date, the Trustee shall have the exclusive authority to seek approval of such a
 Participating Party Agreement. Upon the Bankruptcy Court’s entry of a Final Order approving


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                                         TRUST AGREEMENT

        This Trust Agreement is made and entered into between USA Gymnastics (“USAG”, the
 “Debtor”, or the “Reorganized Debtor”) and [________] (the “Trustee”), pursuant to the terms
 of the First Amended Chapter 11 Plan Of Reorganization (as it may hereafter be amended or
 modified, the “Plan”), filed by the Debtor in its chapter 11 case in the United States Bankruptcy
                                                                        1
 Court for the Southern District of Indiana (the “Bankruptcy Court”).

                                                RECITALS

        A.      On December 5, 2018, USAG filed a voluntary petition under chapter 11 of the
 Bankruptcy Code. The Debtor remained in possession of its property and continued to operate and
 maintain its organization as a debtor in possession pursuant to Sections 1107(a) and 1108 of the
 Bankruptcy Code.

        B.     On February 21, 2020, the Debtor filed the Plan. On [_________ __], 2020, the
 Bankruptcy Court confirmed the Plan by entering the Confirmation Order. The Debtor will become
 the Reorganized Debtor upon the Effective Date of the Plan.

         C.      Pursuant to the Settlement Election under the Plan, a Trust is created for the benefit
 of Abuse Claimants and Future Claimants. All Abuse Claims and Future Claims are channeled to
 the Trust, along with the USOPC Claim, the Indemnification Claims, all other claims arising from
 or related in any way to the Abuse Claims, and any claims for punitive damages, alter ego liability,
 or piercing the corporate veil against any Participating Party, Settling Insurer, or Non-Debtor CGL
 Settling Insurer Covered Person. Distributions to Holders of Allowed Abuse Claims and Holders
 of Allowed Future Claims shall be made from assets contributed to the Trust by the Settling
 Insurers and Participating Parties.

        D.       The Trust is intended to qualify as a “Designated” or “Qualified” Settlement Fund
 pursuant to Section 468B of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1 et seq., as may be
 amended (the “Internal Revenue Code”), and the regulations promulgated thereunder, 31 C.F.R.
 §§ 900 et seq. (the “Treasury Regulations”).

         E.      The Trustee is duly appointed as a representative of the Debtor and its Estate for
 the sole purpose of implementing the Plan through the Trustee’s administration of the Trust and
 distribution of the Trust Assets (defined below) pursuant to 11 U.S.C. §1123(a)(5)(B).




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   The definitions set forth in Article I of the Plan apply to capitalized terms used, but not defined, in this
 Trust Agreement. The rules of construction set forth in Article II of the Plan apply to this Trust Agreement.
 To the extent that any provision of this Trust Agreement conflicts with any term of the Plan, the terms of
 the Plan shall control.




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        NOW, THEREFORE, pursuant to the Plan and the Confirmation Order and in
 consideration of the mutual covenants set forth herein, it is agreed as follows:

                            ARTICLE I. AGREEMENT OF TRUST

 1.1    Contingent Upon Settlement Election. For the avoidance of doubt, and as set forth in
 Section 13.1 of this Trust Agreement, the Trust described herein shall be created only if: (1) the
 Abuse Claimants vote to accept the Plan, (2) the Abuse Claimants vote to select the Settlement
 Election, (3) the Bankruptcy Court confirms the Plan, and (4) the Reorganized Debtor and the
 Trustee execute this Trust Agreement. If any of these conditions are not met, the terms of this Trust
 Agreement shall have no effect whatsoever.

 1.2    Creation and Name. The Debtor hereby creates a trust known as “The USA Gymnastics
 Settlement Election Trust” as the Trust provided by the Settlement Election under the Plan.

 1.3     Purpose. The Trust is established for the benefit of the Abuse Claimants and Future
 Claimants and shall assume all liability for the Channeled Claims. The Trust shall receive and
 distribute the Trust Assets (defined below) to Abuse Claimants and Future Claimants in accordance
 with the terms of this Trust Agreement, the Plan, and the Confirmation Order.

 1.4    Irrevocability. The Trust is irrevocable. The Reorganized Debtor shall not alter, amend,
 revoke, or terminate the Trust. The Reorganized Debtor shall have no power or authority to direct
 the Trustee to return any of the Trust Assets to the Reorganized Debtor. The Trustee shall
 nevertheless have the power to amend this Trust Agreement for the purpose of conforming the
 Trust Agreement to the provisions of the Plan and the Confirmation Order, subject to approval by
 the Bankruptcy Court.

                            ARTICLE II. CORPUS OF THE TRUST

 2.1     Trust Corpus. The Settling Insurers shall fund the Trust with payments of
 $217,125,000.00 in the aggregate (the “Trust Assets”). Of the Trust Assets, the CGL Settling
 Insurers shall contribute the Plan Payment of $215,000,000.00 and the Twistars Settling Insurers
 shall contribute the Twistars Contribution of $2,125,000.00.

 2.2     Future Claimant Reserve. The Trust shall establish a Future Claimant Reserve funded
 with five percent (5%) of the Plan Payment ($10,750,000.00).

         2.2.1. Expiration Of Future Claimant Reserve. Following the fifth (5th) anniversary of
 the Plan’s Effective Date, any funds held in the Future Claimant Reserve shall be released to the
 Trustee to, at the Trustee’s discretion, (a) administer to Holders of Abuse Claims consistent with
 the terms of this Trust Agreement, the Plan, and the Confirmation Order; or (b) distribute to a
 charitable entity mutually agreed upon by the Trustee and the Reorganized Debtor; provided,
 however, that any such funds shall not revert to the Debtor, the Estate, the Reorganized Debtor,
 the National Gymnastics Foundation, or the United States Olympic & Paralympic Committee.




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 2.3     Transfer Of Trust Assets. Following: (a) the Bankruptcy Court’s entry of the
 Confirmation Order in form and substance reasonably acceptable to the Debtor; and (b) the
 Trustee’s and Reorganized Debtor’s execution of this Trust Agreement, the Reorganized Debtor
 and the Settling Insurers shall irrevocably and absolutely transfer, grant, assign, convey, set over,
 and deliver to the Trustee all of their rights, titles, and interests in and to the Trust Assets to be held
 in trust. The Trustee hereby agrees to accept and hold the Trust Assets in trust for the Abuse
 Claimants and Future Claimants.

 2.4     Trustee’s Right To And Title And Interest In Trust Assets. Upon the transfer of the
 Trust Assets, the Trustee shall succeed to all of the Debtor’s, the Estate’s, the Reorganized
 Debtor’s, the Settling Insurers’, and the Participating Parties’ rights, titles, and interests, if any, in
 and to the Trust Assets, and the Debtor, the Estate, the Reorganized Debtor, the Settling Insurers,
 and the Participating Parties shall have no further rights, titles, or interests in, or with respect to,
 the Trust Assets.

 2.5     No Tax On Transfers To Trust. Pursuant to Section 1146(a) of the Bankruptcy Code, the
 delivery of any deed or other instrument of transfer under, in furtherance of, or in connection with
 this Trust Agreement, including any deeds, bills of sale, or assignments executed in connection
 with any disposition of assets contemplated by this Trust Agreement, the Plan, and the
 Confirmation Order and any transfer to the Trust, shall not be subject to any stamp tax, real estate
 transfer tax, excise tax, sales tax, use tax, or other similar tax.

 2.6     Spendthrift Provision. To the fullest extent permitted by law, the Trust Assets shall not,
 in whole or in part, be subject to any legal or equitable claims of creditors of any Abuse Claimant,
 Future Claimant, Channeled Claimant, or others, and the Trust Assets shall not be subjected to any
 legal process or any voluntary or involuntary attempts to transfer, assign, pledge, encumber, or
 otherwise alienate such Trust Assets, except as may be ordered by the Bankruptcy Court.

 2.7     Payment Obligations. Pursuant to Sections 9.3.3 and 10.7 of the Plan, the Trust shall
 (1) pay all unpaid Allowed Professional Claims of the Survivors’ Committee’s Professionals
 within seven days after the later of the Effective Date or the Bankruptcy Court’s order on such
 Claims; (2) pay and reimburse the Debtor, the Estate, or the Reorganized Debtor, as the case may
 be, for the costs and expenses of publication of the notices of insurance settlement and plan
 confirmation within seven days after the Effective Date; and (3) defend, indemnify, and hold
 harmless certain Protected Parties as set forth in Section 10.7 of the Plan. These payments shall be
 deducted from Available Trust Assets (defined below).




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                   ARTICLE III. POWERS AND DUTIES OF TRUSTEE

 3.1     Powers and Duties. The Trustee shall have, in addition to any other powers and duties
 conferred on the Trustee by applicable trust, bankruptcy, or tax law, the following powers and
 duties:

        1. Receive, deposit, and invest Trust Assets in compliance with Section 345 of the
           Bankruptcy Code.
        2. Open and maintain bank accounts on behalf of the Trust, deposit funds into such
           accounts, and draw checks on such accounts.
        3. Establish such reserves as required by this Trust Agreement, the Plan, and the
           Confirmation Order; provided, however, nothing in this provision shall restrict the
           Trustee’s authority to pool the Trust’s accounts for investment purposes or require
           separate bank accounts for the reserves required by this Trust Agreement, the Plan, and
           the Confirmation Order.
        4. Allocate and make distributions to Abuse Claimants and Future Claimants.
        5. Make, sign, execute, acknowledge, deliver, and file, including with any governmental
           authority, any documents that may be necessary or appropriate to effectuate the purpose
           of the Trust or to establish, maintain, or administer the Trust.
        6. Fulfill all reporting obligations to the United States Department of Health and Human
           Services and other governmental authorities, as contemplated by Section 11.8 of the
           Plan.
        7. File a motion with the Bankruptcy Court, with notice to parties in interest, for the
           enforcement of any provision of the Plan or the Confirmation Order pertaining to the
           Trust, or any provision of this Trust Agreement, as may be appropriate to effectuate the
           purpose of the Trust.

        8. File a motion with the Bankruptcy Court, with notice to parties in interest, for a
           modification of the provisions of this Trust Agreement if the Trustee determines that
           such modification is necessary to effectuate the purpose of the Trust.
        9. Retain and rely upon the advice of any counsel, consultants, experts, accountants,
           investment advisors, and such other agents or professionals (each, a “Professional”) as
           are necessary and appropriate to effectuate the purpose of, and maintain and administer,
           the Trust, subject to the Bankruptcy Court’s approval of such employment.
        10. Fulfill any and all other obligations imposed on the Trust by this Trust Agreement, the
            Plan, or the Confirmation Order.

 3.2    Limitations on the Trustee. The Trustee is prohibited from taking the following acts:

        1. Making any transfers or distributions of Trust Assets other than as authorized by this
           Trust Agreement, the Plan, and the Confirmation Order.
        2. Loaning or encumbering the Trust Assets, or issuing a guaranty with recourse to the
           Trust Assets.


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        3. Conducting any trade or business using or affecting the Trust Assets.
        4. Engaging in any investments or activities inconsistent with the treatment of the Trust
           as a “Designated” or “Qualified” settlement fund pursuant to the Internal Revenue
           Code and the Treasury Regulations.

              ARTICLE IV. ALLOCATION METHOD FOR ABUSE CLAIMS

 4.1    Trust Assets Available For Abuse Claims. The Trust shall make distributions to Holders
 of Allowed Abuse Claims from the Trust Assets minus the amounts contained in the Future
 Claimant Reserve (the “Available Trust Assets”). As of the date of this Trust Agreement, there is
 $206,375,000.00 of Available Trust Assets; provided, however, that, the Future Claimant Reserve
 may expire pursuant to Section 2.2.1 of this Trust Agreement and the terms of the Plan and the
 Confirmation Order, at which time the remaining amounts contained in the Future Claimant
 Reserve may become Available Trust Assets.

 4.2     Allocation Method. Distributions to Holders of Allowed Abuse Claims are allocated based
 upon the location where Abuse Claimants allege Sexual Abuse occurred. Holders of Allowed
 Abuse Claims are classified into Subclasses 6A, 6B, 6C, and 6D for this purpose. The Subclasses
 are then allocated percentages of Available Trust Assets for Pro Rata distributions to members of
 each Subclass.

         4.2.1. Subclass 6A (Elite Gymnasts). Claimants are classified into Subclass 6A if they
 allege Sexual Abuse at the Olympics, the National Team Training Center, or a National Team event,
 such as the Olympic Team Trials or the World Championships. Subclass 6A is allocated 40% of
 Available Trust Assets for distribution ($82,550,000.00).

        4.2.2. Subclass 6B (Non-Elite Gymnasts). Claimants are classified into Subclass 6B if
 they allege Sexual Abuse at an event sanctioned by the Debtor, such as the National
 Championships or the U.S. Classic, as well as events held at Twistars. Subclass 6B excludes all
 Claimants who otherwise qualify for treatment under Subclass 6A. Subclass 6B is allocated 35%
 of Available Trust Assets for distribution ($72,231,250.00).

        4.2.3. Subclass 6C (Other Claimants). Claimants are classified into Subclass 6C if they
 do not qualify for treatment under Subclass 6A or Subclass 6B, such as Claimants who allege
 Sexual Abuse solely at Michigan State University. Subclass 6C is allocated 24% of Available Trust
 Assets for distribution ($49,530,000.00).

         4.2.4. Subclass 6D (Derivative Claimants). Claimants are classified into Subclass 6D if
 allege liability solely on account of Sexual Abuse committed against a third party, such as a spouse
 or family member. Subclass 6D is allocated 1% of Available Trust Assets for distribution
 ($2,063,750.00).

         4.2.5. Late-Filed Abuse Claims. There are seven (7) Abuse Claims that were filed after
 the deadline for submitting Abuse Claims in the Case. The Trustee, in his sole discretion, may treat
 such late-filed Abuse Claims as timely or disallowed. If the Trustee treats late-filed Abuse Claims
 as timely filed, each late-filed Abuse Claim shall be classified in Subclass 6A, 6B, 6C, or 6D, as
 appropriate.

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        4.2.6. Duplicative Abuse Claims. There are thirty three (33) Abuse Claims that are
 duplicative of Abuse Claims already classified within Subclasses 6A, 6B, 6C, and 6D. These
 duplicative Abuse Claims shall receive no distribution from the Trust.

 4.3    Pro Rata Distributions To Abuse Claimants. Distributions to Holders of Allowed Abuse
 Claims shall be Pro Rata based upon the Available Trust Assets allocated to each Subclass.
 Members of each Subclass holding Allowed Abuse Claims shall take equal shares of the Available
 Trust Assets allocated to their Subclass.

 4.4     Release & Dismissal Of Litigation. Before the Trust may make any distribution to any
 Abuse Claimant, such Abuse Claimant shall execute and deliver to the Trust a full and complete
 release of the Debtor, the Estate, the Reorganized Debtor, the Settling Insurers, all Participating
 Parties, and all known or unknown parties who may claim coverage under any Insurance Policy
 issued to the Debtor, including the Non-Debtor CGL Settling Insurer Covered Persons, in form
 and substance acceptable to the Debtor, the Estate, the Reorganized Debtor, the Participating
 Parties, and the Settling Insurers, of any and all Claims arising from or relating to Abuse Claims
 or Future Claims. In addition, within ten (10) days after receiving any payment form the Trust, an
 Abuse Claimant shall dismiss with prejudice any lawsuit that such Abuse Claimant had brought
 against the Debtor, any Participating Party, and any Non-Debtor CGL Settling Insurer Covered
 Person.

 4.5    Attorneys’ Fees And Costs. Pursuant to Section 11.3 of the Plan, the fees and expenses of
 attorneys representing Abuse Claimants who receive payment from the Trust will be borne
 exclusively by such Abuse Claimants based on applicable state law and individual arrangements
 made between such Abuse Claimants and their respective attorneys. The Trust, the Trustee, and
 the other parties listed in Section 11.3 of the Plan shall have no liability for any such fees and
 expenses, and any Claims for such fees and expenses shall be disallowed.

              ARTICLE V. ALLOCATION METHOD FOR FUTURE CLAIMS.

 5.1     Submission Of Future Claims And Eligibility For Distribution. A Future Claimant must
 file a Claim with the Trustee on or before the fifth (5th) anniversary of the Plan’s Effective Date.
 The Claim shall be entitled to a distribution exclusively from the Future Claimant Reserve and no
 other Trust Assets, provided funds remain in the Future Claimant Reserve, only if the Trustee, in
 consultation with the FCR, determines that the Holder of such Claim has proven by a
 preponderance of the evidence that such Holder meets the definition of a Future Claimant and such
 Holder’s Claim meets the definition of a Sexual Abuse Claim.

 5.2     Allocation Method. If the requirements of Section 5.1 of this Trust Agreement are
 satisfied, the Trustee, in his sole discretion, may allocate a distribution to a Future Claimant from
 funds remaining in the Future Claimant Reserve. In determining the amount of a Future Claimant’s
 distribution, the Trustee shall consider the distribution the Future Claimant would receive if treated
 as an Abuse Claimant and classified into a Subclass of Abuse Claimants as specified in Section 4.2
 of this Trust Agreement; provided, however, that the Trustee is not bound by such a comparison
 and may approve distributions to Future Claimants in lesser or greater amounts in light of the
 amount of funds remaining in the Future Claimant Reserve.



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 5.3     Release And Dismissal Of Litigation. Before the Trust may make any distribution to any
 Future Claimant, such Future Claimant shall execute and deliver to the Trust a full and complete
 release of the Debtor, the Estate, the Reorganized Debtor, the Settling Insurers, all Participating
 Parties, and all known or unknown parties who may claim coverage under any Insurance Policy
 issued to the Debtor, including the Non-Debtor CGL Settling Insurer Covered Persons, in form
 and substance acceptable to the Debtor, the Estate, the Reorganized Debtor, the Participating
 Parties, and the Settling Insurers, of any and all Claims arising from or relating to Abuse Claims
 or Future Claims. In addition, within ten (10) days after receiving any payment from the Trust, a
 Future Claimant shall dismiss with prejudice any lawsuit that such Future Claimant had brought
 against the Debtor, any Participating Party, and any Non-Debtor CGL Settling Insurer Covered
 Person.

 5.4    Attorneys’ Fees And Costs. Pursuant to Section 11.3 of the Plan, the fees and expenses of
 attorneys representing Future Claimants who receive payment from the Trust will be borne
 exclusively by such Future Claimants based on applicable state law and individual arrangements
 made between such Future Claimants and their respective attorneys. The Trust, the Trustee, and
 the other parties listed in Section 11.3 of the Plan shall have no liability for any such fees and
 expenses, and any Claims for such fees and expenses shall be disallowed.

                       ARTICLE VI. TERMINATION OF THE TRUST

 6.1     When Termination Shall Occur. The Trustee shall terminate the Trust after the Trust
 Assets are fully and completely distributed in accordance with this Trust Agreement, the Plan, and
 the Confirmation Order, and after the Trustee has fully and completely performed all other duties
 set forth in this Trust Agreement, the Plan, and the Confirmation Order. The Trust Assets shall be
 deemed totally distributed when the amount remaining in the Trust is less than $50,000.

 6.2     Termination Distribution. Upon termination of the Trust, provided that all fees and
 expenses of the Trust have been paid or provided for in full, the Trustee shall deliver all funds and
 other investments remaining in the Trust, if any, including any investment earnings thereon, to a
 charitable entity mutually agreed upon by the Trustee and the Reorganized Debtor; provided,
 however, that any such funds shall not revert to the Debtor, the Estate, the Reorganized Debtor, the
 National Gymnastics Foundation, or the United States Olympic & Paralympic Committee.

 6.3     Termination Procedures. After termination of the Trust and solely for the purpose of
 liquidating and winding up its affairs, the Trustee shall retain the books, records, documents, and
 files that were delivered to or created by the Trustee. The Trustee, at his discretion, may destroy
 all such books, records, documents and files at any time following the later of: (a) one year
 following the final distribution of the Trust Assets; and (b) the date until which applicable law
 requires the Trustee to retain such books, records, documents, and files; provided, however, the
 Trustee shall not destroy any books, records, documents, or files relating to the Trust without
 giving the Reorganized Debtor, the Participating Parties, the Settling Insurers, Abuse Claimants,
 other Channeled Claimants, and the FCR reasonable prior written notice thereof.




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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 In re:                                                     Chapter 11

 USA GYMNASTICS, 1                                          Case No. 18-09108-RLM-11

                  Debtor.


        MOTION OF THE ADDITIONAL TORT CLAIMANTS COMMITTEE OF
      SEXUAL ABUSE SURVIVORS FOR ENTRY OF AN ORDER PURSUANT TO
      11 U.S.C. §§ 105(a), 349 AND 1112(b) DISMISSING THE BANKRUPTCY CASE
                            AND GRANTING RELATED RELIEF

          The Additional Tort Claimants Committee of Sexual Abuse Survivors (the “Survivors’

 Committee”), appointed in this case under chapter 11 of title 11 of the United States Code (the

 “Bankruptcy Code”), hereby moves this Court (the “Motion”) for entry of an order, pursuant to

 sections 105(a), 349, and 1112(b) of the Bankruptcy Code, dismissing the above-captioned

 bankruptcy case (the “Case”) of USA Gymnastics (“USAG”) and granting related relief. In

 support of this Motion, the Declaration of James I. Stang (the “Stang Declaration”) is attached as

 Exhibit A and incorporated herein. In further support of the Motion, the Survivors’ Committee

 respectfully states as follows:

                                       Preliminary Statement

          1.     Nearly five years ago, USAG/United States Olympic Committee (the “USOC”) 2

 Team USA gymnast Maggie Nichols reported Larry Nassar was molesting children. Since that

 very first day, USAG/USOC, and its revolving door of executives since, have done everything in


 1
  The last four digits of USAG’s federal tax identification number are 7871. The location of USAG’s
 principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
 2
   The USOC recently rebranded itself as the “United States Olympic & Paralympic Committee” but for
 the ease of reference, it is referred to herein as the “USOC.”



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  their collective power to conceal the truth from Nassar’s hundreds of survivors, the more than

  100 survivors of abuse suffered at the hands of coaches over the past several decades, law

  enforcement authorities, and the American public. The coordinated strategy of USAG and the

  USOC was, and remains to be, to delay, deflect and deny them and non-Nassar survivors justice

  for the horrible crimes committed upon them as children. Sadly, USAG and the USOC have

  used this bankruptcy proceeding as yet another tool to inflict pain upon these sexual abuse

  survivors – both Nassar and non-Nassar survivors – and to deny justice to these girls and women

  who competed for this institution and their country. The Survivors’ Committee seeks, and

  indeed, implores this Court to dismiss this Case and grant related relief to appropriately

  effectuate the dismissal for the legal reasons cited herein. The Court should also grant the

  Motion because it has come time for some court or institution to give these women the right to

  finally have their cases heard before a jury. Enough is enough.

         2.      The core of this bankruptcy proceeding has been the intent of USAG and the

  USOC to string both the Court and the Survivors’ Committee along, ingratiating them and the

  media with platitudes of change about athlete safety. However, these hollow promises of reform

  have been tools to buy USAG and the USOC time to delay and create a narrative that will keep

  their respective organizations free from scrutiny long enough for these organizations to indulge

  in their respective financial windfalls from the 2020 Summer Olympics in Tokyo, Japan.

  Grandiose statements that have been issued by USAG (such as the January 8, 2020 tweet from

  current USAG President Li Li Lueng (“Ms. Leung”)) are merely intended to placate sponsors to

  continue their support, before investigative agencies, criminal prosecutions, and adversarial civil

  process will reveal the true depravity of the organizational cover-up of sexual abuse of athletes.

  This proceeding, and the purported “good-faith” attempts by USAG to reach a mutually




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                                                                           Humphrey Appellant Appendix 200
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 agreeable plan for reorganization, are nothing but a concerted effort by USAG and the USOC to

 buy time and protect its collective asset in the 2020 Summer Olympic revenue stream, nothing

 more.

         3.     The Survivors’ Committee is compelled to seek dismissal of this Case because

 USAG, the USOC and their respective insurance carriers (the “Insurers”) have failed to propose

 a fair, comprehensive settlement with the Survivors’ Committee and its constituents. The three

 lengthy mediation sessions with the Survivors’ Committee and the intra-insurance company

 mediations have not resulted in a compromise, neither monetary and importantly, non-monetary.

 Since the last mediation session on November 21, 2019, USAG has not initiated a single

 substantive plan-related communication with the Survivors’ Committee. Indeed, this Case

 instituted by USAG, and which (in the Survivors’ Committee’s view) was done in coordination

 with and at the direction of the USOC, was a tactic taken by these entities to halt the vigorous

 civil discovery inquiry into their horrendous conduct in concealing its widespread child

 molestation problems, halt de-certification proceedings against USAG, and represent to the

 public that it is, in the words of Ms. Lueng, “…focusing on reaching resolution with the

 survivors and emerging from bankruptcy.” 3 This Case, having been filed more than 13 months

 ago, is yet another platform for USAG and the USOC to delay justice to the Survivors’

 Committee and their constituents, and the Court should no longer indulge USAG and the USOC

 by allowing them to continue dragging survivors through this morass. Extensive mediations on

 the monetary and non-monetary issues involved in this Case have resulted in an impasse between




 3
   Li Li Leung (@Li_Li_Leung), TWITTER (Jan. 8, 2020, 5:20 PM),
 https://twitter.com/Li_Li_Leung/status/1215080810707025923 (a copy of which is attached as Exhibit 1
 to the Stang Declaration).


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                                                                           Humphrey Appellant Appendix 201
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  the parties; this proceeding serves only the interests of delay. The survivors’ claims should be

  liquidated now in their respective venues, and this Case should be dismissed.

         4.      Without disclosing information, communications or the substance of the

  mediation, the members of the Survivors’ Committee unanimously agree that these failed

  mediations have only broadened the divide between the Survivors’ Committee and

  USAG/USOC, not bridged it. The Survivors’ Committee has continued to feel demeaned,

  belittled, and offended by the mediation process. In contrast to the grandiose media statements

  made by USAG that it is moving the Case towards resolution, the Survivors’ Committee feels

  these are not accurate, nor faithful representations of the dismal prospect of resolving this matter.

         5.      Subsequent to the explosion of the Nassar cover-up in September of 2016, USAG

  continually proves itself incapable of addressing the systemic and cultural problems with sexual

  abuse in its sport, having a revolving door of executives with subsequent scandal, after scandal,

  after scandal. USAG has, and continues, to view the issue of sexual abuse in sports as a

  marketing and image problem that can be willed away with public relations branding. This

  culture within USAG has continued, from executive-to-executive, and illustrates why the parties

  have made no progress in the numerous attempts to resolve this matter at mediation. By way of

  history and example, the President of USAG when the Nassar allegations were first publicly

  revealed was Steve Penny; who is currently indicted in the State of Texas for evidence

  tampering. His successor, Ms. Kerry Perry, lasted as the President of USAG for less than a year,

  and was forced to resign upon the USOC placing pressure on her to do so for her mishandling of

  the sexual abuse crisis at USAG. Senator Richard Blumenthal characterized her tenure as




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                                                                            Humphrey Appellant Appendix 202
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 President in exhibiting “…a willful and heartless blindness to the concerns of survivors….” 4

 Her successor, Ms. Mary Bono, lasted approximately 100 hours as President of USAG, after her

 Twitter feed was found to have tweets decrying Colin Kapernick’s protest of the National

 Football League. Her successor, and current USAG President, Ms. Lueng, too, has engaged in

 similarly misguided behavior. 5 During her first few months, Ms. Lueng hired Dr. Edward

 Nyman as the new Director of Sports Medicine for USAG. One day later, Dr. Nyman was fired

 after it was “discovered” that there were allegations of physical abuse coming from the gym he,

 and his wife, operated. Moreover, when referring to her time as a gymnast, herself, Ms. Lueng

 stated that she was not abused by Nassar because her coach was next to her during the treatment;

 a common situation for many of the survivors in this action, who were molested by Nassar with

 their coach standing next to them. Ms. Leung then apologized publicly for making these ill-

 advised comments. This all occurred in April of 2019, after the institution of this Case. This

 is an institution that continues to widen the divide amongst USAG and the Survivors’

 Committee. 6

         6.      Thus, more than 3 years after the Nassar abuse allegations entered the national

 media spotlight and more than 13 months having passed since the Case filing, the Sexual Abuse

 Claimants (defined herein) are still without any credible prospects of meaningful resolution in

 4
  Juliet Macur & Ken Belson, Kerry Perry, U.S.A. Gymnastics Chief, Is Forced Out, N.Y. TIMES, Sept. 4,
 2018, https://www.google.com/amp/s/www.nytimes.com/2018/09/04/sports/usa-gymnastics-kerry-
 perry.amp.html (a copy of which is attached as Exhibit 2 to the Stang Declaration).
 5
   Despite repeated requests, USAG refused to engage the Survivors’ Committee in the hiring process that
 resulted in Ms. Leung’s employment. [See generally Response of the Additional Tort Claimants
 Committee of Sexual Abuse Survivors to Debtor’s Motion for Authority to Enter into Employment
 Agreement, Doc 348.]
 6
  USAG and the USOC objected to providing the Survivors’ Committee the documents that they already
 had produced to governmental investigators and Ropes & Gray even though the survivors’ state court
 counsel would have borne the burden of reviewing the documents. From the survivors’ perspective, these
 objections evidenced a continuing effort to deny them transparency, especially since the documents
 already had been produced to other third parties.


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 this Case. With no global settlement among the parties, only two basic paths remain: USAG can

 propose a plan that cannot be confirmed over the opposition of the Sexual Abuse Claimants, 7 or

 the Court can dismiss this Case. 8 This Court itself explained in another chapter 11 case, where

 there was no reasonable likelihood of the debtor being able to successfully reorganize including

 proposing a confirmable plan, that dismissal of the chapter 11 case would be the appropriate

 action: “Dismissal is appropriate where ‘further suspension of the creditor's rights in order to

 allow a debtor to reorganize would be futile as there has been no progress in that direction and

 there was little prospect of future progress.’” In re Uptown Bus. Ctr., LLC, No. 13-8032, 2013

 Bankr. LEXIS 4324, at *12 (Bankr. S.D. Ind. Oct. 15, 2013). Unfortunately, due to USAG’s and

 others’ (in)actions, that is the situation presently before the Court. For all of the reasons set forth

 herein, this Case should be dismissed.

                                        Jurisdiction and Venue

         7.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

         8.      Venue of this proceeding and this Motion is proper in this District pursuant to 28

 U.S.C. §§ 1408 and 1409.

         9.      The statutory predicates for the relief requested herein are sections 105(a), 349,

 and 1112(b) of the Bankruptcy Code.



 7
  Undoubtedly, because of the significant legal and financial leverage of the USOC over USAG, any plan
 proposed by USAG would have a blanket, nonconsensual release for the USOC with respect to Sexual
 Abuse Claims (defined herein) and related claims and liabilities. The Survivors’ Committee is informed
 and believes nearly all, if not all, of Sexual Abuse Claimants would vote against a USAG-plan with a
 non-consensual release for the USOC.
 8
   As explained herein, USAG is a non-profit entity and thus, as a matter of statute, its Case cannot be
 converted to a chapter 7 case under section 1112 absent USAG’s consent, and the appointment of a
 trustee under section 1112 would be a pointless exercise since the trustee would likewise have to clash
 with USAG, the USOC, and the Insurers.


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                                             Relevant Facts

 A.      Filing of this Case and Enjoining of the Prepetition Lawsuits.

         10.     On December 5, 2018 (the “Petition Date”), USAG filed a voluntary petition for

 relief under chapter 11 of the Bankruptcy Code.

         11.     USAG remains in possession of its property and continues to operate and

 maintain its organization as debtor in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No request has been made for the appointment of a trustee or examiner in this

 Case.

         12.     On December 19, 2018, the United States Trustee appointed the Survivors’

 Committee to represent in this Case the interests of sexual abuse tort claimants (collectively,

 “Sexual Abuse Claimants”) with claims (“Survivors’ Claims”) against USAG.

         13.     The horrific sexual abuse perpetrated by Larry Nassar has been well documented

 in the national news media. Employed by Michigan State University and serving as a volunteer

 to USAG, Nassar committed numerous acts of sexual abuse upon gymnasts at various events and

 camps, including camps held at what was previously USAG’s National Team Training Center.

 USAG has been named as a defendant in more than 100 lawsuits brought by survivors of

 Nassar’s abuse (the “Prepetition Lawsuits”), which Prepetition Lawsuits have been stayed vis-à-

 vis USAG since the Petition Date by the automatic stay, as well as vis-à-vis other non-debtor

 defendants, including the USOC, pursuant to orders of the Court (the “Lawsuits Stay Orders”)

 expressly enjoining the continued prosecution of certain lawsuits by way of stipulations among

 the applicable litigation parties. [See Docs 372 & 426.] 9



 9
   The Prepetition Lawsuits plaintiffs who are parties to and covered by the Lawsuits Stay Orders are
 referred to herein as the “Prepetition Lawsuit Sexual Abuse Claimants.”


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         14.     If the Motion were to be granted by the Court, the Prepetition Lawsuits would

 recommence and ultimately administer and resolve the Survivors’ Claims. The Survivors’

 Committee is informed and believes that all of the Prepetition Lawsuit Sexual Abuse

 Claimants, through their counsel, support the granting of this Motion.

         15.     According to USAG, more than 500 claims have been filed against USAG, most

 of which claims are of Sexual Abuse Claimants relating to Nassar and non-Nassar abuse. The

 Sexual Abuse Claimants of USAG will soon be upon the 3 ½ year anniversary of the

 publication of the 2016 Indianapolis Star article, 10 which had amplified the sexual abuse

 perpetrated by Nassar and put a national spotlight on these tragic matters. 11

 B.      The Unsuccessful Mediation and USAG’s Utter Failure to Further Any Settlement
         or Consensual Plan Process.

         16.     Upon USAG’s motion, pursuant to orders entered in May 2019 [Docs 514 &

 522], USAG, the Survivors’ Committee, the USOC, and the Insurers prepared for and

 participated in mediation (the “Mediation”) before the Honorable Gregg W. Zive in an attempt to

 consensually resolve the parties’ relevant disputes including the treatment of the Survivors’




 10
   Tim Evans, Mark Alesia & Marisa Kwiatkowski, Former USA Gymnastics Doctor Accused of Abuse,
 THE INDIANAPOLIS STAR, Sept. 12, 2016, https://www.indystar.com/story/news/2016/09/12/former-
 usa-gymnastics-doctor-accused-abuse/89995734/ (a copy of which is attached as Exhibit 3 to the
 Stang Declaration). The Survivors’ Committee respectfully requests the Court to take judicial notice of
 the articles cited herein pursuant to Rules 201 and 902(6) of the Federal Rules of Evidence.
 11
    To state the obvious, the Sexual Abuse Claimants’ respective ordeals have actually been longer than the
 afore-referenced 3 ½ years, since the abuse they had sustained and related claims predate the Indianapolis
 Star article. As a point of reference, Michigan State University, which had employed Larry Nassar, had
 reached a $500 million settlement with Nassar survivors within approximately 20 months after the 2016
 Indianapolis Star article. See, e.g., Mitch Smith & Anemona Hartocollis, Michigan State’s $500 Million
 for Nassar Victims Dwarfs Other Settlements, N.Y. TIMES, May 16, 2018,
 https://www.nytimes.com/2018/05/16/us/larry-nassar-michigan-state-settlement.html (a copy of which is
 attached as Exhibit 4 to the Stang Declaration).


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                                                                               Humphrey Appellant Appendix 206
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 Claims and insurance coverage matters. 12 The Mediation took place over six days in three

 sessions – July 16-18, 2019, August 20-21, 2019 and November 21, 2019. Additionally, the

 Survivors’ Committee is informed that the mediators have been in regular discussions with the

 Insurers, including a face-to-face mediation that preceded the November 21st mediation session

 with the Survivors’ Committee. The Mediation did not result in any settlement, and there is no

 further all-parties Mediations scheduled.

        17.     After the November 21, 2019 mediation session, USAG’s counsel provided no

 substantive update to counsel for the Survivors’ Committee as to any potential global settlement

 among the key parties, other than informing committee counsel that USAG had been trying to

 resolve certain insurance coverage disputes. [See Stang Declaration, ¶ 11.] In short, after the

 unsuccessful Mediation, USAG has done nothing to engage the Survivors’ Committee in

 advancing the ball towards a settlement or a consensual plan of reorganization. The result of

 these failed mediations was not progress, but rather, exchanges that only left those on the

 Survivors’ Committee feeling insulted, marginalized, and betrayed by USAG, the USOC and

 their purported publicly stated commitment to change the trajectory of their respective

 organizations in regard to treatment of athletes. In short, the Mediation has only crystallized the

 void between Survivors’ Committee members and USAG (and the USOC), not bridged it.

        18.     More than 13 months having passed since the Case filing, USAG has not

 proposed, and has given no indication that it is anywhere close to formulating and filing, any

 chapter 11 plan, and has asked the Court once again to extend its plan and solicitation exclusivity

 periods until April 3, 2020 and May 29, 2020, respectively. [See Debtor’s Fifth Motion for

 12
   In September 2019, Paul J. Van Osselaer joined Judge Zive as a co-mediator to assist in mediating
 insurance coverage and related issues. [See Supplemental Order Re Appointment of Additional Mediator,
 Doc 798.] Judge Zive and Mr. Van Osselaer have jointly mediated with USAG, USOC and their
 respective Insurers at meetings other than the three sessions noted herein.


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  Order Extending the Debtor’s Exclusive Periods to File and to Solicit Acceptances of a Chapter

  11 Plan, Doc 870.] The Survivors’ Committee did not object to this extension request; however,

  the extension is meaningless given USAG’s inability and failure to propose a confirmable plan.

  Important in the Survivors’ Committee’s view is the substantial leverage – legal and financial –

  that the USOC has over USAG, as evidenced by, inter alia, the USOC’s November 5, 2018

  pending petition to revoke USAG’s recognition as a member National Governing Body of the

  USOC and the fact that many of USAG’s insurance policies include the USOC as an additional

  insured. The USOC’s leverage makes settlement in this Case virtually impossible if the USOC

  insists (as it undoubtedly will in the context of any plan proposed by USAG) upon a complete

  release of claims against it.

          19.     The Summer Olympic Games will commence in late July 2020 – only six months

  from now. 13 Based on communications with USAG’s counsel, USAG apparently has not

  undertaken any material efforts and other actions to obtain and maintain important sponsorships

  for and in connection with the Summer Olympic Games, which sponsorships would be important

  revenue streams for the benefit of the bankruptcy estate (the “Estate”) and its creditors. 14 [See

  Stang Declaration, ¶ 12.] Such certainly is not the case with the USOC which provides USAG

  with a share of its Olympics revenues.


  13
    Press Release, IOC, Unprecedented Levels of Excitement Around the Olympic Games Tokyo 2020 (Jan.
  10, 2020, https://www.olympic.org/news/unprecedented-levels-of-excitement-around-the-olympic-games-
  tokyo-2020 (a copy of which is attached as Exhibit 5 to the Stang Declaration).
  14
    Certainly, USAG previously lost many of its sponsorships and revenue sources in the wake of the
  national publicity surrounding Nassar. See, e.g., Ruth McCambridge, Corporate Sponsors Abandon
  Nonprofit USA Gymnastics, But Not the Athletes, NPQ (NONPROFIT QUARTERLY), Jan. 29, 2018,
  https://nonprofitquarterly.org/corporate-sponsors-abandon-nonprofit-usa-gymnastics-not-athletes/ (a copy
  of which is attached as Exhibit 6 to the Stang Declaration); Scott M. Reid, Nike Looked to Sponsor USA
  Gymnastics While Both Were Mired in Sexual Misconduct Scandals, THE ORANGE COUNTY REGISTER,
  May 11, 2018, https://www.ocregister.com/2018/05/11/nike-looked-to-sponsor-usa-gymnastics-while-
  both-were-mired-in-sexual-misconduct-scandals/ (a copy of which is attached as Exhibit 7 to the Stang
  Declaration).


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          20.      As discussed herein, the Sexual Abuse Claimants have waited far too long for

  USAG (and/or other responsible parties) to redress the claims and damages suffered by the

  Sexual Abuse Claimants. As explained above, the lack of any meaningful progress toward a

  compromise and consensual plan clearly evidences that USAG, the USOC, and the Insurers are

  in no rush to reach a fair and equitable resolution with the Sexual Abuse Claimants. With the

  parties at an impasse, the Survivors’ Committee submits that, unfortunately under all of these

  circumstances, only one viable alternative remains – dismissal of this Case.

                                                   Argument

   A.     Applicable Legal Standards.

          21.      Under section 1112(b) of the Bankruptcy Code, upon a party in interest’s motion,

  the Court must dismiss the chapter 11 case or convert it to chapter 7 if there is “cause” to do so.

  11 U.S.C. § 1112(b)(1). If the Court determines that there is cause to dismiss or convert, it must

  also: (i) decide whether dismissal, conversion, or the appointment of a trustee or examiner is in

  the best interests of creditors and the estate; and (ii) identify whether there are “unusual

  circumstances” that establish that dismissal or conversion is not in the best interests of creditors

  and the estate. 15 11 U.S.C. § 1112(b)(1), (b)(2).

          22.      The Court has broad discretion in determining what constitutes cause under

  section 1112(b) of the Bankruptcy Code. See In re Woodbrook Assocs., 19 F.3d 312, 316 (7th

  Cir. 1994); Uptown Bus. Ctr., LLC, 2013 Bankr. LEXIS 4324, at *10 (bankruptcy courts have


  15
    “The Code does not define ‘unusual circumstances,’ but the phrase ‘contemplates conditions that are
  not common in most chapter 11 cases.’” In re Aurora Memory Care LLC, 589 B.R. 631, 638 (Bankr.
  N.D. Ill. 2018). Further, in addition to there being unusual circumstances establishing that dismissal or
  conversion is not in the best interests of the estate and creditor, the debtor must demonstrate that a plan is
  reasonably likely to be confirmed within the applicable deadline, and that the debtor had a “reasonable
  justification” for the act or omission constituting cause for dismissal or conversion and the act or
  omission will be cured within a “reasonable time.” 11 U.S.C. §§ 1112(b)(2)(A) & (b)(2)(B); Aurora
  Memory Care LLC, 589 B.R. at 638.


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  “broad discretion” to dismiss case). The movant bears the burden of establishing by a

  preponderance of the evidence that cause exists. Id.; In re Royalty Props., LLC, 604 B.R. 742,

  748 (Bankr. N.D. Ill. 2019) (citing In re Draiman, 450 B.R. 777, 826 (Bankr. N.D. Ill. 2011)).

          23.     “Cause” is defined in section 1112(b)(4) of the Bankruptcy Code with a list of

  certain enumerated examples, but the list is not exclusive. Uptown Bus. Ctr., LLC, 2013 Bankr.

  LEXIS 4324, at *10; Aurora Memory Care LLC, 589 B.R. at 637-38. As discussed further

  herein, USAG has no reasonable prospect of reorganizing including filing a confirmable plan

  under the current circumstances. As this Court has explained, such unlikelihood of proposing a

  viable plan ties into several enumerated causes for dismissal, including section 1112(b)(4)(A) of

  the Bankruptcy Code which lists the “substantial or continuing loss to or diminution of the estate

  and the absence of a reasonable likelihood of rehabilitation” 16 as one potential cause to dismiss.

  Uptown Bus. Ctr., LLC, 2013 Bankr. LEXIS 4324, at *11-12. Importantly, “[d]ismissal is

  appropriate where ‘further suspension of the creditor’s rights in order to allow a debtor to

  reorganize would be futile as there has been no progress in that direction and there was little

  prospect of future progress’” Id. at *12 (citations omitted); accord, Aurora Memory Care LLC,

  589 B.R. at 640 (“Before the 2005 amendments to the Code, section 1112(b)(2) specifically

  listed the ‘inability to effectuate a plan’ as ‘cause’ to convert or dismiss a chapter 11 case…. It

  was therefore proper to dismiss a case ‘if the court determine[d] that it [was] unreasonable to

  expect that a plan [could] be confirmed.’” citing Woodbrook Assocs., 19 F.3d at 316). “Although

  this example of cause was deleted from the statute in 2005, a debtor’s ‘inability to effectuate a

  plan’ continues to be ‘a viable basis for dismissal because the listed examples of cause are not

  16
    There is continuing diminution of the Estate in that, as USAG’s filed monthly operating reports reflect,
  substantial amounts of administrative claims continue to accrue in this Case, and as discussed herein,
  USAG has evidently failed to obtain sponsorships and facilitate other revenue sources as the Olympic
  Games approach.


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  exhaustive.” Aurora Memory Care LLC, 589 B.R. at 640 (citation omitted) (cause existed for

  dismissal or conversion of case where there was no reasonable likelihood of reorganization and

  debtor had failed to file requisite reports); In re Seasons Apts., Ltd. Pshp., 215 B.R. 953, 960

  (Bankr. W.D. La. 1997) (chapter 11 case dismissed approximately 16 months after petition

  filing, where any plan by debtor could not be confirmed over key creditor’s objection;

  “considering the impasse in the settlement negotiations demonstrated by [creditor]’s latest filing,

  this case is ripe for dismissal under 11 U.S.C. § 1112(b).”); see also Woodbrook Assocs., 19 F.3d

  at 317 (“The very purpose of § 1112(b) is to cut short this plan and confirmation process where it

  is pointless.”).

  B.      Cause Exists to Dismiss Because USAG Has No Reasonable Likelihood of Proposing
          a Confirmable Plan or Otherwise Reorganizing.

          24.        As discussed, the Survivors’ Committee has brought this Motion, with no other

  choice left. USAG, the USOC, and the Insurers are not interested in expeditiously resolving the

  parties’ disputes in any sort of fair, comprehensive compromise as part of a consensual chapter

  11 plan. The Mediation to date has not worked; no further Mediation is scheduled and USAG

  has not made any meaningful overtures since the November 21st mediation session toward a

  global settlement or an acceptable plan. Further, there is no indication that USAG is making any

  real efforts to obtain sponsors and tap other potential revenue sources for the benefit of the Estate

  and its creditors.

          25.        Absent a settlement with and support of the Sexual Abuse Claimants, under no

  conceivable circumstance could USAG confirm a plan. From USAG’s perspective, whether

  under joint tortfeasor, indemnification and/or other theories of liability, USAG will continue to

  be exposed to litigation risk if the USOC’s potential or actual liabilities relating to Survivors’

  Claims are not released, and thus, any plan that would be proposed by USAG would inevitably



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  include a blanket release for the USOC. However, under the circumstances of this Case, USAG

  cannot cram down any plan over the objection of the Sexual Abuse Claimants that gives a

  blanket release to the USOC (or any other third parties) of Survivors’ Claims. 17 See, e.g.,

  Airadigm Commc’ns v. FCC (In re Airadigm Commc’ns), 519 F.3d 640, 655-58 (7th Cir. 2008)

  (any nonconsensual third party release and related injunction must meet the following

  requirements: (i) the release must be narrow in that it applies only to claims “arising out of or in

  connection with” the reorganization and may not include “willful misconduct,” (ii) it must be

  necessary for the reorganization, (iii) it may not provide for “blanket immunity,” (iv) the

  immunity afforded by the release must not affect matters beyond the jurisdiction of the court or

  unrelated to the reorganization, and (v) there must be “adequate evidence” that the beneficiaries

  of the releases required them before making a monetary contribution “which was itself essential

  to the reorganization”); In re Ingersoll, Inc., 562 F.3d 856, 865 (7th Cir. 2009) (the court

  “preached caution” in approving non-debtor releases and announced that “[i]n most instances,

  [non-debtor] releases . . . will not pass muster under [the Airadigm] rule”; “A nondebtor release

  should only be approved in ‘rare cases’ . . . because it is ‘a device that lends itself to abuse.’”); In

  re Berwick Black Cattle Co. 394 B.R. 448, 457, 462 (Bankr. C.D. Ill. M. 2008) (denying

  confirmation of a plan that included blanket third party release provisions that included




  17
    In all likelihood, any USAG-proposed plan would also suffer other fatal defects, including lack of
  feasibility and lack of good faith.


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  prepetition claims and claims unrelated to the bankruptcy case including claims in a

  nonbankruptcy suit over which the court had no jurisdiction). 18

          26.     Based on discussions with the respective lawyers for the Prepetition Lawsuit

  Sexual Abuse Claimants and other attorneys representing Sexual Abuse Claimants, the

  Survivors’ Committee believes nearly all Sexual Abuse Claimants would reject any

  nonconsensual plan proposed by USAG that included a broad release for the USOC. 19 That is,

  USAG cannot confirm a plan without the support of the class of Sexual Abuse Claimants. In

  short, the parties are at an impasse, and there is “little prospect of future progress.” Uptown Bus.

  Ctr., LLC, 2013 Bankr. LEXIS 4324, at *12, *19-20 (dismissing case where court concluded that

  debtor was not likely to be able to confirm a plan and after dismissal, relevant matters would

  have to be resolved in state court; “If the Debtor were to file a plan containing terms similar to

  those discussed at the hearing, it would be difficult for the Debtor to meet the confirmation

  criteria under § 1129 [including obtaining a consenting, impaired, non-insider class of claims]”);

  Aurora Memory Care LLC, 589 B.R. at 640 (cause existed for dismissal or conversion of case

  where there was no reasonable likelihood of reorganization and debtor had failed to file requisite

  reports); Seasons Apts., Ltd. Pshp., 215 B.R. at 960 (chapter 11 case dismissed where any plan

  by debtor could not be confirmed over key creditor’s objection; “considering the impasse in the


  18
     See also OPS3 LLC v. Am. Chtd. Bank, No. 13-cv-04398, 2017 U.S. Dist. LEXIS 120442, at *7 (N.D.
  Ill. Aug. 1, 2017) (rejecting non-consensual third party release of “all guaranties by or on behalf of any of
  the Debtors” as beyond the scope permitted by Aradigm); In re GAC Storage Lansing, LLC, 489 B.R.
  747, 768-69 (Bankr. N.D. Ill. 2013) (rejecting plan provisions that would release guarantors of the
  debtor’s pre-petition debt as beyond the permissible scope of Aradigm); In re Draiman, 450 B.R. 777,
  799 (Bankr. N.D. Ill. 2011) (rejecting releases of “the Liquidation Trustee, the Debtor, and their
  respective officers, directors, shareholders, employees, consultants, agents, advisors, attorneys,
  accountants, financial advisors, and other representatives and Professionals” as overly extensive); In re
  Shelbourne N. Water St. L.P., 556 B.R. 874, 884 (Bankr. N.D. Ill. 2016) (plan provision releasing non-
  debtor from claims by non-creditor not enforceable).
  19
    As noted above, the Survivors’ Committee is informed and believes that all of the Prepetition Lawsuit
  Sexual Abuse Claimants, through their counsel, support the granting of this Motion.


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  settlement negotiations demonstrated by [creditor]’s latest filing, this case is ripe for dismissal

  under 11 U.S.C. § 1112(b).”). Accordingly, this Case should be dismissed.

  C.      Dismissal Is the Proper Remedy Under Section 1112(b) Rather Than the
          Appointment of a Chapter 11 Trustee.

          27.     Rather than dismiss a case pursuant to section 1112(b)(1) of the Bankruptcy

  Code, a court may convert a case or appoint a chapter 11 trustee if to do so “is in the best

  interests of creditors and the estate.” First, USAG is a non-profit entity and as such, its Case

  cannot be converted to a chapter 7 proceeding. See 11 U.S.C. 1112(c) (“The court may not

  convert a case under this chapter to a case under chapter 7 of this title if the debtor is … a

  corporation that is not a moneyed, business, or commercial corporation, unless the debtor

  requests such conversion.”).

          28.     Further, no purpose would be served by the appointment of a trustee in this Case:

  In all events, any trustee would have to deal and clash with the same key parties including the

  USAG, the USOC, and the Insurers, and nothing in the record suggests these parties would

  change their strategies. For the reasons discussed herein, only one viable option – dismissal of

  this Case – remains and is in the best interest of the Estate and its creditors at this critical point.

  D.      Related Relief.

          29.     In connection with the requested dismissal of this Case, the Survivors’

  Committee requests that the Court’s order on the Motion (the “Dismissal Order”) provide certain

  related relief to appropriately effectuate the dismissal as follows:

                  (a)      Notwithstanding section 349 of the Bankruptcy Code, all prior
          rulings and orders entered in this Case (including all adversary proceedings), with
          the exception of the Lawsuit Stay Orders (the “Prior Orders”) should remain in full
          force and effect and survive the dismissal of this Case, including, without
          limitation, (i) all Prior Orders entered by this Court and the District Court in Bankr.
          Adv. Case No. 19-50012 and 1:18-cv-1306-RLY-MPB (USA Gymnastics v. Ace




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         American Ins. Co. f/k/a Cigna Ins. Co., et al.); and (ii) all Prior Orders relating to
         the fee applications of professionals.

                 (b)     The Court should retain jurisdiction with respect to any matters,
         claims, rights or disputes arising from or relating to the implementation of the
         Dismissal Order or any Prior Orders.

                 (c)     The Court should retain jurisdiction over (i) the hearing on and
         resolution of any and all fee applications that have been or will be filed (including
         after dismissal of the Case) in this Case, and relatedly, (ii) the entry and
         enforcement of any Court orders relating to fee applications (including compelling
         USAG to pay all approved fees and expenses).

         30.     The Survivors’ Committee respectfully submits that the foregoing related relief is

  reasonable and necessary to adequately protect the interests of the Sexual Abuse Claimants and

  the Survivors’ Committee (including its professionals). Numerous bankruptcy courts have

  recognized the propriety of and need for such protective and other administrative provisions in

  the event of a chapter 11 case dismissal. See, e.g., In re Coach Am Group Holdings Corp., Case

  No. 12-10010 (KG) (Bankr. D. Del. May 31, 2013) (order, Doc 1568); In re 155 Route 10

  Associates, Inc., Case No. 12-24414 (NLW) (order, Doc 30); In re Trade Secret, Inc., Case No.

  10-12153 (KG) (Bankr. D. Del. Jan. 31, 2011) (order, Doc 767); In re Foamex Int’l Inc., Case

  No. 09-10560 (KJC) (Bankr. D. Del. Jan. 20, 2010) (order, Doc 761); In re Dawarhare's of

  Lexington, LLC, Case No. 08-51381 (Bankr. E.D. Ky. Dec. 30, 2008) (order, Doc 316); In re

  Cornell Trading, Inc., Case No. 06-10017-JNF (Bankr. D. Mass. June 5, 2007) (order, Doc 770);

  In re Felda Plantation, LLC, 2012 WL 1965964 (Bankr. M.D. Fla. May 29, 2012); In re

  Inverness Distribution Ltd., Case No. 11-12106 (SCC) (Bankr. S.D.N.Y. May 4, 2015) (order,

  Doc 86); In re Omaha Standing Bear Pointe, LLC, Case No. 10-81413 (Bankr. D. Neb. March

  11, 2011) (order, Doc 52). See generally Wiese v. Cmty. Bank of Cent. Wis., 552 F.3d 584, 590

  (7th Cir. 2008) (court has discretion to provide for continued viability of prior order after case

  dismissal notwithstanding section 349, based on creditors’ interests and rights).



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                                                  Notice

         31.     A copy of this Motion is being given to (a) USAG, (b) USAG’s counsel, (c) the

  United States Trustee, (d) the USOC, (e) the USOC’s counsel, and (e) those parties who have

  appeared in this Case or have requested notice pursuant to Bankruptcy Rule 2002. In addition,

  pursuant to Rule 2002(a)(4) of the Federal Rules of Bankruptcy Procedure, the Survivors’

  Committee will provide notice of this motion and any hearing on those parties listed above and

  all creditors who have filed proofs of claim in this Case. The Survivors’ Committee respectfully

  submits that no other or further notice is necessary under the circumstances.

                                              Conclusion

         WHEREFORE, the Survivors’ Committee respectfully requests that the Court enter an

  order: (a) granting the Motion in all respects; (b) dismissing this Case; (c) granting the requested

  related relief to implement the dismissal; and (d) granting such other and further relief as may be

  just and appropriate under the circumstances.




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                                       Respectfully submitted,

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                                   CERTIFICATE OF SERVICE
          I hereby certify that on January 21, 2020, a copy of the foregoing Motion of the
  Additional Tort Claimants Committee of Sexual Abuse Survivors for Entry of an Order Pursuant
  to 11 U.S.C. §§ 105(a), 349 and 1112(b) Dismissing the Bankruptcy Case and Granting Related
  Relief was filed electronically. Notice of this filing will be sent to the following parties through
  the Court’s Electronic Case Filing System. Parties may access this filing through the Court’s
  system.

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          I further certify that on January 21, 2020, a copy of the foregoing Motion of the
  Additional Tort Claimants Committee of Sexual Abuse Survivors for Entry of an Order Pursuant
  to 11 U.S.C. §§ 105(a), 349 and 1112(b) Dismissing the Bankruptcy Case and Granting Related
  Relief was served via electronic mail to the following:

  United States Olympic Committee: Chris McCleary at Chris.McCleary@usoc.org
  The Alexander, a Dolce Hotel and Wyndham Hotel Group, LLC: Daniel M. Eliades at
  daniel.eliades@klgates.com and David S. Catuogno at david.catuogno@klgates.com

                                                    /s/ Meredith R. Theisen
                                                    Meredith R. Theisen




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                                     EXHIBIT A
                                 [Stang Declaration]




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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


      In re:                                                      Chapter 11

      USA GYMNASTICS, 1                                           Case No. 18-09108-RLM-11

                         Debtor.


                         DECLARATION OF JAMES I. STANG
            IN SUPPORT OF MOTION OF THE ADDITIONAL TORT CLAIMANTS
               COMMITTEE OF SEXUAL ABUSE SURVIVORS FOR ENTRY OF
                AN ORDER PURSUANT TO 11 U.S.C. §§ 105(a), 349 AND 1112(b)
         DISMISSING THE BANKRUPTCY CASE AND GRANTING RELATED RELIEF

               I, James I. Stang, hereby declare:

               1.     I am a partner of Pachulski Stang Ziehl & Jones LLP, counsel of record to the

  Additional Tort Claims Committee of Sexual Abuse Survivors (the “Survivors’ Committee”) in

  the above-captioned chapter 11 case (the “Case”).

               2.     I make this declaration in support of the Motion of the Additional Tort Claimants

  Committee of Sexual Abuse Survivors for Entry of an Order Pursuant to 11 U.S.C. §§ 105(a),

  349 and 1112(b) Dismissing the Bankruptcy Case and Granting Related Relief (the “Motion”) in

  the Case. 2 Except as otherwise indicated, all statements in this Declaration are based upon my

  personal knowledge, my review of relevant documents collected by my firm’s employees and/or

  my opinion based on my experience serving as a bankruptcy counsel to the Survivors’

  Committee. If I were called to testify as a witness in this matter, I could and would competently




  1
   The last four digits of USAG’s federal tax identification number are 7871. The location of USAG’s
  principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
  2
      All capitalized terms not defined herein have the meaning ascribed to them in the Motion.



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  testify to each of the facts set forth herein based upon my personal knowledge, review of

  documents and/or opinion.

         3.      Attached hereto as Exhibit 1 is a true and correct copy of a message on Twitter

  posted by Li Li Leung (@Li_Li_Leung) on January 8, 2020, available at

  https://twitter.com/Li_Li_Leung/status/1215080810707025923.

         4.      Attached hereto as Exhibit 2 is a true and correct copy of the newspaper article,

  Kerry Perry, U.S.A. Gymnastics Chief, Is Forced Out, by Juliet Macur & Ken Belson, N.Y.

  TIMES, Sept. 4, 2018, available at

  https://www.google.com/amp/s/www.nytimes.com/2018/09/04/sports/usa-gymnastics-kerry-

  perry.amp.html.

         5.      Attached hereto as Exhibit 3 is a true and correct copy of the newspaper article,

  Former USA Gymnastics Doctor Accused of Abuse, by Tim Evans, Mark Alesia & Marisa

  Kwiatkowski, THE INDIANAPOLIS STAR, Sept. 12, 2016, available at

  https://www.indystar.com/story/news/2016/09/12/former-usa-gymnastics-doctor-accused-

  abuse/89995734/.

         6.      Attached hereto as Exhibit 4 is a true and correct copy of the newspaper article

  Michigan State’s $500 Million for Nassar Victims Dwarfs Other Settlements, by Mitch Smith &

  Anemona Hartocollis, N.Y. TIMES, May 16, 2018, available at

  https://www.nytimes.com/2018/05/16/us/larry-nassar-michigan-state-settlement.html.

         7.      Attached hereto as Exhibit 5 is a true and correct copy of the press release by the

  International Olympic Committee, Unprecedented Levels of Excitement Around the Olympic

  Games Tokyo 2020 (Jan. 10, 2020), available at https://www.olympic.org/news/unprecedented-

  levels-of-excitement-around-the-olympic-games-tokyo-2020.




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          8.     Attached hereto as Exhibit 6 is a true and correct copy of the publication

  Corporate Sponsors Abandon Nonprofit USA Gymnastics, But Not the Athletes, by Ruth

  McCambridge, NPQ (NONPROFIT QUARTERLY), Jan. 29, 2018, available at

  https://nonprofitquarterly.org/corporate-sponsors-abandon-nonprofit-usa-gymnastics-not-

  athletes/.

          9.     Attached hereto as Exhibit 7 is a true and correct copy of the newspaper article,

  Nike Looked to Sponsor USA Gymnastics While Both Were Mired in Sexual Misconduct

  Scandals, by Scott M. Reid, THE ORANGE COUNTY REGISTER, May 11, 2018, available at

  https://www.ocregister.com/2018/05/11/nike-looked-to-sponsor-usa-gymnastics-while-both-

  were-mired-in-sexual-misconduct-scandals/.

          10.    Upon USAG’s motion, pursuant to orders entered in May 2019, USAG, the

  Survivors’ Committee, the USOC, and the Insurers prepared for and participated in Mediation

  before the Honorable Gregg W. Zive. The Mediation took place over six days in three sessions –

  July 16-18, 2019, August 20-21, 2019 and November 21, 2019. 3 Additionally, I have been

  informed that the mediators have been in regular discussions with the Insurers, including a face-

  to-face mediation that preceded the November 21st mediation session with the Survivors’

  Committee. The Mediation did not result in any settlement, and there is no further all-parties

  Mediations scheduled.

          11.    After the November 21, 2019 mediation session, USAG’s counsel provided no

  substantive update to me or any other advisors to the Survivors’ Committee as to any potential




  3
    In September 2019, Paul J. Van Osselaer joined Judge Zive as a co-mediator to assist in mediating
  insurance coverage and related issues. I have been informed that Judge Zive and Mr. Van Osselaer have
  jointly mediated with USAG, USOC and their respective Insurers at meetings other than the three
  sessions noted herein.


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  global settlement among the key parties, other than informing me that USAG had been trying to

  resolve certain insurance coverage disputes.

         12.     Based on my communications with USAG’s counsel, USAG apparently has not

  undertaken any material efforts and other actions to obtain and maintain important sponsorships

  for and in connection with the Summer Olympic Games.

         13.     Based on my discussions with the respective lawyers for the Prepetition Lawsuit

  Sexual Abuse Claimants and other attorneys representing Sexual Abuse Claimants, I am

  informed and believe that nearly all Sexual Abuse Claimants would reject any nonconsensual

  plan proposed by USAG that included a broad release for the USOC.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed this 21st day of January, 2020 at Los Angeles, California.



                                                       /s/James I. Stang
                                                   James I. Stang




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                                   EXHIBIT 1




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                I recently reflected on the past year as
                President & CEO of ©USAGym & shared m>
                 vision as we look toward the future. 2020 will
                 be an important year as we continue towards
                 being more athlete-centric. I'm ready &
                excited for what lies ahead - here's to 2020!




                      A message to the gymnastics community from USA Gymnastics CEO Li Li Le.
                      I am very excited that 2020 is now upon us. Not only does it mark the arrival of an
                      Olympic year, but also the start of a new decade. Before leaping into 2020, I'd like ..
                      usagym.org
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                  A message to the gymnastics community from USA
                            Gymnastics CEO Li Li Leung
                                                               posted on 01/08/2020




                                  Like     Share   74 people like this. Be the first of your friends.




      Happy New Year! I hope each of you were able to enjoy the holiday season with family and friends.


      I am very excited that 2020 is now upon us. Not only does it mark the arrival of an Olympic year, but also the
      start of a new decade. Before leaping into 2020, I'd like to take a moment to reflect on the past year.

      I hope you'll agree that 2019 was a year of change for our organization. A new Safe Sport Policy was launched
      and along with it our educational outreach initiatives; mediation with the survivors got underway;team
      selection procedures were rewritten; and internal reorganizing and restructuring began. As part of this
      reorganization, we have brought on new team members to lead some key positions. We have appointed Kim
      Kranz to a newly-created role in which she will be responsible for overseeing the strategy and execution of our
      holistic athlete health and wellness initiatives, including sports medicine, psychology and nutrition services,as
      well as athlete-development programs. On February 1, Jason Woodnick will step into the role of vice president
      for men's gymnastics and will be responsible for overseeing the men's program,from grassroots to the national
      teams. We're excited to have both Kim and Jason join the organization and look forward to introducing more
      new team members in the coming months.

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                                                                                                    Li Li Leung     #:
                                                           1808and coaches.The U.S. men joined the women by
      This year also saw exciting achievements for our athletes
      qualifying as a team,and rhythmic gymnastics qualified for two individual berths for the Olympic Games.And,
      Simone Biles cemented her place as the greatest of ail time with her gravity-defying moves,while also earning
      the Associated Press and Team USA awards,among many others,for top female athlete of 2019.

      As we look toward the future,2020 will be an important year as we continue to shift the organization to be more
      athlete-centric, while also focusing on reaching resolution with the survivors and emerging from bankruptcy. For
      our elite athletes and coaches,this year represents the final leg of the journey toward achieving dreams of
      making the acrobatic World Championships or U.S. Olympic Teams for gymnastics.

      As we continue to move forward, I want you to know that we will never forget the lessons of the past that serve
      as the foundation for both changing and rebuilding for the future. I want to thank all of you who have taken the
      time to share your thoughts and perspectives, which have been invaluable these past 10 months.While I have
      learned a great deal, I will continue to listen and ask questions to make sure we're serving you the way we
      should. We are ready and excited for what lies ahead in 2020 and hope you will join us in our pursuit of fostering
      the best possible environment for athletes and all of our members.Thank you again for coming along on this
      journey and for the opportunity to continue serving you.


      Sincerely,
      Li Li Leung
      President and CEO,USA Gymnastics




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                                 EXHIBIT 2




                                                          Humphrey Appellant Appendix 230
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Kerry Perry, US.A. Gymnastics Chief, Is
Forced Out
By Juliet Macur and KejLBelson

Sept. 4,2018


The U.S.A. Gymnastics president, Kerry Perry, was forced to resign over the weekend by the United States Olympic Committee,ending
her brief, tumultuous tenure at the top of one of the country's most successful Olympic sports.

Ms. Perry held the job for less than a year and was criticized for the way she handled the sexual abuse scandal that has left the sport
reeling.

Last week,the organization hired the longtime coach Mary Lee Tracy to an elite position, but it asked Ms."lYacy to step down only a few
days later after she was heavily criticized for initially defending Lawrence G. Nassar,the former national team doctor who is serving what
amounts to a lifetime prison sentence for molesting numerous girls and women.

While Ms.Perry stumbled in her role since being hired late last year — failing to make changes to the organization on her own and
needing direction from the Olympic committee to do things like install an entire new board of directors — the U.S.O.C. chief executive,
Sarah Hirshland, has already been much more forceful in her decision-making.

After the gymnastics federation erred in its hiring of Ms.Tracy as the elite development director for women,Ms. Hirshland, who joined the
U.S.O.C.in July,said on Friday that it was "time to consider making adjustments in the leadership" of U.S.A. Gymnastics.Two days later,
Ms.Perry was gone.

"The U.SA.Gymnastics Association needs new leadership," Ms.Tracy said in a statement,"and I'm encouraged by today's news. Kerry
Perry, despite her best intentions, was not suited to lead the association during these difficult times."

Senator Richard Blumenthal, Democrat of Connecticut and the ranking member of the Senate subcommittee that oversees the U.S.O.C.,
issued a scathing statement on Tbesday about Ms.Perry's time in charge.
"Throughout her disastrous nine-month tenure as president of U.S.A. Gymnastics,Perry demonstrated nothing but a willful and heartless
blindness to the concerns of survivors who were abused by Larry Nassar," the statement said."As president. Perry perpetuated U.S.A.G.'s
complicity with Nassar's horrific actions with her stunning and utterly shameful appearance before Congress in July and utterly
misguided hiring of Mary Lee Tracy as the organization's new elite development coordinator."
Mr. Blumenthal's statement added,"I hope that Perry's resignation marks a turning point for U.S.A.G. and sparks real change <md
reflection — and I encourage U.S.A.G. to seek the input of survivors when selecting a new leader."

Ms.Perry had problems establishing herself as a trusted leader atop the gymnastics organization. Nassar victims criticized her for only
briefly attending Dr. Nassar's days-long sentencing hearings in Michigan,and for failing to reach out to the highest-profile women who
had been abused,including the three-time Olympic gold medalist Aly Raisman.
"All we want is these people in charge to talk to us,so we can help them make changes," Ms. Raisman told The New York Times in July.
"But they won't even bother to reach out to us."

Ms. Perry replaced the longtime U.S.A. Gymnastics president Steve Penny, who was forced to resign in March 2017 under pressure from
the U.S.O.C. He is under scrutiny for his mismanagement of hundreds of abuse cases,including those involving Dr. Nassar,during his
tenure at the organization.

U.S.A. Gymnastics said it would appoint an interim chief executive and form a search committee to find a permanent replacement.




                                                                                                 Humphrey Appellant Appendix 231
https://www.nytimes.com/2018/09/04/sports/usa-gymnastics-kerry-perry.html                                                                 1/I
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                                 EXHIBITS




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                                   Former USA Gymnastics doctor accused of abuse




          Former USA Gymnastics doctor accused of abuse
            Tim Evaiw. MarkAlwia and Marian Kwiatkowstd. IndyStar   Published 3:46 p.m. ET Sept. 12, 20161 Updated 4:35 p.m. ET Jan. 24, 2018



                                               Editor's note: Since this article pubiished, at ieast 150 peopie have come forvtrard with aiiegations of
           1 1 11        II                   sexuai abuse against Dr. Larry Nassar. He was sentenced Jan. 24, 2018, to 175 years in prison after
                                               pleading guilty to sexually abusing seven girls.


                                               This story was originally published Sept 12, 2016.

                                               Two former gymnasts, one an Olympic medalist, have accused a prominent, longtime team physician for USA
            (Photo: Sean Fajiwara for          Gymnastlcs of sexuai abuse.
            IndyStarAJSAToday)

                                               One of the women filed a civil lawsuit rhttPs://www.dQcumentcloud.ora/documents/31Q6054-JANE-JD-
  COMPLAiNT-Sioned.htmh Thursday in California that was released Monday. The other filed a complaint two weeks ago with police in Michigan.

  The women, in separate interviews with IndyStar, provided detailed accounts that closely mirrored each other as they outlined their allegations against El
  Larry G. Nassar mttD://sDortsmed.msu.edu/paQes/Nassar/index.htmh. Nassar served as USA Gymnastics' team physician during four Olympic Games
  and left his position last September with little public notice.

  Nassar, a faculty member at Michigan State University who has treated the university's gymnasts, has not been charged with any crime. His lawyer,
  Matthew Borguia, said Nassar "emphatically" denies any wrongdoing.

  After being shown a copy of the lawsuit Monday, Borguia said. "Dr. Nassar, to the extent the aiiegations are against him, adamantly denies any
  misconduct at this or any other time."




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  The other woman, who lives in Louisville. Kentucky, filed a police complaint against Nassar last week at Michigan State University. As a teenage
  gymnast, she was treated there by Nassar. according to medical records.

  The university said it suspended Nassar from "clinical and patient duties" Aug. 30, when it received the criminal complaint. He will remain suspended
  during the investigation. University officials also began an investigation under Title IX of the federal Education Amendments of 1972, which
  prohibit discrimination on the basis of gender in educational programs.

  On Monday, USA Gymnastics reiterated a statement it made last week in response to previous questions about Nassar from IndyStar;

  "Dr. Nassar is no longer affiliated v\nth USA Gymnastics. Upon learning of athlete concerns, USA Gymnastics immediately notified law enforcement. Since
  then, we have cooperated fully with the law enforcement agency, including refraining from making further statements or taking any other action that might
  interfere with the agency's investigation. We are grateful to the athletes for coming forward to share their concems."

  The organization, which serves as the sport's national governing body and selects the Olympic team, would not respond to specific questions about its
  handling of the allegations against Nassar. But after the story was published on lndyStar.com. USA Gymnastics issued a subsequent statement with
  more detail.


  It said USA Gymnastics received the allegations in the summer of 2015 and "relieved Dr. Nassar of his duties."

  In addition to serving as a faculty member at Michigan State's College of Osteooathic Medicine fhttD://www.cQm.msu.edu/1. Nassar is a team physician at
  Twistars Gymnastics Club rhttp:/AAww.twistarsusa.com/1 USA in Michigan and worked as a team physician for Michigan State University and Holt High
  School. Officials at Michigan State and Twistars said USA Gymnastics did not inform them of the concems. Nassar resigned from USA Gymnastics last

https;//www.indystar.com/story/news/2016/09/12/former-usa-gymnastics-doctor-accused-abuse/89995734/           Humphrey Appellant Appendix 234
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                                  Former USA Gymnastics doctor accused of abuse
  fall but continued to work with young athletes at Michigan State and Twistars.


  In August, an IndvStar investigation f/storv/news/investiaations/2D16/Q8/04/usa-Qvmnastics-sex-abuse-protected-coaches/85829732A revealed that USA
  Gymnastics executives repeatedly failed to forward allegations of sexual abuse at its member clubs to law enforcement authorities. The organization
  relied on a policy of not alerting authorities unless allegations came directly from an athlete or an athlete's parent or guardian, according to testimony in
  court records.


  IndyStar is not naming the California woman at her request and because she was identified only as "Jane Doe° in the lawsuit. The other, Rachael
  Denhollander, said reading tndyStar's investigation Inspired her to speak out.

  "Over the last 16 years, I've realized I have a responsibility, and the question about whether or not to speak publicly cannot center around what's easy for
  me," she said. "This isn't something I want to do."


         'Damaged goods'
  Denhollander filed a criminal complaint against Nassar two weeks ago with fytichigan State University Police, alleging the doctor sexually assaulted her
  when she received treatment for lower back pain as a 15-year-old club-level gymnast in 2000. University officials confirmed that police are conducting a
  criminal investigation.


  She said Nassar gradually became more abusive over five treatments, massaging her genitals, penetrating her vagina and anus with his finger and
  thumb and unhooking her bra and massaging her breasts. She said she also relayed those details to police.

  Nasser's attorney said his client never used a procedure that Involved penetration.

  Denhollander said her mother was present during Nassar's treatments, but that he positioned himself and her in such a way that only her head and back
  were visible.




            Rachael Denhollander poses at her home in Louisville, Kentucky, on Aug. 23, 2016. She recently filed a police report In Michigan, alleging that she was sexually abused by
            Dr. Larry Nassar, formerly the main physician for USA Gymnastics.(Photo: Robert Scheer/Int^yStar)




  "I was terrified," she recalled. "I was ashamed. I was very embarrassed. And I was very confused, trying to reconcile what was happening with the person
  he was supposed to be. He's this famous doctor. He's trusted by my friends. He's trusted by these other gymnasts. How could he reach this position in
  the medical profession, how could he reach this kind of prominence and stature if this is who he is?"

  She said she figured the problem must be with her.

  "Part of that, I know now, is a very common response that victims have," Denhollander said. "It's much easier in some ways to hide from what's
  happening and just go somewhere else mentally. It was easier to not have to verbalize and recognize what was happening."


https;//www.indystar.com/story/news/2016/09/12/former-usa-gymnastics-doctor-accused-abuse/89995734/                           Humphrey Appellant Appendix 235
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  Years later, while Denhollander and her husband, Jacob, were dating and contemplating a future together, she nervously told him about the alleged
  abuse. They were on swings at a playground.

  "She was telling it from the perspective of feeling that she was damaged goods, that she was broken, and would I put up with that," Jacob Denhollander
  said."To me,that was one of the most heartbreaking things, to hear that had been her experience, and her perspective was,'I'm dirty because of it. I'm
  damaged.'"

  Rachael Denhollander said she knows that if her case is prosecuted, she might be called to testify publicly in court about deeply personal and sensitive
  experiences.


  "I hate that idea," she said. "I hate it. But if I don't, he can continue."


          'Instrumental to the success'

  Nassar, 53, has been a high-profile figure in gymnastics for decades. During one of the sport's iconic moments, U.S. Olympic team officials handed over
  gymnast Kerri Strug to Nassar for medical attention after she performed on the vault with an injured ankle. At the time, it was believed to be the
  performance necessary to secure the gold medal in the 1996 Olympics.

  USA Gymnastics President Steve Penny fhttpsV/usaaym.org/pages/aboutus/paaes/steve penny.htmh once praised Nassar as being "instrumental to the
  success of USA Gymnastics at many levels, both on and off the field of play." In that 2014 news release fhttDs://usaQvm.orq/paqes/post.html?
  PostlD=14677&Droa=hT Penny added that Nassar's "contributions over the years are immeasurable and vrill continue to be so."

  Nassar is president of the Gvmnastics Doctor Autism Foundation fhttp://www.adafoundation.orqO. which helps gymnastics clubs establish programs for
  special needs children, and his Facebook page is filled with tributes to him.

  "He's an extremely professional physician,".                                                                    -the-gymnastics-coachrt. the 2012 Olympic
  team head coach and owner of Twistars Gymnastics, told IndyStar."Very competent and goes above and beyond the call of duty in treating athletes. He's
  probably one of the most respected gymnastics professionals I've ever had to deal with."

  indyStar was unable to find any other allegations of sexual misconduct against Nassar in civil or criminal court records.

  In 2014, he posted on Facebook fhttDs://www.documentcloud.ora/documents/3089890-Nassar-2014-Announcement.htmn that he would continue working
  with women's artistic gymnastics "for as long as the program feels I can be an asset to them." In June 2015, Nassar wrote a Facebook post
  fhttPs://www.documentcloud.ora/documents/3089892-Nassar-2015-Announcement.htmh saying he intended to stay on as U.S. Olympic team doctor
  through the Rio Olympics.

  Yet three months later, Nassar was no longer team doctor. Last month, Nassar explained on Facebook
  fhttPs://www.documentcloud.orQ/documents/3089895-Nassar-School-Board-Run.htmh why he wasn't at the Rio Olympics. He said he retired so he could
  run for a school board position in Holt, Michigan.

  "I knew that if I dedicated the time needed to be at the 2016 Rio Olympics, I would not be able to prepare a campaign for the school board," he wrote.

  Borgula, his lawyer, said Nassar's retirement had nothing to do with ailegations of sexual abuse, but he did acknowledge that USA Gymnastics had
  informed the doctor of potentially criminal allegations prior to his resignation.

  USA Gymnastics would not tell IndyStar which law enforcement agency it reported to. And Borgula said no agency ever contacted Nassar concerning
  the allegations USA Gymnastics said it fon/varded to police.

  How many athletes expressed concerns to USA Gymnastics, and when those concerns were received, is unclear. The two athletes who approached
  IndyStar said they did not report their concems directly to USA Gymnastics.

  The lawsuit was filed in Sacramento County against Nassar, USA Gymnastics and the organization's past three presidents, including Penny. None of the
  individuals was mentioned by name, but Manly, the attomey, confirmed the identities of the defendants targeted by the suit.

  The lawsuit claims USA Gymnastics not only hid complaints about Nassar, it failed to adequately supervise his activities. The lawsuit claims Nassar
  "would do anal and vaginal examinations of Plaintiff and other gymnasts in the care of(USA Gymnastics) without gloves, a chaperone, and/or any form of
  lubricant."


  The California woman told IndyStar she didn't report the alieged abuse at the time because she didn't know it was wrong. According to the lawsuit, the
  abuse started when she was 12 or 13 and continued until she was 18.
https://www.indystar.eom/story/news/2016/09/12/former-usa-gymnastics-doctor-accused-abuse/89995734/            Humphrey Appellant Appendix 236               4/6
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  "It felt like a privilege to be seen by him," she said. "I trusted him."

  Her lawsuit said the procedures Nassar performed were "well outside any recognized and/or accepted technique and were done for the
  Perpetrator's ... own sexual gratification."

  Nassar would "fondle and grope Plaintiffs feet, ankles, thighs, buttocks, hips, waist, breasts, arms, shoulders and neck, placing Plaintiff under the
  impression this inappropriate contact was part of treatment," according to the suit.

  The lawsuit also claims Nassar talked to the California gymnast about sex, describing oral sex and telling her that other underage gymnasts were doing
  it.


  The California woman told IndyStar it took her more than a decade to understand what Nassar had done. She never told anyone until July. And she wept
  as she tried to talk about how it affected her life.


  The lawsuit says she "suffered immensely"from anxiety, depression, a lack of trust and "self-medicating behavior."

  "It's a lot," she said.


  Call IndyStar reporter Mark Alesia at(317)444-6311. Follow him on Twitter j

  Call IndyStar reporter Marisa Kwiatkowski at(317)444-6135. Follow her on

  Call IndyStar reporter Tim Evans at(317)444-6204. Follow him on


           Share your experiences
  IndyStar will continue to investigate this topic. If you have information you would like to share, please email investigations@indystar.com or call (317)
  444-6262.



           Get help
  Anyone who has reason to believe a child is being abused or neglected should immediately call police or the child welfare agency. Survivors of sexual
  abuse can contact the National Sexual Assault Hotline at(800)656-4673 or online.rainn.org. For resources or more information on the Rape,Abuse and

           A blind eve to sex abuse: How USAGvmnastics failed to report cases
            fhttp://wwvv.indvstar.com/storv/new.s/inve.<;tigatinn.s/2016/08/04/usa-gvmna.stics-
                                    sex-abuse-protected-coaches/85829732A

           Ex-gymnast soeaks out about her sexual abuse
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            fhttp://www.indvstar.com/storv/news/investigations/20l6/08/04/usa-gvmnastics-
                      whv-coaches-hugs-make-becca-seaborn-cringe/87967164/1

           IndvStar seeks to unseal abuse documents
                            w.i
                            unseal-usa-gvmnastics-coach-abuse-dncuments/87912400/1

           Georgia judge to unseal USAGvmnastics sex abuse records

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            fhttp://ww\v.indvstar.com/storv/news/investigations/2016/Q8/04/usa-gvmnastics-
                                      sex-abuse-investigation/87907306/1


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                                 EXHIBIT 4




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Michigan State's $500 Million for
Nassar Victims Dwarfs Other
Settlements
By Mitch Smith and Anempna HartQCon

May 16, 2018


Victims of Lawrence G. Nassar,the Michigan State University physician who sexually
abused young women under the guise of medical treatment, would receive $500 million from
the university in a settlement that is believed to be the largest ever reached in a sexual
abuse case involving an American university.

It dwarfed the size of the settlement reached in the sex abuse scandal at Pennsylvania State
University. And it was larger than many of the settlements that followed the child sex abuse
crisis in the Roman Catholic Church.

"I think the number being so large sends a message that is undeniable,that something
really terrible happened here and that Michigan State owns it," said John Manly,a lawyer
for many of the 332 women who sued the university over abuse by Dr. Nassar."When you
pay half a billion dollars, it's an admission of responsibility."

Women who say they were abused by Dr. Nassar still have lawsuits against U.S.A.
Gymnastics,the United States Olympic Committee and others, and the settlement with
Michigan State could add pressure in those cases. The settlement by Michigan State, a
public university that is the state's largest, also sent a loud warning to other colleges about
the potentially devastating cost of ignoring misconduct.

The agreement comes as officials at the University of Southern California are under fire for
failing to report a gynecologist who faced allegations of misconduct for decades, and as
other colleges find themselves grappling with a growing number of sexual abuse and
assault compleiints over the last few years. By late Wednesday,officials at U.S.C. said they
had received about 85 complaints about George lyndall,the gynecologist.

"People now know that these scandals can happen at any university, and they need to
understand and be prepared for that," said Thomas Harnisch,director of state relations and
policy analysis at the American Association of State Colleges and Universities.

                                                                                         Humphrey Appellant Appendix 239
https://www.nyttmes.eom/2018/05/16/us/larry-nassar-michigan-state-settlement.html                                           1/4
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It was uncertain how the settlement would be paid by Michigan State, an institution that has
already seen its credit rating downgraded because of the Nassar scandal. On Wednesday,
officials at the university did not respond to questions about how it plans to pay, but
taxpayers and Michigan State students, officials signaled earlier, are likely to shoulder at
least some of the cost. The university is also expected to try to recoup some of its costs from
insurance.

The financial toll is only the latest fallout for Michigan State over Dr. Nassar, who worked at
the institution for about 20 years,even as women said they made complaints about his
conduct to university coaches,trainers or counselors since at least the late 1990s.

Many women said the university enabled Dr. Nassar's abuse and for years ignored those
who came forward with complaints, and top leaders at Michigan State have lost their jobs
over the matter,including Lou Anna K.Simon,the president. Michigan's attorney general is
overseeing a criminal investigation into how Dr. Nassar had been permitted to operate at
the university for as long as he did. The federal Education Department is investigating the
university's actions. And the F.B.I, is conducting an internal review of what its agents knew
about Dr. Nassar's conduct and when they knew it, Christopher A.Wray,the agency's
director, told Congress on Wednesday.

The settlement was approved by the university's elected trustees in a conference call on
Tuesday night, but final details still had to be handled.

For the women,some of whom shared their stories of abuse in emotional testimony before
judges who sentenced Dr. Nassar to more than 100 years in prison,the financial settlement
was a step toward healing, but not a fix for systemic failings at Michigan State.
"I hope that our experiences at M.S.U. have opened up the world's eyes to the suffering that
survivors of sexual assault deal with every day," said Amanda Thomashow,who complained
to university officials in 2014 about Dr. Nassar's conduct."And I hope that we can change
our attitude toward victims. And I hope that our culture shifts from enabling predators to
empowering survivors."

For about 20 years. Dr. Nassar preyed on young women who came to him for medical care at
a Michigan State clinic. When some patients claimed abuse, Dr. Nassar insisted he was
performing legitimate medical treatment, and university officials allowed him to continue
seeing patients.

All the while. Dr. Nassar's reputation grew. Big Ten athletes sought treatment from him. He
traveled abroad with the national gymnastics team. He was on the sidelines during the
Olympics. Dr. Nassar's victims included some of the best gymnasts in the world, as well as
local girls who trained after school at a Michigan club.
                                                                                          Humphrey Appellant Appendix 240
https://www.nytimes.com/2018/05/16/us/larry-nassar-michigan-state-settlement.htmi                                             2/4
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Many experts said they believed the settlement was the largest involving sex abuse for a
university, though there have been higher settlements outside of universities: The Roman
Catholic Archdiocese of Los Angeles agreed in 2007 to pay up to $650 million.

Until now, perhaps the biggest university sex abuse settlement was the roughly $109 million
related to Jerry Sandusky,an assistant football coach at Penn State who was convicted of
abusing boys over 15 years. There were more than 30 plaintiffs in that case. Penn State also
paid a $60 million fine as part of a punishment levied by the N.C.A.A. and spent nearly $30
million more over two years on internal legal and investigative costs, according to a 2015
audit. Penn State continues to dispute how much of the payout should be covered by
insurance.

In March,John Engler, Michigan State's interim president, noted Penn State's ongoing effort
to get insurance to cover more of its settlement. Before Michigan legislators, Mr. Engler said
that he hoped insurance would cover at least some of Michigan State's settlement cost, but
that students and taxpayers would likely have to cover the rest.

The $500 million settlement would amount to almost 37 percent of the annual general fund
budget of $1.36 billion for 2017-18, according to university documents. Of that, almost three-
quarters, or $983 million,came from tuition and fees, while state appropriations accounted
for a fifth, or $281 million. Michigan lawmakers have capped the amount by which the
university Ccin raise tuition. And Michigan State's endowment is $2.7 billion, but federal law
restricts the use of endowments in such situations.

Mr. Harnisch said the money for Michigan State's settlement would likely come from some
combination of insurance,state aid and revenue from student tuition."They'll likely have to
use reserve funds and borrow money," he said,"but I think definitely borrowing money is
going to be a key piece to paying for this."

Kenneth Feinberg,the mediator in the Sandusky case at Penn State and the special master
of the fund to compensate victims of the Sept. 11 terrorist attacks,said the fact that the
parties were able to voluntarily settle the case would help Michigan State rebuild its
reputation.

About 10 law firms represented Dr. Nassar's victims. Mr. Manly, who represents many of the
women,did not say how much of the settlement money would go to lawyers in the cases.
Each woman will receive just under $1.3 million on average; some will get much more,and
others much less, he said.

"It certainly makes sense for Michigan State to try and rebuild and enhance its reputation
by quickly resolving all of these claims with these 300 people, without forcing them further
damage by litigating," Mr. Feinberg said."It makes sense."
                                                                                          Humphrey Appellant Appendix 241
https://www.nytimes.com/2018/05/16/us/larry-nassar-mlchigan-state-settlement.html                                             3/4
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In the months ahead, Michigan State leaders have promised to change policies to prevent
future abuse and to begin restoring the university's tattered reputation. Michael Roach,73, a
1966 graduate of Michigan State, said he was relieved to learn of the settlement, which he
hoped would spare the university from a lengthy lawsuit and troubling media attention.

"It's bringing some closure,for the survivors and the university," said Mr. Roach, who plans
to continue donating to the college."If they needed to use my monies" for the settlement, he
said,"I guess I would be willing to say,'O.K.'"




                                                                                         Humphrey Appellant Appendix 242
https://www.nytimes.com/2018/05/16/us/larry-nassar-michlgan-state-settlement.html                                           4/4
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        UNPRECEDENTED LEVELS DF EXCITEMENT
        AROUND THE OLYMPIC GAMES TOKYO 2020




        H lOC/CHRISTOPHE MORATAL


        DATE 10 JAN 2020    TAGS OLYMPIC NEWS,TOKYO 2020, IOC NEWS


        FR0M 24 JULY T0 9 AUGUST THIS YEAR, T0KY0 AND JAPAN WILL BE AT THE CENTRE 0F THE
        WCRLO'S ATTENTI0N AS THE NEXT H0STS 0F THE 0LYMPIC GAMES. WITH 339 EVENTS IN 33
        SPURTS, THE OLYMPIC GAMES TOKYO 2020 WILL HAVE PLENTY OF SPORTING HIGHLIGHTS THIS
        SUMMER; BUT EVEN BEFORE THE GAMES HAVE BEGUN, THERE IS ALREADY "AN UNPRECEDENTED
        LEVEL DF EXCITEMENT" FDR THE GAMES, ACCORDING TO INTERNATIONAL OLYMPIC COMMITTEE
        (IOC) COORDINATION COMMISSION CHAIR JOHN COATES.

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        Presenting at the IOC

        Session in Lausanne,

        the Tokyo 2020

        delegation, led by its

        CEO Toshiro Muto,

        highlighted the high

        levels of engagement

        both at home and

        abroad. According to

        Tokyo 2020, 8.8 million
        applications for

        Olympic Games tickets

        have been received

        since domestic sales
                                                              TOKYO 2020
        started, with 3.6 million

        tickets being sold in the

        first phase of sales

        alone, exceeding the
        organisers'

        expectations.
                                                                             TOKYO 2020

        In addition, over

        535,000 applications
        have been received for

        10,000 torchbearer positions for the Olympic Torch Relay, which will begin in Greece on 12 March. The Japanese
        leg of the Relay will get underway on 26 March in Fukushima, and will tour all 47 prefectures of Japan over 121
        days. There were also over 200,000 applications to be volunteers for the Tokyo Games.


        Internationally, the Tokyo 2020 Olympic Truce resolution was adopted at the United Nations General Assembly on 9
        December last year, with 186 countries co-sponsoring the resolution.



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        Tokyo also now has 79 commercial partners, including both Worldwide and domestic partners. This strong support

        by both international and local companies has helped the Organising Committee to unveil its latest budget with

        revenues of USD 5.9 billion, while expenditures are USD 300 million lower at USD 5.6 million.



        On the venue front, eight of the nine new venues to be used for the Games are now complete, while the Tokyo
        Aquatics Centre will be ready next month. The Olympic Village was also handed over to the Organising Committee
        in December after completion of the permanent structures. The Mayor of the Village will be Saburo Kawabuchi, an
        Olympian in football and former President of the Japan Football Association.


        Last November, the decision was made to move the marathon and race walk events to Sapporo. In December, the
        100 Executive Board approved Sapporo Odori Park as the venue for the start and finish lines, while all courses
        have been approved thanks to close cooperation with World Athletics. With regard to the competition schedules, it
        was decided that the events will take place over the final four days of the Games,from 6 to 9 August.


        The organisers noted that they are continuing to work on refining their heat countermeasure plans for each venue
        and stakeholder across the Games theatre.



        Tokyo 2020 is also working hard to deliver sustainable Games, which was acknowledged through its ISO 20121
        certification, an internationally recognised standard for sustainable management systems, last November. In
        another sustainability initiative. Worldwide Olvmoic Partner Tovota will provide around 3,700 vehicles for the Tokyo
        Games, of which 90 per cent will be electric vehicles, with 500 hydrogen-powered fuel cell vehicles.


        Transport plans have also been tested for the Games and refined to ensure good transport conditions for the
        athletes.




        With only 196 days to go, the Tokyo organisers were congratulated on their successes so far, and encouraged to
        keep up their good work in this final stretch of preparations.



        TAGS OLYMPIC NEWS,TOKYO 2020 ,IOC NEWS




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                                  EXHIBIT 6




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          Corporate Sponsors Abandon Nonprofit USA
          Gymnastics, But Not the Athletes




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                                              By Agenda Brasil Fotografias[CC.BV 2,0], yia, Wikiniedia



             January 29, 2018; The Conversation

             As Dr. Larry Nassar's trial for sexual abuse progressed, and some of the highest-profile gymnasts in the country
             began to speak out publicly about the culpability they felt was due the nonprofit USA Gymnastics(USAG),
             sponsors began to fall away. Still, it took a direct demand from the US Olympic Committee (USOC)for the board
             to resign from USAG. After that, will the sponsors come back, and what will that do to the sport?

             Procter & Gamble was the first to sever ties with the nonprofit, followed in the last few days by AT&T. Also leaving
             their sponsorship roles, reports the Chicago Tribune, are Under Armour, Kellogg's, and Hershey's.

                "USA Gymnastics is facing a crisis, one that will influence sponsor decision-making for years," said Professor T.
                 Bettina Cornwell, academic director of Warsaw Sports Marketing Center at the University of Oregon.
                "Partnerships in sport are all about sharing valued associations, Brands want to associate with things like
                ruggedness, grace, passion, joy, success and even trying hard in the face of failure. They are fearful to
                 associate with an organization tied to the horrific Larry Nassar."

             Additionally, the organization will be dealing with lawsuits for years to come. While the necessary accountability is
             visited on the organization, what will become of the athletes it was supposed to be nurturing?

             in a statement, AT&T says the company was suspending its ties "until [USA Gymnastics] is rebuilt and we know
             that the athletes are in a safe environment," assuring the athletes that it remains committed to them and will look
             for other ways to support them until USAG is sufficiently reformed to receive its money. Under Armour ended its
             partnership with USAG in December, saying,"We stand with these athletes and hope our decision to end this
             partnership resounds with USAG leadership and helps to facilitate necessary change."

             Ronald Goodstein, associate professor of marketing at Georgetown University's McDonough School of Business,
             says that recruiting some of those who were subjected to the abuse for leadership positions on the board "would
             go a long way" toward restoring confidence in the organization.

             "There has to be tangible action the public can see," Goodstein said. "This all has to happen before they seek
             sponsors."

             But the gymnasts have also charged that the USOC was complicit in creating the environment that enabled the
             abuse. As George P. Cunningham observes in The Conversation, "Since corporate sponsors and other outside

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                                  EXfflBIT 7




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                  Nike looked to sponsor USA Gymnastics while
                  both were mired in sexual misconduct
                  scandals

                  Nike took the first step toward sponsoring USA Gymnastics in January even as the
                  organization was being dropped by some of corporate America's top brands amid the
                  biggest sexual abuse scandal in American sports history, according to documents
                  obtained by the Orange County Register.

                  The ongoing talks between USA Gymnastics and Nike have taken place while the
                  national governing body and the Oregon-based athletic shoe giant are engulfed in
                  sexual misconduct scandals.

                  USA Gymnastics is under investigation by Congress and the U.S. Olympic Committee
                  and the target oflawsuits by hundreds offormer gymnasts who charge that former
                  U.S. Olympic and USA Gymnastics national team physician Larry Nassar's alleged
                  sexual abuse ofthem was ignored by the organization and was the byproduct of a
                  culture of abuse within the sport allowed by USA Gymnastics and former U.S.
                  national team directors Martha and Bela Karolyi.

                  Five senior level managers were ousted at Nike this week amid published reports of
                  widespread sexual harassment and discrimination against employees at the company.
                  At least nine and possibly as many as 14 top Nike officials have resigned because of
                  the scandal, according to The Oregonian.

                  In a recent USA Gymnastics memo outlining discussions between the organization
                  and Nike the first headline listed under a section oflinks to news stories titled
                  "RECENT NIKE NEWS" was"SECOND TOP NIKE EXECUTIVE DEPARTS AMID
                  COMPLAINTS OF WORKPLACE BEHAVIOR."

                   USA Gymnastics and Nike did not respond to requests for comment.
                  USA Gymnastics reported revenues of $34.47 million for the 2016 fiscal year,
                  according to financial records and documents filed with the Internal Revenue Service.
                  In recent years, marketing revenues have accounted for more than 35 percent(up to
                   $9.4 million) of USA Gymnastics'total revenues.
                   Procter & Gamble,the name sponsor ofthe USA G)nnnastics national championships
                  for the past five seasons, and Kellogg's,sponsor of a series oflucrative nationwide
                   tours, however, declined to renew sponsorship deals with USA Gymnastics late last
                   year.

                   AT&T, Hershey's and Under Armour also dropped USA Gymnastics. AT&T said it was
                   discontinuing its sponsorship "until it(USA Gymnastics)is re-built and we know that
                   the athletes are in a safe environment."

                   Under Armour said in a statement"We stand with these athletes and hope our
                   decision to end this partnership resounds with USAG leadership and helps to
                   facilitate necessary change."

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                  Nike officials had their first telephone conversation with USA G5minastics chief
                  executive officer Kerry Perry and Adrienne Evans from USA Gymnastics' marketing
                  department on Jan. 18. The call came a day after Gina Nichols, mother offormer U.S.
                  national team member Maggie Nichols, confronted Perry during her testimony at
                  Nassar's Michigan sentencing hearing.

                  "I don't want to hear any more statements from anybody else - we're doing this and
                  we're doing that," Gina Nichols said turning toward Periy, who was sitting in the
                  courtroom."We have a safe place now. It's too late now."

                  The call also came three days after Olympic all-around champion Simone Biles
                  revealed she had been sexually abused by Nassar. Biles is one of only two gymnasts
                  ever sponsored by Nike. Olympic champion Shawn Johnson is the other.
                  Evans sent Nike partnership documents on Jan. 24- the same day Nassar was
                  sentenced to 40 to 175 years in prison for sexual assault in Michigan.

                  "I've just signed your death warrant," Judge Rosemarie Aquilina told Nassar in
                  issuing her sentencing ruling.

                  Periy and Evans met with Lori Roth, Nike's senior Olympic marketing manager,and
                  Curtis Graham,another Nike marketing official, on April 30.

                  Nike also sponsors U.S. national governing bodies in at least eight Olympic sports,
                  including USA Track & Field, U.S. Soccer and USA Basketball.
                  Nike is also a major corporate sponsor ofthe U.S. Olympic Committee. Nike also
                  reached a 10-year, $35 million sponsorship deal with Michigan State in 2015. Nassar
                  was a longtime employee at Michigan State sports medicine staff.




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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

     IN RE:

     USA GYMNASTICS,                            CASE NO. 18-09108-RLM-11

              Debtor.

          NOTICE OF APPOINTMENT OF ADDITIONAL TORT CLAIMANTS
                 COMMITTEE OF SEXUAL ABUSE SURVIVORS

         Nancy J. Gargula, United States Trustee, pursuant to 11 U.S.C. §

 1102(a) hereby appoints the following members to the Additional Tort

 Claimants Committee of Sexual Abuse Survivors1 in the above captioned cause:

      1. Marcia Frederick Blanchette
         c/o Kimberly Dougherty, Esq.
         Andrus Wagstaff, P.C.
         19 Belmont St.
         Easton, MA 02375
         marciafrederick123@gmail.com

      2. Alyssa Corn
         c/o Megan A. Bonanni and Michael L. Pitt
         Pitt McGhee Palmer & Rivers, P.C.
         117 W. Fourth St., Suite 200
         Royal Oak, MI 48067
         ahcorn@umich.edu

      3. Rachel Denhollander
         c/o Stephen R. Drew/Adam C. Sturdivant
         Drew, Cooper & Anding
         80 Ottawa Ave., NW Ste. 200
         Grand Rapids, MI 49503
         rjd.requests@gmail.com




 1 Due to a lack of response, no unsecured creditors committee has been appointed at
 this time.



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       kenziemsu@gmail.com

    5. Sarah Klein
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                                         Respectfully Submitted,

                                         Nancy J. Gargula
                                         UNITED STATES TRUSTEE

                                    By: /s/ Laura A. DuVall
                                        Laura A. DuVall
                                        U.S. Department of Justice
                                        Office of the United States Trustee
                                        101 W. Ohio Street, Suite 1000
                                        Indianapolis, IN 46204
                                        Tel. (317) 226-6101
                                        Fax (317) 226-6356
                                        Laura.DuVall@usdoj.gov


                           CERTIFICATE OF SERVICE

         I hereby certify that on December 19, 2018, a copy of the foregoing was
 filed electronically. Notice of this filing will be sent to the following parties
 through the Court’s Electronic Case Filing System. Parties may access this
 filing through the Court’s system.

 Deborah Caruso      dcaruso@rubin-levin.net, dwright@rubin-levin.net,
 jkrichbaum@rubin-levin.net, atty_dcaruso@bluestylus.com
 Adam L. Kochenderfer      akochenderfer@wolfsonbolton.com
 Ronald J. Moore     Ronald.Moore@usdoj.gov
 Dean Panos     dpanos@jenner.com
 Amanda Koziura Quick       amanda.quick@atg.in.gov,
 Darlene.Greenley@atg.in.gov
 Melissa M. Root    mroot@jenner.com, wwilliams@jenner.com
 James I. Stang    jstang@pszjlaw.com
 Catherine L. Steege    csteege@jenner.com, mhinds@jenner.com,
 thooker@jenner.com
 Meredith R. Theisen     mtheisen@rubin-levin.net,
 atty_mtheisen@bluestylus.com, mralph@rubin-levin.net


        I further certify that on December 19, 2018, a copy of the foregoing was
 mailed by first-class U.S. Mail, postage prepaid, and properly addressed to the
 following:




                                                              Humphrey Appellant Appendix 275
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 None

                                       /s/ Laura A. DuVall
                                       Laura A. DuVall




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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                USA Gymnastics

2.   All other names debtor
     used in the last 8 years
                                  DBA USA Gymnastics Inc.
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  130 E. Washington Street
                                  Suite 700
                                  Indianapolis, IN 46204
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Marion                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://usagym.org/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:     501(c)(3) organization




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Debtor    USA Gymnastics                                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   USA Gymnastics                                                                          Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No
                                               Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors                       50-99                                           5001-10,000                                50,001-100,000
                                    100-199                                         10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




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Debtor    USA Gymnastics                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 5, 2018
                                                  MM / DD / YYYY


                             X   /s/ James Scott Schollenbarger                                           James Scott Shollenbarger
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X   /s/ Catherine Steege                                                      Date December 5, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Catherine Steege
                                 Printed name

                                 JENNER & BLOCK LLP
                                 Firm name

                                 353 N. Clark St.
                                 Chicago, IL 60654
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     312-222-9350                  Email address      csteege@jenner.com


                                  IL 06183529
                                 Bar number and State




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        RESOLUTIONS OF THE BOARD OF DIRECTORS OF USA GYMNASTICS

                                          December 4, 2018

          WHEREAS, the undersigned, representing each of the directors of the Board of Directors
  (the “Board”) of USA Gymnastics (“USAG”), a 501(c)(3), not-for-profit organization, hereby
  adopt the following resolutions by written consent conducted via email;

          WHEREAS, the Board of USAG, having considered the financial and operational
  conditions and strategic alternatives of USAG, and having reviewed, considered and received the
  recommendation of senior management to USAG and the advice of USAG’s professionals and
  advisors with respect to the options available to USAG, including, without limitation, a filing under
  chapter 11 of the United States Code (the “Bankruptcy Code”), has determined that it is desirable
  and in the best interests of USAG, its creditors and employees and other interested parties that a
  petition be filed by USAG, seeking relief under the provisions of chapter 11 of the Bankruptcy
  Code;

         NOW THEREFORE, BE IT

         RESOLVED, that USAG be, and hereby is, authorized and empowered to file a petition
  seeking relief under the provisions of chapter 11 of the Bankruptcy Code, in the United Bankruptcy
  Court for the Southern District of Indiana:

           RESOLVED, that members of the Board, USAG’s officers, and any other person
  designated and so authorized to act by a director or officer of USAG (each an “Authorized
  Person” and, collectively, the “Authorized Persons”) hereby are, and each of them is, authorized
  and empowered to: (i) execute, verify and file on behalf of USAG all documents necessary or
  appropriate in connection with the filing of USAG’s chapter 11 petition, and any chapter 11 plan
  that the members of the Board deem to be in USAG’s best interest, including, without limitation,
  all petitions, affidavits, declarations, schedules, statements of financial affairs, lists, motions,
  applications, pleadings, and other papers or documents in connection with such chapter 11 petition
  and plan; (ii) cause USAG to borrow funds from any such parties as they deem appropriate (a DIP
  facility) as reasonably necessary for the continuing conduct of the affairs of USAG and grant
  security interests in and liens upon all or substantially all of USAG’s assets as may be deemed
  necessary in connection with such borrowings; (iii) take and perform any and all actions deemed
  necessary and proper to obtain such relief as authorized herein and in connection with USAG’s
  chapter 11 case; (iv) appear as necessary at all bankruptcy proceedings on behalf of USAG; and
  (v) pay all such expenses where necessary or appropriate in order to carry out fully the intent and
  accomplish the purposes of the resolutions adopted herein;

         RESOLVED, that the law firm of Jenner & Block LLP, be and hereby is employed as
  general bankruptcy counsel for USAG in USAG’s chapter 11 case, subject to approval by the
  Bankruptcy Court;

         RESOLVED, that the Authorized Persons be, and hereby are, authorized and empowered
  to employ and retain all assistance by legal counsel, accountants, financial advisors, restructuring



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  advisors, investment bankers, public relations professionals and other professionals, subject to
  approval by the Bankruptcy Court, and to perform any and all further acts and deeds the
  Authorized Persons deem necessary, proper, or desirable in furtherance thereof with a view
  to the successful prosecution of USAG’s chapter 11 case;

         RESOLVED, that the Authorized Persons be and are hereby authorized and empowered to
  amend, supplement or otherwise modify from time to time the terms of any petitions, affidavits,
  declarations, schedules, statements of financial affairs, lists, motions, applications, pleadings, and
  other papers or documents executed in conjunction with any of the forgoing resolutions;

          RESOLVED, that the acts, actions and transactions taken by the officers or the Board or
  any other Authorized Person taken prior to the date of the foregoing resolutions adopted herein
  and within the authority conferred, are hereby ratified, confirmed, and approved in all respects
  as the act and deed of USAG.

         IN WITNESS WHEREOF, the undersigned have electronically executed this written
  consent as of the date first above written.

  DIRECTORS OF THE BOARD OF USA GYMNASTICS


  /s/ Kathryn Carson                                    /s/ Steven Legendre
  Kathryn Carson, Chair                                 Steven Legendre


  /s/ David C. Rudd                                     /s/ Dylan Mauer
  David C. Rudd, Vice Chair                             Dylan Mauer


  /s/ Stefanie Korepin                                  /s/ Staci Slaughter
  Stefanie Korepin, Treasurer                           Staci Slaughter


  /s/ Lois Bingham                                      /s/ Justin Spring
  Lois Bingham                                          Justin Spring


  /s/ Kittia Carpenter                                  /s/ Julie Springwater
  Kittia Carpenter                                      Julie Springwater


  /s/ Ivana Hong                                        /s/ Kimberly Till
  Ivana Hong                                            Kimberly Till


  /s/ Brent Lang                                        /s/ Kevin White
  Brent Lang                                            Kevin White

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